Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 1 of 295 PageID 324




                    TAB A




                                                             Plaintiffs' Appendix 1
        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                   Page 2 of 295 PageID 325
                                                              Page 1                                                                    Page 3
        IN THE UNITED STATES DISTRICT COURT FOR THE                     1            WITNESS INDEX
             NORTHERN DISTRICT OF TEXAS                                 2
               SAN ANGELO DIVISION                                          BRANDON N. GATES:                             PAGE
     PATSY K. COPE,           *
     individually, and ALEX *
                                                                        3
     ISBELL, as dependent *                                                 EXAMINATION
     administrator of, and *                                            4
     on behalf of, the     *                                                 BY MR. MALONE                                4
     ESTATE OF DERREK             *                                     5
     QUINTON GENE MONROE *                                                  EXAMINATION
     and his heirs-at-law, *                                            6
                     *
          Plaintiffs, *                                                      BY MR. HOGG                             42
                     *                                                  7
     VS.               * CIVIL ACTION NO.                                   FURTHER EXAMINATION
                     * 6:18-cv-00015-C                                  8
                     *                                                       BY MR. MALONE                               48
     COLEMAN COUNTY, TEXAS; *                                           9
     LESLIE W. COGDILL;          *
     MARY JO BRIXEY; and *
                                                                            FURTHER EXAMINATION
     JESSIE W. LAWS,           *                                       10
                     *                                                       BY MR. HOGG                             50
          Defendants. *                                                11
                                                                            Reporter's Certification               53
                                                                       12
         ****************************************                      13          REQUESTED DOCUMENTS/INFORMATION
           ORAL AND VIDEOTAPED DEPOSITION OF
               BRANDON N. GATES
                                                                       14               NONE
               OCTOBER 11, 2018                                        15
         ****************************************                                      CERTIFIED QUESTIONS
                                                                       16
               ANSWERS AND VIDEOTAPED DEPOSITION OF                                         NONE
     BRANDON N. GATES, a witness produced on behalf of the             17
     Plaintiff, taken in the above-styled and numbered
     cause on the 11th day of October, 2018, before Cara B.
                                                                       18            EXHIBIT INDEX
     McLeod, Certified Court Reporter No. 7775, in and for             19   PLAINTIFFS'                        PAGE
     the State of Texas, taken at the Hampton Inn                      20   No. 1 -- Enlarged color photographs
     Brownwood, 1103 Riverside Drive, City of Brownwood,                           [90-109]                  10
     County of Brown, State of Texas, in accordance with               21
     the Federal Rules of Civil Procedure and any                      22
     Stipulations hereinafter set forth.                               23
                                                                       24
             It is further agreed that Rule 30(b)(5)
     is waived by agreement of the parties.                            25


                                                              Page 2                                                                    Page 4
 1                  APPEARANCES                                         1               PROCEEDINGS
 2                                                                      2              (On the record at 10:02 a.m.)
       MR. T. DEAN MALONE
 3     Law Offices of Dean Malone                                       3              THE VIDEOGRAPHER: We are now going on
       900 Jackson Street                                               4   the video record. Today is October 11th, 2018. Time
 4     Suite 730
       Dallas, Texas 75202                                              5   is 10:02 a.m. Our deponent is Brandon Neil Gates.               10:02:42
 5     (214) 670-9989                                                   6              If counsel will please identify
       dean@deanmalone.com
 6                                                                      7   themselves for the record, the deponent may be sworn
                   COUNSEL FOR THE PLAINTIFFS                           8   in.
 7
 8
                                                                        9              MR. MALONE: Yes, sir. Dean Malone here
       MR. JON MARK HOGG                                               10   on behalf of Patsy Cope and Alex Isbell, plaintiffs.        10:02:58
 9     Jackson Walker, LLP                                             11              MR. HOGG: Jon Mark Hogg here for all
       135 West Twohig Avenue
10     Suite C                                                         12   defendants.
       San Angelo, Texas 76903                                         13              MR. MALONE: And Mr. Hogg, do you want
11     (325) 481-2560
       jmhogg@jw.com                                                   14   to waive the reading required by the federal rules?
12                                                                     15              MR. HOGG: Yes.                            10:03:09
                   COUNSEL FOR THE DEFENDANTS
13                                                                     16              MR. MALONE: Thank you.
14     ALSO PRESENT: Mr. Gary Gilmore, Videographer                    17                 BRANDON N. GATES,
              Mr. Leslie Cogdill                                       18   having been first duly sworn, testified under oath as
15            Ms. Mary Jo Brixey
16                                                                     19   follows:
17                                                                     20                   EXAMINATION
18
19                                                                     21   BY MR. MALONE:
20                                                                     22      Q Good morning, sir. How are you?
21
22                                                                     23      A Good. You?
23                                                                     24      Q Doing -- doing pretty well.
24
25
                                                                       25              MR. HOGG: I'm sorry, Dean. Do you want               10:03:21



                                                                                                              1 (Pages 1 to 4)
                                                                                                               Plaintiffs' Appendix 2
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                        Page 3 of 295 PageID 326

                                                                                   Page       5                                                                                      Page        7

     1    him to have the microphone           on?                                                     1   conference room at a Hampton Inn on October                  1    I of
     z                  MR. MALONE: Oh, yeah.                                                          2   2018, right?
     3                  Ifyou would, put that microphone on                                            3    A Yes, sir.
     4    your lapel, as I also forgot to do.                                                          4    Q And it's a little after l0 o'clock in the
     5                  (Wihress   complies.)                              lO:03'.27                   5   moming.                                    10:04:59
     6                  THE WITNESS: Thatwork?                                                         6    A Yes, sir.
     7                  MR. MALONE: Say a couple things, if you                                        7    Q And we're in this conference room. And
     I    wouldn't min4 and we can see if the videographer can                                         I   there's a court reporter to your          lef! and there's   an
     9    hear you all right.                                                                          9   attomey representing the County, to your
 10                     THEWTINESS: Y'allreadytodothis? 10:03:42                                  10       understanding, kind ofacross the table from              me,               10:05:08
11                      TIIE VIDEOGRAPHER: Oh, we got him.                                        1l-      right?
L2                      MR. MALONE: Okay. Good.                                                   T2          A      Yes, sir.
13                      THE VIDEOGRAPHER: Yeah.                                                   13          Q      And there are a couple of other folks in the
1.4                     MR. MALONE:          Allright.    Let's   -let's                          74       room other than the videographer. Do you recognize
15        start over     here.                                     10:03:45                       15       who drose two people             are?                             10:05: 15
I6                      THE WTINESS: All right.                                                   t6          A      Yes, sir.
L7             a      (ByMr. Malone) Goodmoming, sir. Myname                                      1"1         Q      Who do you recognize them to be?
l8        is Dean Malone, and I represent, in this lawsui! the                                    18          A      Sheriff    ks    Cogdill and ajail
I9        plaintiffs, in other words, the people that brought                                     19       administrator        -   I forgot her   name.
20        the lawsuit -                                            10:03:55                       20          Q MaryJoBrixeyring-                                        10:05:25
2I             A t h-huh.                                                                         2!          A Mary-
))             Q - and that's Patsy Cope and Alex Isbell -                                        22          Q - abell?
          regarding the death of Derrek Monroe.                                                   23          A -Jo.
24                      You understand who I am and who                I                          24          Q Okay.
25       represent?                                               10:04:05                        25                   TFIE     WTNESS: I'm sorry Mary           Jo.                10:05:.2'1



                                                                                  Page        6                                                                                     Page         8

 1            A      Yes, sir.                                                                      1         Q      (By Mr. Malone) And have you ever had to
 2            Q      Thankyou, sir.                                                                 2      give   - give a deposition like this before?
 3                     Would you please give us your full name?                                     3         A      No, sir.
 4            A      Brandon Neil Gates.                                                            4         Q      One of the most important things, to keep the
 5            Q      And would you also give us your address?                      l0:04:10         5      court reporter happy with you and me, is not to              talk          l0:05:36
 6                                                                                                  6      on top ofeach other.
 1                                                                                                  7         A      Yes, sir.
 I                                                                                                  8         Q      So my questions are not always the best.
 9                                                                                                  9      I'll admit. So ifyou can try to figure outwhen I'm
l0            Q      Doyouhaveacelltelephonenumber?                              10:04:20         10       done beforeyou answer, I'll try to figure outwhen l0:05:47
11            A      Yes, sir.                                                                    l-1      your answer is complete before I ask the next
L2            Q      Could we have tha! please?                                                   T2       quostion. All right?
l3            A      (32s)220-0045.                                                               13          A      Yes, sir.
L4            Q     And not the day ofthe month but could you                                     1_4         Q      And also,      ifl   ask you a question that
15       give us the month and the year that you were              bom?                1004:29    15       doesn't make sense to you or you don't understand                  it       l0:05:53
T5            A     Juneof'76.                                                                    L6       or it was just a bad question, if you'll let me know
              Q     Okay. Thankyou,sir.                                                           L1       at the time,   I'll try to rephrase it for you. All
18                    You're here in Brownwood, Texas today,                                      18       right?
19       right?                                                                                   19          A      Yes, sir.
20            A     Yes,   sir.                               10:04:41                            20          Q      We're here today because of the death          of              10:06:03
21            Q     And we say some things on this for purposes                                   2L       Derrek Monroe in the Coleman County Jail.
22       of   the   jury in case they   see this video   later.   So                              22                   Are you familiar with that happening,
23       that's why some questions might sormd strange to you.                                    23       that --
24       All right?                                                                                          A Yes, sir.
25                    And we're -- we're actually in      a                l0:04:50               25         Q --occurrence?                                        10:06:17




                                                                                                                                                     2 (Pages 5 to                               8)
                                                                                                                                                     Plaintiffs'Appendix 3
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                             Page 4 of 295 PageID 327
                                                                   Page 9                                                                   Page 11
 1             Were you in the Coleman County Jail at                            1   the lower right-hand corner. It's kind of hard to
 2   the time?                                                                   2   read some of them because it's on the actual photo.
 3     A Yes, sir.                                                               3      A Yes, sir.
 4     Q Now, the records that we've got indicate that                           4      Q Starts with Page 90 and ends on 109.
 5   Mr. Monroe had died as a result of him wrapping a               10:06:24    5            If you look at -- at Page 90 in            10:08:37
 6   phone cord around his neck on October 1 of 2017. Just                       6   Exhibit 1, the left of the two cell doors there, in
 7   timewise, does that sound about right to you?                               7   your understanding, is that Cell Number 2 --
 8     A Yes, sir.                                                               8      A Yes, sir.
 9     Q Do you recall, in that time period, the day                             9      Q -- in the Coleman County Jail?
10   you would have been initially incarcerated in that            10:06:42     10      A Yes, sir.                               10:08:48
11   jail and the time you left?                                                11      Q Does Page 90 in Exhibit 1 accurately depict
12     A I don't -- don't know exactly the dates, but                           12   what that area of the Coleman County Jail looked like
13   it was end of September, I believe, and left out --                        13   when you were incarcerated there back in --
14   I'm not sure -- middle October, something like that.                       14      A Yes, sir.
15   I's -- I was locked up 36, 37 days.                    10:07:07            15      Q And let me finish for the court reporter, if        10:08:59
16     Q Okay. And obviously, we're talking 2017?                               16   you don't mind.
17     A Yes, sir.                                                              17      A Okay. I'm sorry.
18     Q Before you were locked up in the Coleman                               18      Q -- back in 2017?
19   County Jail, did you know Derrek Monroe?                                   19      A Yes, sir.
20     A No, sir.                                  10:07:22                     20      Q Okay. The cell door we see open on Page 90              10:09:01
21     Q Did you get to know him at all while you were                          21   of Exhibit 1, in your understanding, is that the
22   locked up there?                                                           22   single-man cell?
23     A No, sir.                                                               23      A Yes, sir.
24     Q Were you and he ever in the same cell?                                 24      Q That's the one that Mr. Monroe committed
25     A Yes, sir.                                 10:07:28                     25   suicide in?                                  10:09:17


                                                                  Page 10                                                                   Page 12
 1     Q Do you remember about how long y'all were in                            1      A Yes, sir.
 2   the same cell together?                                                     2      Q Is that Cell Number 3, in your understanding?
 3     A Maybe -- maybe a couple hours.                                          3      A To best of my knowledge, yes, sir.
 4     Q Do you remember why y'all would have been in                            4      Q Okay. How many times have you been
 5   the same cell together?                            10:07:43                 5   incarcerated in the Coleman County Jail?                10:09:25
 6     A I guess it was the only cell open and they                              6      A Once.
 7   stuck him in there with us.                                                 7      Q Do you remember what day of the week it was
 8     Q Okay. Do you remember which cell number that                            8   when you actually were arrested and taken there?
 9   was?                                                                        9      A No, sir.
10     A I believe Cell 2.                             10:07:52                 10      Q Okay. Now, you and I actually spoke some              10:09:38
11     Q I've been told --                                                      11   time ago briefly, right?
12             In fact, what I'll do is I'm going to                            12      A Yes, sir.
13   mark an exhibit here.                                                      13      Q And you -- you gave me some information and
14             MR. MALONE: If I could get a sticker,                            14   we tried to get back together later, due to your work
15   please.                                     10:08:08                       15   schedule -- and for whatever reason, it just never       10:09:55
16     A It was right next to the one-man cell.                                 16   happened, right?
17     Q (By Mr. Malone) Right next to the one-man                              17      A Yes, sir.
18   cell?                                                                      18      Q And you told me a little bit about what you
19     A Yes, sir.                                                              19   knew about what occurred before the day that Derrek
20     Q Okay.                                     10:08:18                     20   committed suicide, right?                         10:10:04
21             (Deposition Exhibit Number 1                                     21      A Yes, sir.
22             was marked.)                                                     22      Q Let's go back to the first time that you
23     Q (By Mr. Malone) I'm handing you what I've                              23   remember seeing Derrek Monroe in the Coleman County
24   marked as Exhibit 1. That's a collection of                                24   Jail. Where were you, and where was he?
25   photographs. And you'll notice they're numbered in             10:08:24    25      A I was in Cell 2, and they brought him into         10:10:14



                                                                                                                  3 (Pages 9 to 12)
                                                                                                                     Plaintiffs' Appendix 4
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                              Page 5 of 295 PageID 328
                                                                 Page 13                                                                        Page 15
 1   Cell 2.                                                                     1   some people said something about drugs. So I'm -- I'm
 2      Q Do you remember how he was dressed?                                    2   just going to ask you about what happened in this next
 3      A In civilian clothes.                                                   3   question. All right?
 4      Q And what about yourself? What were you                                 4      A Got you.
 5   dressed in?                                     10:10:26                    5      Q So -- so here's my question. After Derrek             10:12:25
 6      A I was dressed in county clothes, I guess. I                            6   Monroe ended up in Cell 2 with you when you describe,
 7   don't know what you call them.                                              7   what's the next thing that happened?
 8      Q All right. What color were they? You                                   8      A He -- he sat on the floor and then he tried
 9   remember?                                                                   9   to get up and he face-planted on the concrete. And
10      A Mine?                                      10:10:35                   10   then --                                     10:12:43
11      Q Yes, sir.                                                             11      Q What do you mean by that?
12      A Orange and white, I believe.                                          12      A He -- he didn't catch hisself. He just stood
13      Q Do you know why Mr. Monroe had street clothes                         13   up and fell face-forward (indicating). And then
14   on?                                                                        14   shortly after that, he got -- I guess -- he sat up
15      A Because he'd just got locked up.                    10:10:42          15   against the wall, wrapped a blanket around him, and               10:12:58
16      Q Do you know if that was before his intake                             16   looked like he was trying to choke hisself out then.
17   when he was in your cell?                                                  17             And then he got up and got above the
18      A I don't know. I don't know, sir.                                      18   latrine and wrapped around the angle iron above the
19      Q Okay. So he ends up in your cell. And if I                            19   latrine and -- which was wrapped around his neck as
20   remember your testimony earlier, you said for about             10:10:52   20   well -- and jumped off it, and the knot gave way.            10:13:16
21   two hours is the total time you and he were in a cell                      21      Q Okay.
22   together, right?                                                           22      A And --
23      A Yes, sir.                                                             23      Q I'm sorry.
24      Q So he ends up in Cell Number 2, in your                               24      A -- I guess it kind of knocked him out. And
25   recollection. What happens next?                         10:11:03          25   that's when the jailers come in and they took him to a        10:13:22


                                                                 Page 14                                                                        Page 16
 1     A I took it he -- and that's what everybody was                           1   hospital, I believe, suicide watch.
 2   saying -- he ate a bunch of drugs before he got in                          2     Q Okay. When you said that he tried to choke
 3   there. And he face-planted face first on the -- on                          3   himself out, this is before he wrapped --
 4   the concrete and got up. He wrapped a blanket around                        4     A Yeah, he tried -- well, he did -- he wrapped
 5   his neck then, leaned up against the wall under the         10:11:29        5   around his legs and wrapped around his neck and was           10:13:37
 6   phone. And then we're all keeping an eye on him                             6   trying to choke hisself out.
 7   because we're not knowing what he's going to do next,                       7     Q Did it look like to you that he was really
 8   if he's going to get on us or whatever, so...                               8   attempting to do that?
 9             He jumped up above the toilet -- latrine                          9     A Yeah.
10   and hung his blanket, which was wrapped around his              10:11:44   10     Q And what do you mean by choke himself out?                10:13:45
11   neck, around the top of a piece of angle iron up there                     11     A Just wrapped -- he about to -- he was trying
12   and -- and bailed off of it. Of course, the knot gave                      12   to choke hisself.
13   way.                                                                       13     Q Okay. And then you said that didn't work,
14             THE WITNESS: And then y'all shortly                              14   apparently.
15   come in after that -- the jailers did.               10:11:57              15     A No.                                     10:13:58
16             MR. MALONE: Okay. Objection,                                     16     Q And then he tied the knot on -- the -- the
17   nonresponsive.                                                             17   sheet onto what?
18     Q (By Mr. Malone) The reason I say that is I                             18     A A piece of angle iron above the toilet and
19   have to have a clean record sometimes because I                            19   jumped off the toilet.
20   anticipate what some of the judge's rulings might be         10:12:06      20     Q Did it look to you like he was attempting to          10:14:09
21   if we object later. So I'm going to have to ask you                        21   hang himself?
22   the same question but in small bites. All right?                           22     A Oh, yeah.
23     A Yes, sir.                                                              23     Q Legitimately?
24     Q And -- and -- and I'll kind of tell you why I                          24     A Yes, sir.
25   objected. It was because you said something about            10:12:17      25     Q What made you think that?                          10:14:16



                                                                                                                    4 (Pages 13 to 16)
                                                                                                                           Plaintiffs' Appendix 5
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                         Page 6 of 295 PageID 329
                                                              Page 17                                                                        Page 19
 1     A Because he tied it around his neck and then                         1      Q Do you recall if he had shown up after the
 2   tied it around the top of the angle iron and                            2   event you just described?
 3   bomb-dived off of it.                                                   3      A I'm not -- I'm not sure, sir.
 4     Q Okay. And then when he did that, what --                            4      Q Okay. What about the sheriff? Do you recall
 5   what happened to his body and/or the sheet?              10:14:25       5   if he had shown up at that time?                       10:16:26
 6     A It kind of -- the -- the knot gave way as                           6      A I want to say sheriff was there, yes. I'm
 7   soon as he jumped. And then he, I guess, blacked out.                   7   pretty sure.
 8   I don't know. And they -- jailers come in and took                      8      Q Do you recall if the jail administrator
 9   him out.                                                                9   showed up?
10     Q Why do you think he blacked out? What made              10:14:39   10      A I do not recall.                          10:16:36
11   you think he blacked out?                                              11      Q Okay. I think we did this at the beginning
12     A I don't know. I guess he popped his neck                           12   of the deposition, but I forget if we did it before.
13   pretty good. I mean, he had to have.                                   13             So you understand that -- that Leslie
14     Q Okay. At that point, did any of y'all do                           14   Cogdill is the sheriff, right?
15   anything to try to help him, anybody else in the cell?    10:14:52     15      A Yes, sir.                                10:16:49
16     A No, we were still trying to figure out what                        16      Q And Mary Jo Brixey is the jail administrator.
17   he was doing, actually.                                                17      A Yes, sir.
18     Q And how many other people were in the cell at                      18      Q And that at the time you were in the Coleman
19   that time before the jailers showed up?                                19   County Jail that Jessie Laws was the jailer -- a
20     A There were me and two others before he come            10:15:02    20   jailer.                                    10:17:00
21   in.                                                                    21      A Yes, sir.
22     Q Remember who they were?                                            22      Q Okay. Other than those three people, did you
23     A Sambo Croft, Quentin something or another --                       23   interact --
24   I don't know Quentin's last name -- and -- I don't                     24             MR. MALONE: Strike that.
25   even know if it was Quentin. I know it's Sambo and         10:15:24    25      Q (By Mr. Malone) Okay. What makes you think                   10:17:07


                                                              Page 18                                                                        Page 20
 1   some guy from Fort Worth. I can't remember -- Paul                      1    that the sheriff was there after that event you just
 2   something or another. I don't know Paul's last name.                    2    described?
 3      Q Sambo, Quentin, and Paul?                                          3       A Some reason I -- I just thought he was there,
 4      A I don't know if Quentin was in there at the                        4    I believe. I don't know.
 5   time. Sambo was in there, and Paul was in there.        10:15:37        5       Q Okay.                                   10:17:18
 6   Paul's in Fort Worth. Sambo's from Coleman, Sambo                       6       A It was during the daytime.
 7   Croft. And possibly Quentin.                                            7       Q You remember? Morning? Afternoon?
 8      Q All right. What made you think that Derrek                         8       A I don't remember. It was daytime.
 9   had blacked out after he jumped with that sheet around                  9       Q Okay. When they showed up, what happened
10   his neck?                                10:15:55                      10    next?                                       10:17:30
11      A Because he was -- he was laying on the floor                      11       A They pulled him out and took him to where, I
12   not responsive.                                                        12    believe, was the hospital.
13      Q Not moving at all?                                                13       Q Why do you think they did that?
14      A Huh-uh.                                                           14       A Because he tried to commit suicide.
15      Q Is that a "no" for our court --            10:16:05               15       Q Did you hear anybody say that he tried to           10:17:41
16      A No.                                                               16    commit suicide?
17      Q -- reporter?                                                      17       A I mean, just other than us.
18      A Yeah.                                                             18       Q Okay. And did y'all say that to the jailers?
19      Q Okay. And then I think you testified that                         19       A Yes, sir.
20   the jailers showed up next?                     10:16:09               20       Q What did you say?                            10:17:53
21      A Yes, sir.                                                         21       A Said he tried to hang hisself.
22      Q Who -- who was it? Do you remember?                               22       Q And do you remember anybody responding --
23      A I don't remember.                                                 23       A No.
24      Q Do you know a Jessie Laws?                                        24       Q -- to that?
25      A Yes, sir.                           10:16:16                      25       A Huh-uh.                                  10:18:02


                                                                                                              5 (Pages 17 to 20)
                                                                                                                      Plaintiffs' Appendix 6
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                      Page 7 of 295 PageID 330
                                                          Page 21                                                                    Page 23
 1      Q Do you remember anything that the sheriff                        1      A Well, the ones they issue you.
 2   said at about that time regarding Derrek or to Derrek?                2      Q Did y'all have sheets also?
 3      A No, sir.                                                         3      A Had a mattress cover, I believe, or the sock
 4      Q I -- I think you had mentioned to me, on the                     4   you put over the mattress.
 5   phone call, that at one point Sheriff Cogdill said to   10:18:15      5      Q Can you describe for the jury the blankets?        10:20:11
 6   Derrek, Don't -- Don't you die on me, you SOB,                        6   Were they thin? Were they thick?
 7   something like that?                                                  7      A Like, cotton woven -- I don't -- something
 8      A Yes, sir. That -- that was later, I believe.                     8   like that, I believe. Yeah.
 9      Q Okay. When was that?                                             9      Q Okay. We -- we've taken some other
10      A When he actually hung hisself in the             10:18:29       10   depositions in this case, and what you've described       10:20:27
11   three-man.                                                           11   occurred, there's been testimony that that was a sheet
12      Q Okay. So on the day of the event you                            12   that he used. You're saying it was not a sheet?
13   described, is there anything else that you can recall                13      A I'm -- I'm not sure. I -- I took it it was a
14   you or anybody else in the cell telling the jailers                  14   blanket. I don't know.
15   that showed up after he tried to kill himself?        10:18:43       15      Q All right. But you don't remember any sheets        10:20:43
16      A No, sir.                                                        16   in y'all's cells. You do remember four blankets,
17      Q Did any of the jailers say anything that                        17   though.
18   indicated to you they understood he tried to kill                    18      A Yes, sir.
19   himself on that day?                                                 19      Q Okay. Anything else about what we've talked
20      A No, sir.                               10:18:54                 20   about so far that I may have misspoke on?              10:20:51
21      Q Is there anything else you can remember about                   21      A No, sir.
22   anybody else saying anything that day that you haven't               22      Q All right. So after that event you
23   told us already?                                                     23   described, it's your understanding they took Derrek to
24      A No, sir.                                                        24   the hospital, right?
25      Q Okay. When was the next time that you talked         10:19:00   25      A Yes, sir.                               10:20:58


                                                          Page 22                                                                    Page 24
 1   to anybody about Derrek Monroe while you were still                   1      Q And from that point in time until the next
 2   incarcerated there?                                                   2   day when it was your understanding that Derrek wrapped
 3      A What are you talking -- I guess we talked                        3   the phone cord around his neck, were you ever removed
 4   about him amongst ourselves in the cell.                              4   from Cell Number 2?
 5      Q Okay. Did y'all talk to any other jailers or      10:19:24       5      A Yes, sir.                              10:21:12
 6   the sheriff or the administrator before he tried to                   6      Q For what?
 7   hang himself that second time --                                      7      A They moved all of us once they pulled him --
 8      A No, sir.                                                         8   pulled Derrek out and was trying to revise [sic] him,
 9      Q -- using the phone cord?                                         9   I guess.
10      A No, sir.                                10:19:33                10      Q Where did -- where did they put y'all?             10:21:24
11      Q Okay. So between the time of the event you                      11      A In the Number 1 Cell, female cell. There was
12   just described with the sheet and the time where he,                 12   no females in it at the time.
13   unfortunately, succeeded with the phone cord, other                  13      Q Okay. And once they took Derrek, in your
14   than people in your cell, you don't remember talking                 14   understanding, to the hospital, did they put y'all
15   to anybody else about Derrek; am I right?               10:19:45     15   back into Cell 2?                              10:21:33
16      A Yes, sir. And it was a blanket, I believe,                      16      A Yes, sir.
17   sir.                                                                 17      Q And you don't have any recollection, other
18      Q Oh, a blanket?                                                  18   than possibly the sheriff, of anybody else that was
19      A Yes, sir.                                                       19   there at that time.
20      Q How many blankets were in that cell at that         10:19:50    20      A Sheriff and Jessie was there and two EMTs.            10:21:40
21   time?                                                                21   That's --
22      A Four, I take it.                                                22      Q Okay.
23      Q Just normal blankets?                                           23      A -- all I remember.
24      A Yes, sir.                                                       24      Q So that first time that you've described the
25      Q Okay.                                    10:19:59               25   sheriff and Jessie were there at the point in time       10:21:50



                                                                                                         6 (Pages 21 to 24)
                                                                                                               Plaintiffs' Appendix 7
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                       Page 8 of 295 PageID 331
                                                          Page 25                                                                      Page 27
 1   when the EMTs showed up.                                              1   when Jessie went running around. And then I believe
 2      A Yes, sir.                                                        2   Les showed up. And then -- yeah. Then they pulled
 3      Q Jessie Laws, right?                                              3   him out.
 4      A Yes, sir.                                                        4             And I can remember Sambo saying, Come
 5      Q Okay. All right. Let's go to -- was it the       10:22:01        5   here and look at how blue he is. And I told him I           10:23:58
 6   next day, in your recollection, that Derrek wrapped                   6   didn't want to see that because I got vivid dreams. I
 7   that phone cord around his neck?                                      7   didn't want to see it.
 8      A The next day of --                                               8             That's when we knew he'd pretty much
 9      Q Yeah, after the event you described, was it                      9   hung hisself.
10   the next day or a couple days later?                10:22:19         10      Q When you say "all kinds of racket," what do             10:24:11
11      A No EMTs showed up that day. I'm talking                         11   you mean? Was he saying stuff?
12   about the --                                                         12      A No. When he hung his- -- he went to, I
13            I'm confused now.                                           13   guess, kicking out his last breath of air, I guess.
14      Q Okay. Well, let's -- let's be sure we're                        14   He was in there kicking around, banging around, making
15   clear because my --                            10:22:26              15   all kinds of racket.                             10:24:29
16      A All right.                                                      16      Q After he hung himself?
17      Q -- questions -- so when you testified a                         17      A Yes, sir.
18   minute ago the sheriff and Jessie were there with the                18      Q How do you know that's -- that's when that
19   EMTs, are you talking the --                                         19   happened?
20      A I'm talking about when he actually hung            10:22:33     20      A I just took it -- I mean, sound like he was          10:24:35
21   hisself.                                                             21   in there banging around on that table in there, that
22      Q Okay.                                                           22   table in the three-man right below the -- I don't know
23      A Yes, sir.                                                       23   for a fact because I couldn't see it, but that's what
24      Q You're not talking about the -- what we call                    24   it sounded like.
25   the blanket attempt.                           10:22:38              25      Q Okay. Now, the jury in this case I think             10:24:49


                                                          Page 26                                                                      Page 28
 1      A No, sir. No, no.                                                 1   will have to decide a lot -- or certain issues on a
 2      Q Okay. Just want to be sure that -- that your                     2   more-likely-than-not standard.
 3   testimony's clear on that.                                            3      A Uh-huh.
 4              So that -- the time when Derrek actually                   4      Q You know, over 50 percent, in other words.
 5   succeeded with the -- the phone cord --                10:22:47       5      A Uh-huh.                                  10:25:01
 6      A Yes, sir.                                                        6      Q So you -- you've told us your opinion, that
 7      Q -- do you remember how many days after the                       7   the racket that you described that Derrek was making
 8   first suicide attempt that you've described to us that                8   was as a result of him kicking around after he'd
 9   it was?                                                               9   wrapped the phone cord around his neck, right?
10      A It was as soon as he got back from the             10:22:55     10      A Yes, sir.                               10:25:11
11   hospital, which I thought was one day.                               11      Q But you've also told us you couldn't see him,
12      Q Okay. And at that time, you're still in                         12   right?
13   Cell 2?                                                              13      A Yes, sir.
14      A Yes, sir.                                                       14      Q So what is it -- well, let me ask you
15      Q And Derrek's in Cell 1 -- or Cell -- Cell 3.       10:23:05     15   straight up. In -- do you have the opinion that more       10:25:16
16   I'm sorry.                                                           16   likely than not that's what was causing the racket you
17      A Yes, sir.                                                       17   heard?
18      Q What is it that causes you to understand                        18      A Yes, sir.
19   something's going wrong regarding Derrek in Cell                     19            MR. HOGG: Objection, form --
20   Number 3?                                      10:23:17              20      Q (By Mr. Malone) And what is --                    10:25:24
21      A He was in there making all kinds of racket,                     21            MR. HOGG: -- calls for speculation.
22   and it was -- it was early morning. And I can                        22            I'm sorry.
23   remember all of us yelling at him to shut the hell up                23      Q (By Mr. Malone) What is it that causes you
24   not knowing, you know, what he was doing. We just                    24   to have that opinion?
25   thought he was in there tearing up shit. And that's       10:23:35   25      A Just there ain't nothing you can bang around         10:25:28



                                                                                                          7 (Pages 25 to 28)
                                                                                                                Plaintiffs' Appendix 8
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                              Page 9 of 295 PageID 332
                                                                 Page 29                                                                     Page 31
 1   on there other than that. I mean -- I mean, he's got                          1   Exhibit 1. It's a photo of a phone and a metal table,
 2   his rack and stuff, but -- speculation on my part, I                          2   looks like, beneath it.
 3   take it. I don't know.                                                        3      A 107. (Witness complies.)
 4      Q Okay. You describe nothing to bang around on                             4             Yes, sir. What about it?
 5   other than that.                               10:25:46                       5      Q All right. The cell that you were in, Cell       10:28:03
 6      A Uh-huh.                                                                  6   Number 2, did it have a phone and a table just like we
 7      Q What are you talking about?                                              7   see here?
 8      A Other than that table. Where -- there's a                                8      A No, sir.
 9   sheet metal table and a little chair underneath it.                           9      Q What was different about the one in your
10      Q So if you look again --                       10:25:56                  10   cell -- the phone in your cell?                   10:28:11
11      A But he does have a metal rack, that being                               11      A Phone would be on the opposite wall. The
12   said, and a metal toilet and a metal sink, so --                             12   table not mounted to the wall in our cell. And it's a
13      Q Okay.                                                                   13   table about four times that size with four chairs.
14      A -- yeah.                                                                14      Q The length of the phone cord we see on
15      Q So we want to be fair, obviously --                10:26:04             15   Page 107 of Exhibit 1, can you tell us whether that's      10:28:32
16      A Yeah, fair enough.                                                      16   similar or different from the phone cord in Cell
17      Q -- in this case.                                                        17   Number 2?
18             So do you know more like- -- on a                                  18      A Yeah, that -- that's about the same. You
19   more-likely-than-not standard, you don't know for                            19   could pretty much get on the phone and sit at the
20   sure?                                       10:26:11                         20   table next to it.                           10:28:43
21      A I don't know for sure.                                                  21      Q So what we see on -- on Page 107 as far as
22      Q Okay. Fair enough.                                                      22   the phone cord length is pretty much the same as the
23             So at -- at the time that he ultimately                            23   phone cord length in Cell Number 2 in Coleman County
24   succeeded with that phone cord, what's the first thing                       24   when you were there.
25   that you heard Jessie say to anybody -- Jessie Laws?         10:26:24        25      A Yes, sir.                             10:28:56


                                                                 Page 30                                                                     Page 32
 1     A I can't recall. He -- like I said, it was                                 1      Q Okay. So after you heard the racket you
 2   early, and there was a lot of commotion going on.                             2   described on the day that Derrek had committed
 3   We's still on our rack when all that was going on.                            3   suicide, who's the first person you recall showing up
 4     Q Still asleep?                                                             4   in that area outside your cell?
 5     A Off and on, yes, sir.                            10:26:41                 5      A Again, I laid in my rack the whole time.            10:29:11
 6     Q Do you remember whether you saw Jessie call                               6      Q Oh, you did?
 7   anybody on the phone?                                                         7      A Yes, sir.
 8     A I's still in my rack. My rack -- I was --                                 8      Q Okay. So I think you told us that -- was it
 9   going in the cell, I'd be the bottom one on the right.                        9   Sambo Croft that said, Hey, why don't you come look at
10   Only way you can see the phone is if you get up and               10:26:58   10   him, and you --                                10:29:24
11   walk to the -- to the bars -- to the door.                                   11      A Yes, sir.
12     Q All right. So looking at -- again, at that                               12      Q -- said, I don't want to.
13   Page 90 of Exhibit 1, which is the first page of the                         13      A Yes, sir. I was still -- I was in the rack
14   exhibit, that left of the two cell doors, if we're                           14   the whole time that -- until they told us to get up
15   looking at that cell, just as we see it in this photo,     10:27:16          15   and get out, move -- move cells.                     10:29:28
16   your rack, or where you were sleeping, would be bottom                       16             I didn't look at him then when I walked
17   right.                                                                       17   out.
18     A Bottom right all the way at the back.                                    18      Q Was he still on the floor as far as you knew?
19     Q I got you.                                                               19      A Yes, sir.
20     A So I got to walk 8 foot to the door to see             10:27:26          20      Q Could you see him kind of out -- in your            10:29:39
21   out.                                                                         21   peripheral vision?
22            You can't see nothing where I'm laying,                             22      A I could see him -- yeah, I -- I looked --
23   I mean, other than straight out, which would be the                          23   glanced over, but I didn't want to look at his face,
24   staircase and the window on the right.                                       24   which they hadn't covered up anyway, still were
25     Q So if you would look, please, at Page 107 in                10:27:47     25   working on him. It was two EMTs and him.                   10:29:49



                                                                                                                 8 (Pages 29 to 32)
                                                                                                                       Plaintiffs' Appendix 9
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                        Page 10 of 295 PageID 333
                                                          Page 33                                                                          Page 35
 1      Q And when you testified earlier that they                         1      Q Did you hear anything else that they said
 2   moved you and the other guys out of Cell Number 2 into                2   when they were talking back and forth?
 3   Cell Number 1, were you talking about at this time                    3      A No, no. They was -- they was scrambling
 4   that you just told about?                                             4   around.
 5      A Yes, sir.                               10:30:03                 5      Q After all that happened, other than just guys       10:31:57
 6      Q Not the day before --                                            6   in your cell, did you talk to anybody else about
 7      A No, sir.                                                         7   Derrek committing suicide there at the jail during the
 8      Q -- when he tried to kill himself with the --                     8   time you were still in the jail?
 9      A No, sir.                                                         9              MR. MALONE: That's a bad question.
10      Q -- blanket. Okay.                          10:30:07             10   Strike it.                                  10:32:12
11      A No, they just -- they pretty much got him and                   11      Q (By Mr. Malone) Before you left the Coleman
12   pulled him out and we stayed in the cell.                            12   County Jail when -- in other words, when your
13      Q So when the EMTs are working on him, is that                    13   incarceration ended, did you talk to any jailers or
14   the time when they move y'all to Cell Number 1?                      14   the jail administrator or the sheriff about Derrek
15      A They moved -- yeah. Yes, sir.                   10:30:18        15   committing suicide?                              10:32:22
16      Q And then at some point, they removed Derrek                     16      A I tried talking to Jessie about it. He -- he
17   from -- obviously, from the floor, right, from that --               17   wouldn't talk about it, said he couldn't.
18   that floor of the jail.                                              18      Q Okay. What did -- what did you say to him?
19      A They -- they closed the door.                                   19      A I just asked what took place, you know, what
20             There's a door that divides 1 and 2        10:30:31        20   happened, because I was a trustee.                    10:32:34
21   Cells because it's a female side, and they closed the                21      Q What's a trustee?
22   door.                                                                22      A You'd help out with lunch, supper, and
23      Q So you couldn't see out anymore?                                23   cleanup. Just -- just help out what you can --
24      A No, sir.                                                        24      Q Okay.
25      Q And about how long was it after that that           10:30:40    25      A -- under their supervisor.                    10:32:48


                                                          Page 34                                                                          Page 36
 1   they moved y'all back to Cell Number 2?                               1     Q And why did you feel like Jessie should have
 2      A Seemed like 30 minutes or so.                                    2   spoken to you as a trustee?
 3      Q Okay. And when was it that you heard the                         3            MR. HOGG: Objection,
 4   sheriff say what -- well, tell us what you heard the                  4   mischaracterization of the testimony.
 5   sheriff say.                                 10:30:55                 5            You can answer.                         10:32:59
 6      A As I recall, sheriff come up there and him                       6     A I don't know. I could tell, I mean, it had
 7   and -- I couldn't understand what they was saying, but                7   to be tough on him.
 8   when they finally got the cell open, he was saying,                   8     Q (By Mr. Malone) Okay. So were you just
 9   Don't die on me, pretty much.                                         9   talking -- trying to talk to Jessie more to help him
10      Q Okay.                                    10:31:11               10   work through what happened, or were you just trying to        10:33:11
11      A They -- they were arguing back and forth,                       11   figure out what happened?
12   back and forth. And you could tell they's -- they's                  12     A Probably just trying to figure out what
13   trying to get him -- do what they could.                             13   happened.
14      Q Trying to keep him alive?                                       14     Q Okay.
15      A Yes, sir.                               10:31:21                15     A Somewhat a little bit on both, I guess,             10:33:20
16      Q Who was arguing? Who was arguing back and                       16   because I got along with all of them up there.
17   forth?                                                               17   They're -- seem like good people, and I could tell it
18      A Well, I say arguing. They were -- they were                     18   was bothering him.
19   talking back and forth. They wasn't arguing.                         19     Q Okay. Other than Jessie, did you talk with
20      Q Okay. And are you talking about the sheriff          10:31:29   20   the sheriff or jail administrator or any other          10:33:31
21   with somebody else?                                                  21   jailers about --
22      A Yes, sir.                                                       22     A No, sir.
23      Q Like a jailer or the administrator?                             23     Q -- Derrek committing --
24      A One of the two. I mean, like -- again, I was                    24     A No, sir.
25   laying down in my rack.                            10:31:37          25     Q -- suicide? Okay.                            10:33:37



                                                                                                             9 (Pages 33 to 36)
                                                                                                                Plaintiffs' Appendix 10
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                          Page 11 of 295 PageID 334
                                                             Page 37                                                                         Page 39
 1            So while you were still incarcerated                           1     Q Why not?
 2   there in Coleman County, have you told us everything                    2     A No, because -- and this is just hearsay what
 3   that you can remember that anybody said, whether it's                   3   Sambo and -- Sambo was telling me, that he -- he was
 4   you or somebody you heard, regarding Derrek Monroe                      4   always a suicide risk, or something like that, always
 5   committing suicide or attempting to commit suicide?         10:33:55    5   threatening outside the jail and inside the jail he        10:36:08
 6     A Have I told you everything?                                         6   was going to kill hisself every time something got
 7     Q Yes, sir.                                                           7   tough.
 8     A Yes, sir.                                                           8             That's just what one man told me. You
 9     Q Is there anything else you can remember about                       9   know what I mean?
10   either of those two events -- the -- the first one --   10:34:05       10     Q Sure.                                   10:36:18
11            MR. MALONE: Well, strike that. Let's                          11     A Of course I didn't know the guy.
12   start over.                                                            12             MR. MALONE: Objection, nonresponsive.
13     Q (By Mr. Malone) Is there anything else you                         13             I'm not being offensive when I object.
14   can remember about the first time Derrek attempted to                  14   I just have to do --
15   commit suicide using the blanket that you haven't         10:34:13     15             THE WITNESS: Yes, sir.                        10:36:22
16   already told us about?                                                 16             MR. MALONE: -- these things for the
17     A No, sir.                                                           17   record.
18     Q And then what about the second time where he,                      18     Q (By Mr. Malone) Now, did you know -- and --
19   unfortunately, was successful with a phone cord? Is                    19   and I'm -- apologize if I asked this. Did you know --
20   there anything else about that event that you can        10:34:24      20   I think you said you did not know Derrek before this,          10:36:30
21   recall that you haven't already told us about?                         21   right, before being in jail --
22     A He sat there and, I believe, Jessie was                            22     A No, I --
23   sitting at the table -- again, I didn't get up and                     23     Q -- with him?
24   look, but you could hear him saying, I'm going to --                   24     A -- didn't. No.
25   I'm going to kill myself. I'm going to kill myself.     10:34:43       25     Q What about Sheriff Cogdill? Did you know him                   10:36:35


                                                             Page 38                                                                         Page 40
 1   Please help me, seemed like for an hour or more.                        1   before you were incarcerated there?
 2      Q Who was saying that?                                               2     A No, sir.
 3      A Derrek Monroe.                                                     3     Q And the administrator, Ms. Brixey, Mary Jo
 4      Q Before he actually, apparently, did it?                            4   Brixey, did you know her beforehand?
 5      A Yes, sir.                                  10:34:53                5     A No, sir.                                10:36:46
 6              And Jessie's sitting there telling him,                      6     Q Jessie Laws?
 7   No, you're not. You're going to be all right.                           7     A No, sir.
 8              You know, he was trying to talk him                          8     Q Did you grow up or did you ever live in
 9   down, I guess.                                                          9   Coleman or Coleman County?
10              I never did get up and, you know, lay         10:35:06      10     A No, sir. I'm from Oklahoma. I've been here              10:36:53
11   eyes, but they was the only two awake at that time, I                  11   about two years by the time I got incarcerated.
12   believe. It was early morning. I can't remember if                     12     Q You must like Texas. You're still here.
13   it was before breakfast or not.                                        13             I won't make any --
14      Q So you said you heard Derrek saying, for more                     14     A Leave that alone.
15   than an hour, I'm going to kill myself. I'm going to        10:35:27   15     Q -- Oklahoma jokes.                             10:37:07
16   kill myself. Please help me?                                           16             So any of the people involved in this
17      A Yes, sir.                                                         17   case -- Patsy Cope, Alex Isbell -- we've already
18      Q Did you see Jessie Laws take any action in                        18   talked about the sheriff, the jail administrator, the
19   response to that?                                                      19   jailer -- anybody else at the jail -- did you know
20      A No, I didn't get up out of my rack, but I            10:35:37     20   anybody that you understand to be connected with this              10:37:21
21   heard him talking to him, tried to tell him it's going                 21   case before you were incarcerated in the Coleman
22   to be all right, that he didn't need to do that.                       22   County Jail?
23      Q Did you have any concerns when you heard                          23     A No, sir.
24   Derrek saying that for a long time?                                    24     Q And then, what about after Derrek died? Have
25      A No.                                       10:35:53                25   you become friends with or good acquaintances with                 10:37:33



                                                                                                            10 (Pages 37 to 40)
                                                                                                                  Plaintiffs' Appendix 11
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                      Page 12 of 295 PageID 335
                                                          Page 41                                                                     Page 43
 1   anybody you understand to be connected with this case?                1            Now, do you recall, as far as
 2      A No, sir.                                                         2   contacting, being contacted by an attorney in my
 3      Q Other than during this deposition and our                        3   office by the name of Amanda Crouch?
 4   brief phone call, is there anybody else you've talked                 4     A Oh, yes, sir.
 5   with about what happened that day and --                10:37:49      5     Q Okay. So you did speak to someone else?              10:39:20
 6      A No.                                                              6     A Yes, sir, I did. I apologize on that one.
 7      Q -- other than people at the jail while you're                    7     Q Okay. All right. And do you recall what
 8   still there?                                                          8   you -- what she asked about?
 9      A No, sir.                                                         9     A This -- asked what I -- pretty much what I
10      Q Has anybody else approached you to try to            10:37:57   10   knew had happened.                              10:39:33
11   find out what you knew about what happened?                          11     Q And that's pretty much what you've testified
12      A No, sir.                                                        12   here to today.
13      Q And initially, you had contacted our office,                    13     A Yes, sir.
14   right?                                                               14     Q Okay. And -- and she never asked you to say
15      A Yes, sir.                               10:38:07                15   anything or to change your --                     10:39:41
16      Q Okay.                                                           16     A No, sir.
17      A You posted something on Facebook -- or                          17     Q -- testimony? All right.
18   somebody had.                                                        18     A No, sir.
19      Q And you saw it and then contacted us and just                   19            I apologize on that one. I did forget
20   said, Hey, I've got some information.                 10:38:15       20   about --                                  10:39:47
21      A Yes, sir.                                                       21     Q Okay.
22      Q And is it true that we spoke -- I never asked                   22     A -- that.
23   you to --                                                            23     Q All right. I just want to make -- make sure
24              (Unidentified person entered                              24   that was clear --
25              the deposition proceedings.)            10:38:20          25     A Yes, sir.                              10:39:50


                                                          Page 42                                                                     Page 44
 1             UNIDENTIFIED SPEAKER: (Inaudible.)                          1     Q -- because we all --
 2             MR. MALONE: Let me start over.                              2     A Yes, sir.
 3      Q (By Mr. Malone) Is it true that when we                          3     Q -- we all tend to forget things from time to
 4   spoke I never asked you to provide any specific                       4   time.
 5   testimony?                                    10:38:30                5     A Yes, sir.                            10:39:53
 6      A No, sir.                                                         6     Q Now, what were you incarcerated for?
 7      Q I never asked you to say anything specific?                      7     A Prohibited weapons, two illegal shotguns,
 8      A No, sir.                                                         8   which I only got charged with one. That's what I got
 9      Q And have you told the God's honest truth                         9   locked up for.
10   during your testimony here today?                      10:38:35      10     Q Okay. And have you ever been convicted of a           10:40:07
11      A Yes, sir.                                                       11   felony?
12      Q Is there anything else about what happened                      12     A I am now.
13   that you can recall, as you've been sitting here a few               13     Q Okay. Was that the weapons charge?
14   more minutes, that you haven't already told us about?                14     A Yes, sir.
15      A No, sir.                                10:38:44                15     Q Okay. Prior to your time in the --              10:40:20
16      Q All right, sir. I very much appreciate your                     16     A No, sir, never been incarcerated, never been
17   time. I'm going to pass you as a witness, and this                   17   charged.
18   other attorney might have some questions for you.                    18     Q And have you been convicted of a felony since
19      A Okay.                                                           19   that time?
20                 EXAMINATION                            10:38:55        20     A No, sir.                             10:40:31
21   BY MR. HOGG:                                                         21     Q Okay. Have you been arrested since the last
22      Q Good morning, Mr. Gates. And as -- as I                         22   time you were in the Coleman County Jail?
23   introduced earlier in the deposition, I'm -- my name                 23     A Excuse me?
24   is Jon Mark Hogg, and I represent the County and the                 24     Q Have you been arrested since --
25   defendants in this case.                         10:39:08            25     A No, sir.                             10:40:39



                                                                                                      11 (Pages 41 to 44)
                                                                                                             Plaintiffs' Appendix 12
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                        Page 13 of 295 PageID 336
                                                              Page 45                                                                   Page 47
 1     Q -- then? Okay.                                                       1      A Yes, sir. I'd say that -- that was within
 2            And I'd just like to go back and just                           2   five or ten minutes --
 3   make sure a couple of things are clear. First, I'd                       3      Q Okay.
 4   like to ask you about the incident when he first --                      4      A -- of each other.
 5   when Mr. Monroe first comes into the cell and you have     10:40:55      5      Q But as you sit here today, you don't have any        10:42:33
 6   the two incidents where -- that you described earlier                    6   idea what amount of time went by.
 7   where he tried to choke himself. Okay?                                   7      A No, sir, I don't.
 8     A (No verbal response.)                                                8      Q Okay. Could have been 10 minutes? 30
 9     Q Now, you testified that he was in there for                          9   minutes? Could have been an hour?
10   approximately two hours? Do you know how -- is that        10:41:08     10      A Yes, sir.                              10:42:46
11   a -- is that a fair estimate, or was he -- or do you                    11      Q Okay. And the same thing with the time that
12   know?                                                                   12   you're laying in the rack and you described it as
13     A That's a ballpark figure.                                           13   Jessie hollering and screaming about killing himself
14     Q Okay. Because I'm just trying to determine                          14   for about an hour? Do you know if it was really an
15   how -- how the time frame was on these incidents.        10:41:23       15   hour?                                      10:43:02
16            So he --                                                       16      A I don't know, again, sir --
17     A I --                                                                17      Q You --
18     Q -- came in --                                                       18      A -- because I --
19     A I'd get -- I'd have to get up again to see                          19      Q You didn't have --
20   the clock. You know what I'm saying? I was laying in      10:41:29      20      A -- I can't --                          10:43:06
21   my rack the whole time he's in there. I'm keeping my                    21      Q -- a watch --
22   eye on him because --                                                   22      A -- see the clock. Yes.
23     Q Okay.                                                               23      Q You didn't have a watch on --
24     A -- he's...                                                          24      A Yes, sir.
25     Q Because you don't know what he's going to do.        10:41:36       25      Q -- I assume. All right.                     10:43:08


                                                              Page 46                                                                   Page 48
 1      A No, he's acting -- yeah --                                          1      A All we got's time in there, and I don't know
 2      Q Now --                                                              2   what time it was.
 3      A -- little radical, I guess.                                         3      Q And you were -- I think you said you were
 4      Q -- was it almost immediately after he came                          4   laying in your rack the whole time --
 5   into the cell that he began to try this first choking      10:41:45      5      A Yes, sir.                                10:43:15
 6   incident with the -- wrapped around his neck and his                     6      Q -- and trying to go back to sleep, I assume.
 7   leg, or did --                                                           7      A Yes, sir.
 8      A I don't recall.                                                     8      Q Okay. And it -- the way you perceived it, it
 9      Q -- or did some time go by?                                          9   seemed like it took a long time. Is that fair to say?
10      A I'd say 30 minutes or more, seemed like. I             10:41:57    10      A Yes, sir.                                10:43:29
11   don't -- that's been a year ago. You know what --                       11      Q But you don't have any idea how long it
12      Q Okay.                                                              12   actually took.
13      A -- I mean?                                                         13      A No, sir.
14      Q Yeah, I understand. And that's why I just                          14      Q All right. And -- and just to clear up to
15   want to -- just want to make sure if the two hours           10:42:07   15   make sure -- I think it's pretty clear on your          10:43:37
16   is -- if that's a -- a real two hours or if it all                      16   testimony, but you did not see or witness anything
17   just happened -- this all happened within a half hour                   17   about the incident or the interaction between Jessie
18   of each other --                                                        18   Laws and Derrek Monroe on the morning that --
19      A It could have --                                                   19      A No, sir.
20      Q -- you know.                                  10:42:14             20      Q -- he killed himself? Okay.                     10:43:49
21      A It could have happened. I mean...                                  21             That's all the questions I have. Thank
22      Q Did the two incidents with him wrap- --                            22   you.
23   trying to choke himself with it wrapped around his leg                  23               FURTHER EXAMINATION
24   and also the attempt to hang himself by jumping off                     24   BY MR. MALONE:
25   the toilet, did those happen right after each other?        10:42:26    25      Q Just real brief, maybe out of curiosity more         10:43:58


                                                                                                         12 (Pages 45 to 48)
                                                                                                                Plaintiffs' Appendix 13
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                       Page 14 of 295 PageID 337
                                                           Page 49                                                                     Page 51
 1   than anything. You have a felony conviction because                     1      Q Okay.
 2   you had an illegal shotgun?                                             2      A No, sir.
 3      A Yes, sir.                                                          3      Q You don't know whether it was the sheriff or
 4      Q Can you describe what kind of shotgun gets                         4   Mary Joe Brixey?
 5   you a felony conviction like that?                  10:44:09            5      A Yes, sir. That's true.                       10:45:53
 6      A It was a shotgun my grandpa gave me that he                        6      Q Or the EMT.
 7   had for years. Illegal length. It was too short. I                      7      A Yes, sir.
 8   think 18 3/4 -- 16 3/4 the legal length, and mine was                   8      Q Okay. So when you're talking about Les
 9   a couple inches too short.                                              9   Cogdill being there, you don't know if he arrived
10      Q And that's -- that alone got you a felony         10:44:28        10   first or if someone else arrived first.              10:46:02
11   conviction.                                                            11      A This is true, sir.
12      A Yes, sir.                                                         12      Q Okay. And do you recall? Were you already
13      Q Possessing it?                                                    13   in the -- the female cell, in Cell 1, with the door
14      A Having it in my apartment.                                        14   closed when you -- you claim you heard Mr. Cogdill
15      Q And there was no use of -- use of it -- no         10:44:37       15   say, Don't die on me?                              10:46:16
16   violent use of it, anything like that.                                 16      A I believe I's still in my cell.
17      A No, sir.                                                          17      Q In the -- in your cell in the rack?
18      Q Mere possession.                                                  18      A Yes, sir.
19      A Well, yeah, I had -- I had it in my -- when                       19      Q Okay. Okay. But you don't know how long he
20   they got it out of my apartment, I wasn't there. When       10:44:48   20   had been there or whether anyone else had --               10:46:26
21   they found it in my apartment, I wasn't there. So you                  21      A No, sir.
22   know, me possessing it in my apartment, not having it                  22      Q -- been there?
23   in my actual possession.                                               23      A I don't -- I don't know how long anybody had
24      Q All right. And which law enforcement agency                       24   been there.
25   actually arrested you for that?                    10:45:00            25      Q And I'm not trying to be rude. I just want           10:46:31


                                                           Page 50                                                                     Page 52
 1      A Coleman County Sheriff's Department.                               1   to make sure we get the clean record since we were
 2      Q Okay. Do you know who the officer was, the                         2   talking over each other.
 3   deputy?                                                                 3            You don't know -- since you were laying
 4      A Deputy Barkemeyer, I believe, if I'm saying                        4   in your bed, you still -- you do not know who arrived
 5   that right.                                 10:45:12                    5   first, whether it was Mr. Cogdill or Mary Joe         10:46:47
 6      Q Okay. And do you know how they ended up at                         6   Brixey --
 7   your apartment, how they found out about that?                          7      A Yes --
 8      A Santa Anna PD's the one that went in my                            8      Q -- correct?
 9   apartment. They went in there to arrest Diana Wells                     9      A -- sir.
10   because she had a warrant, and she let them in my      10:45:25        10      Q All right. Or it could have been EMTs. You        10:46:53
11   apartment.                                                             11   don't know.
12      Q Got you.                                                          12      A Yes, sir.
13            All right, sir. I appreciate your time                        13      Q All right.
14   again. I'm going to pass you as a witness.                             14            MR. HOGG: No further questions.
15      A Yes, sir.                               10:45:32                  15            MR. MALONE: And I have no further             10:46:58
16               FURTHER EXAMINATION                                        16   questions either.
17   BY MR. HOGG:                                                           17            THE VIDEOGRAPHER: This concludes the
18      Q I'm sorry. There's always a couple more                           18   deposition of Brandon Nei- -- Neil Gates.
19   questions.                                                             19            The time is 10:46 a.m., and we're off
20      A Yes, sir.                               10:45:36                  20   the record.                               10:47:07
21      Q You did not -- since you did not get out of                       21            (End of proceedings at 10:46 a.m.)
22   your rack the morning of the incident where Mr. Monroe                 22                  -----
23   killed himself, you didn't see who arrived first to                    23
24   assist Mr. Laws?                                                       24
25      A No, sir.                                10:45:49                  25



                                                                                                        13 (Pages 49 to 52)
                                                                                                               Plaintiffs' Appendix 14
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18        Page 15 of 295 PageID 338
                                                    Page 53
 1   STATE OF TEXAS )
 2   COUNTY OF TAYLOR )
 3
 4             I, Cara B. McLeod, Certified Court
 5   Reporter No. 7775, duly qualified in and for the State
 6   of Texas, do hereby certify that, pursuant to the
 7   stipulations hereinbefore set forth, there came before
 8   me, BRANDON N. GATES, who was by me duly sworn to
 9   testify the truth, the whole truth and nothing but the
10   truth of their knowledge concerning the matters in
11   controversy in this case; and that they were thereupon
12   carefully examined upon their oath and their
13   examination reduced to typewriting by me or under my
14   supervision; that the deposition is a true record of
15   the testimony given by the witness.
16             I further certify that I am neither
17   attorney nor counsel for, nor related to or employed
18   by any of the parties to the action in which this
19   deposition is taken, and further that I am not a
20   relative or employee of any attorney or counsel
21   employed by the parties hereto or financially
22   interested in the action.
23             That the amount of time used by each
24   party at the deposition is as follows:
25


                                                    Page 54
 1           1. MR. T. DEAN MALONE
                TIME: 0:37
 2
              2. MR. JON MARK HOGG
 3               TIME: 0:06
 4            I have hereunto set my hand this _______
 5   day of ________________, 20______.
 6
 7
 8
 9
             ______________________________________
10           Cara B. McLeod, Texas CSR No. 7775
             CSR Exp: 12/31/19 Firm Reg No. 4923
11           Accuracy Plus Reporting, LLC
             104 Pine Street
12           Suite 708
             Abilene, Texas 79601
13           (325) 677-3355
             info@accuracyplusreporting.com
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                                                                   14 (Pages 53 to 54)
                                                                       Plaintiffs' Appendix 15
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 16 of 295 PageID 339




                    TAB A




                                                             Plaintiffs' Appendix 16
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                    Page 17 of 295 PageID 340


                                   IN THE UNITED STATES DISTRICT COURT
                                     FOR THE Northern DISTRICT OF TEXAS
                                             San Angelo DIVISION

 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate ofDerrel' Quinton Gene Monroe
 vs.                                                                      CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws


                                                              NOTICE



TO: ALL PARTIES BY AND THROUGH THEIRATTORNEY(S) OF RECORD AS PROVIDED IN THE ATTACHED
SERVICE LIST.

PLEASE TAKE NOTICE THAT ON THE 21st     DAY OF       September ,       2018, AT THE HOUR OF
10:00 A.M., THE PRODUCTION OF DOCUMENTS AND/OR TANGIBLE THINGS BY THE CUSTODIAN OF RECORDS
FOR:
Classen Buck Seminars, Inc. (Any & All Records)
P.O. Box 154340
Waco, TX 76715



will be conducted before a Notary Public, or other officer authorized to administer oaths employed by Records Deposition Service
of Texas, Inc., 2201 Main St., Ste. 1250, Dallas, TX 75201, at the deponent's address, pursuant to provisions of Federal Rules of
Civil Procedure. A subpoena duces tecum will be issued to require the witness to produce records, books, papers, documents, and
tangible things pertaining to: see attached Exhibit "A."

This notice is given on behalf of the Plaintiff, at the instance and authorization of (his)(herXits) counsel of record T. Dean Malone,
Esq., whose address is 900 Jackson St., Ste. 730, Da11as, TX 75202 and whose phone number is 214-670-9989. Counsel does not
propose to interrogate the Deponent, the proceeding being solely for the purpose of authenticating and copying the records, books,
and documents in the possession or control of the Deponent. You, of course, are welcome to appear if you so desire. If you have
any objection to the copying of the records and documents please call (214) 760-7600.

If the Deponent designated in this Notice is an organization such as a corporation, partnership, association or govenunent entity,
deponent-organization shall designate one or more officers, agents or other persons who can testify on behalf of the Deponent with
respect to all of the matters thereto.




Order No. 15690


                                                                                                     Plaintiffs' Appendix 17
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                        Page 18 of 295 PageID 341




     THERE WILL BE NO INTERROGATION OF THE DEPONENT BY THE UNDERSlGNED COUNSEL.


     STATEOFTEXAS )
     COUNTY OF DALLAS)

                             Law Offices of Dean Malone
                             T. Dean. Malone, Esq.
                                                                                                                 r
                             900 Jacbon St., Ste. 730                                                            J
                             Dallas, TX 75202                                                                    I
                                                                                                                 !i
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                             NOTICED BY: T; Dean Malone, Esq.
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                                            CJ!:R.TlFICATE OF SERVICE

        BEFORE ME, the undersigned authority, ~Jn this day personally appeared Stacy Ochoa beillf first duly
     sworn, on oath states that a copy of the above Notice was personally served this _ 09/ 10/ 20 8       __
      on the above-named attorneys to whom this Notice is addressed, at the address set out in such Notice,
     the same being the last known address of such attorney, (by depositing a copy thereof, postage paid, in a
     wrapper addressed to such attorneys at such address) or (by facsimile) or (by personal delivery of such
     Notice to the addressee above set forth).

                                              0_9_/1 0£2018
     SUBSCRIBED AND SWORN before me this _,,_ _




    Order No, 15690




                                                                                       Plaintiffs' Appendix 18
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 19 of 295 PageID 342


                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE Northern DISTRICT OF TEXAS
                                         San Angelo DIVISION

 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate of Derre)( Quinton Gene Monroe
 vs.                                                        CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws


                                             LIST OF ATTORNEYS:
                                                                                                       J



                                                                                                       I
Jon M.. Hogg, Esq.
Jackson Walli:er, LLP
135 W. Twohig Ave., Ste. C
San Angelo, TX 76903                                                                                   ~
325-481-2550 Fax: 325-481-2552




Order No. 15690

                                                                             Plaintiffs' Appendix 19
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                 Page 20 of 295 PageID 343


                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE Northern DISTRICT OF TEXAS
                                           San Angelo DIVISION
'Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate of Derrek Quinton Gene Monroe
 vs.                                                                       CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws




                                                        EXHffiiTA

                                                      I. DEFINITIONS

    The tenn "records, books, papers and documents" as used herein shall include any printed, typewritten or handwritten matter
    or reproduction thereof whatever character, including without limitation, correspondence, memoranda, agreements, letters,
    hand or typewritten notes, tape recordings, computer runs and any codes necessary to comprehend such rw1s, checks, check
    stubs, bank statements, and writings of every kind and character, whether originals or reproductions.



                                           II. DOCUMENTS TO BE PRODUCED

Copies of the following for Course No. 3501, entitled "Suicide Detection and Prevention in Jails (Inter)," taken by Leslie
W. Cogdill on February 8, 2013 thr,ough Classen Buck Seminars, Inc.; syllabus, books, all course materials, audio and
video recordings, and all display slides (including projector slides and PowerPoint slides), and documents and tests
completed by Leslie W. Cogdill.




Order No. 15690.002


                                                                                                 Plaintiffs' Appendix 20
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                      Page 21 of 295 PageID 344



                                    IN THE UNITED STATES DISTRICT COURT
                                     FOR THE Northern DISTRICT OF TEXAS
                                             San Angelo DIVISION
 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate of.Derrek Quinton Gene Monroe
 vs.                                                                            CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws
                                                           AFFIDAVIT
STATE OF_ _ _ _ _ __

COUNTY OF _ _ __ __

         BEFORE            ME,       the  undersigned  authority,      personally        appeared
(Custodian)--,----,----- - - - -- - - - - - -- -- - --    who being by me duly· sworn, deposed as
follows:    (Please print your name)

         1. I, the undersigned, am over twenty-one (21) years of age, of sound mind, capable of making this Affidavit, and
personally acquainted with the facts herein stated and do state that the facts in this Affidavit are true and correct.

         2. I am the Custodian of Records for Classen Buck Seminars, Inc. and am familiar with the manner in which its records
are created and maintained by virtue of my duties and responsibilities.

         3. Attached hereto are ___ pages of records concerning Leslie W. Cogdill These are the original records or exact
duplicates ofthe original records.

         4. It is the regular practice of Classen Buck Seminars, Inc. to make this type of record at or near the time of each act,
event, condition, opinion or diagnosis set forth in the record.

         5. It is the regular practice of Classen Buck Seminars, Joe. for this type of record to be made by, or from information
transmitted by, persons with lmowledge of the matters set forth in them.

        6. It is the regular practice of Classen Buck Seminars, Inc. to keep this type of record in the course of regularly
conducted business activity.

         7. It is the regular practice of the business activity to make the records.

Further Affiant sayeth not.




                                                                           SIGNATURE OF CUSTODIAN

SUBSCRIBED AND SWORN TO before me, the undersigned authority, on this the                                                 day of




                                                                           NOTARY PUBLIC
                                                                           In and for the State of _ _ _ _ _ __ _ _ _
                                                                           My Commission Expires: _ _ __ _ _ _ __
Order No. 15690.002




                                                                                                  Plaintiffs' Appendix 21
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                             Page 22 of 295 PageID 345



    AO SBD (Rev.mJ14) Subpoena to Pr~du~~ .D.ocume'!_1s, lnJorm~ion, or Ob'~:l! Qr to Pormit IIISpcution of I' remises in ~Civil Action
                                                                                                                                          ..... ,..
                                             UNITED STATES DISTRICT COURT

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.~ . -_
     ~:.                 ··~ ·                            Northem District of Texas
                                                                                        for the



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· . ~~;r  ).C!iP.P ,JnJ!lY•llw~.·JJYJ·3lRd Alex label~ as San Angelo Division
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JN~ \\::f~~e_~ro'}t t11_lloft _(l~ne M_o!'r~e :•~d · - -
·    · ·     ·              •        Plaintiff
                                        v.
                                                                                            )
                                                                                            ) .•
                                                                                            )          Civil Action No.             6:18-cv~0001.5·C
                                                                                             )
                                                                                             )
                                                                                             )

                                SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                  OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

    To:       Cla&sen B,IIO"k~$P.i1Jiijafs, Inc.
              P.O. Box l;1J'4~'l.'Oi \IYACo.~·Texas 7671.5: (254) 379·61.53
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                                                                                                                            .. """""""""'~....,,,...,,,...,,,...,_ __   _,_,~




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                                                                                                                                                                                 i

     Place:' ·Records Deposition Service or Texas, inc,                                                  Date and Ti;l'Le:                 · ......                     ~~
                       1701 N. Collins Blvd., Ste. 334, Richardson, TX 75080 L                                 September 21, 2018 ·~~:00 p.m. ~                                  I
                       Ph~t:"e: (21117~~]6~0; Fax: (214)760-0222                                                                                                                 )-
                                                                                                                                                                                  t
         CJ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
    other property possessed or controlled by you at the time, date, and locatlon set forth below, so that the requesting party
    may inspect, meas\u'e, survey, photograph, test, or sample the property or any designated object or operation on h.
                                                                                                                            ...-......._..=------.....,,.....;.:..--- ~

    .r~:, ~c_e_:_........,._'---___ ~·--.                                                              !Date and       Tim.~e.r~----.~-.. . . .____j
            The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance~
    Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relnting to your duty to
    respond :~o this·sil ~!-\P -and the potential consequences of not doing so.
    Date}.   &b·7 ~IP 1e
                   g

                                        CLERK OF COURT
                                                                                                             OR
                                       ~-~
                                                     Slgna1w·e Qj'C/erk or Deputy Clerk




                                   Notice to the person who issues or requests this subpoena
    If tbis subpoena commands the production of documents, electronically stored information, or tangible things or the
    inspection of premises befo1'e trial, a notice a11d a copy of the subpoena must be served on eacb party in this case befo1-e
    it Is served on the person to whom itjs directed. Fed. R. Ci\1. P. 45(a)(4).




                                                                                                                                                       Plaintiffs' Appendix 22
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                 Page 23 of 295 PageID 346
                                                                                                                                                                               I
  AO 88B (Rev. 02/14) Suhpoonato Produce Document~. lnfoonation, or Olljc:l~ or lo Penn it lnsptelion of Promls~s Jn aCivil Act.iOJ1 ~.P.a~~ 2)
                                                                                                                                                                               I
  Civil Action No. 8:18·cv-D0015·C
                                                     -

                                                                              PROOF OF SERVICE
                                                                                                                                                                               I
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)
                                                                                                                                                                               I
  on (date)
              I received this su.bpoena tbr (name ofindividual and title, if any)

                  --~-     ....-·- - ··
                                                                                                                     --.--.-. -~~~ -"--N'' · ~~.......,.,---

                                                                                                                                                                               I
              0 I served the subpoena by delivering a copy to the named person as follows:


            _........._.., _   _ ....,..... , ...:.=,._j;;::'~ _ _ _....... ~ ... - -...... ~~-·.....__.___,_ _._.
                                                                                                                     on (date)                             ; or

              0 1 returned the subpoena unexecuted because:
                                                                                                                                               --'----·-=--
           --~·~-·· ···-                   -'-----~,.::;:..           _ _ _.....__~...,-"'!-..                                   ,....-----·---- --- ---
              Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
              tendered to the witness the fees for one day's attendance, atld the mileage allowed by law, in the amouat of
              $

  My fees are$                                                 for tl'avel and $                                           for services, for a total of$          0.00
                          ----~~-----                                                      ~~~------




              I declare under penalty of perjury that this information is true.


  Date:                                                                      --~'-~'-----"'""·.~----·----·--...;!..-=----~·,~---·                                    . ·-=-·
                                                                                                                             Servtw 's signafure


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                                                                                  -                    ,- --- - . . . . .        --------==~--------
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  Additional information regarding attempted service, etc.:




                                                                                                                                                     Plaintiffs' Appendix 23
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                       Page 24 of 295 PageID 347



  AO 8813_ (Rev.   0~14)   Subpoena to   Pr~.ducc   Dncw11ents! lnlbnnnlion. or Objects or to Permit Inspection ofl'rcmiscs in a Civil Amion(Puge 3)

                                Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
  (c) Place ofCompliHnce.                                                                         (li) disc!osin.g nn mlretnlned expert'~ O[>iniott or info11nation that docs
                                                                                          t(llt".;lcs<iribe sp~oilic 0~9yrrctwcs in cli~pute and results fi·om the cxpeci's
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  tangible things at a place within l 00 miles ofwher~ the person resides, is
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  to nvoid imposing und1re bnrdcn or expense on n person subject to the
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  enfor,c:e thls duty nnd impase nn appropriate sanction-which may include                person rasponding ~~~~d uot produce the same clcctronicall)• stored
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     (R) Objecl/tJIM. A pe~on commanded to produ~ documents or tangible                   26(b)(2)(C). The court may specif} conditions fix the discovery.
  things or to pemtit in~pection may serve un U1c pnrty or ollomey dcsigunted
  in the suhpocnR o wri!!en objection to lnspcctin&, copyJng, tcsrin&, or                 (2) C/aimlllg PrMiege or PmtectloiL
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  producing cleclronically stored infon11atlon in the fonn or fu!llls rC<JUCstcd.         under ~claim that it 1s privileged or subject lo protection as toni-preparation
  The objection must be sorvcd before U1e enrlicr ofthe time specified for                material must:
  COnlpliiiiiCQ or 14 days ruler the subpotna ls served,1fan objection is made,                 (i) expressly mal1e the claim; nnd
  the fbllowing rules apply:                                                                    (il) describe the nnture ofthc withheld document~, communicutiott~, or
       (I) At uny tim~, 011 n.oticc to the commanded person, the serving pHrty            tangible things in a m~11ncr that, without revealing information itself
  may move the court for the district where compliance is required for ~n                 i>rivHegcd or prot~cted, will enuble the pRrties to ttsscss the eJ~im.
  ordet compelling production or inspection.                                                (D) !n.formiJiion Prod1rced lfinfonnation produced in response to a
        (ii) These ~cl9 may be required only as directed in the order, and the            subpoena i9 subject to a cloim of privilege orofprolectiotl us
  order must protect a person who is neither a pnrty nor a pllrty' s officer fi·otu       lrJnl-preparatll'n mat~rinl, the pCJ'!lOtt m!lkingthe daim may notify aoy p11rty
  ~ignificant expense resulting frum compliance.                                          Ul.llt received t11e iniorwvtion of the cl.nirn aud the bltsis for it. A O-cr bein~:
                                                                                          notified, a party nntsl promplly retum, sequester, or dcsu·oy the specif·Ted
   (3) Qrm~hing or Modifying a Sttbpoemr.                                                 informntiOL\ and nny copies it.llas~ must. not usc or disclose the it\fhrmation
    (A) When Reguimd. On timely motion, the court for the district where                  until the claim is resolved; 1ll11St tuke rea.~1.mable steps to retrieve the
  compliance is reqnircd tmtst quQsh (lt modify a subpoena that:                          infonnation ifthe pnrty disclosed it bc(\lrc being notillcd; and may prompUy
       (i) fails to allow a re~sonu\lle time to comply;                                   prtscnt tltc infl"lmlnliou undllr seal. to U1e court for t.be district where
       (ii) requires a person to comply beyond the geographical limits                    compliance is required tbr a detcrminntit'n of lite claim. The }lei"SQ11 who
  specified in Rule 45(c};                                                                produced the iutimnation must preserve the intormation until the daim is
       (IU) requires disclosure of privileged or other proteded matter, if no             resolved.
  excepliott or waiver applies; or
       (iv) subjects a person to undue bw·den,                                            (g) Contempt.
    (D) Wl11m Perm/lied To protect n person subjeclto or a!Ir.cled by a                   The court fur the district where ~ompliance is required-and also, alter a
  subpocnn, the court tar the district where compliauce is reqnired muy, on               motion is transferred, the issuing conrt~may hold in contempt II petson
  motion, qmtsl! or modlty the subpoen~ if it requln.~:                                   who, having been serwd, f~ils witho11t Rdequate excuse to ohey the
        (i) disclosing n trurle secrel or other confidentiul research,                    subpocn11 or an order related ttl it.
  development, or commercial inforronti(ln; or



 [_                                          For acccs~ lo subpoena muterials, see Fed, R, Civ, P. 45(a) Commiitce Note (2013),.

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                                                                                                                                                Plaintiffs' Appendix 24
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                 Page 25 of 295 PageID 348


                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE Northern DISTRICT OF TEXAS
                                           San Angelo DIVISION
'Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate ofDerrek Quinton Gene Monroe
 vs.                                                                       CIVIL ACTION NO. 6:18-CV..OOOlS-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws




                                                        EXIIT.BIT A

                                                      I. DEFINITIONS

    The term "records, books, papers and documents" as used herein shall include any printed, typewritten or handwritten matter
    or reproduction thereof whatever character, including without limitation, correspondence, memoranda, agreements, letters,
    hand or typewritten notes, tape recordings, computer runs and any codes necessary to comprehend such IUllS, checks, check
    stubs, bank statements, and writings of every kind and character, whether originals or reproductions.



                                          II. DOCUMENTS TO BE PRODUCED

Copies of the following for Course No. 3501, entitled "Suicide Detection and Prevention in Jails (Inter)," taken by Leslie
W. Cogdill on February 8, 2013 thr,ough Classen Buck Seminars, Inc.; syllabus, books, aU course materials, audio and
video recordings, and aU display siides (including projector slides and PowerPoint slides), and documents and tests
completed by Leslie W. Cogdill.




Order No. 15690.002


                                                                                                 Plaintiffs' Appendix 25
                               Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 26 of 295 PageID 349


                                         Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                                          Forward

                                                                           PREFACE

    The purpose of this course is to give individuals involved in the correctional setting a thorough understanding and knowledge of offenders and
    inmates with mental impairments, suicidal behavior and methods for detection and prevention of suicide. Suicide prevention should begin at the time
    an offender is arrested and continue through the time the individual is incarcerated in a correctional facility. Experience and research has shown that
    almost all jail suicides can be prevented if a comprehensive program is in place that includes staff training, intake screening, communication betwee"
    staff, appropriate and safe housing, frequent observation, prompt intervention, and human interaction between staff and inmates.

    We wish to thank the Texas Commission of Law Enforcement Officers Standards and Education for their contribution to this course. Special thanks
    also to Ms. Karen Hall ofthe Open Records Office, Texas Department of Criminal Justice, Huntsville, TX for providing statistical information on
    current suicide rates in Texas prisons and jails.

    Additional information for this course was also taken from:

       •   Jail Suicide/Mental Health Update, Fall2001, VollO, No.4
       •   Gale Encyclopedia of Medicine
       •   American Correctional Association Standards
       •   2001 TDCJ Statistical Information (www.tdcj.state.tx.us}
       •   Texas Commission on Jail Standards (www.tcjs.state.tx.us)
       •   Suicide Across the Life Span by Judith M. Stillion and Eugene McDowell
       •   Techniques in Crisis Intervention: A Training Manual from the Suicide Prevention Center, Inc.
       •   Prison Suicide: An Overview and Guide to Prevention (available from National Institute for Corrections or 111WW.nicic.gov)
       •   The Court's Role In Shaping Prison Suicide Policy, by William C. Collins, Esq.

                                         Suicide Detection and Prevention in Jails: Including Mental Impairments

    The purpose of this course is to give individuals involved in the correctional setting a thorough understanding and knowledge of offenders and
    inmates with mental impairments, suicidal behavior and methods for detection and prevention of suicide. Suicide prevention should begin at the time
    an offender is arrested and continue through the time the individual is incarcerated in a correctional facility. Experience and research has shown that
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                                                                                                                                 Plaintiffs' Appendix 26
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 27 of 295 PageID 350


                                     Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                    Lesson 01 - Introduction and Myths about Suicide
1.1 Introduction

Learning objective: The student will be able to explain the extent of the offender suicide problem nationally and in Texas jails and lockups.

                                                                    National Statistics
                                                                                                                                                       ..............
Suicide data is collected by the Bureau of Justice Statistics (BJS) as part of the requirements for the Death in Custody Reporting Act of2000. Thesl
statistics reveal the following:

   • Suicide is the third leading cause of death in U.S. Jails, behind natural causes and AIDS.
   • Jail suicide rates have declined steadily from 129 per 100,000 inmates in 1983 to 47 per 100,000 in 2002.
   • The suicide rate in the Nations 50 largest jail jurisdiction is half that of all other jails.
   • During 2002 the Nations smallest jails had a suicide rate 5 times that ofthe largest jails.
   • Death rates are higher among men in 9 of the 10 leading causes of death.
   • Males and White inmates had the highest rate of suicide in jails, and are 6 times more likely to commit suicide than Black inmates and 3 times
     more likely than Hispanic inmates.
   • Violent offenders committed suicide at nearly triple the rate of nonviolent offenders in jail.
   • Nearly half of jail suicides occurred in the first week of custody.

                                                                  State Prison Statistics

   • State prison suicide rates, which have historically been lower than the rate in jails, dropped from 34 per 100,000 in 1980 to 14 per 100,000 in
     2002.
   • Drug offenders had the lowest suicide rates of all State prisoners.
   • 7% of State prison suicides took place during the first month of custody.
   • During 2002, the latest year for which such data are available, suicide accounted for 168 state prisoner deaths.

                                                                   Local Jail Statistics

   •   There are over 3,300 local jails operated by county and municipal jurisdictions.
   •   In 2002, the suicide rate in local jails (47 per 100,000 inmates) was over 3 times the rate in State prisons (14 per 100,000 inmates).
   •   Almost half of jail suicides occurred during the inmate's first week of custody.
   •   During 2002, the latest year for which such data is available, suicide accounted for 314 jail inmate deaths.

                                                                                                                             Plaintiffs' Appendix 27
                               Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 28 of 295 PageID 351
                                                      State of Texas Prison Death Statistics

        •   The number of prisoner deaths in Texas from 2005 to 2009 is 1609.
        •   The number of prisoner deaths in Texas, resulting from suicide from 2005 to 2009 is 325.
        •   From 2005 to 2009, natural causes/illness was the number one cause of death in Texas, at 778.
        •   The number of prisoner deaths in Texas in 2009 was 294.
        •   The number of prisoner deaths in Texas resulting from suicide in 2009 was 56.
        •   In 2009, natural causes/illness was the number one cause of death in Texas, at 143.

     1.2 Learning Objective: Student will be able to identify the four factors in a pro-active stance to neutralize litigation.

     Most experts agree that liability can be neutralized by "proactive" policies and procedures, coupled with adherence to state and national standards.
     One such policy would be to implement a four step prevention program with accompanying written policies and procedures that include:

        • Properly trained staff - this includes training staff not only on suicide prevention but on mental health conditions
        • Intake or admissions screening - implementing programs that assess an offenders mental condition when he is admitted to a
        • Classification- after screening, inmates should be classified according to their risk and appropriate supervision provided to ensure their well-
          being.
        • Increased monitoring - increase monitoring of all incarcerated offenders for suicidal tendencies appearing after admittance.

     It is very important to remember that any program implemented must correspond to state and national jail standards. These standards can be found in
     Minimum Jail Standards and Guide for the Development of Mental Disabilities Suicide Prevention Plans which are produced by the Texas
     Commission on Jail Standards.

     1.3 Learning objective: The student will be able to give at least two reasons why law enforcement officers working the streets need training in the
     signs and symptoms of suicide.

     There are four main reasons why law enforcement officers working the streets need training in the signs and symptoms that an offender is
     considering suicide:

        • Law enforcement is a professional service with the primary goals of protecting lives and protecting rights.
        • An arresting officer is the first person in an official capacity to observe offenders and have a chance to see suicide signs and symptoms, thus
          enabling them to refer the offender to available crisis intervention or mental health services.
        • Arresting officers can alert jail staff to offenders exhibiting suicidal symptoms.
        • Although many officers prevent jail suicides, some are named in lawsuits for failing in "duty of care" and for deliberate indifference.

~~   1.4 Myths and Facts Concerning Suicide
i
~    Learning objective: The student will be able to list at least five myths and accompanying facts about suicide.
cu
     There are numerous myths regarding suicide. Listed below are some of the common myths and the real facts regarding those myths.
                                                                                                                                  Plaintiffs' Appendix 28
                       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 29 of 295 PageID 352
   • Myth: People who make suicidal statements or threaten suicide don't commit suicide.
     Fact: Most people who commit suicide have made direct or indirect statements indicating their suicidal intentions.


   • Myth: Suicide happens suddenly and without warning.
     Fact: Most suicidal acts represent a carefully thought out strategy for coping with various personal problems.


   • Myth: People who attempt suicide have gotten it out of their systems and won't attempt it again.
     Fact: Any individual with a history of one or more prior suicide attempts is at much greater risk than those who have never made an attempt.


   • Myth: Suicidal people are intent on dying.
     Fact: Most suicidal people have mixed feelings about killing themselves. They are ambivalent about living, not intent on dying. Most suicid~
     people want to be saved.


   • Myth: Asking about and probing the inmate about suicidal thoughts or actions will cause him to kill himself.
     Fact: You cannot make someone suicidal when you show your interest in their welfare by discussing the possibility of suicide.


   • Myth: All suicidal individuals are mentally ill.
     Fact: Although the suicidal person is extremely unhappy, they are not necessarily mentally ill.


  • Myth: The rate of suicide is lower in a jail setting.
    Fact: Jail suicides occur several times more often than in the general population.


  • Myth: Inmates who are really suicidal can be easily distinguished from those who hurt themselves but are just being manipulative.
    Fact: Manipulative goals as a motive for self-injury are not useful in distinguishing more lethal attempts from less lethal attempts.


  • Myth: You can't stop someone who is really intent on committing suicide.
    Fact: Most suicides can be prevented.


Remember, recognizing the symptoms and signs of suicide and appropriately responding to those signs is the best prevention there is for suicide.



                                                                                                                         Plaintiffs' Appendix 29
                              Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 30 of 295 PageID 353


                                        Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                  Lesson 02- Profiling Suicide Victims

    2.1 Suicide Victim Profile

    Learning objective: The student will be able to list at least five characteristics in a "typical profile" of inmates who commit suicide.



       •   In 2009, there were 56 individuals who committed suicide in the State of Texas while either detained or incarcerated.
       •   98% of the suicide victims were male and 2% were females.
       •   16% of suicide victims were African American, 23% were hispanic, 60% were Anglo and 2% were other.
       •   1% of suicide victims were under age 18, 29% were between the ages of 18-29, 29% were between the ages of 30-39, 25% were between the
           ages of 40-49, 11% were between the ages of 50-60, and 5% were over the age of 60.
       •   75% of suicide was a result of asphyxia by hanging, 14% resulted from gunshot wounds, 4% resulted from a drug overdose and 7% were
           suicide by other means.
       •   14% of suicides occurred with the first 24 hours of incarceration.
       •   11% occurred within the first three hours.
       •   50% of suicides were in county-run facilities; 50% occurred in urbanjails.
       •   64% were detained on violent charges and 36% on non-violent charges.
       •   9% of suicide victims were under the influence of alcohol and/or drugs at incarceration.
       •   34% of suicide victims had more than one charge.
       •   80% of suicide victims were screened for potentially suicidal behavior at booking; with 7% demonstrating mental behavior symptoms.
       •   30% of suicides occurred during six-hour period between midnight and 6 A.M.
       •   33% of the suicide victims were in isolation.



   2.2 The Purpose of Profiling

   Learning objective: The student will be able to explain the correct purpose of a suicide victim profile.

   Suicide victim profiles are an important supportive instrument and assessment aid in preventing jailhouse suicides. The intent of the above statistics
~ and profile was to give jail personnel information so they can be sensitive to the characteristics most often appearing in jail suicide victims. The
m purpose of it is meant to supplement the warning signs and behaviors that are observed at arrest, during transport, booking/intake, and confinement.
   Remember:
                                                                                                                                Plaintiffs' Appendix 30
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 31 of 295 PageID 354
   •   Profiles are important but not end-alls.
   •   The signs and symptoms picked up at arrest are very important in detecting and preventing suicide
   •   Behavior at booking is also very significant
   •   A profile when used in conjunction with staff awareness training and intake screening can be a valuable tool in jail suicide prevention.



2.3 Benefits and Problems of Victim Profiles

Learning objective: The student will be able to describe the benefits and problems oflocally/regionally developed suicide victim profiles.

Local and regional suicide profiles are encouraged. They may be a more accurate tool for your facility than the national profile. But remember there
are benefits and problems to these profiles. They include:

   • Benefits: usually more accurate than a national profile
   • Problems: inmates who come from different regions than your local one may be more likely to conform to the national profile.

Additionally, when developing regional profiles, remember:

   • Be cautious about quick-fixes and current fads
   • Television monitors aren't always effective it only takes a minute or two for an inmate to commit suicide and if the monitors are not constantly
     monitored they don't serve the purpose.
   • Tearaway blankets and gowns are useful to prevent hangings, but they can be used to suffocate oneself.




                                                                                                                           Plaintiffs' Appendix 31
                                 Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 32 of 295 PageID 355


                                           Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                     Lesson 02 - Profiling Suicide Victims

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       Remember:
                                                                                                                                   Plaintiffs' Appendix 32
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 33 of 295 PageID 356
   •   Profiles are important but not end-ails.
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                                                                                                                           Plaintiffs' Appendix 33
                          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 34 of 295 PageID 357


                                    Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                      Lesson 03 - Inmate Suicide
3.1 Important Factors in Inmate Suicide

Learning objective: The student will be able to describe at least four factors in the jail environment that have an impact on suicide.

Environmental factors that have an effect on inmate suicide:

   • Authoritarian environment- many inmates are not use to the restrictiveness and regimentation of being incarcerated. This often leads to
     depression.
   • No apparent control over future - many inmates feel they have no control over what happens to them. They are also fearful of and uncertain
     about the legal process.
   • Isolation from family, friends, and community - limited and/or no visitation by family and friends results in a feeling of isolation by the
     inmate
   • The shame of incarceration- inmates can't handle the embarrassment ofbeing incarcerated and feel suicide will solve the problem
   • Dehumanizing aspects of incarceration - inmates often view the searches, lack of privacy, and restrictiveness of incarceration as
     dehumanizing
   • Fears - inmates, especially new ones, have a preconceived notion of what being in prison is like from TV and movies that stereotype
     institutions. They are often afraid they are going to be stabbed, raped, or otherwise assaulted.
   • Officer insensitivity - often officers are insensitive to the feelings and beliefs of inmates when it comes to arrest and incarceration. Inmates
     are often seen as a victim oftheir environment with no hope of changing. Note: the longer a jail officers career, the more likely he is to have
     de-sensitized himself to the inmates and his surroundings; often jail personnel are also victims ofthe jail environment.
   • Trauma of arrest often inversely proportionate to offense- 75% of suicide victims charged with non-violent crime. The trauma of the
     arrest, booking, intaking, etc. often overly traumatizes these inmates.
   • Pillars of the Community - individuals who have been high profile in their communities and are now jailed often feel embarrassment, shame,
     and self-loathing. These individuals are considered very high suicide risks. Example: the priest who was accused of sexual abuse and
     committed suicide by hanging himself.
   • Insufficient knowledge - textbook knowledge about jailhouse operations does not always give corrections officers sufficient knowledge or
     understanding about the emotional environment of the jail.
   • Training- on-the-job training and crossing training by mental health professionals is needed so corrections officers can have a better
     understanding of suicide and suicide prevention



3.2 Pre-disposing factors
                                                                                                                           Plaintiffs' Appendix 34
                             Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 35 of 295 PageID 358
      Learning objective: The student will be able to identify at least four pre-disposing factors in jail suicides.

      Commonly found factors related to suicide:

         • Recent loss of stabilizing resources
              o Loss of a wife or loved one or, in the case of a youthful offender, a peer
              o Loss of a job or expulsion from school
              o Loss of home or farm,
              o Loss of fmances.
         • Recent, excessive drinking and/or drug use
         • Severe guilt or shame over the event
         • Same sex rape or threat of same sex rape
         • Current mental illness
         • Poor health or terminal illness
         • Emotional breaking point - often, inmates are at the end of their rope and that is why they committed the offense. Being incarcerated
           compounds these feelings and they reach their breaking point.



      3.2 Periods of High Risk for Inmate Suicide

      Learning objective: The student will be able to list at least six periods of high risk for suicides occurring in jails.

      There are nine different periods of time that inmates are considered at the highest risk to commit suicide. These periods are:

         •   First 24 hours of confinement
         •   Intoxication/withdrawal
         •   Waiting for trial
         •   Immediately after sentencing
         •   Impending release
         •   Holidays
         •   Darkness
         •   Decreased staff supervision
         •   Bad news of any kind - whether legal or personal.

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5I 3.3 Signs and Symptoms of Potential Suicide
      Learning objective: The student will be able to list at least ten signs and symptoms of potential suicides.

                                                                                                                                 Plaintiffs' Appendix 35
                         Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 36 of 295 PageID 359
The key times that corrections officers and law enforcement officers should be observing inmates for signs and symptoms of suicide are at the time
of arrest, during transportation, and during booking. There are numerous warning signs and symptoms that an inmate might be suicidal. These
include:



      Situational

         •   Recent loss or separation from a loved one
         •   Long or life sentence
         •   Receiving a parole "hit".
         •   Receiving time in administrative segregation
         •   Chronic or terminal illness
         •   Family history of suicide
         •   History or previous suicide attempts
         •   Psychiatric diagnosis ("Special needs" inmate)
         •   Absence of a support network (no letters or visits)
         •   Suicide of a friend, fellow inmate, or family member

     Cognitive/Emotional

         • Belief that one is a failure
         • Feeling hopeless and helpless
         • Extreme guilt about offense

     Behavioral

         •   Giving away personal possessions
         •   Change in previous patterns of behavior
         •   Isolating one's self
         •   Hoarding medications
         •   Crying or other indications of depression

     Use of Verbal Expressions such as:

         •   "I can't go on"
         •   "I've nothing to live for"
         •   "Nobody cares what happens to me"
         •   "My life is over"


                                                                                                                        Plaintiffs' Appendix 36
                         Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                     Page 37 of 295 PageID 360
       Additional signs and symptoms to look for include:

          •   Current depression or paranoia
          •   Expresses or evidences strong guilt and/or shame over offenses
          •   Talks about or threatens suicide
          •   Under influence of alcohol or drugs
          •   Previous suicide attempts and/or history of mental illness
          •   Severe agitation and or aggressiveness
          •   Projects hopelessness/helplessness, no sense of future
          •   Expresses unusual or great concern over what will happen to him/her
          •   Noticeable behavior changes
          •   May act very calm once decision is made to kill self
          •   Speaks unrealistically about getting out of jail
          •   Has increasing difficulty relating to others
          •   Does not effectively deal with present; preoccupied with the past
          •   Begins packing belongings
          •   Starts giving away possessions
          •   May try to hurt self: "attention getting" gestures (burning self with cigarette, mild cuts on arms/wrists, etc.)
          •   Paranoid delusions or hallucinations



3.4 Depression

Learning objective: The student will be able to identify at least eight signs and symptoms of depression.

The single best indicator of suicide is depression. A national study by the American Foundation for Suicide Prevention found that the best suicide
prevention technique is getting an individual treatment for depression. It found that individuals who were being pharmaceutically treated for
depression were much less likely to commit suicide. With this in mind, it is important for corrections officers to be cognizant of the signs and
symptoms of depression. Following is a list of the major signs and symptoms of depression.

   •   Feelings of inability to go on- hopelessness or helplessness
   •   Extreme sadness and/or crying
   •   Withdrawal or silence
   •   Loss of or increase in appetite and/or weight
   •   Pessimistic attitudes about the future
   •   Insomnia or awakening early; excessive sleeping
   •   Mood/behavior variations
   •   Tenseness
   •   Lethargy- slowing of movements or non-reactive
   •   Loss of self esteem
                                                                                                                                 Plaintiffs' Appendix 37
                                      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 38 of 295 PageID 361
              •   Loss of interest in people, appearance, or activities
              •   Excessive selfblaming
              •   Strong feelings of guilt
              •   Difficulty concentrating or thinking



          3.6 Agitation

          Learning objective: The student will be able to outline at least three symptoms of agitation.

          Agitation often precedes a suicide or suicide attempt. Often, inmates use the suicide as a means of relieving the tension and pressure they are feeling.
          It is important that you be aware of the following signs that an inmate is becoming agitated:

             • High level of tension
             • Extreme anxiety
             • Strong emotions such as guilt, rage, or the wish for revenge.



          3. 7 Situational Factors Factors That Influence Suicide Decisions

          Learning objective: The student will be able to name four situational factors which can have an impact on jail suicides.

          Situational factors which can have an impact on jail suicides include:

             •    First-time arrestee or insignificant arrest
             •    Young offender (anyone under 18, whether or not in adult court)
             •    Persons with high status in the community
             •    Prior suicide by close family member or loved one
             •    Previously imprisoned, facing new, serious charges and long prison term
             •    Recent jail suicide or attempted suicide by other inmates- "copycat"
             •    Harsh, condemning, rejecting attitudes of officers
             •    Prior experience with pain/suffering of alcohol/drug withdrawal

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          3.8 Stress Factors Factors That Influence Suicide Decisions
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(~,)      Learning objective: The student will be able to identify at least four current or recent stress factors which can influence jail suicides.

                                                                                                                                       Plaintiffs' Appendix 38
                         Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 39 of 295 PageID 362
Everyone has a breaking point. Often, life stress situations compound on each other, giving the inmate a feeling of hopelessness and no way out.
When these situations occur, officers need to be on the lookout for signs of suicide. These situations include:

   •   Loss (or threat of loss) of a loved one
   •   Recent job loss or failure.
   •   Recent, pending, threatened divorce, separation, or break up
   •   Rejection by peers - especially true for young offenders
   •   Serious business or financial loses
   •   Discovery of major health problems
   •   Victim of same-sex rape or seriously threatened with same-sex rape.
   •   Committed heinous crime or one of passion or a revolting sex crime




                                                                                                                        Plaintiffs' Appendix 39
                          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 40 of 295 PageID 363


                                     Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                Lesson 04 - Medical and Mental Health Considerations

It has been reported that jails who have implemented awareness training of suicide symptoms for corrections officers, coupled with the
implementation of sound practices in the institution, have led to a decrease in suicides. Officers who receive proper training in suicide detection and
prevention can effectively assess the majority of potentially suicidal inmates at booking, while many others are detected by corrections officers
supervising inmates in the general population. Many jails report reductions in suicides following awareness training of officers in suicide symptoms
and implementation of sound practices.

This lesson will cover information that officers need to properly assess mental health conditions and suicidal risks among inmates.



4.1 Medical and Mental Health Conditions

Learning objective: The student will be able to cite at least six conditions for which medical and mental health clearance should be requested prior
to admitting an arrestee to the jail.

Various medical conditions require medical clearance before an arrestee is booked into jail. Appropriate medical attention prevents suicides and
reduces inmate anxiety. High risk candidates for suicide include pregnant women in labor, pregnant women with other serious medical problems, and
inmates who claim they need certain types of medication but who do not have medication with them. Remember: inmates with unattended medical
problems are greater suicide risks.

Listed below are 9 medical conditions that, if exhibited by inmates, should always receive a medical clearance before booking. Although this is not a
jail standard requirement, common practice dictates that these problems be addressed. If these problems are addressed prior to booking they can
alleviate some of the reasons inmates may attempt suicide:

   •   Prisoners who are unconsciousness or semi-consciousness
   •   Prisoners with any significant external bleeding
   •   Prisoners with any obvious fractures (broken bones)
   •   Prisoners with any signs of head injury
   •   Prisoners who may have neck or spinal injuries
   •   Prisoners with any other sort of severe injury
   •   Prisoners who cannot walk under their own power
   •   Prisoners displaying signs and symptoms of possible internal bleeding
   •   Prisoners with sever abdominal pain
   •   Prisoners displaying signs of significant drug or alcohol abuse, e.g. a blood level of .275 and more if detained must be observed more closely.
                                                                                                                           Plaintiffs' Appendix 40
                          Case 6:18-cv-00015-C
High risk candidates for suicide include:      Document 27-1 Filed 12/04/18                  Page 41 of 295 PageID 364

    • Pregnant women in labor
    • Pregnant women with other, serious problems
    • Prisoners who claim they need certain types of medication but who do not have medication with them

Appropriate medical attention

   • Prevents suicides. Inmates with unattended medical problems are greater suicide risks
   • Reduces anxieties



4.2 Risks of Intoxicated inmates

Learning objective: Students will be able to list at least three reasons why the confinement of intoxicated persons in jails may be risky.

Three reasons confinement of intoxicated persons include:

   1. Inmates choke on their own vomit
   2. Aspiration pneumonia, caused by inhaling vomit, has a 1/3 mortality rate
   3. Injuries to intoxicated inmates and victimization of intoxicated inmates are constant issues.



4.2 Intake Screening

Learning objective: The student will be able to outline three aspects of intake screening.

Intake screening is the most important aspect of health care with an inmate population. Most mental health conditions and suicidal risks can be
detected during the intake screening process. There are three major aspects of intake screening. These are:

   • Observations in an Intake Screening
        o Observe signs and symptoms of mental illness or suicide by arresting/transporting personnel and booking/intake personnel are
           important. Catching these signs during intake can go a long way towards preventing suicide later on.
        o Use of appropriate forms and/or questionnaires can aide by providing a variety of medical, mental health, and suicide prevention
           questions for the intake screener to ask.
        o Provide disposition and referral guidelines and documentation of observations crucial for effective follow-up services and lawsuit
          protection.
   • Intake screening is done immediately upon arrival at jail, otherwise deaths and lawsuits can occur and communicable diseases can
     spread.
   • Intake screening should be conducted by
                                                                                                                           Plaintiffs' Appendix 41
                    o
                                    Caseor6:18-cv-00015-C
                        trained booking                       Document
                                           corrections officers, or    27-1 Filed 12/04/18             Page 42 of 295 PageID 365
                    o   nurses or paramedical personnel



          4.4 Texas Commission on Jail Standards Guidelines for intake screening

          Learning objective: The student will be able to state the Texas Commission on Jail Standards Guidelines for intake screening.

          A jail's primary responsibility is to safely and securely detain all individuals remanded to their custody

             • Equitable treatment of all inmates is required without regard to race, religion, national origin, sex, age, or disability

             • Mental Disability/Suicide Intake Screening form is required on all inmates
                 o identifies medical, mental health, or other special needs
                 o jail staff should be familiar with the questions asked and what to expect from inmate responses.




          4.5 Benefits of Intake Screening

          Learning objective: The student will be able to list at least four benefits of intake screening.

          Benefits ofIntake Screening include:

             •   Potentially suicidal persons are identified
             •   Traumas, possible illnesses, and infectious diseases are detected
             •   Possible drug and alcohol abuse and withdrawal assessed
             •   Early evaluation and treatment of chronic and acute mental illnesses are discovered and treatment facilitated
             •   Medication use determined and the need to obtain replacement medication quickly assessed.
             •   Legal liability protection - can accurately show what needed to be done, what information the patient provided, and what signs and symptoms
                 were exhibited at check-in.



          4.6 Conditions to Look For
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~ Learning objective: The student will be able to describe at least four conditions that screeners can observe about the arrestee at booking.
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~         Conditions Which Screeners Can Observe About A"estee at Booking

             • Behavior, speech actions, attitudes, and mind set
                                                                                                                                       Plaintiffs' Appendix 42
   • Scars from previousCase    6:18-cv-00015-C
                          suicide                  Document
                                   attempts. Examples          27-1 rope
                                                      would include    Filed  12/04/18
                                                                           scars          Page 43
                                                                                 on neck, cutting    of on
                                                                                                  scars 295wrist.
                                                                                                              PageID 366
   • Traumas or bruises, color and condition of skin
   • Visible signs of drug or alcohol use/withdrawal (tracks on arms, sweating, shaking, etc.)



4. 7 Determining Mental Retardation

Learning objective: Student will be able to describe six factors to determine if a person might have mental retardation and require a review by
mental health authorities.

Factors to Determine Mental Retardation

   • Physical appearance of the individual
        o inappropriate clothing for the season
        o noticeable physical disabilities
        o awkward or poor motor skills
        o slow reaction time
   • Communication problems
        o ability or inability to communicate at the level of others in his/her approximate age group
        o speech impairment
        o mimics responses to questions rather than try to answer them properly
   • Attention span and motor difficulties
        o difficulty staying on the subject you are trying to discuss
        o easily distracted
        o does not maintain normal eye contact, may "wander"
   • Social behaviors and interactions
        o appears to try to have excessive desire to please others
        o someone else speaks for him in certain situations or transactions
        o acts younger than his/her age
        o easily led or persuaded by others(this often comes out in preliminary questioning)

         o Displays an inappropriate "social distance" during conversations; is detached from the conversation and not engaging in a
           communication exchange
         o Appears to use hostility or anger to compensate for his intellectual deficits
   • Task performance deficiencies
        o trouble reading or writing
        o unable to identify oneself
        o not able to tell time
        o problems making or counting change
        o cannot easily use the telephone
                                                                                                                        Plaintiffs' Appendix 43
                                 Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 44 of 295 PageID 367
                  o cannot give directions to his/her home and has trouble understanding simple directions or instructions.
          • Educational background
               o attended special education classes in school
               o did not finish high school (at this point you might want to inquire as to the reason they did not fmish - was it a legal issue or a grade
                  issue, or what.)
          • Work history
               o lack of any substantial long term employment -job hops often
               o has or is participating in a sheltered work place such as Goodwill Industries or supported employment
          • Residential background
               o has or is living in a group home, state school or other supervised living situation
          • Criminal history
               o appears person took part in crime with others to gain acceptance
               o with younger people at time of arrest
               o was a follower in the crime




       4.8 Problems associated with using the factors to determine mental retardation

       Learning objective: The student will be able to identify problems associated with using the above factors to determine if a person has mental
       retardation.

       As with any process, there are drawbacks to using these factors. Although the factors listed serve as guidelines, it is important to remember there is
       no single "right" answer. Any number of factors may indicate a need for professional assessment. These problems can be easily corrected by not
       taking shortcuts (ask all the questions), expand on questions you don't feel like you got a satisfactory answer to, and refer as soon as possible if you
       suspect mental illness or mental retardation. Remember:

          •   The factors are only guidelines
          •   There is no single "right" answer
          •   Any number of factors may indicate a need for professionals in the mental health and retardation field
          •   DO NOT take shortcuts, ask all questions
          •   Expand on those questions to gain further insight
          •   Refer as soon as possible if you suspect mental retardation. This advice is also good for those with mental illness problems, as described in the
              next objective.



       4.9 Key issues involving persons with mental illness
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       Learning objective: The student will be able to identify key issues involving persons with mental illness.

       Key issues involving persons with mental illness                                                                             Plaintiffs' Appendix 44
                              Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 45 of 295 PageID 368
      When dealing with possible mental illnesses, intake personnel must rely on their own perceptions to decide whether or not referral or other actions
      are appropriate. Many mental illnesses are caused by diseases of the brain or chemical imbalances and can be controlled with psychotropic
      medications

      There are three categories of psychotropic medications. The categories are:

         • Anti psychotic drugs - medicines used to treat psychosis and other mental and emotional conditions. It is important to remember that anti
           psychotic drugs don't cure mental illness, but rather they reduce the symptoms to allow the individual to seek counseling and live a more
           normal life.
         • Antidepressants - medicines used to relieve mental depression. These medications, which work to correct chemical imbalances in the brain,
           reduce the symptoms of depression (extreme sadness, hopelessness, loss of appetite, fatigue, change in sleep patterns, difficult concentrating,
           and lack of energy). Also used to treat other disorders such as bulimia, cocaine withdrawal, panic disorder, obsessive-compulsive disorders,
           and certain types of chronic pain.
         • Mood Stabilizers - medicines used to correct mood disorders that result in severe or prolonged mood states that disrupt daily functioning.
           General mood disorders include major depressive disorders (discussed above), bipolar disorder (also discussed above), and dysthymia
           (recurrent or lengthy depression that may last a lifetime - not as severe as major depressive disorder). Mood disorders appear to be genetic and
           are associated with chemical imbalances in the brain. Major life stressors (such as being arrested) will often trigger mood disorders in
           individuals prone to them.

      The side effects of these medications can be uncomfortable and often irreversible. The side effects can also cause inmates to refuse to take the
      medication and thus have a relapse of their condition. Physical symptoms due to the side effects of psychotropic medications include:

         •   Fixed muscle spasms
         •   Twisted neck with protruding tongue and eyes that are rolled back
         •   Restlessness, constant movement of legs even when sitting down
         •   Tremors of limbs
         •   Dizziness, flushed face



      4.10 Psychotic Episodes

      Learning objective: The student will be able to identify procedures for handling a psychotic episode.

     Major life stressors, such as being arrested or being sentenced to a long prison term, can trigger a psychotic episode in arrestees. Anyone can help a
~~~  disturbed individual during a crisis situation. The role of the officer is to help the inmate through the episode in a safe manner. This involves being
iSI~ cognizant of safety during a crisis situation, including what to evaluate before entering a disturbance and how to approach a potentially psychotic
~ inmate.
1\)
~ Safety during a crisis situation

         • Maintain a position of safety - stand at least arms length away from the inmate and seek cover if the inmate has a weapon.
                                                                                                                               Plaintiffs' Appendix 45
             •   Request appropriateCase    6:18-cv-00015-C
                                       back-up                   Document 27-1 Filed 12/04/18 Page 46 of 295 PageID 369
                                                from other officers.
             •   Develop in your mind your initial intervention plan - what you are going to say and do
             •   Wait for assistance to arrive and advise them of the situation and your proposed course of action
             •   Confme and isolate the situation
             •   Delay rapid actions - time is on your side here and can assist in deescalating the situation.
             •   Remain calm during the whole episode - if you remain calm there a high likelihood you will be able to calm the inmate down.

         Entering the disturbance

             •   Be aware of your environment- does the inmate have a weapon; are there other persons in the area?
             •   Note entrances and exits to the area in case you need an escape route
             •   Survey any damage to the area to assess the degree of violence the inmate is exhibiting
             •   Determine if everyone involved in the episode are in the area and where they are positioned.

         Approaching the inmate

            •    Take time to look over the situation
            •    Even if you know the inmate, introduce yourself. This creates an impression of non-hostile authority.
            •    Use the inmates name repeatedly. This will make the conversation more personal and make the inmate more comfortable with you.
            •    State the reason for your presence.
            •    Take charge - isolate the individual who is having the problem, clear the area, establish that you are the authority.
            •    Separate persons who are in conflict
            •    Move dangerous objects out of the reach of or view of the subject
            •    Remove people or objects that seem to be upsetting the subject
            •    If certain individuals or objects have a calming effect on the subject, use them (is there another inmate that the inmate is close to, does the
                 inmate have a favorite book that he likes?)
            •    Do not violate the subjects personal space- keep at least an arms length between you and the inmate
            •    Avoid crowding or rushing the subject - time is on your side here - take your time in talking to the inmate
            •    Avoid one-on-one physical confrontations
            •    Divert subject from anxiety by asking routine information (when is your birthday, what is your middle name, where are you from)
            •    Maintain control at all times
            •    Use good communication skills (ask open ended questions to find out what the problem is, maintain eye contact, square offlooking at the
                 individual).
            •    Encourage the inmate to talk to you about the problem
            •    Don't lie to the inmate about what you can or can't do
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s!li)
,!,;~>   4.11 Intake Screening

         Learning Objective: The student will be able to name at least four elements of a successful intake-screening interview.
                                                                                                                                        Plaintiffs' Appendix 46
                                  Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 47 of 295 PageID 370
        During arrest, transportation, booking and supervision of inmates, all officers should continually assess an inmates/offenders suicide risk and report
        any potential suicidal behaviors to a supervisor or medical authorities. There are several observations that booking officers should make to assess
        potentially suicidal behavior.

        Observations by booking officers that will aid in suicide risk assessment:

           • Look for the following signs and symptoms:
                 o Behavior, speech, actions, attitudes, or state of mind (remember previous lessons) displayed by the inmate that may be a signal that the
                    inmate is at risk
                 o Scars, especially cut marks on the wrist or rope burn marks around the neck, that might indicate a previous suicide attempt
                 o Traumas or bruises that would indicate some type of assault. Color and condition of skin that might indicate some type of disease.
                 o Visible signs of drug or alcohol use and withdrawal
           • Determine if medication is being used by the inmate. Remember, if an inmate is taking certain prescription antidepressants or mood
             alternators and abruptly discontinues their use, this could lead to suicidal tendencies.
           • Most intake processes involve some type of questionnaire designed to assess an offenders potential suicide risk and state of mind.
             Effective interviewing will yield over 90% honest answers and gives the inmate the impression that someone cares about them. By following
             some of the below techniques, booking officers can get effective results from the questions:
                 o Explain the rationale for the process. This reduces paranoia and the feeling the offender may get that he is being "picked on".
                 o Ask questions in a common-sense manner and in as private a setting as possible.
                 o Speak in a normal, quiet, matter of fact tone. Don't be judgmental no matter what answers the offender gives.
                 o Use language the inmate can understand.
                 o Do not be pushy, abrupt, or sarcastic. Allow the inmate to explain his answer without cutting him off.
                 o If the inmate does not understand the question, slowly and clearly repeat the question. You might also consider rephrasing the question
                   in simpler language or giving the offender an example of what you are asking.
                 o Ask clarifying questions. Try rephrasing what the offender said to be sure you understood. For example, you might say "So you are
                    saying that ... "
                 o Use follow up questions to glean additional information from the offender. This can be particularly effective if the offender is having
                   problems understanding the questions or is being vague with their answers.



        4.12 Observational Factors and Suicide Screening Questions

        Learning Objective: The student will be able to list at least eight observational factors and interview questions pertaining to suicide screening.

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    Most intake processes in jails include a form listing specific questions to ask offenders when they are being booked into jails. Think back to the form
~~~ used in your facility. It should include specific question designed to determine whether an offender is a suicide risk. These questions include:
(5;1
           • Have you ever received MHMR (Mental Health/Mental Retardation) services or any other mental health services?
             If the answer is yes, ask the following follow-up questions:

                                                                                                                                   Plaintiffs' Appendix 47
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 48 of 295 PageID 371
          o What services did you receive? Did you receive medication, counseling or were you hospitalized?
          o When did you receive these services?
          o Where did you receive these services?
          o Are you currently taking medication or are you currently under a psychiatrist or psychologists care?
    • Do you know where you are?
      You should use the following criteria to evaluate the offenders response:

          o Must answer very specifically. Naming the city and state is not enough.    An example of an appropriate answer would be: "Yes, I am
            being booked in the county jail in Merkel, TX."
          o Ask what type of place it is. They should say it is a jail.
   • What season is this?
     You should use the following criteria to evaluate the offenders response:

          o   Does the person name the actual season, such as winter, spring, summer, or fall?
          o   Does the person name something else to indicate they are aware of their surroundings? This might include the offender telling you it is
              baseball season or football season or the NBA Playoff season.
   • What is the difference between a lawyer and an attorney?
     You should use the following criteria to evaluate the offenders response:

          o   Response should indicate they are the same
          o   If they answer they are the same, ask them to explain to you what an attorney/lawyer is.
   • Sometimes people tell me they hear voices or noises that other people don't seem to hear. What about you?
     You should use the following criteria to evaluate the offenders response:

         o If the offenders answers no, I don't hear voices or noises you have received an appropriate response.
         o    If the offender answers yes, I do sometimes hear voices or noises, ask for an explanation.

These general questions are to assess the offenders state of mind during the intake process. Specific questions that can be asked regarding potentially
suicidal behavior include:

   • Have you ever attempted suicide or had thoughts about killing yourself?
     If the individual answers "yes", you should ask:

         o When?
         0 Why?
         o How?
   • Are you thinking about killing yourself today?
     Ifthe individual answers "yes", you should ask:

         0 Why?
         o How are you going to do that?                                                                                   Plaintiffs' Appendix 48
        o Where are youCase   6:18-cv-00015-C
                         planning  on doing it? Document 27-1 Filed 12/04/18 Page 49 of 295 PageID 372
   • Have you ever been so down and depressed that you couldn't do anything for more than a week. If yes, do you feel that way now?
     A yes answer could be a sign of depression, which is one of the predictors of suicidal behavior.

   • When not on drugs or drinking, have you ever gone for days without sleep or had a long period in your life when you felt very
     energetic or excited?
     An answer of"yes" to this question could indicate manic/depressive disorder, which is one ofthe predictors of suicidal behavior.

   • Have you experienced a recent loss or death of a family member or friend or are you worried about major problems other than your
     legal situation?
     One of the main predictors of suicidal behavior is a recent loss or major problem such as divorce or separation from spouse and children.


You should also observe whether the individual appears to be "flat"- that is non-responsive to questions and his/her surroundings or displaying ala.
of expression to anything that is going on.

In addition to specific questions booking officers can ask the offender to determine an offenders suicide potential, there are also a number of
observational questions the booking officer can ask himself to determine whether an offender is a potential suicide risk. Answers of "yes" to these
questions could be a signal the offender is unstable and in need of mental health referral. These questions include:

   • Does the individual act or talk in a strange manner?
     You should use the following criteria to evaluate the offenders response:

         o Does the inmate appear to not be able to focus his attention on what is happening?
         o Does the inmate hear things that no one else hears?
        o Does the inmate talk to him/herself?
        o Does the inmate continually look around as if seeing something that isn't there?
        o Does the inmate have unusual motor movements such as ticking, jumping, involuntary movements, etc?
   • Does the individual seem unusually confused or preoccupied?
     You should use the following criteria to evaluate the offenders response:

         o Does the inmate appear puzzled and his surroundings or what is going on?
         o Does the inmate not seem to understand the conversation?
        o Is the inmates attention deeply fixed on something other than questions being asked?
   • Does the individual talk very rapidly or seem to be in an unusually good mood?
     You should use the following criteria to evaluate the offenders response:

         o Does the inmate appear giddy or euphoric (could be a sign he is in a manic phase)?
        o Does the inmate speak in sentences that run on top of each other?
   • Does the individual claim to be someone else such as a famous or fictional person?
     This could be a sign the person is delusional and mentally ill.                                                      Plaintiffs' Appendix 49
                          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 50 of 295 PageID 373
    • Does the individuals vocabulary appear to be limited?
      This should be evaluated in the person's native language. If it appears the vocabulary is limited, this could be a sign of mental retardation and
      should be reported.

   • Does the individual have trouble coming up with words to express him/herself?
     This could also be a sign of mental retardation and should be reported.




4.13 Factors and principles in assessing suicidal behavior

Learning Objective: The student will be able to identify at least four factors and principles in assessing suicidal behavior.

There are several principles and factors involved in assessing suicidal behavior. Being cognizant of these factors can greatly increase the chance that
booking officers will successfully identify suicidal behavior in offenders during intake. These factors include:

   • Searching an offenders records to determine if they have prior suicide attempts
   • Taking all suicide threats seriously. After all, manipulation by threatening suicide is the first real threat.
   • Gauge the intensity of the offenders stress and depression. Pay particular attention to inmates that were identified in previous lessons as "high
     risk".
   • Determine an offenders impulsiveness. In general, the younger the inmate, the more impulsive they are. This can be especially true of very
     young inmates accused of horrific crimes.
   • Ask direct questions and explore the situation as far as possible. Glean as much information as you can from the offender to judge their state of
     mind.
   • If an inmate threatens suicide, ask them what their plan is for committing suicide. In general, the more detailed the plan, the greater the
     likelihood they will attempt suicide. A non-specific plan such as "I will figure out a way" tends to be a lower-risk threat than "I am going to
     take my bed sheet and hang myself in my cell", which tends to be a higher-risk threat.
   • lfthe inmate has access to implement the plan, determine if the means are available. For example "I am going to take my bed sheet and hang
     myself in my cell" means they have access and means to carry out the plan. Alternatively, "I am going to go to Tennessee and shoot myself on
     my mothers grave", would be assessed as a lower risk because the inmate is going to be incarcerated and not have (hopefully) access to a gun.
   • Assess resources available to prevent the act and refer the inmate to those appropriate resources. This should ALWAYS be done in high risk
     cases.




                                                                                                                           Plaintiffs' Appendix 50
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 51 of 295 PageID 374


                                     Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                               Lesson 05- Interacting with Potentially Suicidal Inmates

This section will cover basic skills an officer needs when he/she encounters suicidal inmates. Students will be given a background on the basic role
of the officer in suicide prevention and will be given practical guidelines on how to handle situations that arise involving suicidal inmates.



5.1 The most important factor in Suicide Prevention

Learning objective: The student will be able to list the most important factor in suicide prevention.

The most imgortant factor in nreventing suicide in jails is a well-trained officer. Officer training involves three facets that will give the corrections
officer the needed skills to effectively intercede on behalf of a suicidal inmate. These three facets are:

   • Awareness training to detect signs and symptoms of suicidal behavior
   • Procedures to thoroughly document suicidal behavior and the outcomes of the intervention
   • How to refer inmates for counseling or medical services.



5.2 Basic Role of Corrections Officer in Suicide Prevention

Learning objective: The student will be able to defme the basic role of the officer in suicide prevention.

Basic role of the officer in suicide prevention:

   • Be aware of the symptoms (discussed in previous lessons) ordinarily displayed by inmates prior to a suicide attempt
   • Be tuned in to both obvious and subtle signs that every inmate sends out prior to a suicide attempt
   • Have daily contact with inmates. By noticing sudden behavioral changes, you may be able to head off a suicide attempt.
   • Be empathetic, not judgmental. State law requires a "Duty of care"
   • Don't give up on an inmate. By continually being a positive role model the officer may be able to save the inmates life.
   • Ifyou are accepting of inmates and not judgmental you will save lives versus being "hard" and rejecting, which can encourage suicidal
     tendencies.
   • If only one person cares, and shows they care, you may be able to prevent a suicide.
   • The busy, uncaring officer may be "the last straw" and push the inmate over the edge to a suicide attempt.

                                                                                                                              Plaintiffs' Appendix 51
5.3 Good Discipline andCase 6:18-cv-00015-C
                       Mental Health PrinciplesDocument
                                                in the Jail 27-1
                                                            SettingFiled 12/04/18           Page 52 of 295 PageID 375

Learning objective: The student will be able to name at least ten principles of good discipline and mental health principles in jails which can have
an impact on suicide prevention.

The best suicide prevention is humane interaction between correctional officers and inmates. By following the golden rule, "do unto others as you
would have others do unto you", officers can greatly affect the levels of suicidal behavior in their facilities.

By practicing principles of good discipline and mental health that will be discussed in this lesson, officers will see positive outcomes including:

   •   Good inmate management and discipline
   •   Positive atmosphere and climate in the facility
   •   Special incident involving inmates will be minimized
   •   Mentally ill and suicidal inmates will be more effectively managed

Principles for good discipline and mental health:

   •   BE FAIR - Number one among all officer traits
   •   Don't show favoritism among inmates - Showing favoritism is NOT FAIR
   •   Keep promises - broken promises represent lies to inmates. In other words, don't make promises if you are not SURE you can keep them
   •   Use authority and power constructively- officers who have self respect have no wish for Power.
   •   If you make a mistake "admit it"- This is one of the hardest things for officers to do, yet it elevates you more to the human status with inmates
       and you earn respect in their eyes.
   •   Do not put down or be condescending to inmates - self confident, self respecting officers don't put others down.
   •   Do not wash "dirty linen" in public- No open criticism of fellow staff members or established policies and procedures; this leads to poor team
       morale and is devastating to cooperative working environments.
   •   Answers questions as fully as possible and give a rationale for the answer whenever possible. A reasonable answer promotes communication
       and respect for others.
   •   If you need an inmate to do something, ask them first and then, if they don't comply, order them. Remember, you catch more flies with honey
       than vinegar.
   •   Be consistent and use sound reasoning when making decisions
   •   Talk with inmates and get them to talk to you. This is a key factor in suicide prevention and, although it requires officer involvement, it also
       shows respect for the inmate.
   •   Be someone an inmate can look up to - positive role models are more likely to deter suicides.
   •   Be a team player- this type of consistency between staff will set an example for inmates and create a stable, comfortable environment in the
       facility
   •   Be self-confident (don't confuse this with being arrogant). Having self respect produces self confidence - lack of self respect produces
       arrogance.
   •   Demonstrate sincerity and honesty with inmates, these traits are the foundation for other positive traits
   •   Give credit when credit is due - by emphasizing the positive you will inspire inmates to do better and produce positive results.

                                                                                                                           Plaintiffs' Appendix 52
                          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 53 of 295 PageID 376
    • Accept constructive criticism and use it to better you job performance and your personal traits. Employees grow by accepting criticism and
      dealing with the issues brought up. Do not become defensive.
    • Keep an open mind about inmates and situations- don't stereotype them, if you do, learning will stop for you and for them.
    • Don't not use threats as a way to get inmates to cooperate - you will lose respect and once lost, it is very hard to earn back.
    • Leave personal problems at home- inmates have enough of their own problems without feeling like they are taking on yours; likewise don't let
      your personal problems affect your attitude at work.
    • Don't yell or swear - that does not set you up as a positive role model and encourages the same type oflanguage from inmates
    • Do more than what is expected of you. Giving an extra 2% can yield a 100% difference in outcomes.
    • Be patient - patience reflects self confidence and respect for others.
    • Don't give up easily on an inmate- if you give up, their last hope in life may fade
    • Don't preach - set a positive example and you will accomplish much, much more
    • Show that you care - a caring officer who shows it can save lives.

Officers who follow principles ofgood discipline will be more effective agents of change in inmates' lives.

Managing Mentally Ill Inmates, Some of whom may be suicidal

   • Try to calm the individual and relieve anxiety by being calm, confident, firm, fair, and reasonable yourself. Explain how you see the problem,
     what is being done, what the outcome will be. Tell the inmate that the crisis is just temporary - things can be worked out - as generally
     happens.
   • Encourage the inmate to speak freely, express their feelings and to relate to you. Avoid arguing and help the inmate structure the experience so
     that it is not so chaotic, and it does not appear unusual.



5.4 Interacting with Suicidal Inmates

It is important when dealing with any mentally ill or suicidal person that you remain calm, confident, finn, fair and reasonable. This will help calm
the individual and relieve their anxiety. You should explain to the inmate how you see the problem, what is being done about the problem, and what
the likely outcome will be. Assure the inmate the crisis is temporary and can be worked out. Officers should also encourage inmates to speak freely
and express their feelings. You should avoid arguing with the inmate and help the inmate structure the experience so that it does not appear out of
control or unusual.

Learning objective: The student will be able to list the steps in approaching a suicidal person.

During contact with a suicidal inmate, there are several important factors to remember when approaching them. These factors are:

   •   REMAIN CALM - A calm demeanor on your part can help deescalate a volatile situation.
   •   Remember - the subject may attempt to have others kill them.
   •   Make a plan and follow it. Rushing to the rescue only escalates the situation and increases the risk to everyone.
   •   In an unstable situation the person may become homicidal so STAY ALERT.
   •   Ask the inmate what their intent is - "Are you thinking about killing yourself?"                                    Plaintiffs' Appendix 53
                        CaseYou
   • Check out the situation. 6:18-cv-00015-C
                                  should ask:       Document 27-1 Filed 12/04/18 Page 54 of 295 PageID 377
        o How are you planning to kill yourself? (remember, a non-specific plan has a better chance of a favorable outcome than a very specific
          plan)
        o When are you planning to kill yourself?
        o Ask the person to remove the means - if the person has a knife or gun, ask them to put it down.
        o Ask if they are taking the action for their personal safety; if so, taking the means away could trigger a suicide




5.5 Communication Techniques with Suicidal Individuals

Learning objective: The student will be able to identify appropriate communication techniques with someone who is suicidal.

Every well meaning officer needs guidance on what to say and how to say it when dealing with suicidal inmates. Often, officers engage in
communication skills that actually act as barriers to effective communication.

What to say to a suicidal inmate:

   • Show compassion for the individual. Saying something like "I can see that you are very upset/hurting right now", shows empathy to the inmate
     and can help calm a volatile situation.
   • Redirect the persons thoughts to feelings and away from the actions. This can be accomplished by saying something like, "What are you
     feeling?" or "What are you thinking about?"
   • Offers alternatives. Ask, "What else do you think you could do right now to make yourself feel better or resolve this situation?
   • Let the person talk without showing condemnation or shock.
   • Convey to the person that suicidal thoughts are normal part of severe depression. This will allow the person to feel less guilty or isolated.
   • Help the person to identify pain, whether physical or emotional. Ask them if they are hurting and where they are hurting at.

Barriers to effective communication between corrections officers and inmates:

   • The officer should not offer his/her own solutions or give advice.
   • The officer should not become angry, judgmental, or threatening. Threats will only escalate the situation and could lead the inmate to go ahead
     with the suicide.
   • The officer should not make jokes or act sarcastic about the situation. Ridiculing inmates for attempting suicide is the worst possible thing you
     can do.
   • The officer should not make promises he cannot keep
   • The officer should NEVER challenge the inmate to follow through with the suicide threat.
   • The officer should never ignore the suicidal risk or threat.



5.6 Critical Factors in dealing with manipulative inmates
                                                                                                                         Plaintiffs' Appendix 54
      Learning objective: TheCase 6:18-cv-00015-C
                             student will be able to list Document
                                                          two critical 27-1
                                                                       factors Filed 12/04/18
                                                                               in dealing        Page 55 ofinmates.
                                                                                          with manipulative  295 PageID 378

      Sometimes, inmates threaten suicide in order to manipulate staff into giving in. Recommended guidelines for dealing with manipulative inmates
      include:

         • Utilize preventive steps, including increased supervision.
         • Avoid isolation as a response to manipulative behavior
         • Document the behavior without making a determination that it was manipulative behavior
         • Refer the inmate to mental health/medical personnel for assessment, even if you think he is being manipulative. They are the ones best
           qualified to make that judgment and you wouldn't want to be the one who made that call and then something catastrophic happened.
         • Avoid using the term "manipulation" in written documentation. This will unduly label the inmate and his next real attempt might not be taken
           seriously.



      5. 7 Low risk versus high risk suicidal inmates

      Learning objective: The student will be able to explain the difference between low and high-risk suicidal inmates.

      Characteristics of inmates at a low risk for suicide:

         • Individual not actively suicidal, but has expressed suicidal thoughts and/or has a prior history of self-destructive behavior.
              o They should be placed under close watch and physically observed by staff at staggered intervals not to exceed 15 minutes.

      Characteristics of inmates at a high risk for suicide:

         • Individual is actively suicidal by either threatening and/or engaging in the act of suicide or other self-destructive behavior, and/or has had a
           recent suicide attempt
              o They should be placed under constant watch and physically observed by staff on a continuous, uninterrupted basis - remember it only
                 takes a second for a situation to get out of control.



      5.8 Supervising both low and high risk suicidal inmates

      Learning objective: The student will be able to explain the recommended system for supervising both low and high-risk suicidal inmates.
p~~
eJ~      • All suicidal inmates should be housed in suicide-resistant, protrusion-free cells located in high traffic/visibility areas.
         • Belts, ties, shoelaces, suspenders, or anything that an inmate can use to hang themselves should be removed. Only in extreme cases should
           clothing be removed, and, in that case a paper gown should be issued.
         • In most cases, constant watch status should not require clothing removal or restraint application
         • The national correctional standard for audio monitoring and/or closed circuit TV should not be utilized as a replacement for staff observation.
                                                                                                                                 Plaintiffs' Appendix 55
                       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 56 of 295 PageID 379
• The removal of clothing and applying of restraints should only be used as a last resort during periods when the inmate is physically engaging
  in self-destructive behavior.




                                                                                                                    Plaintiffs' Appendix 56
                                    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 57 of 295 PageID 380


                                              Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                                      Lesson 06 - First Aid

         Because suicide attempts by inmates in jail facilities is a very real scenario, it is important that officers are trained in First Aid and CPR. Jail
         Standards recommend that all staff who come in contact with inmates should be trained in standard First Aid and CPR.

         IMPORTANT: H y:ou discover an inmate attem:nting suicide,_y:ou should respond immediately, secure the scene, initiate First Aid, and alert
         other staff to can for emergencY. hel:n. NEVER P-resume that an inmate is dead, alway:s initiate and continue life saving measures until
         relieved by: medical :nersonnel.

         By recognizing the previously discussed signs and symptoms of suicidal inmates, and being proficient in your standard First Aid training, officers
         can help reduce the number of suicides committed by incarcerated inmates.

         6.1 Proper Handling of a Hanging Inmate

         Learning objective: The student will be able to describe at least three immediate steps in the proper handling of an inmate who is found hanging.

         Hanging may affect any or all neck structures. These structures include the airway, the spinal cord and blood vessels. When an inmate is found
         hanging you should immediately do the following:

            1. IMMEDIATELY cut the victim down (one person holds up the body while others cut noose with readily available tool) - deaths occur because
               of no cutting tool
            2. Have someone call an ambulance or medical personnel immediately
            3. Give basic First Aid until medical help arrives- NEVER discontinue life saving First Aid. That is a decision that needs to be made by
               qualified medical professionals.

         6.2 First Aid for Hanging Victims

         Learning objective: The student will be able to outline at least four aspects of First Aid for a hanging victim.

         Not only is it important to immediately administer First Aid to hanging victims, it is also important to remember that the follow-up treatment for an
e;~      individual who does not complete the suicide is important. Below are four aspects of First Aid treatment that officers should adhere to when dealing
~"'
~:l\11
         with suicidal inmates.
(Sj
W Once the inmate has been cut down, immediately begin Rescue Breathing and CPR:
~l
            1. Slowly roll victim onto their back (roll towards you)
            2. Open airway by head tilt-chin or modified jaw thrust                                                                     Plaintiffs' Appendix 57
   3. Check for breathing
                          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 58 of 295 PageID 381
   4. If no pulse, begin CPR

RE:MEMBER: onlY.l!..P-hy:sician or other gualified P-rofessional designated by: state law can P-ronounce individual dead. Until such time, start
and continue First Aid and CPR.

   • Suicide attempt is a serious matter, whether you feel the inmate is using it as a manipulative tactic or whether it is a serious attempt. Regardless
     of how you feel about the inmate's crime or suicide attempt, you should keep your personal feelings to yourself. Do not belittle the inmate or
     make sarcastic remarks. These remarks will only worsen the inmate's emotional state.

   • Suicidal inmates should always receive psychological help - offer that help as soon as practical after the suicide attempt once the
     inmate is physically able.
   • There should be a thorough review of all suicide attempts/completions to ensure that such a tragedy does not occur again.
   • This should be done in the form of an administrative review of the facts and circumstances surrounding the incident and recommendations or
     how to keep the incident from happening again.




                                                                                                                           Plaintiffs' Appendix 58
                                Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18         Page 59 of 295 PageID 382


                                        Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                             Lesson 07- Jail Suicide Prevention Plans

Functional Area: During this block of instruction, the student will learn the importance and components of a Jail Suicide Prevention Plan.


7.1 Mental Disabilities/Suicide Prevention Plan

Learning Objective: The student will be able to list at least five components of the Mental Disabilities/Suicide Prevention Plan required by the   Texas
Commission on Jail Standards.

    • Training
          o Staff training in Procedures, supervision, documentation and handling inmates who are mentally disabled or suicidal
          o Supplemental training for staff members responsible for intake
          o Staff training in assessment and classification of inmates during the intake screening process
    • Identification/Screening:
          o Procedures to identify inmates who are mentally disabled or suicidal
          o Procedures for referrals to Department of State health Services, Department of Aging and Disability Services, or other available mental
            health officials
    • Staff Communication between staff members
          o Required to develop procedures for communication between staff members of information relating to inmates who are mentally disabled
            and/or potentially suicidal.
    • Housing
          o Procedures for the assignment of inmates who are classified as mentally disabled and/or potentially suicidal to appropriate housing.
            Remember, inmates should always be housed in the least restrictive environment possible to avoid additional mental anguish and
            trauma.
    • Supervision
          o Provisions for adequate supervision of inmates who are mentally disabled and/or potentially suicidal and procedures for documenting
            supervisiOn.
          o Minimum standards call for face to face observation at least every 30 minutes or more frequently with potentially suicide/disruptive
            inmates
          o Additionally, two way voice communication between inmates and officers will be in place at all times.
          o Closed circuit TVs may be used to supplement, not in lieu of, personal observation
    • Intervention
          o Establish procedures for staff intervention prior to the occurrence of suicide
          o Establish procedures for staff intervention during a suicide or attempted suicide (remember your first aid lesson in the previous lesson)
          o Establish procedures for staff intervention in the event of a deterioration in the inmates mental condition    Plaintiffs' Appendix 59
   • Reporting
                       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 60 of 295 PageID 383
        o Establish procedures for reporting completed suicides to appropriate outside authorities
        o Establish procedures for reporting completed suicides to family members
   • Follow-up/Review
        o establish procedures for follow-up review of policies and procedures by sherifti'operator and mental health/medical officials in the case
          of an attempted or completed suicide

7.2 Procedures for Sharing Client Information

Learning Objective: The student will be able to discuss general procedures for sharing client information with other agencies in accordance with
provision of Texas Health and Safety Code, Section 614.017 and 611.004.

Under 611.004 a professional may disclose confidential information only:

   • To governmental agency if the disclosure is required or authorized by law;
   • To medical or law enforcement personnel if the professional determines that there is a probability of imminent physical injury by the patient to
     the patient or others or there is a probability of immediate mental or emotional injury to the patient;
   • To designated persons or personnel of a correctional facility in which a person is detained if the disclosure is for the sole purpose of providing
     treatment and health care to the person in custody

Persons covered under 614.017:

   • Convicted felons with mental illness or mental retardation
   • An individual with mental illness or mental retardation placed on community supervision after a grant of deferred adjudication

Agencies that may share information under 614.017

   •   Department of State Health Services (assumed Community Mental Health Services from TDMHMR)
   •   Municipal or County Health Departments
   •   Hospital Districts
   •   Texas Juvenile Probation Commission
   •   Texas Youth Commission
   •   Department of Assistive and Rehabilitative Services
   •   Commission on Jail Standards
   •   Texas Department of Criminal Justice
   •   Correctional Managed health Care Committee
   •   Community supervision and corrections departments
   •   Local Juvenile probation departments
   •   Local jails regulated by Texas Commission on Jail Standards
   •   Department of Assistive and Rehabilitative Services
   •   Health and Human Services Commission
                                                                                                                          Plaintiffs' Appendix 60
                            Case 6:18-cv-00015-C
       Memorandum of Understanding                    Document 27-1 Filed 12/04/18
                                   between Parties required                                       Page 61 of 295 PageID 384

       Authorized Agencies Can:

          • Receive information relating to a special needs offender regardless of whether other state law makes that information confidential, if the
            agency receives the information for the purpose of providing continuity of care to the offender
          • Disclose information relating to a special needs offender including information about the offenders identity, needs, treatment, social, criminal,
            and vocational history, and medical and mental health history, if the agency discloses the information for the purpose of providing continuity
            of care to the offender

       Restrictions:

          • Continuity of care information can be shared without consent of the offender for the purpose of providing continuity of care for the following
            offenders
                o Offenders with mental impairments.
                o Elderly offenders
                o Physically disabled, terminally ill, or significantly ill offenders.
          • Disclosure of continuity of care information without a consent form should be on a need to know basis within the agencies entitled to share the
            information

       Program Assistance: contact

          •   Texas Department of State Health Services
          •   Texas Department of Aging and Disability Services
          •   Texas Correctional Office on Offenders with Medical or Mental Impainnents

       7.3. Administrative Review

       Learning Objective: The student will be able to list three areas to be included in an Administrative Review.

       Administrative review should be separate and apart from other investigations. The review should include:

          •   A critical review of the circumstances surrounding the incident
          •   A critical review of jail procedures relevant to the incident
          •   A synopsis of all relevant training received by staff
          •   Pertinent medical and mental health services/reports involving the victim
          •   Recommendations, if any, for change in policy, training, physical plant, medical/mental health services and operational procedures

(1,)   7.4 Components of a Psychological Autopsy
(Jj
       Learning Objective: The student will be able to name at least two components of a psychological autopsy.
                                                                                                                                 Plaintiffs' Appendix 61
                              Case
       Psychological Autopsy and     6:18-cv-00015-C
                                 Follow-up              Document
                                           Support for Jail Staff: 27-1 Filed 12/04/18            Page 62 of 295 PageID 385

          •   Evaluation of facts and circumstances
          •   Goal: to prevent suicides in the future
          •   All staff concerned with suicide is involved to discuss signs/symptoms which were overlooked
          •   Staff should be encouraged to discuss feelings
          •   Recognizing feelings and discussion may ward off after-effects
          •   Professional counseling services for severe guilt cases
          •   Suicides can occur without staff negligence, although it is common for staff to blame selves for "not having done better"

       Recommend data collection guide:

          •   Identifying data for the deceased (demographic)
          •   Details of the death (method, date, time, location, how discovered and by whom)
          •   Deceaseds history
          •   Social history (including legal)
          •   Psychiatric history (history of prior attempts)
          •   Relevant medical history
          •   Personality style
          •   Role of alcohol/drugs
          •   Death trends in family
          •   Recent life changes
          •   Clues to suicide prior to death
          •   Behavioral changes
          •   Affective changes
          •   Direct/indirect suicidal communications
          •   Reaction of staff to death
          •   Recommendations for enhancing screening, referral and treatment

       Some type of support should be available for staff. Jail Administration, possibly with mental health staff involvement, should:

          • Discuss with concerned staff their feelings stemming from the death
          • Recognition of staffs feelings and giving them a chance to express
          • Themselves may be all that is necessary to ward off any long term negative after-affects

S Professional counseling services may be required by some staff and inmates
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                                                                                                                                 Plaintiffs' Appendix 62
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 63 of 295 PageID 386


                                     Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                          Lesson 08 - Jail Design

Functional Area: During this block of instruction, the student will learn how a jail design can impact suicide prevention.

8.1Direct versus Remote Supervision Jails

Learning Objective: The student will be able to outline the differences between direct and remote supervision jails and their impact on suicide
prevention.

   • Poor jail design and layout influence suicide and affect monitoring and supervision
   • Officers must be stationed in or immediately adjacent to housing areas
   • Officer must respond within four minutes to emergencies (American Correctional Association Standard)
   • Cells laid out on linear basis down long hallways much more difficult to monitor
   • With an officer inside the cells in a pod or module, there is better interaction and communications with behavior changes picked up quicker
     and suicide prevention more likely
   • Direct supervision jail concept clearly supports not only better suicide prevention but alleviates many other jail problems
   • Proper jail design is good insurance for alleviating liability, especially with all too often inadequate jail staffmg and overcrowding



8.2Aspects of Jail Architecture

Learning Objective: The student will be able to identify aspects of jail architecture which help make a facility-resistant or protrusion-free .

   •   Eliminate Bars and air grilles
   •   Eliminate Clothes hooks and towel racks
   •   Eliminate Beds, and shelves
   •   Eliminate Sprinklers
   •   Eliminate Door hinges
   •   Eliminate Handles and knobs
   •   Eliminate Water faucet lip projection, toilet paper holders and soap trays
   •   Avoid isolation
   •   Consider special management units, cells (for potentially suicidal and mentally ill inmates), administrative segregation, and holding cells
   •   Review of Texas Commission on Jail Standards Rules regarding jail architecture


                                                                                                                             Plaintiffs' Appendix 63
                                 Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 64 of 295 PageID 387


                                          Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                      Lesson 09 - Controversial Issues in Suicide Prevention

      Functional Area: During this block of instruction, the student will learn the various controversial issues impacting suicide prevention in jail setting.



      9.1 Controversial issues

      Learning Objective: The student will be able to list at least five controversial issues concern approaches to suicide prevention.

         1. Contracts Not to Commit Suicide
         2. Stripping Potential Suicides Naked
         3. Using closed circuit television
         4. Rating Scales
         5. Suicide Profiles
         6. Policy of not allowing single officers in cells
         7. Protecting the Crime Scene
         8. No vital signs equal death
         9. Don't talk with inmates
        10. Using citizen volunteers for suicide watch
        11. Using inmate watchers



      9.2 Pros and Cons

      Learning Objective: The student will be able to explain the pros and cons of at least five controversial issues.

          1. Contracts Not to Commit Suicide, with Promise that Treatment Will Be Provided
                o Contractors report good success with concept
(!J             o Danger is, not all promises for service delivery are kept, or inmate misinterprets intent of contract; namely, when treatment ends, so does
~                  commitment
                o An acutely suicidal inmate does not respond to verbal or written agreements

         2. Stripping Potential Suicides Naked
                o Practice is degrading and can worsen depression
                                                                                                                                  Plaintiffs' Appendix 64
                      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18
      o More suitable measures recommended are:
                                                                                        Page 65 of 295 PageID 388
           • Constant or close supervision by staff and/or volunteers
           • Suicide-Resistant cell
           • Place with two or more selected and trained inmates who can alert staff to any crises, yet have no control over suicidal inmate.
              (CAUTION: using inmates in this capacity could increase the liability risks to a jail)
      o Courts have not looked favorably on stripping as a suicide prevention tool: U.S. District Court in Oregon prohibited stripping and
        ordered two-minute check

3. Using closed circuit television (CCTV) As Major Monitoring Instrument
      o CCTV should only be used as a supplement to human monitoring
      o Various inmates commit suicide "on camera"
      o "Camera hypnosis" claimed by officers. This has lead to a recommendation to limit watch time to one hour then relieved
      o CCTV often broken down or fuzzy
      o Dispatching and other distractions impair use
      o 24-hour monitoring of suicidal inmate on CCTV not violation of privacy rights (with policy)
      o Lack of CCTV cited in lawsuits as liability factor

4. Rating Scales
      o Various suicide experts disagree with use of rating scale on lethality because "no one can be that exact or skillful"
      o "All threats must be taken seriously" disavows ratings
      o Do you rate the ninth "wolf cry" the same as the first

5. Suicide Profiles: The "Typical" Suicide-- Does It Exist?
      o Profiles meant to sensitize jail personnel to common characteristics
      o Caution is necessary in use of paper profiles
      o What happens at arrest, transportation, and booking is most important
      o Local/Regional jail suicide profiles more appropriate
            • Awareness training in signs/symptoms encourages use of profile factors in suicide assessment
             • No typical suicide. Each case is a unique combination of factor

6. Policy "never enter a cell without backup"
      o Flexible policy advocated
      o Officer must be allowed to make judgment decisions
      o Proper training supports this

7. Some jails have one dispatcher-jailer on duty, deaths occur due to "never enter" policy

8. Workable approaches include:
     o Assess: "are they really hanging?"
     o Push warning button and lock down inmate population
     o Use one or two selected inmates to assist. (CAUTION: using inmates in this capacity could increase the liability risks to a jail)
                                                                                                                        Plaintiffs' Appendix 65
                       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18 Page 66 of 295 PageID 389
 9. Life-Safety and duty of care demand "cut down" action and CPR (with proper protective equipment) within four minutes from start of hanging

10. When no vital signs exist, do not presume death has occurred; a doctor or other designated professional are the ones that make this decision
      o Jails found liable for not starting CPR when no vital signs
      o "Dead" people are alive today due to CPR

11. Protecting the scene of the crime
       o Some jails found liable when officers stand by and let inmate hang-- to protect scene
       o Preserving life clearly over rides "protecting scene"

12. "Don't talk with inmates" policy: Prohibits good communications with inmates- a key factor in suicide prevention

13. Using citizen volunteers and inmates for suicide watch:
       o Trained volunteers lauded by some jail officials
       o One-fourth of county jails use volunteers at some level
       o Neighborhood crime watch group can provide suicide watchers
       o Excuses for not using:
              • They are hard to recruit
              • You can't always count on them
              • "We're afraid of the liability issue"
       o Above excuses disappear when staff support volunteers
       o Respected citizen groups key recruitment vehicle
       o Lawsuits don't result from using volunteers and can be included in insurance coverage

14. Inmate watchers
       o Properly selected/trained inmates serving as suicide watchers in many jails all over the country
       o Inmates assist staff: Have no control over suicidal inmates
       o Watchers stationed in front, across, or next to cell
       o Dormitory setting safe environment for suicidal inmate

15. Don't place in isolation except under special circumstances




                                                                                                                       Plaintiffs' Appendix 66
                                Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 67 of 295 PageID 390


                                          Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                                       Lesson 10- Jail Suicide Litigation

     Functional Area: During this block of instruction, the student will learn aspects of Jail suicide litigations and case laws.



     10.1 Title 42, Section 1983

     Learning Objective: The student will be able to defme a Title 42, Section 1983 violation.

     The courts, both state and federal, are requiring higher standards to operate a constitutional jail. Litigation plays a significant role in improving jail
     conditions and jail suicide prevention.

     History:

        • Little usage until the mid-portion of the 20th Century, Title 42 of the United States Code, Section 1983 became the legal vehicle by which
          persons could sue government officials for violations of constitutional rights.
        • A Section 1983 action, is simply the way you get to court to raise a question of a constitutional violation

     Section 1983 reads as follows:



           "Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any state or territory, subjects, or causes to be
           subject, any citizen of the United States or other person within the jurisdiction thereof to the deprivation of any rights, privileges, or
           immunities secured by the Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
           proceeding for redress."



5I   Title 42, United States Code, Section 1983:
s       • Protection to citizen regarding deprivation of rights, privileges and immunities guaranteed by the Constitution
        • Liability for persons who violate these guaranteed rights
        • Rights most commonly identified are:
             o Freedom from false arrest and/or imprisonment, cruel and unusual punishment, and excessive use of force
             o Due process                                                                                                          Plaintiffs' Appendix 67
                           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18
          o Equal protection
                                                                                               Page 68 of 295 PageID 391



10.2 Negligence

Learning Objective: The student will be able to define negligence.

   A. Defmed:
          1. Neglect is failing to care for or attend to sufficiently or properly, or ignore or disregard.
          2. In simplicity, a reasonable probability that what you do or don't do will cause harm to the inmate.
   B. Courts have ruled that mere negligence is an insufficient claim under Section 1983 and have required a showing of gross negligence or
      deliberate indifference
   C. Negligence or "simple negligence" is required in many state courts for liability in death by suicide



10.3 Deliberate Indifference

Learning Objective: The student will be able to define deliberate indifference.

   A. Courts are ruling that the deliberate indifference standard is met only if there is a strong likelihood, rather than a mere possibility, that failure to
      provide care would result in harm to the prisoner
   B. Federal courts require "gross negligence" or "deliberate indifference" for liability
           1. A strong probability that what you do or don't do will cause harm
          2. Actions which are "shocking to the conscience"
          3. Where there is a pattern of negligence or simple negligence
   C. Prior suicides and failure to meet state and national standards are used by plaintiffs to show a pattern of misconduct
   D. Gross negligence and deliberate indifference are also based on formal policy or custom and practice
   E. Plaintiffs must show existence of a policy or custom and practice in proving failure to correct unconstitutional conditions, e.g.:
           1. No screening for possible suicidal behavior
          2. Grossly inadequate monitoring of suicidal inmate
          3. No training of officers in signs/symptoms of suicide
   F. Plaintiffs must also prove that the suicide was a reasonably foreseeable consequence of the inaction or action of personnel involved
   G. Jail suicide litigation centers mainly around:
           1. Insufficient staff
          2. Inadequate training and supervision
           3. Deficient jail conditions
          4. Lack of policies and procedures for screening and monitoring potentially suicidal inmates
           5. Overcrowding
   H. Suicide prevention programs only as good as the staff members who support them. "One suicide demands measures to prevent the next one" -
      Suicide attempts demand measures to prevent first actual suicide                                                        Plaintiffs' Appendix 68
                                 Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 69 of 295 PageID 392


                                              Suicide Detection and Prevention in Jails (3501) UPDATED 09/10
                                              Lesson 11- Summary (read before taking test 10)

If recognized standards and practices are followed, it has been demonstrated from experience that almost all jail suicides can be prevented. There are
two key factors in jail suicide prevention:

   • capable, properly trained correctional, mental health, and medical staff
   • capable, proactive administration and effective supervisors

Additionally, a well though out plan is also extremely important in preventing suicides. The Texas Commission on Jail Standards plan identifies the
following key areas to be used in developing a suicide prevention plan:

   •   staff training
   •   identification/screening procedures
   •   staff communication
   •   housing
   •   supervision
   •   intervention
   •   reporting
   •   follow-up/review of incidents

The main formula for success in preventing jail suicides is:

   • following recognized standards and practices
   • effecting human interaction by good officers with awareness training
   • practicing the Golden Rule

                                                                 Case Law Involving Detention and Corrections

The following cases are offered as references on current trends in case law involving detentions and corrections.



   •   Anderson v. City of Atlanta, 778 F. 2nd 678 (11th Cir. 1985)
   •   Falkenstein v. City of Bismark, 268 N.W. 2nd 787 (N.D. 1987)
   • Garcia v. Board of County Commissioners of the County ofEl Paso (U.S.D.C., District of Colorado, Civil Action No. 83-2-222)
   •   Kanayurak v. North Slope Borough, 677 p. 29 893 (AK. 1984)
                                                                                                                            Plaintiffs' Appendix 69
          •
                                        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18
              Miga v. City of Holyoke, 497 N.E. 2nd 1 (Mass. 1986)
                                                                                                                  Page 70 of 295 PageID 393
          •   Moomey v. City of Holland, 490 F. Supp. 188 (W.D. Mich. 1980)
          •   Owens v. Haas, 601 F.2nd 1242 (2nd Cir. 1979), cert. Denied, 444 U.S. 980 91979)
          •   Pantoja v. City of Conzales, 335 (N.D. Ca. 1982)
          •   Patridge v. Two Unknown Police Officers, 751 F.2d 1182 (5th Cir. 1986)
          •   Roberts v. Stokely, 388 So.2nd 1267 (2nd Dist. Fla. Ct. of Ap. 1980)
          •   Soto v. City of Sacramento, 567 F. Supp. 662 (E.D. Cal. 1983)
          •   Strandell v. Jackson County, 648 F. Supp. 126 (S.D. Ill 1986)


                                                                                       Resources and References

      ABLE Monthly Law Journal. Jail & Prisoner Law Section. "Civil LiabilitY. for Prisoner Suicide" . February 2007.

      American Association of Suicidology Jail Suicide Task Force. "Jail/Custody Suicide: A Compendium of Suicide Prevention Standards and
      Resources".

      American Foundation for Suicide Prevention - www.afsp.org

      American Jail Association - www.aja. org

      Center for Disease and Control Prevention - www.cdc.gov/nchs/fastats/suicide.htrn

      CorrectionsOne News. "Jail cited for Failures to make suicide check every 15 minutes". 28 April2009.

      CorrectionsOne News. "NCCHC: Suicide prevention moves to a new level". 17 November 2009

      National Center on Institutions and Alternatives. "Juvenile Suicide in Confmement: A National Survey_:. February 2004

      National Center on Institutions and Alternatives & National Institute of Corrections: Jail Suicide/Mental Health Update. Volume 16 Number 4.
      Spring 2008.

      National Center on Institutions and Alternatives & National Institute of Corrections: Jail Suicide/Mental Health UP-date. Volume 17 Number 2. Fall
      2008.

      National Institue of Correction - www.nicic.org

      OCALA.com. "Inmate suicide an ongoing problem despite series of reforms". 19 March 2009.
s
lSI Oklahoma Department of Corrections. "Suicide Prevention". 1 January 2007 .
.z:
Cl1 SAMHSA's National Mental Health Information Center- www.sarnhsa.gov
                                                                                                                                         Plaintiffs' Appendix 70
Texas Commission on JailCase  6:18-cv-00015-C
                         Standards - www.tcjs.state.tx.usDocument 27-1 Filed 12/04/18         Page 71 of 295 PageID 394

Texas Office of the Attorney General Custodial Death Information - www.oag.state.tx.us

Training Institute for Suicide Assessment and Clinical Interviewing - www.suicideassessment.com

U.S. Department of Justice- Office of Justice Programs. "Suicide and Homicide in State Prisons and Local Jails". August 2005

World Health Organization: Department of Mental Health and Suicide Abuse. "Preventing Suicide inJails and Prisons" . 2007.

World Health Organization: Department of Mental Health and Mental and Behavioral Disorder. "Preventing Suicide: A Resource for Prison
Officers". 2000.




                                                                                                                     Plaintiffs' Appendix 71
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 72 of 295 PageID 395




                     TAB C




                                                             Plaintiffs' Appendix 72
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                Page 73 of 295 PageID 396


                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE Northern DISTRICT OF TEXAS
                                           San Angelo DIVISION
 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate of Derrek Quinton Gene Monroe
 vs.                                                                       CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. CogdiU;
 Mary Jo Brixey; and Jessie W. Laws




                                                        EXHIBIT A

                                                      l. DEFINJTIONS

    The term "records, books, papers and documents" as used herein shall include any printed, typewritten or handwritten matter
    or reproduction thereof whatever character, including without limitation, correspondence, memoranda, agreements, letters,
    hand or typewritten notes, tape recordings, computer runs and any codes necessary to comprehend such runs, checks, check
    stubs, bank statements, and writings of every kind and character, whether originals or reproductions.



                                           II. DOCUMENTS TO BE PRODUCED

Copies of the following for Course No. 3514, entitled "Jail Administration," taken by Leslie W. Cogdill on March 24,2017
through Bill Blackwood LEMI of Texas; syllabus, books, all course materials, audio and video recordings, and all display
slides (including projector slides and PowerPoint slides), and documents and tests completed by Leslie W. Cogdill




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Order No. 15690.001


                                                                                                 Plaintiffs' Appendix 73
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                      Page 74 of 295 PageID 397



                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE Northern DISTRICT OF TEXAS
                                               San Angelo DIVISION
 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf or, the
 Estate ofDerrek Quinton Gene Monroe
 vs.                                                                           CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws
                                                           AFFIDAVIT
STATE    00C: x.D..;'::>
COUNTY OF         wa.. UU.,(
         BEFORE            ME,       the                    undersigned               authority,       personally       appeared
(Custodian) Sbar!..-~ \:\,Lv<;\:                                                          who being by me duly sworn, deposed as
follows:    (Please print your name)

         I. I, the undersigned, am over twenty-one (21) years of age, of sound mind, capable of making this Affidavit. and
personally acquainted with the facts herein stated and do state that the facts in this Affidavit are true and correct.

         2. I am the Custodian of Records for Bill Blackwood LEMI or Texas and am familiar with the manner in which its
records are created and maintained by virtue of my duties and responsibilities.

         3. Attached hereto arei....1..J__ pages of records concerning Leslie W. Cogdill. These are the original records or exact
duplicates of the original records.

         4. It is the regular practice of Bill Blackwood LEMI of Texas to make this type of record at or near the time of each act,
event, condition, opinion or diagnosis set forth in the record.

         5. It is the regular practice of Bill Blackwood LEMI of Texas for this type of record to be made by, or from information
transmitted by, persons with knowledge of the matters set forth in them.

        6. It is the regular practice of Bill Blackwood     LEM~    of Texas to keep this type of record in the course of regularly
conducted business activity.

         7. It is the regular practice ofthe business activity to make the records.

Further Affiant sayeth not.




SUI!S(:~
      .  ED            AND SWORN TO before me, the undersigned authority, on this the                                                 day of
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Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18          Page 75 of 295 PageID 398



                                 ROSTER ID: 10298381
                                    Jail Administration
  Course Date   Hours Course ID Course Description
  3/24/2017     31    3514      Jail Administration Management and Operations NES

  PID      Name                                             Department

  10906    DANIEL J BUENO                         JIM WELLS CO. CONST. PCT. 1
  18811    DONALD W JACKSON                     TEXAS PARKS & WILDLIFE DEPT.
  30258    JohnLDagen                          MCCULLOCH CO. SHERIFF'S OFFICE
  31686    CARLL SQUYRES                         RUNNELS CO. SHERIFF'S OFFICE
  37439    BRYAN W BEAVERS                      KAUFMAN CO. SHERIFF'S OFFICE
  41604    KIRKACOKER                          HUTCHINSON CO. SHERIFF'S OFFICE
  42137    Zena A Stephens                      JEFFERSON CO. SHERlFF'S OFFICE
  50128    KENNETH M EGGLESTON                  LIPSCOMB CO. SHERIFF'S OFFICE
  54344    SALLY I HERNANDEZ                      TRAVIS CO. SHERIFFS OFFICE
  58066    THOMAS E WATT                         GRAYSON CO. SHERIFF'S OFFICE
  69361    RAND M HENDERSON                   MONTGOMERY CO. SHERlFF'S OFFICE
  79807    RICHARD M SCAMAN                       FALLS CO. SHERIFF'S OFFICE
  83261    JAMES D MITCHELL                      WINKLER CO. SHERIFF'S OFFICE
  86016    VANCE WHILL                            BROWN CO. SHERIFF'S OFFICE
  87701    MARSHALL W THOMAS                    MONTAGUE CO. SHERIFF'S OFFICE
  90705    LEMUEL B WARDEN                       OLDHAM CO. SHERIFFS OFFICE
  93395    NORRIS LAKIN                            WISE CO. SHERlFF'S OFFICE
  95428    THOMAS P SPURLOCK                       JACK CO. SHERIFF'S OFFICE
  95915    JESUS G RAMOS                        LAMPASAS CO. SHERIFF'S OFFICE
  101700   ABRAHAM M VEGA                          LYNN CO. SHERIFF'S OFFICE
  102159   WILLIAM G PRICE                     WILBARGER CO. SHERIFF'S OFFICE
  107485   BRETT E MCGUIRE                  PALO PINTO CO. FIRE MARSHAL'S OFFICE
  111819   ANDREW R AGUILAR                       CRANE CO. SHERIFF'S OFFICE
  112257   LESLIE W COGDILL                     COLEMAN CO. SHERIFF'S OFFICE
  146221   MATTHEW J ATKINSON                   GONZALES CO. SHERIFFS OFFICE
  155761   CHARLES R STEWART                    ANDREWS CO. SHERlFF'S OFFICE
  156946   THOMAS A CASTLOO                       WOOD CO. SHERIFF'S OFFICE
  216154   MATTHEW L COATES                       ERATH CO. SHERIFF'S OFFICE


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                                                                      Plaintiffs' Appendix 75
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 76 of 295 PageID 399


   229560 SCOTT A WILLIAMS                CORYELL CO. SHERIFF'S OFFICE
   233915 CARLRBOWEN                       DEWITT CO. SHERIFF'S OFFICE
   270435 FLETA A BARNETI                ARMSTRONG CO. SHERIFF'S OFFICE
   282245 JUSTIN R CARAWAY                HAMILTON CO. SHERIFF'S OFFICE
  330056 JAMES R SCIFRES                  HOCKLEY CO. SHERIFF'S OFFICE
  373182 SHANNON SRUBAR                   WHARTON CO. SHERIFF'S OFFICE
  432867 THEODORE MALLEN                  SHERMAN CO. SHERIFF'S OFFICE




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                              Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 77 of 295 PageID 400
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    111819       Aguilar              Andrew                                      X
    93395        Akin                 Lane                                        X
    432867       Allen                Ted                                         X
                 Atkinson             Matthew                                     X
    270435       Barnett              Fleta                                       X
    37439        Beavers              Bryan                                       X
    233915       Bowen                Carl                                        X
    10906        Bueno                Daniel                                      X
    282245       Caraway              Justin                                      X
    156946       Castloo              Thomas                                      X      X     ~      #t     ~c ;?'?t      .Jr.-   I~      ~ ~
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    112257       Cod gill             Les                                         X
    41604        Coker                Kirk                                        X
    30258        Dagen                John                                        X
    50128        Eggleston            Kenneth                                     X
    69361        Henderson            Rand                                        X
    54344        Hernandez            Sally                                       X
    86016        Hill                 Vance                                       X
    18811        Jackson              Don                                         X
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    95915        Ramos                Jess                                        X
    79807        Seaman               Ricky                                       X
    330056       Scifres              Ray                                         X



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                                Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                        Page 78 of 295 PageID 401
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                    Spurlock         Thomas                                                   X
     31686           Squyres               Carl                                               X
     373182          Srubar                Shannon                                            X
                     Stephens              Zena                                               X
.. 1~761             Stewart               Rusty                                              X      X     ~~l:l)tp~~~~~~~....,~~ "'
     8770/           Thomas                Marshall                                           X      X     ._.,,. *'""'~ .,..,..,_ ~.,-v ~_,y " # ltfvP'. ~ ~
     101700          Vega                  Abraham                                            X      X      .AV N         pV     tJJ/ N' IcAl Jll               Jfll.   v
     90705           Warden                Brent                                              X      X                                    //      /     •   J

     58066           Watt                  Tom                                                X
     229560          Williams              Scott                                              X




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Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18         Page 79 of 295 PageID 402

                               Correctional Management Institute of Texas
                             Jail Administration: Management & Operations
                                        For Newly Elected Sheriffs
                                             Huntsville, Texas
                                            March 20-24, 2017
                                              Participant List


        Andrew Aguilar                               Phone: 972-932-9701
        Crane County Sheriff                         Cell:
        201 W. 6th. St./POBox 1175                   Email: beavers@l
        Crane, TX 79731
        Phone: 432-558-3571
        Cell:                                        Carl Bowen
        Email: aaguilar@co.crane.tx.us               DeWitt County Sheriff
                                                     208 E. Liveoak
        Lane Akin                                    Cuero, TX 77954
        Wise County Sheriff                          Phone: 361-275-5734
        200 Rook Ramsey                              Cell:
        Decatur, TX 76234                            Email: chiefdeputy@co.dewitt.tx.us
        Phone: 940-627-5971
        Cell:
        Email: lane.akin@sheriff.co.wise.tx.us       Justin Caraway
                                                     Hamilton County Sheriff
        Ted Allen                                    1108 s. Rice Street
        Sherman County Sheriff                       Hamilton, TX 76531
        PO Box 526                                   Phone: 254-386-8126
        Stratford, TX 79084                          Cell:
        Phone: 806-366-5551                          Email: hamiltonsheriff@hamiltoncountytx.org
        Cell:
        Email: ted.allen@co.sherman.tx.us            Matt Coates
                                                     Erath County Sheriff
        Matthew Atkinson                             1043 Glen Rose Road
        Gonzales County Sheriff                      Stephenville, TX 76401
        PO Box 1757                                  Phone: 254-965-3338
        Gonzales, TX 78629                           Cell:
        Phone: 830-672-6524                          Email: sheriff@co.erath.tx.us
        Cell: 830-263-1865
        Email: matkinson@co.gonza les.tx.Lts
                                                     Kirk Coker
        Fleta Barnett                                Hutchinson County Sheriff
        Armstrong County Sheriff                     PO Box 1426
        PO Box 531                                   Borger, TX 79008
        Claude, TX 79019                             Phone: 806-274-6343
        Phone: 226-3151                              Cell:
        Cell:                                        Email: hcsheriff@hutchinsoncnty.com
        Email: bfjmlitt@aol.com

        Bryan Beavers                                Kenneth Eggleston
        Kaufman County Sheriff                       Lipscomb County Sheriff
        PO Box 849                                   PO Box 120
        Kaufman, TX 75142                            Lipscomb, TX 79056
                                                                                      005
                                                                       Plaintiffs' Appendix 79
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 80 of 295 PageID 403

                                 Correctional Management Institute of Texas
                               Jail Administration: Management & Operations
                                          For Newly Elected Sheriffs
                                               Huntsville, Texas
                                              March 20-24, 2017
                                                Participant List


        Phone: 806-862-2611                                Emai: bprice@co.wilbarger.tx.us
        Cell:
        Email: keggleston@lipscombso.com                   Jess Ramos
                                                           Lampasas County Sheriff
                                                           PO Box465
        Sally Hernandez                                    Lampasas, TX 76550
        Travis County Sheriff                              Phone: 512-566-8255
        5555 Airport Blvd                                  Cell:
        Austin, TX 78751                                   Email: jess.ramos@co.lampasas.tx.us
        Phone: 512-854-9788
        Cell:
        Em ai I: sally. he rna nd ez@traviscou ntytx.gov   Ray Scifres
                                                           Hockley County Sheriff
                                                           1310 Avenue H
        Don Jackson                                        Levelland, TX 79336
        Blanco County Sheriff                              Phone: 806-894-3126
        400 Hwy. 281                                       Cell:
        Johnson City, TX 78636                             Email: rscifres@hockleycounty.org
        Phone: 830-868-7104
        Cell:
        Email: djackson@co.blanco.tx.us                    Carl Squyres
                                                           Runnels County Sheriff's Office
        Brett McGuire                                      612 Strong Ave
        Palo Pinto County Sheriff                          Ballinger, TX 76821
        PO Box 279                                         Phone: 325-365-2121
        Palo Pinto, TX 76484                               Cell:
        Phone: 659-2085                                    Email: runnels128@icloud.com
        Cell:
        Email: brett.mcguire@co.palo·pinto.tx.us
                                                           Zena Stephens
        Darin Mitchell                                     Jefferson County Sheriff
        Winkler County Sheriff                             1001 Pearle St. Ste 103
        1300 Bellaire St.                                  Beaumont, TX 77701
        Kermit, TX 79745                                   Phone: 409-835-8411
        Phone: 432-586-3461                                Cell:
        Cell:                                              Email:
        Email: darin.mitchell@co.winkler.tx.us
                                                           Marshall Thomas
        Bill Price                                         Montague County Sheriff
        Wilbarger County Sheriff                           PO Box 127
        PO Box 1556                                        Montague, TX 76251
        Vernon, TX 76385                                   Phone: 940-894-2491
        Phone: 940-996-6208                                Cell:
        Cell:                                              Email: mthomas@montaguesheriff.com
                                                                                             006
                                                                             Plaintiffs' Appendix 80
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18        Page 81 of 295 PageID 404

                               Correctional Management Institute of Texas
                             Jail Administration: Management & Operations
                                        For Newly Elected Sheriffs
                                             Huntsville, Texas
                                            March 20-24, 2017
                                              Participant List




        Brent Warden
        Oldham County Sheriff
        PO Box452
        Vega, TX 79092
        Phone: 806-267-2162
        Cell:
        Email: vegaso@amaonline.com



        Scott Williams
        Coryell County Sheriff
        510 E Leon St
        Gatesville, TX 76528
        Phone: 254-865-7201
        Cell:
        Email: swilliams@sheriff.co.coryell.tx




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                                                                   Plaintiffs' Appendix 81
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                    Page 82 of 295 PageID 405


                                               [LEGACY LEADERSHIP]


                                     Legacy Leadership
                                   Dr. Randy Garner
                             Professor, Behavioral Sciences
                              Sam Houston State University
     Leadership is not about theories ...

     Thinking Forward
     When should you think about the legacy you will leave?
     Is it ever too early to think about what people will think, say, or do, after your tenure as a
     leader has ended?

     Legacy Leadership
     How will you be remembered?
     Questions for Thought ...
     Who left an indelible impression on you at work or in your personal life?
     What makes a person unforgettable?
     Whose shoes would you walk in today if you could?

     ClarifYing Your Legacy
     It will be revealed in how your colleagues, employees, and others think and behave as a
     result of the time they spent working with you
     In clarifying what you would like for others to take away as a result of having worked with or
     for you; you gain a better understanding of yourself in your leadership role

     Understanding Legacy
     The usual thought is passive; it is "Something to be remembered for."
     Better to consider it "something that changed the way others think and behave."

     Legacy Leader•ship Formula
     The sum total of the difference you make in peoples lives, directly and indirectly; formally
     and informally.
     The way you behave in your day-to-day life defines your legacy

     It's Not About the Resume
     Building a Leadership Legacy differs from building a resume
     A resume may include pages of experience and accomplishments
     But none of that reflects the person's suitability to serve as a leader
     Education and experience does not ensure leadership capability

     Legacy leadership is about Se1-vice
     Where do you see yourself on the organizational chart?
     A Farmer's Legacy

     Legacy Leadership is About Sacrifice
     Leadership is hard work; nearly every act of leadership requires suffering
     Often a choice between personal success and the welfare of others
     Leaders must be willing to pay the price
     By sacrificing, you demonstrate you are not in it for yourself


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                                                                                  Plaintiffs' Appendix 82
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 83 of 295 PageID 406


                                               [LEGACY LEADERSHIP]



     Legacy Leadership isAbout Teachi.Jl{J
     The very best leaders are the very best teachers
     The very best teachers are the very best learners
     They know that by investing in developing others, they are developing themselves

     Legacy Leadership is recognizing YOU are the Most Important Leader in Your
     Orgamation
     Leaders who have the most influence on us are those who are closest to us.
     They are the most likely to influence our performance-either positively or negatively.

     Legacy Leadership is About Liking and Respect
     "I don't care if people don't like me. I just want them to respect me."
     This is NOT a binary choice
     Legacy leaders desire to be liked and respected

     Legacy Leadership is Built on Trust
     Trust is the social glue that binds human relationships.

     Legacy Leadership is about taking 100% Responsibility
     There is only ONE PERSON responsible for the quality of your life- You.
     Give up your excuses, victim stories, the reason why you "can't" and why you "haven't," and
     ALL your blaming outside circumstances
     If you Don't Like Your Outcomes; Change Your Responses

     Legactl Leaders Realize the Importance o(Keeping Their Word
     It used to be that one's word was one's bond
     People thought carefully about whether they could deliver on their promises before agreeing
     to anything; it was important
     Today, keeping one's agreement seems to be a hit or miss affair; people casually give their
     word and casually break it.

     Legacy Leader•ship is Built from the Inside Out
     A lasting legacy is built on a firm bed of principle and purpose.
     Leadership development is first and foremost self-development.
     It is an inner quest to discover who you are; to find the awareness needed to lead.

     Legacu Leader•s Focus on Action. Not Complaining
     Legacy leaders have a bias toward action
     Action that will achieve their desired outcomes
     Complaining and blaming are not future focused

     Legacy Leadership is Recognizing it is Not Just the Leader's Vision
     Leaders have assumed that it's their vision that matters; and if so, they have to create it.
     The very best leaders understand that their key task is inspiring a shared vision, not
     selling their own.

     Legacy Leaders UJ'e Clear and Specific in Setting Goals
     Many of us set goals; however, legacy leaders set goals that are specific and are able to be
     measured by anyone else.
     Vague goals produce vague results

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                                                                                 Plaintiffs' Appendix 83
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                     Page 84 of 295 PageID 407


                                                 [LEGACY LEADERSHIP]



     Legacy Leadership is having the Courage to be Humble
     The words human and humble share a common origin
     Legacy leaders do not get 'hung up" about being "in charge."

     Leadership Lega.c y involves Encouragement
     Appreciation of others is a hallmark of legacy leadership
     Do not just assume that others know that you appreciate their efforts-tell them.
     No one likes to be an assumption

           Become a Master Gardener
           A mater gardener pays attention to the plants and trees---they learn the best way to
           nourish each one
           There is no one-size-fits-all plan of care
           Soil, light, moisture, temperature, climate, must all be tailored to each plant's specific
           needs.
           Would you treat a Rose like an Oak?

     Sumnz.a1y: Tlte Importance o(Legacy Leade1·ship


  References:




  Notes:




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                                                                                    Plaintiffs' Appendix 84
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18         Page 85 of 295 PageID 408




         Jail Administration:
       Management & Operations




         Texas Commission on Jail Standards




                   Philosophy
   We will work cooperatively, patiently, and fairly
   with public officials and private citizens; we will
   be sensitive to community needs and ideals
   while carrying out our regulatory responsibilities.
   We recognize a shared commitment to utilize
   criminal justice resources toward common goals.




                      Mission
   To ensure safe, secure, and suitable jail facilities
   for correctional personnel, inmates and the
   community through proper rules and procedures.
   In addition, to provide leadership in resolving
   inmate population       issues efficiently and
   economically.




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                                                                   Plaintiffs' Appendix 85
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 86 of 295 PageID 409




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                    Brandon
                     Wood
                      ExecutiVe
                       Director




                     Shannon
                     Herklotz
                   Assistant Director




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                                                             Plaintiffs' Appendix 86
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 87 of 295 PageID 410




   FYI ••.
    The Commission on Jail
    Standards performs all of its
    functions* within an operating
    budget of$ 959,452 per year.




                According to tbe
       National Institution of Corrections
            there are approximately
  3,500 jails in the United StateS'.
  Interesting Fact:

     TEXAS has 7°/o of the 3,500.
        (244 entities that are inspected
       with a total of   95,309 beds)




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                                                             Plaintiffs' Appendix 87
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 88 of 295 PageID 411




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              "'.'




               The Sheriff has
               a sworn duty to
               protect any
               person
               committed to
               his custody.




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                                                             Plaintiffs' Appendix 88
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 89 of 295 PageID 412




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                                                             Plaintiffs' Appendix 89
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 90 of 295 PageID 413




    Each county jail must comply with the
    minimum standards and the rules and
    procedures of the Commission on Jail
    Standards.




  Standards are derived from:

        •New legislative action
        •Case law
        •Feedback from the field
        •A demonstrated need for change




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                                                             Plaintiffs' Appendix 90
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                              Page 91 of 295 PageID 414




                                 FYI. ..
   31 states have mandatory
    jail inspection programs

  8 states have voluntary jail
     inspection programs.




                            The
                         Inspection
                          Process


             j
                 l   Internal Inspections J
    During intervals of at least four months and at
                                                               '
    least two times each year, the sheriff/operator
    shall inspect each facility for which he/she is
    responsible inquiring into the security, control,
    conditions, and state of compliance with the
    rules of the commission.
    (TITLE 37 PUBLIC SAFETY AND CORREITIONS, PART 9 TEXAS COMMISSION ON JAIL
    STANDARDS, CHAPTER 297 COMPLIANCE AND ENFORCEMENT, RULE §297 ,1
    Regular local Inspections)




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                                                                                        Plaintiffs' Appendix 91
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                   Page 92 of 295 PageID 415




          .--------
            Commission Inspections
    Not less than once each ·flscal year, the commlssionstaff
    shall perform at lea st one, unannounced inspection for
    each facility under commission j urisd iction and shall
    Inquire into see::l•rity, control, conditions, and compliance
    with the established minimum standards.
    The commlssien staff shall at any time have access to all
    parts of each 'fadllty; the books, records, data, documents,
    and accounts pertaining to each facility and to the Inmates
    conflned therein; and sha ll have the right and authorlty to
    Interview any of the officials of the facility or inmates
    the re in.
    The sherlff/operator sha ll assist staff by all means at their
    disposal to enable them to perform the fu nctions, powers,
    and dutie.L f ~wir off.\.1;_~
    {TITLE 37 PUIILICSAFETY AND CORREaiONS, PART9 TEXAS COMMISSION ON JAIL STANDARDS, CHAPTER 297
               COMPUANCE AND ENFORCEMENT, RUl£ §297.2 Re11ular Commission Inspections)




      Inspection                               ~--"
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     Cover letter                                 -~~~:7~-;;::-:::
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    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                           Page 93 of 295 PageID 416
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Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                  Page 94 of 295 PageID 417




      OFFICIAl NOTICE OF NON-COMPUANCE


                          - =




       WHAT HAPPENS AFTER COUNTY OffiCIALS
         RECEIVE THE OFFICIAL NOTICE OF NON·
                   OOMPUANCE??
      1. Initiate lhe appropriata c:onedive aotians shaU within
         lite llmeframe presc:dbed by the notice ol ~
         ~ {1101 to exceed 30 d:~~l
      2. In ~. rM!ili!Y 111e ~rss~on ot tne Qltlllty'•
         ftlitlaUep or c:ol'npleP6n bf corree1lVa a~on(~ wllllln 30
         days ot (eG!Ilpt of the noUce of I'IOIH:QIT1IIIanoe
      3. Complete lhe correctlvaaetlon(s) wilhm lhe-timefmme
         prescribed by Ute ri01ice of ~ (not 10
          ~ QIJ8 yeal).
      4. Ooqt tiM! Hlty _I$ ~ for a re-~IJ. TCJS
         ~ recelvil Wriften ~erlliadlon of such and lt!e
         C01J11tY must &Peclffcally request a ~
         TCJS lnspeciOI(e) wlH not condUct a nHrlspeotfon until
         !He ha\re SU!:f\ Jetter:




                               What's Next??
   If the responsible party fails to initiate corrective action to the notice of
   non compliance Lhe Commission may issue a remedial order.

   What Is a Remedial Order??
   An administrative order that may declare that the facility in question or
   any portion thereof be closed, that further confinement of inmates or
   classifications of inmates in the non-complying facility or any portion
   thereof be prohibited, that all or any number of inmates then confined be
   transferred to and maintained in another designated facility, or any
   combination of such remedies , Also, a remedial order may be issued to
   terminate a contract with a facility housing non-Texas sentenced inmates
   and force responsible officials to initiate action terminating the contract
   and transfer affected inmates
   'The remedial order shall be in writing and shall identify each standard
   with which the jail has failed to comply.
   'The remedial order shall lake effect fifteen days after it is received by
   the sheriff or county judge unless the order is appealed, in which case il
   is stayed unlit the appeals hearing




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                                                                                            Plaintiffs' Appendix 94
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                    Page 95 of 295 PageID 418




                          Remedi~l                     Orders
   The remedial order snail be in wiitlng and shall
   identify each standard wi11'1 whicl) the jail has failed
   to comply.           ·

   The remedial order shall take effect fifteen days
   !lifter it is recejved by the ·sheriff or oounty judge
   unless the order is appealed, in which case it is
   stayed 1.1nUI the appeals hearfng .




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      Non-compliant jail
      inspection reports are
      posted on the TCJS
      website.

        www.tcjs.state.tx.us




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Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                            Page 96 of 295 PageID 419




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  FYI ...
                                 AUGUST 15, 2002:
     THE DAY THE COMMISSION VOTED TO
      SHUT DOWN THE CALHOUN COUNTY
                   JAIL.

                             NOVEMBER 16, 2006:
   THE DAY THE HOWARD COUNTY JAIL WAS
           ORDERED SHUT DOWN




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                                                                                                      Plaintiffs' Appendix 96
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 97 of 295 PageID 420




    VI ...
             AUGUST 5, 2015:
     THE DAY THE COMMISSION VOTED TO
      SHUT DOWN THE FRIO COUNTY JAIL

             FEBRUARY 4, 2016:
     THE DAY THE COMMISSION VOTED TO
     SHUT DOWN THE MAVERICK COUNTY
                   JAIL




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      th v      ( ) m in r a in
      which j   ils r     o toft
          oun     t   e in no l-
            c    mpli nc ?




    # 1 is .....
      ... n t completi g the Ment I
        le lth/S icid Pr vention
           cr ening orm either
    imm di t ly upon inl ke or in its
                 ntir ty ....




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                                                             Plaintiffs' Appendix 97
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 98 of 295 PageID 421




   Mental Disabilities/Suicide Prevention
     The entire form
        must be
       completed
      Immediately
     upon entrance
      to the facility.
     Be sure lo ask
      all quesllons
        and note
     responses and
      observations.
    All areas must
    be complete. II
    is Imperative to
     note the time
     and dale of the
    screening. If a
    response noted
     on the fonn is
     not applicable,
      noteN!Aon
          form.




    # 2 is .....
    .... not completing the visual face,to,face
    observation of afl inmates by jailers at
    !east once every hour or at least every
    30 minutes in areas where inmates
    known to be assaultive, potentially
    suicidal, mentally ill, or who have
    demonstrated bizarre behavior are
    confined ....




    # 3 is .....




                                                                            024        14
                                                             Plaintiffs' Appendix 98
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                           Page 99 of 295 PageID 422




     # 4 is .....
    Chap!er     263.55"1nspections,       Maintenance,
    Testing. AI! fife safety equipment shaU be
    inspected, maintained, and tested by persons
    qualified to do so (whether under vendor
    contract, by state or private agency or otherwise)
    in order th<lt such equipment shaH be safe,
    seGure, and fully operative at al! times ., ,_ Long
    story short, ensure your fire panel has been
    inspected and properly 1af~9EKL Tho panel must
    reset to normal mode and the panel can not
    show to be in "Trouble" mode .... .




     # 5 is .....
  Licensing
  Chapter 275.2 Personnel employed or appointed as
  jailers or guards of county jails shall be licensed as
  per the requirements of the Texas Commission on
  Law Enforcement under the provisions of the Texas
  Administrative Code, Title 37. Personnel employed
  or appointed as jail ers or guards at facilities
  operated under vendor contract with a county or city
  shall be subject to the same qualifications, training,
  and testing procedures as county jailers.




          HEALTH SERVICES
         Mental Disabilities/Suicide Prevention

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                              ~ ~:~r~ c·. '


        Where is this record maintained?

      This is to be maintained in the
           inmate's medical file




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                                                                                     Plaintiffs' Appendix 99
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                Page 100 of 295 PageID 423




     CODE OF CRIMINAL PROCEDURE §16.22

   Art 16 22    EARLY IDENTIFICATION OF DEFENDANT SUSPECTED OF
   HAYL~G_Mo     A.LI!.LNo~S_QB_!'HNII\_1._8 WBQAIJQN"_(a) 11) Not
   Ialor than 72 bou•• tHor cocolwJnc Gradlbltlnfgrmatloft..lbat..m.IX
   ~~ labliJ>h . r~Q$!1Mbl' g~ un_tl! _b~llon lhal_e_lldond~llt.o.l!.m mlt.tQd
   to tbp 1 boriH 11 cuetody b11 • mentllllln•a• pr 11 1 poraon w ltll
   montAl rtlordot.tAD. including observation of the defendant's
   behavior immediately before, during, und nfter the defendant's
   arrest and the results of any previous assessment of the defendant._
   lhuh.o.tlru.!tall proyldo W.tll~n pr ._l_trto:~toluo~u.l..!.bA
   lnl.Qml•Uon to tho mAC.ll.l.rJll.Q.,. On a determination that there is
   reasonable cause to belieye that tile defendant has a mental
   illness or is a person with mental retardation, the magistrate,
   except as provided by Subdivision (2) , shall order the local mental
   health or mental retardation authority or another qualified mental
   health or mental reta1dation expert to:




       Texas Commission on Jail Standards
         Executive Director Brandon Wood (512) 771-5283
       Assistant Director Shannon Herklotz (512) 769-4326
               Inspector Fred St. Amant (512) 553-5392
               Inspector Jackie Semmler (512) 553-4345
               Inspector Phillip Bosquez (512) 769-5975
                          or (830) 570-9784
                Inspector Shane Sowell (432) 813-0990
          Research Specialist Diana Spiller (512) 453-2590


                 Main Office Number (512) 463-5505
                 Office Fax Number (512) 463-3185




            TCJS has gone global •••. Facebook'3nd
            Twitter are now In our arsenal.w




        Facebook: Texas Commission on Jail Standards
        Twitter: @TxCommJaiiStand




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                                                                                         Plaintiffs' Appendix 100
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                          Page 101 of 295 PageID 424




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                          Emerging Trends in
                         Law Enforcement and
                             Jail Liability
                                                               Dtbotlotl ov,~on a.m.;
                                                                          Shin lewleckl
                                                                       Claims Attorneys
                                                            Teos Association of Counties
                                                                       January17,2017




                Who are we and what do we do?
 • Debbie Bonner, TAC Claims Attorney
 • Stan Lewiecki, TAC Claims Attorney

 • TAC Risk Management Pool provides counties with a stable, sustainable
   resource of protection against a variety of risks and liabilities. The Pool
   provides counties with the following coverages:
     Law   Enforcem~nt         Public Officials
     Property                  General Liability
     Auto Liability            Automobile Physical Damage
     Workers Compensation


 TAC provides LE coverage to 187 of 254 counties in Texas




 What is Law Enforcement and Jail Liability?
  • Civil Liability for violations of (mostly) federal civil rights in the context of
    law enforcement activities
  • Criminal Liability is also possible, but rare
   • Assault (Physical and/or Sexual)
   • Homicide
  • Claims are rare under Texas Bill of Rights, usually a 11 pro se" claimant
  • Civil Liability from violation of Bill of Rights to U.S. Constitution
  • Remedies for Civil Liability
  • pt~ 4th~ gth and 14lh Amendments most common




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                                                                                                   Plaintiffs' Appendix 101
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                     Page 102 of 295 PageID 425




  Bill of Rights- U.S. Constitution
  • Main way to establish civil liability against law enforcement
  •Introduced by James Madison in 1789 to help ratify U.S.
    Constitution
  • Concern was United States would have too much power
  • Law Enforcement liability arises from
   •1" Amendment
   •41h Amendment
   •8 1h Amendment (and the 141h Amendment, too!)




  1st Amendment- ratified 1789

 • "Congress shall make no law respecting an establishment of
   religion, or prohibiting the free exercise thereof; or abridging
   the freedom of speech, or of the press; or the right of the
   people peaceably to assemble, and to petition the
   Government for a redress of grievances."
 • Original reason for First Amendment
 • Originally only applied to the United States Congress
 • First applied to states (including counties) in 1925




 Trends in First Amendment Jail Claims
 • Speech     I   Press
   • Access to Legal Materials I Law Library
   • Access to Mail
 • Religion
   • Lack of Accommodation
   • Lack of Religiously Adequate Meals
   • Lack of access to religious materials




                                                                                              028        2
                                                                              Plaintiffs' Appendix 102
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                            Page 103 of 295 PageID 426




  4th   Amendment- 1789

  • The right of the people to be secure in their persons, houses, papers,
    and effects, against unreasonable searches and seizures, shall not be
    violated, and no Warrants shall issue, but upon probable cause,
    supported by Oath or affirmation, and particularly describing the
    place to be searched, and the persons or things to be seized.
  • Original reason for Fourth Amendment
 • Originally only applied to the United States government
 • First applied to state (including counties) in 1961




 Trends in 4th Amendment Jail Claims
   • Excessive Force - use only as much force as a reasonable jailer
     under the same or similar circumstances would find necessary
       • Use of Tasers
       • Use of bodily force
       • Body Cams- helpful or not?
       • Cell phone cams and social media
       • Restraints
       • Death as a result of excited delirium
     • Strip Searches




 Trends in 4th Amendment LE Claims
 • Excessive Force- use only as much force which a reasonable
   officer under the same or similar circumstances would find
   necessary
  • Incident to arrest
    • TASER claims
    • Application of physical restraints and handcuffs
    • Shootings of suspects
 • Searches of premises and property
 • Are auto accidents 4th Amendment Claims?




                                                                                                     029        3
                                                                                     Plaintiffs' Appendix 103
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                    Page 104 of 295 PageID 427




  Sex in the Jail
  • Common event
  • Affects Coverage
  • County liability is rare




 gth   Amendment -1791

 • Excessive bail shall not be required, nor excessive fines
   imposed, nor cruel and unusual punishments inflicted
 • Original reason for B'h Amendment- English origin
 • Originally only applied to the United States government
 • First applied to states (including counties) in 1962
 • Punishments never allowed: drawing and quartering, public
   dissection, burning alive, and disembowelment




 The 14th Amendment "wrinkle"
 • 14th Amendment applies to cruel and unusual claims by pre-trial
   detainees
 • sth Amendment applies to cruel and unusual claims by convicted
   persons
 • Same types of claims- arise from same environment
 • Some difference in legal standards




                                                                                             030        4
                                                                             Plaintiffs' Appendix 104
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                               Page 105 of 295 PageID 428




 Trends in 8th/14th Amendment Jail Liability
  • gth   Amendment claims rarely occur outside the Jail, but possible
  • Jail Suicides
   • Trending down in 2016 over the previous 5 years
   • Highest severity LE claims
   • Not always problematic
  • Jail Deaths- non suicide
   • Medically compromised upon intake to jail
   • Sometimes people just die




 Jail Deaths
  • Violatlon of the     gth   Amendment right to be free of cruel and unusual
    punJ:hment
  • Generally, two contexts:
      • Failure to provide medical care
          • Not negligence
         • Disregarding a substantial risk of serious harm or death
      • Suicide
         • 140 jail suicides in Texas since 9/1/09- but trending down for 2016
           • Hanging 64% of the time
           • 60% of hangings are with Unens1
  • Hot topic in litigation and the news
  • Sticky Issues- observation, logs, videos, training, audits
  • Federal courts are watching these claims more closely, good or bad




                                               ;('Ill\·
                                               :~·
                                                     ·''
                                 Questions?
                                         Thank you!

    Debbie Bonner                   DebbieB@couoty.org                           972.567.9075
     Stan Lewiecki                   Stanl@county.org                            512.743.4426




                                                                                                                        031        5
                                                                                                        Plaintiffs' Appendix 105
                     .. .     )
                                           ' .
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                     Page 106 of 295 PageID 429



                                  Intake Drug and Alcohol Questionnaire

 Inmate Name: - -- - - - - -- - -- -                        Date:,_ __ _ __     SO#: _ _ __ _ _

 1.     Do you take any of the following drugs?
        A       Benzodiazepines:                            How Often/Amount?
        Alprazolam (Xana~                    Yes    No
        Triazolam {Halcion~                  Yes    No
        Lorazepam (Atlvan®)                  Yes    No
        Temazapam (Restoril®)                Yes    No
        Flurazapam (Dalmane~                 Yes    No
        Estazolam (ProSom~                   Yes    No
        Midazolam (Versed~                   Yes    No
        Diazepam (Valium®)                   Yes    No
        Chlordiazepoxide {Librium®)          Yes    No
        Clonazepam {Kionopin~                Yes    No

        B.      Opiates:
        Opium                                Yes    No
        Codeine                              Yes    No
        Morphine                             Yes    No
        Tramadol (Uitram)                    Yes    No
        Methadone                            Yes    No
        Buprenorphine (Subute)(ID)           Yes    No
        Propoxyphene {Darvocet®)             Yes    No
        Pethidine (Demorol®)                 Yes    No
        Hydrocodone (Lortab®NicodidBI'')     Yes    No
        Oxycodone (Percocet®/Oxycontin®)     Yes    No
        Hydromorphone (Dilaudid~             Yes    No
        Oxymorphone (Opana~                  Yes    No
        Fentanyl                             Yes    No
        Heroin                               Yes    No

        c.     Barbiturates/Depressants      Yes    No

2.      Questions relating to Alcohol/Drug Consumption:
        A. Do you drink on a daily basis?           Yes     No
        B. Do you take recreational drugs daily?    Yes     No    What? - -- -- - - - - - - -
        C. Are you addicted to any drug or alcohol? Yes     No    What? _ __ __ __ __ _ __

3.      Are you presently suffering from withdrawals? Yes No

4.      Do you a expect to have withdrawal symptoms? Yes No

5.      Are you in current need of medical attention? Yes   No

1/M Signature: _ _ _ _ __ _ _ _ __ _ _ Receiving Off: - -- - -- -- - -- - --

      If "YES" to any of the above, have arresting officer obtain medical clearance
                                    prior to admission




                                                                                                 032
                                                                                Plaintiffs' Appendix 106
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 107 of 295 PageID 430



                                   FOR MEDICAL STAFF ONLY

             1/M is ok to be received into jail.
             1/M is to be put on "Medical Watch" every _ _ _ minutes.

 1/M Was examined by: - - - --   - - -- - -- -- -                Time: _ _ _ _ _




                                                                                         033
                                                                         Plaintiffs' Appendix 107
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                     Page 108 of 295 PageID 431         2016




  Intoxication and
  Withdrawal Deaths
   Ho!:<;~rt   OMl:;
   tiowers D<Nh, PLLC   Tyl~;­
   ?.016




 I. Definitions
 Homicide: Any death that is not natural or suicide where the actions of another party
 is involved.

 Detoxification: the process by which an individual is gradually withdr<~wn from a drug
 by the administration of decreasing doses of the drug on which the person is
 physiologically dependent, of one that is cross-tolerant to it, or of one that medical
 ~M~~ch   h.» dil!rnotulrated to bt! ellt~afw..




 II. Examples
Death in Dallas County Jail Spurs Lawsuit on
Lack of Health Training
                                               Craig Morris battled alcoholism his entire life
                                               Morris was said to have died from pneumonia 18
                                               hourr. after being booked into the Dallas County
                                               Jail

                                                'Cia'; Morris spenl his lasl mom&nts lying
                                                molion/ess on a cold cemanl floor until his labored
                                                breathing slowed and th~:~n s/opp~:~d. ~

                                                 'SYMPTOMS OF A TROUBLED JAIL SYSTEM_ •




                                                                                                                              034           1
                                                                                                              Plaintiffs' Appendix 108
  Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                             Page 109 of 295 PageID 432         2016




  Undergoing Heroin Withdrawal, Kitsap
  County Jail Inmate Died from Heart
  Condition
1- - - - - - - - - - - - - - - - - - - ,                AKitsap County Jail inmate who died
                                                        in December alter being found in a
                                                        C!IU:II<Ifll~ Mloin~r.v."'!l!~
                                                        W\!h kwl bl'ood praUUIG died from •
                                                        hurt condit.IOn b!OU9hl on by chronic
                                                        drug use




                                                        The nurse said "[Boshears] was a
                                                        little dehydrated but wasn't in any
                                                        medical distress aside from her
                                                        withdrawing from heroin •




   Inmate's Death at Snohomish County
   Jail is Ninth Since 2010
   Lindsay M Kronberger died from probable heart
   problems, dehydration and opiate withdrawal,
   according lathe Snohomish County Medical
   Examiner's Office



   Court records show the woman had admitted heroin
   use to police as recently as Jan 3



   She was being kept in the Jail's medical unit when
   she was found Ullresponsive at 1 am Jan 13




  Woman's Death is One of Many in
  Troubled Gregg County Jail
  Cowling died from a probable seizure due to
  withdrawal from methadone and alprazolam




  She was reportedly "slumped over her bed,
  clulching a boHie of Diet Dr Pepper, alter a day of
  wailing and seizures •



  "Amy [Cowling] needed her medication Lo stay
  D3.,w,lfl41~1tfll't,!';.now'lJlal,."tbR!IIIIId
  "Th•l'~ why I was begging them lo help her
  repeatedly.•




                                                                                                                        035           2
                                                                                                        Plaintiffs' Appendix 109
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                      Page 110 of 295 PageID 433         2016




   Decatur County Jail Inmate's
   Death Blamed on Alcohol
   Withdrawal
                                                       A Greensburg rnan who died alter berng
                                                       incarcerated at Decatur County Jail
                                                       succumbed to compli[;.3Lions from alcohol
                                                       withdrawal, lhe coroner has ruled




                       .,L.--1~..---· ~~rz'n~~u;~yd~:~~~dM a~~~:~=~~~~i~ls ~ay he
                                                               9            8                 0


                                                       slopped breathing at I he Decatur County Jail
                                                       ·.•mere he was serv1ng a 14-<iay sentence for
                      ..~~~~~~t.:_j                    drunken drrving




                                                   Inmate Found Dead in Bucks
                                                                County Prison

Oifrcrals say an inmate who was found dead at Lhe
Bucks County Correcli<mal Facilrty died from
nrt:W ~tta.l   i~ll l ed 10 httlokl ~Jh\'illl




The coroner says Yarnall ilad cardiomyopathy,
also knovm as an enlarged heart




Reportedly, 'she had a history of dmg abuse,
hUrt lfAf}t.li~CII 8nd ~   NaoCf p!:O~iW I Q   •




Lawsuit Claims Lake County Jail Let
Heroin-sick Woman Die
A prisoner dred in Lhe Lake County Jarl because
she was not given proper medrcal care for her
hewin wrthdrawal


"She told them on more than one occas1on tl",at
she thought she was d}~ng, and thai she was
having a heart attack," attorney Robert Biales
saidinthesUit"


"She was ignored by the observation officer and
was told that she was JUst a (expletive) junKy
(s1c) going through withdrawal and that there
was noth1ng wrong with her,'' Biales stated




                                                                                                                               036           3
                                                                                                               Plaintiffs' Appendix 110
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                         Page 111 of 295 PageID 434         2016




   Joe Arpaio: Maricopa County
   to Pay $1.1M to Settle Suit

   The family of a woman Who d1ed fOllowing a
   drug withdrawal at a Maricopa County jail in
   Phoanix will rocelve $11 million to settle a
   lawsuit brought against Sheriff Joe Arpaio


   Health-care workers had started Johnson on
   the Clinical Opiate Wrthdrawal Scale, e ~~           liJIIiiijr.. •·
   and-paper inslrumenf' that rates common
   symptoms of op1ate withdrawal, accordmg to
   the National Institute of Health.




                           County Jail Sued Over Utah Inmate's
                                                    Withdrawal

Utah Medical Examiner ruled the woman's death was
the result or severe dehydration from vomitmg while
heroin withdrawal




As Goggin undeJWent a mandatory health e)(am upon
herlatestarrivalt.tj)!t 1Jlllll.oldilllll'lWrtl if,&"dbtfl.l'l
using two grams ot Ml(t(n a day



The 25-year-old's addiction to heroin and cocaine had
:CIWI U1••~UJn      torhwor n:ntt~~l




 After an autopsy, the state medical e)(aminer's
 office ooncluded his death was accidental, the
 result of "severe dehydration and acute renal
 failure due to protracted vomiting caused by
 heroin wilhdrawal •


 Kevin McEvoy, 24, died in the Valley street jail
 in Manchester, New Hampshire from
 dehydration after being denied medical
 treatment

 Forced by Jail staff in 2006 Lo iiy lo kick a heroin
 addiction oold turkey, the former Hudson man
 received no medical attention, lost 24 pounds in
 four days and in essence vomited himself to
 death




                                                                                                  037           4
                                                                                  Plaintiffs' Appendix 111
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                           Page 112 of 295 PageID 435         2016




New York State: Genesee
Jail Ignored Dead Inmate's
Needs
                                                   Nikko Gambino d1ed In .Jt.At 2l11 altM IIIIPfL!lf•lDII
                                                   wbulra Wttnol~OI1. IIIII \At ClentiN Cot.inty



                                                   In the days before hi~> death, Gambino, -42 and a
                                                   rormer heroin and pain pill addict from Wyoming
                                                   County, suffered from such severe hallucination5
                                                   that he Imagined he was be1ng killed by spiders,
                                                   and once shouted for an "angel," was afraid to
                                                   IH'Jf llwt jrlilll tHtctuU· I~WOLikf be-'~ IP!O h
                                                   sand." 1nd •.._, speaking into an imaginary cellular
                                                   tqk}~jf\ufOpCi(liUaltl.




          Transcripts Detail Jail
        Inmate's Pleas for Help
               Before She Died

 Eusemia Rodriguez's body was already
 ravaged rrom drug-and-alcohol abuse when she
 was booked into the Santa Fe County jail last
 year on charges or assaulting her boyfriend
 Less than 24 hours Ia fer, the mo1her of three
 was deed


                An autopsy u•pC!fl b!orJ:..,_..
                                             CiliUM- 61 EUMmla
                Rodriguez's dot!~ '"'tlutii'Ue alcoholism




Dying Inmate Accused Of
Faking Seizures and Health
Problems
The coroner's report said the cause or
Jaquez's death was "dehydration " They also
noted nausea, vomiting, and diarrhea
oonnec:ted to her heroin withdrawal

"She was a human being and she was sick
and calling out for help She didn't have 1o
die from a heroin withdrawal She didn't have
1o die rromthis She should have been
hospitalized: -Mother of the v1ctim

A video shows jaquez pushing dislress button
while guards walked away




                                                                                                                                    038           5
                                                                                                                    Plaintiffs' Appendix 112
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                         Page 113 of 295 PageID 436         2016




  Inmate Dies in Vista
  Detention Facility After
  Suffering Drug Overdose


                                                      lnvestigatoffi were later able to determine h1s
                                                      death was a result of asphyxiation from an
                                                      acute asthma attack One of lha main
                                                      contributors to his asthma attack was reported
                                                      to.biii'!GtolnwiUidi.r.Yu~ at. well   .a• a-au'Qa
                                                      amounl of methamphetamine




 Sussex Inmate's Death
 Ruled a Homicide, Prison
 Staff Under Investigation

 "A 48-year-old Wilmington man incarcerated at
 Sussex Correctional Institution in Georgetown
 died of multiple blunt force injuries sustained
 while struggling with prison staff. •


 According to a report, while in DOC custody it
 was determined that Shoup suffered from
 symptoms consistent with substance
 withdrawal




                                                        Inmate in Jail's Medical

Preston suffered from alcoholism It is said
IILatPie:ri[ond"~t~d'rhl•lo~~...N.al



As Prestcm became agitated and aggressive, two
deputies jJ_[_IilppM h im ~ tc ~bell fa~ 25"
minutes He heqan vomiling and surtered a seizure
Soon after, he quit breathing and his heart stopped



"The   46-year~old   man, who suffered a seizure,
tJecame agrtated and was strapped race down to
a bed~




                                                                                                                                  039           6
                                                                                                                  Plaintiffs' Appendix 113
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                              Page 114 of 295 PageID 437         2016




 Report Faults Company
 in Death of Broome
 County Jail Inmate
                                                           Rios d1Bdor·card1ac arrhythmia produced by
                                                           cardiomyopathy'- an obnormal heart! hythm
                                                                                                   ''l!ltl
                                                           4oi.otl'r¥.l'llt\g thiM 6 Cll!ltaoora\lolt of I'M
                                                           muscle -'trommicit drug use ·

                                                           Arnong the commission's findings rs that the
                                                           doctor who was at ihe jail for more than eight
                                                           hours on July 20,2011, was never made
                                                           IW11a01~1.CO'\Oitloft l"tt.a!JI:tl"t!M:l.li!ll!lr
                                                           to the Commission of Correction, the doctor
                                                           Ukf M ...ntrvi!t IOUC.Md lbt c:I'Wt.




 Berkeley Jail Sued After
 Inmate Deaths

An inmale reportedly died from upper
gastrointestinal bleeding from a tear ;n his
esophageal varices, according io the complaint


The inmate, Woods, had a history of bipolar
depressroJe d!sorder, Hepatitis C. cirrhosis of the
liver. esophageal varices (dilated veins) and
gastrointestinal bleeds, accord•ng to the complarnt
He was on Ondcmsetron for nausea and vomrting
Zolpidem for sleep, Nexium for reducing s.torrGch
ac1d, Atenolot for high blood pressure, and
Seroquel and Prozac for depression




              Madison County Inmate
                 Dies After Suffering
                 Heroin Withdrawals


             Brandon Clint Hacker, 35, was. also suffering
            from peptic ulcer disease and a "perforalionat
           duodenal ulcer," said Madison County Coroner
                                       Jimmy Cornelison




           Hacker told the jail's nurse h,;- was feeling ill and
          believed he was suffering frorn heroin wi!hdrawal




                                                                                                                                       040           7
                                                                                                                       Plaintiffs' Appendix 114
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                Page 115 of 295 PageID 438         2016




                                                      County Jail Inmate Dies



Christy Ann Sanders, a 27-year-old San
Lorenzo Valley woman, died wh~e In jail
during August An autopsy delermined her
cause of dealh was bilateral pulmonary
.6/~mols   wl:ti\Ultlld:a.
                         M aa'b put 01lhe
lung, due to intravenous heroin abuse
Sanders 'Nas serving a 60-day sentence for a
probation violation at the time




    III. Discussion
     Significant percentages of Inmates admitted to correctional institutions have a history
     of alcohol and/or other drug abuse. The withdrawal may be mild, moderate, or severe
     Alcohol withdrawal is the abstinence syndrome with the highest mortality rate,
     although withdrawal from opiates and depressant drugs (e g,, benzodiazepines) may
     be, on o~:casion, life-threatening.


    The treatment for most non-life-threatening withdrawal is amelioration of symptoms,
    which can be managed in the convalescent or outpatient setting, Abstinence
    syndromes in certain groups (including those who o.re psychotic, geriatric, epileptic,
    pregnant, adolescent, or otherwise medically ill) may require different protocols For
    example, current medical thinking is that pregnant patients should not be withdrawn
    from a methadone maintenance program.




   Ill. Discussion
    As a precaution, severe withdrawal syndromes must never be managed outside of a
    hospital. In deciding the level of symptoms that can be managed safely at the facility,
    the responsible physician must take into account the level of medical supervision that
    is available at all times.

    Training for correctional officers includes recognizing the signs and symptoms of
    intoxication and withdrawal. Intoxication and withdrawal also increase the potential for
    suicide, a factor that is to be incorporated into the staff training on suicide prevention




                                                                                                                         041           8
                                                                                                         Plaintiffs' Appendix 115
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                       Page 116 of 295 PageID 439         2016




 IV. Benzodiazepine Withdrawal
 A, Xanax- The Most Abused Benzo
     • Second only to hydrocodone, Xanax is the most abused drug in the United States
       Physicians prescribe it like candy, and it is cheap to buy on the streets, Often use in
       combinalion with an opiate (such as hydrooodone or methadone) and Soma (a muscle
       relaxer), it forms what the users call the "California Cocktail" It is also often used in huge
       quantities and combined with alcohol, While it is seldom toxic in and of itself, in
       combination with other drugs, it is killer. Withdrawal from Xana)i can also be a killer, and
       that is our rocus, because often the drug addicts in our society withdrawal in our jails




 IV. Benzodiazepine Withdrawal
      Withdrawal Defined
     ' Benzodiazepine withdrawal is the cluster of symptoms that emerge when a person who
       has takl"'n bl"'modiazepines has developed a physical dependence and undergoes dosage
       reduction or discontinualion It is characterized by often severe sleep disturbance,
       irritability, increased tension and anxiety, panic attacks, hand tremor; sweating, difficulty
       in concentration, ronfusion and cognitive difficulty, memory problems, dry retching and
       nausea, weight loss, palpitations, headache, muscular pain and stiffness, a host of
       perceptual changes, hallucinations, seizures, psychosis, and suicide,




 IV. Benzodiazepine Withdrawa l
 L    Percentage of Users Who Experience Withdrawal
       Not every user long-term user will experience symptoms upon discontinuation, but the
       proportion of those who will has been variably estimated to be between 15% and 44%.




                                                                                                                                042           9
                                                                                                                Plaintiffs' Appendix 116
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                         Page 117 of 295 PageID 440         2016




 IV. Benzodiazepine Withdrawal
 n . Should Not Be Prescribed for Long-term Use
    ~ Long- term use, defined as daily use for at least three months, is not desirable because of
      the associated increased risk of dependence, dose escalation, loss of efficacy, increased
      risk of acddents and falls, particularly for the elderly, as well as cognitive, neurological,
        and intellectual impairments.
      ' Chronic exposure to benzodiazepines causes neural adaptations that counteract the drug's
        effects, leading to tolerance and dependence. In severe cases, the withdrawal reaction
        may exacerbate or resemble serious psychiatric and medical conditions, such as mania,
        schizophrenia, and, especially at high doses, seizure disorders.




 IV. Benzodiazepine Withdrawal
       Treatment of Benzo Withdrawal
      ' According to the British National Formulary, it is better to withdraw too slowly rather than
        too quickly from I:Jenzodiazepines, The rate of dosage reduction is best ca1 ried out so as to
        minimize the symptoms' intensity and severity. Anecdotally, a slow rate of reduction may
        reduce the risk of developing a severe protracted syndrome. Long half-life
        benz.odiazepines like diazepam (Valium) or chlordiazepoxide (librium) are preferred to
        minimize rebound effects, ami are available in low potency <lose forrns.




 IV. Benzodiazepine Withdrawal
 f-     Dur'iltion
      ' After the last dose has been taken, the acute phase of the withdrawal    genet<~lly   lasts for
        about two months.




                                                                                                                                  043          10
                                                                                                                  Plaintiffs' Appendix 117
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                           Page 118 of 295 PageID 441         2016




 IV. Benzodiazepine Withdrawal
 G       Pro-Active Management
     <   Attached as Exhibit 1 is a form questionnaire that my office has drafted to give jail staff a
         heads up during the booking process for people who may be at risk for life-threatening
         withdrawals.




 V. Pre-Trial Detainees Legal Analysis
 A, Episodic Act or Condition of Confinement
     ' The first issue to determine in a case brought by a pre-trial detainee is whether the case
         presents an episodic act or a condition of confinement
            "A. ~ Qf (MfD}efi!IIM'lUI' ~•1c'100Jb'tulbl'ltlla.u.ad.:Ofl ~t nltf.al             ta!ldltl:iru,   practl~
            rules, or   restriction~   of pretrial conrinement."' Scott v. Moore, 1 ~4 1...8:4 51, 53·54 (5th Cir. 1997),




 V. Pre-Trial Detainees Legal Analysis
 0. Methadone- Conditions Case-
     ' OplnL!nt ftOJn Olhrrt1uult E
          'l'wo c:ilwb (l)i.HUd ICIM~ htyo dJI'W(Uv.odft.UW tn. ~\Ill o(wt. ..tnlfl'n)tt)l.t'/klt'll           IJ""''
            required In an lnstltutionalsettingandwhetherornotpre-triaidetalneeshave aright to
            continuedmethadonetreatmentafterarrest, BathCi!cultsconcludedthatp!e-lrialdetalnees
            hadncrlghttomethadonetreatment




                                                                                                                                                    044          11
                                                                                                                                    Plaintiffs' Appendix 118
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                      Page 119 of 295 PageID 442         2016




 V. Pre-Trial Detainees Legal Analysis
 (.'. EpisodlcAct
   ' In contrast, where the complained of harm is a particular act or omission of one or more
     officials, the action is characterized properly as an "episodic act or omission" case and it
     not amenable to review under the    Wolfish   test. See   Hare v. City of Corinth, 74 F.3d 633,
     645 (5th Cir: 1996), In an "episodic act or omission" case, an actor usually is interposed
     between the detainee and the municipality, such that the detainee complains first of a
     particular act of, or omission by, the actor and then points derivatively to a policy, custom,
     or rule (or lack thereof) of the municipality that permitted or causeri the act or omission.
   ' To prove an underlying constitutional violation in an individual or episodic acts case, a p~
     trial detainee mus.t establish that an official acted with subjective deliberate indifference
         Scott v. Moore, ll<l F.3d 51, 53-54 (5th Cir. 1997)




 Attached: Exhibit 1, Form Questionaire




        [;;-§.:-~:           ""=
       -·---··
          __ ____
      ------·---
            ........   ._,




                                                                                                                               045          12
                                                                                                               Plaintiffs' Appendix 119
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 120 of 295 PageID 443




               "LAW ENFORCEMENT
                 LIABILITY ISSUES''
                                    2017

                            RobertS. Davis
                     FLOWERS DAVIS, P.L.L.C.
                    1021 ESE Loop 323, Suite 200
                         Tyler, Texas 75701
                             903 I 534-8063
                       903 I 534-1650 Facsimile




                                                                            046
                                                            Plaintiffs' Appendix 120
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                         Page 121 of 295 PageID 444




                                      TABLE OF CONTENTS


  I.     Immunity ...................................................... ..                                       1
         A.    Absolute Immunity ......................................... ...                                    1
         B.    Qualified Immunity ........................................ ...                                    1
         C.    Stay Of Discovery Or Disclosure Pending Ruling On Immunity Issue ... ..                            6
  II.    Supervisory Liability-- When Is a Supervisor Liable .................... ...                             6
  Ill.   Specific Constitutional Violations Arrestee's/lnmates Frequently Assert ..... ..                         1
         A.    Medical Claims ........................................... ... 4

               1.     Pretrial Detainees ...... ................................. 4

               2.     Convicted Felons ...... ............................... . . 6

               3.     HIV-positive Detainees .. ......................... . .. . .... §.

         B.    Excessive Use Of Force Claims                                                                    9

               1.     Arrestees ............ ................................. 9

               2.     Convicted Felons. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

               3.     Pre-trial Detainees ..... ................................ 11

               4.     Bystander Liability................................ ..... 11

               5.     Verbal Threats Do Not Arise To A Constitutional Violation . . .... 11


         C.    Denial Of Access To The Courts And Access To Legal Materials ......                              16
               1.     Inmates Are Entitled To An Adequate Law Library Or Adequate
                      Assistance But There Is Room For Alternatives Other Than A Law
                      Library .............................................. 16

               2.     Actual Injury Required .. ................................                                16
               3.     Right to Law Library Access Or Legal Assistance Not Unlimited
                      ... . . .......... .............. ... . .............. ..... 12




                                                                                                             047
                                                                                         Plaintiffs' Appendix 121
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                               Page 122 of 295 PageID 445




             4.        Inmates' Access Limited To Claims That Attack Their Sentences,
                       Directly Or Collaterally, And Challenge The Conditions Of Their
                       Confinement. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

             5.        Some Additional Assistance May Be Required For The Illiterate Or
                       Non-English Speaking Inmate ............................ ~

             6.        Prisoner Who Waives Appointed Counsel And Other Arbitrary Denial
                       .................................................... 13

             7.        Prisoners In Administrative Segregation ................. ....                                   H
             8.        No Constitutional Right To File Frivolous Lawsuits ........ .. . . 14

             9.        Inmates Are Allowed to Assist Each Other On Legal Matters. . . . 14

             10.       Inmates Must Receive Paper, Pens, Notaries And Stamps .. .... 14

             11.       States Must Pay For Lawyers For Indigent Defendant. ..... .... .1§

             12.      Appointment of Counsel in Civil Rights Case ............. .... .1§


        D.   Food ................ . .................................... 18

        E.   Visitation ......................................... ....... .. 18

             1.        General Visitation .............. ..... . ...... . ........... 18

             2.        Conjugal Visits ............... .......... . .... . .........                                    ~


             3.        Contact Visits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18

        F.   Grievances. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

        G.   Jail Conditions ............... . ...... . ........ . . . ............                                     ~

             1.       Convicted Felons. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

             2.       Pre-trial Detainees ................................... . . 20

        H.   Recreation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

        I.   Due Process ........... ..... . ................ . .... .........                                          .f.1




                                                                                                                     048
                                                                                                Plaintiffs' Appendix 122
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18          Page 123 of 295 PageID 446




              1.     Deprivation of Property ..................................          ~


              2.     Jail Disciplinary Proceedings ............................. 22

              3.     Violation of State's or County's Own Rules. . ................ 22

              4.     Failure To Follow State Laws Or Procedures Does Not Give Rise To
                     A 1983 Claim ......................................... 23

        J.    Jail Suicide ........ ........................................ 23

        K.    Freedom Of Religion . ........................................ 24

              1.     General Rule ....... ........................... . ...... 24

              2.     Designation of Affilitation .......... ......... . ........ . ... 24

              3.     Grooming Policy................. ...................... 24

        L.    First Amendment - Publications and Mail. .. ...................... 25

              1.     Censorship of Mail. ................ .. . ................. 26

        M.    Cause Of Action For State Created Danger . ...... . .. . ............ 26

        N.    Claims for Sex in Jail. .................. ...................... 26

        0.    Female Guards Supervising Male Inmates .. ...................... 27

        P.    Retaliation ........................... ...................... 28

        Q.    Trustee Status, Lack of Education/Work Opportunities . . ............ 28

        R.    Arbitrary Punishments Of A Complete Cellblock ...... ............. . 28

        S.    Radio and Television Access .................... .............. 29

        T.    Telephone Access ............................. .............. 29

  IV.   There Is No State Law Counterpart to 42 U.S.C. § 1983 ..... ............ . . 29

  V.    The Prison Litigation Reform Act. ...................... .............. 29




                                                                                      049
                                                                      Plaintiffs' Appendix 123
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 124 of 295 PageID 447




                                               I.
                                            IMMUNITY

         As with any claim asserted against a government employee or official, the first line
  of defense is the affirmative defense of immunity from suit, either absolute or qualified.
  Consequently, a good understanding of both of these types of immunity is very important
  to the practitioner.

          The modern doctrine of immunity, either qualified or absolute, is the result of explicit
  judicial balancing of adverse interests which are implicated in suits brought by private
  persons allegedly injured by the acts of public officials. See Butz v. Economou, 98 S. Ct.
  2909, 2912 (1978). On one hand, there is the private desire to obtain redress from
  governmentally imposed injuries; as well as, the public interest in both punishment and
  deterrence of official wrongdoing. /d. On the other hand, there is the public aim of shielding
  officials from liability so that they do not become overly cautious in the performance of their
  duties. See Harlow v. Fitzgerald, 102 S. Ct. 2727, 2736-38 (1982); Butz, 98 S. Ct. at
  2909-12; see also The Supreme Court, 1981 Term, 96 Harv. L. Rev. 4, 229 (1982); Schuck,
  Suing Our Servants: The Court, Congress, and the Liability of Public Officials for Damages,
  1980 Sup. Ct. Rev. 281,281-85 (1980).

  A.     Absolute Immunity

         As courts have weighed the conflicting values inherent to the immunity concept, the
  courts have acknowledged that the scales do not always tip evenly. Butz, 98 S. Ct. at
  2909-12. For those officials whose governmental functions are especially sensitive or
  whose constitutional status requires complete protection from suit, the Supreme Court has
  recognized an absolute immunity defense. Eastland v. United States Servicemen's Fund,
  95 S. Ct. 1813, 1821 (1975)(1egislators have absolute immunity for acts in their legislative
  capacity); Stamp v. Sparkman, 98 S. Ct. 1099, 1108 (1978)Uudges have absolute immunity
  for acts in their judicial capacity); Imbler v. Pachtman, 96 S. Ct. 984, 994-95
  (1976)(prosecutors have absolute immunity for acts in initiating and pursuing a prosecution);
  Butz, 98 S. Ct. at 2912. (other executive officers have absolute immunity for performing
  prosecutorial or adjudicative functions); Nixon v. Fitzgerald, 102 S. Ct. 2690, 2704
  (1982)(The President of the Unites States is protected by absolute immunity).

         As a general rule, the doctrine of absolute immunity will only come into play in jail
  suits when the Plaintiff attempts to assert a cause of action against individual county
  commissioners or individual city councilman for the performance of their legislative
  functions. When this does occur, the individual commissioners and councilman (including
  the mayor and the county judge) are entitled to an absolute immunity from suit for the
  performance of their legislative functions.

  B.     Qualified Immunity

         Officials whose functions do not require complete insulation from liability are not
  protected by the doctrine of absolute immunity. Butz, 98 S. Ct. at 2909-12. Instead, these

                                                                                      Page 1 of 29


                                                                                             050
                                                                             Plaintiffs' Appendix 124
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 125 of 295 PageID 448




  individuals have been accorded a qualified immunity. /d. (qualified immunity recognized
  for certain Executive Branch officials); Scheuer v. Rhodes, 94 S. Ct. 1683, 1692-93
  (1974)(qualified immunity recognized for governors and their aides); Pierson v. Ray, 87 S.
  Ct. 1213, 1218-19 (1967)(qualified immunity recognized for police officers).

          Prior to 1982, the court utilized a two-prong, subjective/objective test for qualified
  immunity. See Wood v. Strickland, 95 S. Ct. 992, 1000-01 (1975). Under this test, public
  officials had the burden of proving their good faith. See id. Many courts, under this test,
  considered the subjective element to be a question offact, and this approach was criticized
  in Harlow, 102 S. Ct. 2727, 2737-38 (1982). The court reasoned that this approach was not
  workable because, in part, substantial costs were being accumulated to litigate the
  subjective good faith of governmental officials. /d. These costs included the risk of trial,
  distraction of officials from their governmental duties, inhibition of discretionary actions, and
  deterrence of able people from entering public service. /d. at 2737.

         As a result of the hardships under the subjective/objective test, the Supreme Court
  eliminated the subjective element of the qualified immunity test. /d. at 2738. The Court
  concluded that utilizing the new standard would allow many claims to be resolved by
  summary proceeding. /d. at 2738-39.

          As a general rule, under the doctrine of qualified immunity, government officials are
  shielded from liability as long as their actions can reasonably be thought consistent with the
  rights they are alleged to have violated. Anderson v. Creighton, 107 S. Ct. 3034, 3038
  (1987). In other words, government officials are shielded from liability for civil damages
  insofar as their conduct does not violate clearly established statutory or constitutional rights
  of which a reasonable officer would have known. Harlow, 102 S. Ct. at 2738. For a right
  to be clearly established, the contours of the right must be sufficiently clear that a
  reasonable person would understand that what he was doing would violate that right.
  Melear v. Spears, 862 F.2d 1177, 1183 (5th Cir. 1989).

  C.     Stay Of Discovery Or Disclosure Pending Ruling On Immunity Issue

          A district court should freeze pre-trial discovery until the district court can determine
  whether a substantial basis for the defense of qualified immunity exists. Elliot v. Perez, 751
  F.2d 1472, 1478 (5th Cir. 1985). Officials should be free not only from ultimate liability, but
  also from discovery and other pre-trial concerns, if they are entitled to qualified immunity.
  /d. This rule was fashioned due to the fact that qualified immunity is an immunity from suit,
  and extends beyond just a defense of liability. /d. A defendant who raises a meritorious
  issue of qualified immunity is entitled to dismissal before the commencement of discovery,
  and courts have the obligation to carefully scrutinize a plaintiff's claim prior to subjecting a
  public official to the unnecessary burdens that a civil trial of this nature can bestow.
  Jacquez v. Procunier, 801 F.2d 789, 791 (5th Cir. 1986).




                                                                                       Page 2 of 29


                                                                                              051
                                                                              Plaintiffs' Appendix 125
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 126 of 295 PageID 449




                                      II.
              SUPERVISORY LIABILITY-- WHEN IS A SUPERVISOR LIABLE

          For a supervisor to be held liable under section 1983, the supervisor must either be
  personally involved in the acts causing the deprivation of an individual's constitutional rights,
  or there must be some other causal connection between an act of the supervisor and the
  constitutional violation sought to be addressed. Lozano v. Smith, 718 F.2d 756, 768 (5th
  Cir. 1983); C-1 by P-1 v. City of Horn Lake, 775 F. Supp. 940 (N.D. Miss. 1990). To state
  a claim against a supervisory official, in his individual capacity, a plaintiff must plead and
  prove that the supervisory official was personally responsible for the plaintiff's alleged
  constitutional deprivation or was responsible for the plaintiff's alleged constitutional
  deprivation in accordance with case law governing the liability of supervisory officials for
  constitutional violations committed by their subordinates. Doe, 733 F. Supp. at 252 (E.D.
  Tex. 1990) (citing Thompkins v. Belt, 828 F.2d 298 (5th Cir. 1987)). Consequently, a
  supervisory official, in his individual capacity, may only be subject to suit a if plaintiff can
  plead and prove: 1) the official's affirmative participation in acts causing the constitutional
  deprivation, or 2) the official implemented an unconstitutional policy that caused plaintiff's
  injury. Mouil/e v. City of Live Oak, 977 F.2d 924, 929 (5th Cir. 1992); see Thompkins, 828
  F.2d at 304; Doe, 733 F. Supp. at 258. Under Section 1983, supervisory officials are not
  liable for the actions of subordinates on any theory of vicarious liability. Thompkins, 828
  F.2d at 303; Doe, 733 F. Supp. at 258. Without personal involvement on the part of the
  supervisor, the plaintiff is required to establish that the supervisor failed to supervise the
  employees adequately, the failure was grossly negligent and the failure to supervise caused
  the constitutional violation. Bigford, 834 F.2d at 1220; Hinshaw v. Doffer, 785 F.2d 1260,
  1263 (5th Cir. 1986).

         Additionally, the supervisory official may also be entitled to qualified immunity from
  suit. The supervisory official will not be subject to suit if the objective circumstances
  warranted a belief that the alleged unconstitutional conduct did not violate clearly
  established statutory or constitutional rights of which a reasonable person would have
  known. Doe, 733 F. Supp. at 258 (quoting Harlow 102 S. Ct. at 2738).

          To state a claim against a supervisory official, a plaintiff must plead and prove that
  the supervisory official was personally responsible for the plaintiff's alleged constitutional
  deprivation or was responsible for the plaintiff's alleged constitutional deprivation in
  accordance with case law governing the liability of supervisory officials for constitutional
  violations committed by their subordinates. Doe, 733 F. Supp. at 252 (citing Thompkins,
  828 F.2d 298).

          A supervisory official, in his individual capacity, may only be subject to suit if a
  plaintiff can plead and prove: 1) the official's affirmative participation in acts causing the
  constitutional deprivation, or 2) the official implemented an unconstitutional policy that
  caused plaintiff's injury. Mouil/e, 977 F.2d at 929; see Thompkins, 828 F.2d at 304; Doe,
  733 F. Supp. at 258. Under Section 1983, supervisory officials are not liable for the actions
  of subordinates on any theory of vicarious liability. Thompkins, 828 F.2d at 303; Doe, 733
  F. Supp. at 258. Without personal involvement on the part of the supervisor, the plaintiff

                                                                                       Page 3 of 29


                                                                                              052
                                                                              Plaintiffs' Appendix 126
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 127 of 295 PageID 450




  is required to establish that the supervisor failed to supervise the employee adequately, the
  failure was grossly negligent and the failure to supervise actually caused the constitutional
  violation. Bigford, 834 F.2d at 1220; Hinshaw, 785 F.2d at 1263.

           Moreover, in addition to the stringent requirements set forth above, a supervisory
  official is also entitled to qualified immunity from suit. The supervisory official will not be
  subject to suit if the objective circumstances warranted a belief that the alleged
  unconstitutional conduct did not violate clearly established statutory or constitutional rights
  of which a reasonable person would have known. Doe, 733 F. Supp. at 258 (quoting
  Harlow 102 S. Ct. at 2738).

        The causation standard in 42 U.S.C. Section 1983 is generally a proximate cause
  standard. Proximate cause in the 42 U.S.C. Section 1983 actions includes components of
  cause in fact and foreseeability. Nettles v. Griffith, 883 F. Supp. 136 (E. D. Tex. 1995).

                                        Ill.
                        SPECIFIC CONSTITUTIONAL VIOLATIONS
                         THAT INMATES FREQUENTLY ASSERT

  A.     Medical Claims

         1.     Pretrial Detainees

         For a pretrial detainee, his or her constitutional rights flow from due process
  guarantees, not the prohibition against cruel and unusual punishment. Hare v. City of
  Corinth, 74 F.3d 633, 639,649 (5th Cir.1996) (citing Estelle v. Gamble, 429 U.S. 97, 104
  (1976) and Bell v. Wolfish, 441 U.S. 520, 535 (1979)).

          In the prison setting, however, the Eighth Amendment (which applies to convicted
  felons) and Fourteenth Amendments impose the same duty on prison officials to provide
  for the basic safety and well-being of all inmates. Hare, 74 F.3d at 644. As the Supreme
  Court explained:

         [W]hen the State by the affirmative exercise of its power so restrains an
         individual's liberty that it renders him unable to care for himself, and at the
         same time fails to provide for his basic human needs-e.g., food, clothing,
         shelter, medical care, and reasonable safety-it transgresses the substantive
         limits on state action set by the Eighth Amendment and the Due Process
         Clause.

  DeShaney v. Winnebago County Dept. of Social Servs., 489 U . S. 189, 200 (1989) (citing
  Estelle, 429 U.S. at 103). With one exception (which does not apply in the context of a
  specific alleged act or omission involving inmate medical care), pretrial detainees and
  convicted prisoners must establish the same elements of liability to maintain constitutional
  claims for injuries they received in prison. DeShaney, 489 U.S. at 198 n. 5 (citing Whitley
  v. Albers, 475 U.S. 312, 326 (1986)); Hare, 74 F.3d at 647, 649-50.

                                                                                     Page 4 of 29


                                                                                            053
                                                                            Plaintiffs' Appendix 127
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 128 of 295 PageID 451




         The exception arises because pretrial detainees may not be subjected to conditions
  of confinement that constitute punishment. Bell, 441 U.S. at 535. The Constitution
  mandates humane, not comfortable, conditions of confinement. If the Plaintiff in a case is
  alleging a specific act or omission, as opposed to an alleged unconstitutional condition of
  confinement, the detainee must show that the official possessed a sufficiently culpable state
  of mind. Farmer v. Brennan, 511 u.s. 825, 832 (1994).

          In particular, the Constitution prohibits "deliberate indifference to inmate health or
  safety." ld. Unlike the first element addressing the seriousness of the injury or danger, this
  element involves a subjective test. Deliberate indifference requires that the official "knows
  of and disregards an excessive risk to inmate health and safety; the official must both be
  aware of facts from which the inference could be drawn that a substantial risk of serious
  harm exists, and he must also draw the inference." ld. Subjective deliberate indifference
  cannot be inferred from a prison official's failure to act reasonably or failure to alleviate a
  risk that he did not perceive. Hare v. City of Corinth, 74 F.3d 633, 649 (5th Cir.1996). In
  cases involving medical treatment, the inmate must show that the officials refused to treat
  him, ignored his complaints, intentionally treated him incorrectly, or engaged in any similar
  conduct that would clearly evince a wanton disregard for any serious medical needs." ld.
  at 645. Unsuccessful treatment, ordinary acts of negligence, and disagreements with the
  level or type of treatment do not amount to deliberate indifference. Domino v. Tex. Dep't
  of Crim. Justice, 239 F.3d 752, 756 (5th Cir.2001 ); see, e.g., Hudson v. McHugh, 148 F.3d
  859, 864 (7th Cir.1998) Uail officers and nurse knew plaintiff had epilepsy, knew he was not
  receiving any medication, and ignored his repeated requests for treatment); see Estelle v.
  Gamble, 429 U.S. 97, 105 (1976); Davidson v. Tex. Dep't of Crim. Justice, 91 F. App'x 963,
  965 (5th Cir.2004); Hall v. Thomas, 190 F.3d 693, 697 (5th Cir.1999); Stewart v. Murphy,
  174 F.3d 530,534 (5th Cir.1999); Norton v. Dimazana, 122 F.3d 286,292 (5th Cir.1997);
  Banuelos v. McFarland, 41 F.3d 232,235 (5th Cir.1995).

         2.     Convicted Felons

          To prevail on an Eighth Amendment claim for deprivation of medical care, a prisoner
  must also prove that care was denied and that such denial constituted a "deliberate
  indifference to serious medical needs, constituting unnecessary and wanton infliction of
  pain." Johnson v. Treen, 759 F.2d 1236, 1237 (5th Cir. 1985) (citing Estelle v. Gamble, 97
  S. Ct., 285, 291 (1976)).        In Estelle, Mr. Gamble complained repeatedly to prison
  authorities of severe pains in his back, chest, arms and legs. Estelle, 97 S. Ct. at 288-89.
  Additionally, he complained of "blank outs." /d. at 288-89.           Despite his repeated
  complaints, Gamble was only given examinations in the prison infirmary, pain pills and
  muscle relaxants for months. /d. at 288-89. After continuing his complaints in the face of
  disciplinary action for shirking work, Gamble was placed in administrative segregation and
  given quinidine as treatment for irregular cardiac rhythm. /d. at 288-89. Although Gamble
  had repeatedly made known his subjective feelings of substantial pain to prison officials, the
  district court dismissed Gamble's complaint for failure to allege facts sufficient to support
  a conclusion of deliberate indifference. /d. at 288-89. The Fifth Circuit Court of Appeals
  reversed and remanded the case with instructions to reinstate the complaint. /d. at 293.
  The Supreme Court then reversed the Fifth Circuit and held that the district court's decision

                                                                                     Page 5 of 29


                                                                                            054
                                                                            Plaintiffs' Appendix 128
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 129 of 295 PageID 452




  should have been affirmed as it related to the claim for deprivation of medical care. /d. at
  293.

         In the wake of Estelle, the Fifth Circuit has held that to state a claim alleging
  deliberate indifference to serious medical needs of a prisoner, a plaintiff must plead facts
  showing an unnecessary and wanton infliction of pain prescribed by the Eighth Amendment.
  See Johnson, 759 F.2d at 1238. The facts underlying a claim of deliberate indifference
  must clearly evidence the medical need in question and the alleged official dereliction. /d.
  at 1238 (citing Woodall v. Foti, 648 F .2d 268 (5th Cir. 1981 )). The legal conclusion of
  deliberate indifference, therefore, must rest on facts clearly evidencing wanton actions on
  the part of the defendants. /d. at 1238. As stated in Johnson, the Supreme Court defined
  the common law meaning of wanton in some detail:

                Wanton means reckless --without regard to the rights of others ....
         Wantonly means causelessly without restraint, and in reckless disregard to
         the rights of others. Wantonness is defined as a licentious act of one man
         towards the person of another, without regard to his rights; it has also been
         defined as a conscious failure of one charged with the duty to exercise due
         care and diligence to prevent an injury after the discovery of the peril, or
         under circumstances where he is charged with the knowledge of such peril,
         and being conscience of the inevitable or probable results of such failure.

  /d. at 1238; see also Walker v. Butler, 967 F.2d 176 (5th Cir. 1992). Finally, mere
  negligence, neglect, or medical malpractice is insufficient to state a claim. Graves v.
  Hampton, 1 F.3d 315 (5th Cir. 1993); Mendoza v. Lynaugh, 889 F.2d 191 (5th Cir. 1993);
  Field v. Bosshard, 590 F.2d 105 107 (5th Cir. 1979). As stated in Ruiz v. Estelle, 679 F.2d
  1115, 1149 (5th Cir. 1982), cert. denied, 103 S. Ct.1438 (1983):

                The Constitution does not command that inmates be given the kind of
         medical attention that judges would wish to have for themselves, nor the
         therapy that Medicare or Medicaid provide for the aged or needy. It prohibits
         only deliberate indifference to serious medical needs.

  /d. at 1149.

          Moreover, a delay in medical care can only constitute an eighth amendment violation
  if there has been deliberate indifference, which results in substantial harm. Mendoza v.
  Lynaugh, 989 F.2d 191, 195 (5th Cir. 1993). Plaintiff must establish both of these crucial
  elements to defeat a motion for summary judgment. See id.

         In the context of medical claims, it has also been held that an individual entering jail
  on a probation or parole violations charge is a convicted felon and is protected by the Eighth
  Amendment's prohibition against cruel and unusual punishment rather than the Fourteenth
  Amendment. See generally Van Cleave v. U.S., 854 F.2d 82 (5th Cir. 1989), citing Bell v.
  Wolfish, 441 U.S. 520, 536 n.16 (1983). Consequently, in the Fifth Circuit, a convicted
  inmate, even if he is in jail on a probation or parole revocation charge, has to assert a claim

                                                                                     Page 6 of 29


                                                                                            055
                                                                            Plaintiffs' Appendix 129
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 130 of 295 PageID 453




  that officials were deliberately indifferent to his or her serious medical needs, and a showing
  of nothing more than negligence cannot state a claim. Jackson v. Cain, 864 F.2d 1235,
  1246 (5th Cir. 1989).

          Simple disagreement with the medical treatment received or a complaint that the
  treatment received has been unsuccessful is insufficient to set forth a constitutional
  violation. Johnson, 759 F.2d at 1238; see also Varnado v. Lynaugh, 920 F. 2d 320 (5th Cir.
  1991 ). Even if the jail medical staff committed malpractice in dealing with an inmate's
  medical needs, this would not suffice to state a constitutional claim. Varnado, 920 F.2d at
  323. Likewise, differing medical opinions, and even negligent medical attention, without
  more, do not support a claim under 42 U.S.C. Section 1983. Burrell, 158 F.R.D. 104.
  Stated simply, a disagreement between an inmate and his or her physician concerning
  whether certain medical care was appropriate is not actionable under 42 U.S.C. Section
  1983. Vanuelos v. McFarland, 41 F.3d 232 (5th Cir. 1995).

          To cite some specific examples, a prisoner has no claim against prison officials under
  42 U.S.C. Section 1983 for allegedly being given medicine that had been dropped on the
  floor and medicine not meant for him. Freeze v. Griffith, 849 F.2d 172 (5th Cir. 1988) (the
  inmate did not take any wrong medicine and never suffered an ill effects from taking
  medicine that had fallen on the floor). An inmate's allegation that medical treatment was
  administered without his consent and forced upon him after he previously tested positive
  for tuberculosis did not constitute deliberate indifference toward the medical needs of the
  prisoner nor did it constitute cruel and unusual punishment. McCormick v. Stalder, No.
  96-30415 (Feb. 19, 1997) 1997 W .L. 40596. Finally, it has been held that an inmate failed
  to state an actionable claim for deliberate indifference to serious medical needs when he
  was denied an elevated bed, since the inmate saw doctors on numerous occasions,
  received physical therapy, heat applications, medication and other medical care designed
  to assist his recovery. Burrell, 158 F.R.D. 104.

          From a purely evidentiary standpoint, medical records of sick calls, examinations,
  diagnoses, and medications may rebut an inmate's allegations of deliberate indifference
  to serious medical needs. Vanuelos, 41 F .3d 232. As with most areas of law enforcement,
  documentation can be the key to avoiding liability.

         3.     HIV-positive Detainees

          Courts have held that a prison may segregate inmates with HIV without violating the
  constitution, although no court has imposed a duty on prisons to segregate such prisoners.
  Oladipupo v. Austin, 104 F.Supp.2d 626, (W.O. La. 2000); contrastMuhammadv. Carlson,
  845 F.2d 175 (8th Cir.1988) (upholding prison's segregation of HIV-infected inmates) and
  Cordero v. Coughlin, 607 F.Supp. 9 (S.D.N.Y.1984) (holding that segregation of inmates
  with AIDS did not amount to cruel and unusual punishment or violate inmates' equal
  protection or free association rights), with Robbins v. Clarke, 946 F.2d 1331 (8th Cir.1991)
  (failure to segregate HIV-positive prisoners from the general population held not to
  constitute cruel and unusual punishment) and Glick v. Henderson, 855 F.2d 536 (8th
  Cir.1988) (finding prison official's decision not to institute AIDS testing and segregation

                                                                                     Page 7 of 29


                                                                                            056
                                                                            Plaintiffs' Appendix 130
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 131 of 295 PageID 454




  program was not unreasonable); see also Feig/ey v. Fulcomer, 720 F.Supp. 475
  (M.D.Pa.1989) (rejecting claim that failure to require segregation constituted cruel and
  unusual punishment); Woods v. White, 689 F.Supp. 874 (W.D.Wis.1988) (holding that
  prisoner had a right to privacy which was violated by disclosure of his HIV-positive status
  to non-medical prison personnel and other inmates), aff'd, 899 F.2d 17 (7th Cir.1990). In
  light of the precedent discussed above, jails are not under an affirmative duty under the
  constitution to segregate those detainees with HIV from the non-infected detainees.

         In Sims v. Dretke, 212 Fed.Appx. 276 C.A.5 (Tex.),2006, the Fifth Circuit stated as
  follows :

         As the district court noted, the United States Department of Health and
         Human Services has stated an HIV-positive individual need not necessarily
         undergo anti-HIV treatment; whether to undergo such treatment depends on
         an individual's medical assessments and particular circumstances. Sims
         admits being medically examined on numerous occasions, but disagrees with
         his diagnosis and course of treatment. Such disagreement, standing alone,
         is insufficient to state a claim under section 1983. See Varnado v. Lynaugh,
         920 F.2d 320, 321 (5th Cir.1991 ); see also Banuelos v. McFarland, 41 F.3d
         232, 235 (5th Cir.1995).

  B.     Excessive Use Of Force Claims

         1.     Arrestees

          Currently, allegations of excessive use of force on arrestees implicate the Fourth
  Amendment's guarantee offreedom from "unreasonable seizures." See Graham v. Conner,
  109 S. Ct. 1865, 1870-71 (1989); Mouil/e, 977 F.2d at 927. Under the broad definition in
  Graham, seizure was defined as a "means or show of force or show of authority, ... in
  some way restraining the liberty of a citizen." Graham, 109 S. Ct. at 1871; Mouille, 977 F.
  2d at 927. All claims that officers used excessive force in the course of an arrest must be
  analyzed under the Fourth Amendment and its "reasonableness" standard, rather than a
  substantive due process approach. Graham, 109 S. Ct. at 1871; Mouil/e, 977 F.2d at 927
  n. 4. In Graham, the Court also stated that determining whether the force used to effect
  a particular seizure was "reasonable" under the Fourth Amendment required a careful
  balancing of the nature and quality of the intrusion on the individual's Fourth Amendment
  interest against the countervailing governmental interest at stake. /d. The reasonableness
  of a particular use of force must be judged from the prospective of a reasonable officer on
  the scene, and the calculus of reasonableness must allow for the fact that police officers
  are often forced to make split second judgments, in circumstances that are tense, uncertain
  and rapidly evolving, about the amount of force that is necessary in a particular situation.
  /d. In determining whether the force used to effect a particular seizure as "reasonable"
  under the Fourth Amendment, the question is whether the officers actions are "objectively
  reasonable" in light of the facts and circumstances confronting them, without regards to their
  underlying intent or motivation. /d.


                                                                                    Page 8 of 29


                                                                                           057
                                                                           Plaintiffs' Appendix 131
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 132 of 295 PageID 455




         The law in the Fifth Circuit prior to Graham was that the substantive due process
  clause of the Fourteenth Amendment governed such claims. Mouille, 977 F.2d at 927.
  Thus, when determining whether an officer was cloaked by qualified immunity for claims
  occurring prior to the Court's decision in Graham, the Court still applies the Fourteenth
  Amendment standard as set out in Shillingford v. Holmes, 634 F.2d 263,265 (5th Cir. 1981)
  in making a determination of whether a reasonable officer would have known that he or she
  was violating clearly established statutory or constitutional rights of which a reasonable
  person would have known. See Mouille, 977 F.2d at 928.

         The actual test applied by the Court's for pre-trial arrestees is the same as the test
  applied to convicted felons. To make out a claim for excessive use of force, there has to
  be: 1) an injury that is not deminimus; 2) that resulted directly and only from a use of force
  that was clearly excessive to the need, and the excessiveness of which was; 3) objectively
  unreasonable. Johnson v. Morel, 876 F.2d 477, 480 (5th Cir. 1989).

         2.     Convicted Felons

          Prior to 1992, the test as it related to convicted felons was that to make out a claim
  for excessive use of force, there had to be: 1) a significant injury; 2) that resulted directly
  and only from a use of force that was clearly excessive to the need; and the excessiveness
  of which was; 3) objectively unreasonable. Johnson v. Morel, 876 F.2d 477, 480 (5th Cir.
  1989). The significant injury prong of the Johnson holding was, of course, called into doubt
  by Hudson v. McMillian, 112 S. Ct. 995, 997 (1992) (excessive force claim in eighth
  amendment context even without significant injury). Mouille, 977 F .2d at 929; King v. Chide,
  974 F.2d 653, 657 (5th Cir. 1992). Indeed, the Fifth Circuit has held that the Supreme
  Court's decision in Hudson "makes clear that we can no longer require persons to prove
  significant injury as we had used that term for years, under section 1983." Knight v.
  Caldwell, 970 F.2d 1430, 1432 (5th Cir. 1992). As a result, the Plaintiff is only required to
  prove some injury that is not deminimous. Harper v. Harris County, 21 F.3d 597 (5th Cir.),
  rehearing denied, 29 F.3d 626 (5th Cir. 1994).

         3.     Pre-trial Detainees in Jail

          The ultimate question in the Fifth Circuit for suits brought by pre-trial detainees
  alleging excessive use of force in the context of a prison disturbance is whether force was
  applied in a good faith effort to maintain or restore discipline or maliciously and sadistically
  to cause harm, and the focus of this standard is on the detention facility official's subjective
  intent to punish. Valencia v. Wiggins, 981 F.2d 1440 (5th Cir.), certdenied, 113 S.Ct. 2998,
  (1993). In making a determination regarding the detention facility official's subjective intent
  to punish in a suit brought by a pre-trial detainee alleging excessive use of force during a
  prison disturbance, the trier of fact must consider such objective factors as extent of injuries
  suffered, apparent need for application of force, degree of force exerted, the threat
  reasonably perceived by the detention facility official and the need to act quickly and
  decisively. /d.

         4.     Bystander Liability

                                                                                      Page 9 of 29


                                                                                             058
                                                                             Plaintiffs' Appendix 132
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                          Page 133 of 295 PageID 456




           In the context of the use of excessive force, a police officer or jailer who is present
  at the scene and who does not take reasonable measures to protect a suspect from another
  officer's use of excessive force may be liable for civil rights violations depending on the
  nature and extent of the alleged excessive use of force. Hale v. Townley, 45 F.3d 914 (5th
  Cir.), rehearing denied, 51 F.3d 1047 (5th Cir. 1995). It is probable that this same rationale
  would apply in the context of any excessive use of force claim, regardless of whether it is
  asserted by an arrestee, pre-trial detainee or convicted felon.

          5.      Verbal Threats Do Not Arise To A Constitutional Violation

         Verbal threats do not rise to the level of a constitutional violation. See Calhoun v.
  Hargrove, 312 F.3d 730, 734 (5th Cir. 2002). Mere allegations of verbal abuse do not
  present actionable claims under section 1983. Oladipupo v. Austin, 104 F.Supp.2d 626
  (W.O. La. 2000); see Benderv. Brumley, 1 F.3d 271,274 n. 4 (5th Cir.1993). "[A]s a rule,
  'mere threatening language and gestures of a custodial officer do not, even if true, amount
  to a constitutional violation."' McFadden v. Lucas, 713 F.2d 143, 146 (5th Cir.1983)
  (quoting Coyle v. Hughs, 436 F.Supp. 591, 593 (W.D.Okla.1977)).


  C.      Denial Of Access To The Courts And Access To Legal Materials

          1.      Inmates Are Entitled To An Adequate Law Library Or Adequate
                  Assistance But There Is Room For Alternatives Other Than A Law
                  Library. Bounds v. Smith, 430 U.S. 817, 828, 97 S.Ct. 1491, 1498, 52
                  L.Ed.2d 72 (1977).

  As stated by the Supreme Court in Bounds:

          We hold, therefore, that the fundamental constitutional right of access to the
          courts requires prison authorities to assist inmates in the preparation and
          filing of meaningful legal papers by providing prisoners with adequate law
          libraries or adequate assistance from persons trained in the law. In a footnote
          (FN17), the Court went on to state, in pertinent part, "our main concern here
          is 'protecting the ability of an inmate to prepare a petition or complaint."'

  Bounds, 430 U.S. 817,828,97 S.Ct. 1491, 1498, 52 L.Ed.2d 72.

         However, even the Bounds Court held that alternatives were acceptable. 1 It should
  be noted that while adequate law libraries are one constitutionally acceptable method to
  assure meaningful access to the courts, our decision here, as in Gilmore, does not
  foreclose alternative means to achieve that goal. Nearly half the States and the District of


           1
              The Supreme Court stated that: "We reject the State's claim that inmates are "ill-equipped to use"
   "the tools of the trade of the legal profession," making libraries useless in assuring meaningful access.

                                                                                                 Page 10 of 29


                                                                                                          059
                                                                                        Plaintiffs' Appendix 133
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 134 of 295 PageID 457




  Columbia provide some degree of professional or quasi-professional legal assistance to
  prisoners. Bryan v. Werner, 516 F.2d 233 (CA3 1975); Gaglie v. Ulibarri, 507 F.2d 721
  (CA91974); Corpus v. Estelle, 409 F.Supp. 1090 (SO Tex.1975).

        Additionally, the Court held that this is not to say that economic factors may not be
  considered, for example, in choosing the methods used to provide meaningful access.
  Bounds, 430 U.S. 817,828, 97 S.Ct. 1491, 1498, 52 L.Ed.2d 72. But the cost of protecting
  a constitutional right cannot justify its total denial. /d.

       In Lewis v. Casey, 518 U.S. 343, 116 S.Ct. 2174, 135 L.Ed.2d 606 (2002), the
  Supreme Court further clarified its holding in Bounds by holding as follows:

        The foregoing analysis would not be pertinent here if, as respondents seem
        to assume, the right at issue--the right to which the actual or threatened harm
        must pertain--were the right to a law library or to legal assistance. But
        Bounds established no such right, any more than Estelle established a right
        to a prison hospital. The right that Bounds acknowledged was the (already
        well-established) right of access to the courts. E.g., Bounds, 430 U.S., at
        817, 821, 828, 97 S.Ct., at 1492-1493, 1494, 1498. In the cases to which
        Bounds traced its roots, we had protected that right by prohibiting state prison
        officials from actively interfering with inmates' attempts to prepare legal
        documents, e.g., Johnson v. Avery, 393 U.S. 483, 484, 489-490, 89 S.Ct.
        747, 748, 750-751, 21 L.Ed.2d 718 (1969), or file them, e.g., Ex parte Hull,
        312 U.S. 546,547-549,61 S.Ct. 640,640-642,85 L.Ed. 1034 (1941), and by
        requiring state courts to waive filing fees, e.g., Burns v. Ohio, 360 U.S. 252,
        258, 79 S.Ct. 1164, 1168-1169, 3 L.Ed.2d 1209 (1959), or transcript fees,
        e.g., Griffin v. Illinois, 351 U.S. 12, 19, 76 S.Ct. 585, 590-591, 100 L.Ed. 891
        (1956), for indigent inmates. Bounds focused on the same entitlement of
        access to the courts. Although it affirmed a court order requiring North
        Carolina to make law library facilities available to inmates, it stressed that that
        was merely "one constitutionally acceptable method to assure meaningful
        access to the courts," and that "our decision here ... does not foreclose
        alternative means to achieve that goal." 430 U.S., at 830, 97 S.Ct., at 1499.
         In other words, prison law libraries and legal assistance programs are not
        ends in themselves, but only the means for ensuring "a reasonably adequate
        opportunity to present claimed violations of fundamental constitutional rights
        to the courts." /d., at 825, 97 S.Ct., at 1496.

  Prison officials have considerable discretion in choosing the mechanism and forms of
  assistance they will furnish to prisoners for the purpose of allowing prisoners to file
  non-frivolous legal claims. Brinson v. McKeeman, 992 F. Supp. 897, 909-12 (W.O. Tex.
  1997).

         While the precise contours of a prisoner's right of access to the courts remains
  somewhat obscure, the Supreme Court has not extended this right to encompass more than
  the ability of an inmate to prepare and transmit a necessary legal document to a court.

                                                                                     Page 11 of 29


                                                                                              060
                                                                             Plaintiffs' Appendix 134
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 135 of 295 PageID 458




  Brinson, 992 F. Supp. 897, 909-12 (W.D. Tex. 1997);see Brewer v. Wilkinson, 3 F.3d at
  821. See also Lewis v. Casey, 518 U.S. at----, 116 S.Ct. at 2179-81; Norton v. Dimazana,
  122 F.3d at 290; and Eason v. Thaler, 73 F.3d 1322, 1329 (5th Cir.1996).

         2.     Actual Injury Required

          An inmate must be Prejudiced by Denial of Access. McDonald v. Steward, 132 F .3d
  225, 230-31 (5th Cir. 1998). Before a prisoner may prevail on a claim that his constitutional
  right of access to the courts was violated, he must demonstrate "that his position as a
  litigant was prejudiced by his denial of access to the courts." McDonald, 132 F.3d at 230-
  31, Eason, 73 F.3d at 1328 (citing Walker v. Navarro County Jail, 4 F.3d 410, 413 (5th
  Cir.1993)).

  As the Supreme Court in Lewis stated:

         Because Bounds did not create an abstract, freestanding right to a law library
        or legal assistance, an inmate cannot establish relevant actual injury simply
        by establishing that his prison's law library or legal assistance program is
        subpar in some theoretical sense. That would be the precise analog of the
        healthy inmate claiming constitutional violation because of the inadequacy of
        the prison infirmary. Insofar as the right vindicated by Bounds is concerned,
        "meaningful access to the courts is the touchstone," id., at 823, 97 S.Ct., at
         1495 (internal quotation marks omitted), and the inmate therefore must go
        one step further and demonstrate that the alleged shortcomings in the library
        or legal assistance program hindered his efforts to pursue a legal claim. He
        might show, for example, that a complaint he prepared was dismissed for
        failure to satisfy some technical requirement which, because of deficiencies
        in the prison's legal assistance facilities, he could not have known. Or that he
        had suffered arguably actionable harm that he wished to bring before the
        courts, but was so stymied by inadequacies of the law library that he was
        unable even to file a complaint. Although Bounds itself made no mention of
        an actual-injury requirement, it can hardly be thought to have eliminated that
        constitutional prerequisite. And actual injury is apparent on the face of
        almost all the opinions in the 35-year line of access-to-courts cases on which
        Bounds relied, see id. , at 821-825, 97 S.Ct., at 1494-1497. Moreover, the
        assumption of an actual-injury requirement seems to us implicit in the
        opinion's statement that "we encourage local experimentation" in various
        methods of assuring access to the courts. /d., at 832, 97 S.Ct., at 1500. One
        such experiment, for example, might replace libraries with some minimal
        access to legal advice and a system of court-provided forms such as those
        that contained the original complaints in two of the more significant
        inmate-initiated cases in recent years, Sandin v. Conner, 515 U.S. 472, 115
        S.Ct. 2293, 132 L.Ed.2d 418 (1995), and Hudson v. McMillian, 503 U.S. 1,
        112 S.Ct. 995, 117 L.Ed.2d 156 (1992)--forms that asked the inmates to
        provide only the facts and not to attempt any legal analysis. We hardly think
        that what we meant by "experimenting" with such an alternative was simply

                                                                                   Page 12 of 29


                                                                                           061
                                                                           Plaintiffs' Appendix 135
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 136 of 295 PageID 459




         announcing it, whereupon suit would immediately lie to declare it theoretically
         inadequate and bring the experiment to a close. We think we envisioned,
         instead, that the new program would remain in place at least until some
         inmate could demonstrate that a nonfrivolous legal claim had been frustrated
         or was being impeded.

         3.     Right to Law Library Access Or Legal Assistance Not Unlimited

          Prisoners have a constitutional right of meaningful access to the courts through
  adequate law libraries or assistance from legally trained personnel. McDonald, 132 F.3d
  at 230-31; Degrate v. Godwin, 84 F.3d 768, 768-69 (5th Cir.1996) (quoting Bounds, 430
  U.S. at 828).     Nevertheless, this constitutional guarantee does not afford prisoners
  unlimited access to prison law libraries. Limitations may be placed on library access so
  long as the regulations are "reasonably related to legitimate penological interests."
  McDonald, 132 F.3d at 230-31; Lewis, 518 U.S. 343, (quoting Turner v. Safley, 482 U.S.
  78, 89, 107 S.Ct. 2254,2261-62, 96 L.Ed.2d 64 (1987)); see also Eason, 14 F.3d at 9-10
  (right of meaningful access to courts may be narrowed under certain circumstances).

        Additionally, restrictions on direct access to legal materials may even be warranted
  when prison security is involved. Brinson, 992 F. Supp. at 909-12; see Eason, 73 F.3d at
  1329; Morrow v. Harwell, 768 F.2d 619, 622 (5th Cir.1985).

        4.      Inmates' Access Limited To Claims That Attack Their Sentences,
                Directly Or Collaterally, And Challenge The Conditions Of Their
                Confinement

         In Lewis, 518 U.S. 343, the Court stated as follow:

        In other words, Bounds does not guarantee inmates the wherewithal to
        transform themselves into litigating engines capable of filing everything from
        shareholder derivative actions to slip-and-fall claims. The tools it requires to
        be provided are those that the inmates need in order to attack their
        sentences, directly or collaterally, and in order to challenge the conditions of
        their confinement. Impairment of any other litigating capacity is simply one
        of the incidental (and perfectly constitutional) consequences of conviction and
        incarceration.

  Lewis, 518 U.S. 343. In explaining the rationale for this holding, the Lewis Court stated:

        Finally, we must observe that the injury requirement is not satisfied by just any
        type of frustrated legal claim. Nearly all of the access-to-courts cases in the
        Bounds line involved attempts by inmates to pursue direct appeals from the
        convictions for which they were incarcerated, see Douglas v. California, 372
        U.S. 353, 354, 83 S.Ct. 814, 815, 9 L.Ed.2d 811 (1963); Burns, 360 U.S., at
        253; Griffin, supra, at 13, 18, 76 S.Ct., at 588, 590; Cochran v. Kansas, 316
        U.S. 255, 256, 62 S.Ct. 1068, 1069, 86 L.Ed. 1453 (1942), or habeas

                                                                                   Page 13 of 29


                                                                                            062
                                                                           Plaintiffs' Appendix 136
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 137 of 295 PageID 460




         petitions, see Johnson v. Avery, supra, at 489, 89 S.Ct., at 750-751; Smith v.
         Bennett, 365 U.S. 708,709-710,81 S.Ct. 895,896-897,6 L.Ed.2d 39 (1961);
         Ex parte Hull, supra, at 547-548, 61 S.Ct., at 640-641. In Wolffv. McDonnell,
         418 U.S. 539, 94 S.Ct. 2963, 41 L.Ed.2d 935 (1974), we extended this
         universe of relevant claims only slightly, to "civil rights actions"--i.e., actions
         under42 U.S.C. § 1983 to vindicate "basic constitutional rights." 418 U.S., at
         579, 94 S.Ct., at 2986. Significantly, we felt compelled to justify even this
         slight extension of the right of access to the courts, stressing that "the
         demarcation line between civil rights actions and habeas petitions is not
         always clear," and that "[i]t is futile to contend that the Civil Rights Act of 1871
         has less importance in our constitutional scheme than does the Great Writ."
         Ibid.

         5.      Some Additional Assistance May Be Required For The Illiterate Or Non-
                 English Speaking Inmate

         In Lewis, 518 U.S. 343, the Supreme Court addressed this problem as follows:

         When any inmate, even an illiterate or non-English-speaking inmate, shows
         that an actionable claim of this nature which he desired to bring has been lost
         or rejected, or that the presentation of such a claim is currently being
         prevented, because this capability of filing suit has not been provided, he
         demonstrates that the State has failed to furnish "adequate law libraries or
         adequate assistance from persons trained in the law," Bounds, 430 U.S., at
         828, 97 S.Ct., at 1498 (emphasis added). Of course, we leave it to prison
         officials to determine how best to ensure that inmates with language problems
         have a reasonably adequate opportunity to file nonfrivolous legal claims
         challenging their convictions or conditions of confinement. But it is that
         capability, rather than the capability of turning pages in a law library, that is
         the touchstone.

         6.      Prisoner Who Waives Appointed Counsel And Other Arbitrary Denial

         A prisoner who knowingly and voluntarily waives appointed representation by counsel
  in a criminal proceeding is not entitled to access to a law library for purposes of that
  proceeding. Brinson, 992 F. Supp. at 909-12; see Degrate, 84 F.3d at 769.

         7.      Prisoners In Administrative Segregation

          Arbitrary limitations and restrictions on access to legal materials, without the
  assistance of persons trained in the law, and without the ability of inmates in administrative
  segregation to examine legal digests, hornbooks, and other legal materials firsthand is
  unconstitutional. Brinson, 992 F. Supp. 897,909-12 (W.O. Tex.1997); see Eason, 14 F.3d
  at 8, 9-10, (holding that allegations of a total denial of all access to the prison law library for
  25 days following a prison riot stated a constitutional violation); Pembroke v. Wood County,
  Texas, 981 F.2d at 229, (holding that the total denial of all access to the law library for

                                                                                       Page 14 of 29


                                                                                                063
                                                                               Plaintiffs' Appendix 137
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 138 of 295 PageID 461




  seven months violated the plaintiff's constitutional right of access to the courts), citing
  Morrow, 768 F.2d at 622, (holding that access to a weekly bookmobile coupled with
  circumscribed assistance from law students was insufficient to afford meaningful access to
  the courts); and Green v. Ferrell, 801 F.2d 765, 772 (5th Cir.1986), (holding that allowing
  inmates to select volumes twice each week from a list of books available in the County law
  library and limiting inmates to no more than two volumes at a time violated the inmates'
  rights to meaningful access to the courts).

         8.     No Constitutional Right To File Frivolous Lawsuits

         Prisoners possess no constitutionally-protected right to file frivolous lawsuits.
  Brinson, 992 F. Supp. 897,909-12 (W.O. Tex. 1997); see Johnson v. Rodriguez, 110 F.3d
  299, 310-13 & 316 (5th Cir.1997), cert. denied, 522 U.S. 995, 118 S.Ct. 559, 139 L.Ed.2d
  400 (1997).

         9.     Inmates Are Allowed to Assist Each Other On Legal Matters

         In Johnson, 393 U.S. 483, the Supreme Court struck down a regulation prohibiting
  prisoners from assisting each other with habeas corpus applications and other legal
  matters. Johnson was unanimously extended to cover assistance in civil rights actions in
  Wolff, 418 U.S. at 577-580,; see Bounds, 430 U.S. at 828.

          However, prisoners possess no right to the assistance of any particular other prisoner
  or writ writer as long as the constitutional right of access to the courts by the putative
  recipient of such assistance is not infringed. Brinson, 992 F. Supp. at909-12 (W.O. Tex.
  1997); see Tighe v. Wall, 100 F.3d 41,43 (5th Cir.1996).

         10.    Inmates Must Receive Paper, Pens, Notaries And Stamps

          It is indisputable that indigent inmates must be provided at state expense with paper
  and pen to draft legal documents with notarial services to authenticate them, and with
  stamps to mail them. See Bounds, 430 U.S. 817. States must forgo collection of docket
  fees otherwise payable to the treasury and expend funds for transcripts. /d. It is
  well-established in this Circuit that access to typewriters and copy machines is not an
  essential part of the right of access to the courts. Brinson, 992 F. Supp. at 909-12; see
  Beck v. Lynaugh, 842 F.2d 759, 762 (5th Cir. 1988), (holding that denial of access to carbon
  paper and reproduction equipment and denial of face-to-face access to other inmates did
  not deprive an inmate of his right of access to the courts); and Eisenhardt v. Britton, 478
  F .2d 855 (5th Cir.1973). There simply is no constitutional right of access to carbon paper,
  reproduction equipment, or to face-to-face meetings with other inmates possessed by
  pretrial detainees or prisoners. Brinson, 992 F. Supp. at 909-12; See Beck v. Lynaugh, 842
  F.2d at 762.

         11.    States Must Pay For Lawyers For Indigent Defendants



                                                                                   Page 15 of 29


                                                                                           064
                                                                           Plaintiffs' Appendix 138
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 139 of 295 PageID 462




        State expenditures are necessary to pay lawyers for indigent defendants at trial,
  Gideon v. Wainwright, 372 U.S. 335, 83 S.Ct. 792, 9 L.Ed.2d 799 (1963); Argersinger v.
  Hamlin, 407 U.S. 25, 92 S.Ct. 2006, 32 L.Ed.2d 530 (1972), and in appeals as of right. See
  Bounds, 430 U.S. at 828 (citing prior authority).

         12.    Appointment of Counsel in Civil Rights Cases

         Generally, there is no right to the appointment of counsel for indigent prisoners
  bringing section 1983 cases. See e.g., Jackson v. Dallas Police Dep't, 811 F.2d 260, 261
  (5th Cir.1986). This court is vested with discretion to appoint counsel when doing so would
  advance the proper administration of justice; however, this court is not required to do so
  unless the case presents exceptional circumstances. Ulmer v. Chancellor, 691 F.2d 209,
  213 (5th Cir.1982) (citing 28 U.S.C. § 1915(d)); Branch v. Cole, 686 F.2d 264, 266 (5th
  Cir.1982). A finding of exceptional circumstances depends on the following factors: (1) the
  type and complexity of the case; (2) whether the indigent is capable of adequately
  presenting his case; (3) whether the indigent is in a position to adequately investigate his
  case; and (4) whether the evidence will consist in large part of conflicting evidence that
  would require skill in the presentation of evidence and in cross examination. Jackson, 811
  F.2d at 262 (citing Ulmer, 691 F.3d at 213). In addition, this court may consider whether
  appointing counsel will"aid in the efficient and equitable disposition of the case." /d.

          Although section 1983 cases are often complex, this factor alone does not warrant
  a finding of exceptional circumstances. See id. (citing Branch, 686 F.2d at 266). Franklin
  has demonstrated an adequate ability to present his claims and to investigate the facts and
  evidence related to his claims. His ability to adequately present his case is demonstrated
  in his complaint and accompanying brief in which he provided this court with an
  understanding of his claims and the bases and law upon which he supports his claims. In
  addition, he articulated very clearly his claims and the facts attendant to his claims at his
  Spears hearing. Finally, the evidence in this case does not consist of conflicting testimony
  that would require skill in presentation or cross examination because the evidence which
  the court must consider consists entirely of authenticated records, which comport with his
  testimony at the Spears hearing.




                                                                                  Page 16 of 29


                                                                                           065
                                                                           Plaintiffs' Appendix 139
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 140 of 295 PageID 463




  D.     Food

         Inmates have a constitutional right to receive reasonably adequate food. George v.
  King, 837 F.2d 705 (5th Cir. 1987). To be actionable, a plaintiff must show that the jail diet
  had an adverse effect on his health. see Newmam v. Alabama, 559 F.2d 283, 291 (5th Cir.
  1977) (Constitution does not require that prisoners be provided with any and every amenity
  which some person might think is necessary to avoid mental, physical, or emotional
  deterioration).

           The Fifth Circuit has instructed that the fact that an inmate misses one meal does
  not necessarily implicate the inmates's constitutional rights. See Palmer v. Johnson, 193
  F.3d 346, 352 (5th Cir.1999); Green v. Ferrell, 801 F.2d 765,770 (5th Cir.1986); see also
  Talib v. Gilley, 138 F.3d 211,214 n. 3 (5th Cir.1998) ("Missing a mere one out of every nine
  meals is hardly more than that missed by many working citizens over the same period.")

  E.     Visitation

         1.     General Visitation

         Convicted inmates have no constitutional right to visitation. Lynott v. Henderson, 610
  F.2d 340, 342 (5th Cir. 1980). Instead, for convicted prisoners, visitation privileges are a
  matter subject to the discretion of the prison officials. Morrow, 768 F .2d at 172. Pre-trial
  detainees have a right to reasonable visitation, absent a legitimate governmental reason
  to the contrary. /d.

         2.     Conjugal Visits

          It is well settled that "(f)ailure to permit conjugal visits does not deny an inmate a
  federal constitutional right." Montana v. Commissioners Court, 659 F.2d 19,20-23 (5th Cir.
  1981) McCray v. Sullivan, 509 F.2d 1332, 1334 (5th Cir.), cert. denied, 423 U.S. 859, 96
  S.Ct. 114,46 L.Ed.2d 86 (1975); Tarlton v. Clark, 441 F.2d 384,385 (5th Cir.), cert. denied,
  403 U.S. 934, 91 S.Ct. 2263, 29 L.Ed.2d 713 (1971) (federal prisoner). The State of Texas
  is not required to permit prisoners conjugal visits. Montana, 659 F.2d at 20-23; Guajardo
  v. Estelle, 580 F.2d 748, 762 (5th Cir. 1978). While penal authorities in foreign countries
  have allowed prisoners to continue conjugal relationships with their spouses, no precedent
  exists for such practices in United States institutions. See, e.g., Tarlton, 441 F.2d at 385.


         3.     Contact Visits

         Convicted felons have no right to visitation, and contact visits may be denied pretrial
  detainees for "legitimate security reasons." Montana, 659 F.2d at 20-23.




                                                                                    Page 17 of 29


                                                                                            066
                                                                            Plaintiffs' Appendix 140
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 141 of 295 PageID 464




  F.     Grievances

          Inmates "do not have a constitutionally protected right to a grievance procedure."
  Oladipupo, 104 F.Supp.2d 626; Brown v. Dodson, 863 F.Supp. 284, 285 (W.D.Va.1994)
  (citing Flick v. Alba, 932 F.2d 728, 729 (8th Cir.1991 )); Spencer v. Moore, 638 F.Supp. 315,
  316 (E.D. Mo.1986) (holding that "an inmate grievance procedure is not constitutionally
  required").      "When the claim underlying the administrative grievance involves a
  constitutional right, the prisoner's right to petition the government for redress is the right of
  access to the courts, which is not compromised by the prison's refusal to entertain his
  grievance." Oladipupo, 104 F.Supp.2d 626; see Flick, 932 F.2d at 729. A number of courts
  have held that inmate grievance procedures are not constitutionally required, and so
  violations of such procedures do not deprive inmates of constitutionally protected rights.
  Spencer, 638 F. Supp. at 316, citing O'Bryan v. County of Saginaw, 437 F. Supp. 582 (E. D.
  Mich. 1977); see also Azeez v. DeRobertis, 568 F. Supp. 8 (N.D. Ill. 1982). In Mann v.
  Adams, 855 F.2d 639 (9th Cir.), cert. denied 109 S. Ct. 242 (1988), the Ninth Circuit Court
  of Appeals noted that inmates have no legitimate claim of entitlement to a grievance
  procedure, and thus no protected liberty interest exists. This position was also taken by the
  Eighth Circuit in Flick, 932 F.2d 728.

  G.     Jail Conditions

         1.     Convicted Felons

         In the context of convicted inmates, the eighth amendment cruel and unusual
  punishment standard governs the conditions of confinement. Indicia of confinement
  constituting cruel and unusual punishment include wanton and unnecessary infliction of
  pain, conditions grossly disproportionate to the severity of the crime warranting
  imprisonment, and the deprivation of the minimal civilized measures of life's necessities.
  Wilson v. Lynaugh, 878 F.2d 846, 848 (5th Cir.), cert. denied 493 U.S. 969 (1989). The
  Supreme Court has held, however, that to the extent that prison conditions are restrictive
  and even harsh, they are part of the penalty that criminal offenders pay for their offenses
  against society. Rhodes v. Chapman, 452 U.S. 337, 346-7 (1981 ).

         The Rhodes Court held that any Eighth Amendment analysis must look to the
  evolving standards of decency that mark the progress of a maturing society, but cautioned
  that the standards are derived from objective factors. Rhodes, 452 U.S. at 346.

         In compliance with the Supreme Court's opinion, the Fifth Circuit has stated that the
  Eighth Amendment does not afford protection against mere discomfort or inconvenience.
  Wilson, 878 F.2d at 849.

          A plaintiff cannot state a claim by alleging that the conditions were filthy, as in
  Bienvenu v. Beauregard Parish Police Jury, 705 F.2d 1457 (5th Cir. 1983); by simply stating
  that he did not like the time that cleaning supplies were given out. This does not amount
  to a claim of constitutional dimensions.


                                                                                      Page 18 of 29


                                                                                              067
                                                                              Plaintiffs' Appendix 141
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 142 of 295 PageID 465




           A prison warden's liability for damages for squalid prison conditions which violated
  a prisoner's right to be free of cruel and unusual punishment required a showing that the
  infliction of harsh conditions was "unnecessary and wanton," which depended upon a
  number of factors, including the extent to which the warden knew of the unsanitary
  conditions, the prisoner's exposure to conditions, the steps taken to correct conditions, or
  remove prisoners form unsanitary cells, and what the warden could have done to protect
  prisoners from those conditions. McCord v. Maggio, 927 F .2d 844 (5th Cir. 1991 ).

           A prisoner is also required to show significant injury as a prerequisite to a recover in
  a civil rights claim based on squalid prison conditions, requiring proof that he endured pain,
  suffering or mental anguish sufficiently significant to justify monetary relief for deprivation
  of his right to be free from cruel and unusual punishment; however, a prisoner is not
  required to show "lasting harm." /d.

         2.     Pre-trial Detainees

           In the context of pre-trial detainees, to determine whether a particular imposition or
  restriction on a pre-trial detainee amounts to punishment within the purview of the federal
  statute governing civil actions for deprivation of rights, the necessary inquiry is whether the
  disability is imposed for the purpose of punishment or is but incident to other, legitimate
  governmental purposes. Simons v. Clemons, 752 F. 2d 1053 (5th Cir. 1985). Unless there
  is express intent to punish, the imposition or restriction on a pre-trial detainee is not a
  violation of the 42 U.S.C. Section 1983 if there is an alternative purpose to which the
  imposition may rationally be connected, or unless it appears excessive in relation to the
  alternative purpose assigned. /d. Thus, denial of telephone and recreational privileges
  while a pre-trial detainee was in protective custody was not punishment, such as to support
  a 42 U.S.C. Section 1983 claim, where the placement was for detainee's own safety and
  availability of services was subject to personnel restraints. Grabowski v. Jackson County
  Public Defender's Office, 47 F.3d 1386 (5th Cir. 1995). Similarity, an inmate's claim that he
  was temporarily forced to sleep on the jail floor due to overcrowding did not give rise to a
  violation of his constitutional rights and was not cognizable under42 U.S.C. Section 1983,
  especially where there existed a legitimate governmental objective to house violent inmates
  or recidivists for the protection of the general public, despite existing overcrowded




                                                                                      Page 19 of 29


                                                                                              068
                                                                              Plaintiffs' Appendix 142
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                           Page 143 of 295 PageID 466




  conditions. 2 Castillo v. Bowles, 787 F. Supp. 277 (M.D. Tex. 1988) (affirmed by the Fifth
  Circuit in an unpublished opinion), cert. denied, 110 S.Ct. 92 (1989).


  H.      Recreation

         Convicted inmates do not have a constitutional right, per se, to recreation; however,
  a deprivation of exercise which impairs health may amount to a constitutional violation
  under the Eighth Amendment. Miller v. Carson, 563 F.2d 741, 750-51 at n.13 (5th Cir.
  1977). The absence of outdoor exercise opportunities may also constitute a violation of the
  Eighth Amendment. See Montana, 659 F.2d at 22; McGruder v. Phelps, 608 F.2d 1023,
  1025 (5th Cir.1979).

  I.      Due Process

          1.       Deprivation of Property

          It is necessary, in order to make out a procedural due process claim under Section
  1983, for one to allege not only a deprivation of property by State action, but also that State
  procedures available for challenging the deprivation did not satisfy the requirements of due
  process. Collins v. King, 743 F. 2d 248 (5th Cir. 1984). Indeed, to state a claim under
  Section 1983 for the alleged violation of due process rights for confiscation or destruction
  of property, the Plaintiff must allege that he has a recognized liberty of property interest
  within the purview of the Fourteenth Amendment and that he was intentionally and
  recklessly deprived of that interest, even temporarily, under color of State law. Walton v.
  Alexander, 44 F.3d 1297 (5th Cir. 1995); Does v. Taylor lndep. School District, 15 F.3d 443
  (5th Cir. 1994), cert. denied, Lankford v. Does, 115 S.Ct. 70 (1995).




           2
               Some Courts however, have held that the deprivation of a mattress is a constitutional violation.
   "[T]he State owes the same duty under the Due Process Clause and the Eighth Amendment to provide both
   pretrial detainees and convicted inmates with basic human needs, including medical care and protection from
   harm, during their confinement." Hare, 74 F.3d at 650; 0/adipupo, 104 F.Supp.2d 626. A mattress is a basic
   human need, which must be provided to a detainee. /d. Several federal courts have found that forcing a
   pretrial detainee to sleep without a mattress, or on the floor on a mattress, for even a short period of time,
   constitutes a violation of the Fourteenth Amendment. See, e.g., Thompson v. City of Los Angeles, 885 F.2d
   1439, 1449 (9th Cir.1989) (valid Fourteenth Amendment claim where pretrial detainee forced to sleep on the
   floor for two nights); Lyons v. Powell, 838 F.2d 28 (1st Cir.1988) (pretrial detainee's allegation that he was
   forced to sleep on floor mattress sufficient condition to show deprivation of due process); Aneta v. Wildwood,
   790 F.2d 1063, 1067 (3d Cir.1986) (allegation that City failed to provide bed or mattress to pretrial detainees
   states actionable constitutional claim); Lareau v. Manson, 651 F.2d 96, 105 (2d Cir.1981) (prison's use offloor
   mattresses for pretrial detainees unconstitutional "without regard to the number of days for which a prisoner
   is so confined"); Martino v. Carey, 563 F.Supp. 984, 1002 (D.Or.1983) (fact that jail overcrowding forced
   some pretrial detainees to sleep directly on floor contributed to finding that overcrowded conditions violated
   detainees' Fourteenth Amendment rights); Vazquez v. Gray, 523 F.Supp. 1359, 1365 (S.D.N.Y.1981) (use
   of floor mattresses for pretrial detainees unconstitutional).


                                                                                                  Page 20 of 29


                                                                                                           069
                                                                                          Plaintiffs' Appendix 143
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 144 of 295 PageID 467




           In sum, a literal reading of Wolfish is the only reading which the holding permits. As
  pointed out by the Court in Powell, the Supreme Court's holding in Wolfish specifically
  contemplates that body cavity searches will be conducted on all detainees who have
  contact visits regardless of their charges. See Powell, 541 F.3d at 1308. The lack of a
  requirement for reasonable suspicion to conduct the body cavity searches in Wolfish is
  underscored by the dissenting opinions of Justice Powell and Justice Marshall. Clearly,
  these dissenters based their opinions on the fact that the majority opinion did not require
  reasonable suspicion to conduct body cavity searches. See Wolfish, 441 U.S. at 563, 99
  S. Ct. at 1886 (Powell, J., concurring in part and dissenting in part); /d. at 578, 99 S. Ct. at
  1894 (Marshall, J., dissenting). This Court should readily adopt this common-sense and
  literal approach to the interpretation of Wolfish which is explained by the 11 1h Circuit in
  Powell. Any other interpretation would be directly contrary to the literal meaning and clear
  intent of the Supreme Court.

         2.     Jail Disciplinary Proceedings

          The role of federal courts in reviewing prison disciplinary proceedings, via civil rights
  actions, is a narrow one, and the court must uphold the administrative decision unless it was
  arbitrary and capricious. Stewart v. Thigpen, 739 F.2d 1002 (5th Cir. 1984). The court
  need not review a disciplinary board's fact findings de-novo, but need consider only whether
  the decision was supported by some facts or evidence at all. /d.

          A prisoner has a claim under 42 U.S.C. Section 1983 for placement in segregation
  only if he possesses a liberty interest in remaining among the general prison population.
  Dzanav v. Foti, 829 F.2d 558 (5th Cir. 1987). Members of a disciplinary committee who hear
  cases in which inmates are charged with rule infractions, are entitled to qualified, but not
  absolute immunity, for personal damages for actions violative of United States Constitution.
  Cleavenger v. Saxner, 106 S. Ct. 496 (1985).

         In reviewing a prison administrative action in a 42 U.S.C. Section 1983 civil rights
  cause of action, the court must uphold administrative decisions unless they arbitrary and
  capricious, and a decision is not arbitrary and capricious if it was made by specific exercise
  of professional judgment and on basis of factors clearly bearing on the appropriateness of
  the decision. Gartrell v. Gaylor, 866 F. Supp . 325 (S.D. Tex. 1994).

         3.     Violation of State's or County's Own Rules

         Even though a governmental entity acts in a manor which violates its own rules, or
  those of the State, there is no due process viol.ation actionable under Section 1983, as long
  as appropriate individuals ultimately receive adequate process. Ramirez v. Ahn, 843 F.2d
  864 (5th Cir.), rehearing denied, 849 F.2d 1471 (5th Cir. 1988), cert. denied, 109 S.Ct. 1545
  (1989). Action by a governmental entity that violates its own rules or those of the State
  does not constitute a constitutional deprivation. Vaga v. Parsley, 700 F. Supp. 879 (W.O .
  Tex. 1988).


                                                                                      Page 21 of 29


                                                                                              070
                                                                              Plaintiffs' Appendix 144
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 145 of 295 PageID 468




         Failure to follow procedural guidelines, standing alone, does not implicate
  constitutional liability. Evans, 986 F.2d 104.

         4.      Failure To Follow State Laws Or Procedures Does Not Give Rise To A
                 1983 Claim

          The failure of state officials to fulfill their duties under state law does not give rise to
  a federal constitutional claim. Brinson, 992 F. Supp. at 909-12; See Myers v. Klevenhagen,
  97 F.3d 91, 94 (5th Cir.1996), (holding that a prison official's failure to follow the prison's
  own policies, procedures, and regulations does not constitute a violation of due process if
  constitutional minima are nevertheless met); Giovanni v. Lynn, 48 F.3d 908, 912 (5th
  Cir.1995), cert. denied, 516 U.S. 860, 116 S.Ct. 167, 133 L.Ed.2d 109 (1995), (holding that
  a mere failure to accord procedural protection called for by state law or regulation does not
  of itself amount to a denial of due process); Murphy v. Collins, 26 F.3d 541, 543 (5th
  Cir.1994 ), (holding that a state's failure to follow its own procedural regulations does not
  constitute a violation of due process if constitutional minima are met); Murray v. Mississippi
  Department of Corrections, 911 F.2d 1167, 1168 (5th Cir.1990), cert. denied, 498 U.S.
  1050, 111 S.Ct. 760, 112 L.Ed.2d 779 (1991 ), (holding that alleged violations of a state
  statute did not give rise to federal constitutional claims); Jackson v. Cain, 864 F.2d 1235,
  1251 (5th Cir.1989): ("A state's failure to follow its own procedural regulations does not
  establish a violation of due process, because 'constitutional minima may nevertheless have
  been met."'); and Brown v. Texas A & M University, 804 F.2d 327, 335 (5th Cir.1986),
  (holding that a state agency's violations of its own internal regulations did not establish a
  Due Process violation or otherwise give rise to a constitutional claim).

  J.     Jail Suicide

         Prison and jail officials have a duty to protect prisoners prone to suicide from self
  destruction. Lewis v. Terrebonne, 894 F.2d 142, rehearing denied, 901 F.2d 1110 (5th Cir.
  1990).

         Failure to provide a pre-trial detainee with adequate protection from his or her known
  suicidal impulses is actionable under 42 U.S.C. Section 1983. Evans, 986 F.2d 104.

         A county's failure to provide continuous observation of a known suicidal pre-trial
  detainee did not constitute a deliberately indifferent method of conducting suicide watches,
  as there was no evidence that periodic checks on suicidal inmates every ten minutes was
  obviously inadequate. Rhyne v. Henderson County, 973 F. 2d 386 (5th Cir. 1992).

         Additionally, the county's failure to obtain a commitment order for a suicidal pre-trial
  detainee, and instead relying on the county mental health agency to deliver the necessary
  emergency warrant for a commitment, was not "deliberate indifference," so as to subject the
  county to Section 1983 liability. /d. No evidence was presented that the mental health
  agency had ever failed to deliver commitment orders when needed in the past or that any
  prisoner had ever committed suicide in jail because he could not properly be moved to the
  state hospital. /d. For a pre-trial detainee to establish a claim for denial of medical care by

                                                                                        Page 22 of 29


                                                                                                071
                                                                                Plaintiffs' Appendix 145
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 146 of 295 PageID 469




  a jailer, he must show denial of reasonable medical care not reasonably related to a
  legitimate governmental objective. Thomas v. Kippermann, 846 F.2d 1009 (5th Cir. 1988).

          A police officer's violation of departmental policy in failing to remove the belt of a
  prisoner who later hung himself, did not rise to a level of "constitutional deprivation" that
  might support a Section 1983 claim, as there was nothing in the prisoner's behavior to alert
  the officer to the prisoner's suicidal tendency. Gagne v. City of Galveston, 671 F. Supp.
  1130 (S.D. Tex. 1987), affirmed, 851 F.2d 359 (5th Cir. 1989).

         In Martin v. Harrison County Jail, 975 F.2d 192 (5th Cir. 1992), a guard's assault on
  a prisoner who was cutting his wrist in a suicide attempt did not involve unconstitutionally
  excessive force, where the prisoner did not allege how many times he was struck, whether
  the blows were significant, or how many people hit him. Guards are obligated to prevent
  a prisoner from committing suicide, and some force was called for in that case. /d.

  K.     Freedom Of Religion

         1.     General Rule

         It is axiomatic that inmates may not be deprived of their right to worship as they so
  choose, given reasonable and necessary governmental reasons to the contrary.
  Consequently, for any religion recognized as such, an inmate may worship as he sees fit.
  However, the Courts have drawn the line at smoking "gonja," dancing with snakes, and
  other unreasonable actions.

         2.     Designation of Affilitation

         Consequently, it has been held that if prison or jail regulations require inmates to
  designate themselves members of a particular religious group, such as Muslim inmates, the
  prison or jail may seize and discard religious paraphernalia. Caffey v. Johnson, 883 F.
  Supp. 128 (E.D. Tex. 1995). Indeed, in Caffey, since the inmate did not designate himself
  as a Muslim in accordance with prison regulation stating that only those prisoners who
  designate themselves with particular religious groups may possess religious paraphernalia,
  the inmate's handkerchief with his Islamic prayer on it and Islamic papers were contraband
  and it was not unreasonable for a prison officer to seize and discard these items, and,
  therefore, the officer was entitled to qualified immunity for purposes of inmate's Section
  1983 action. /d.

         3.     Grooming Policy

          Inmates have challenged TDCJ's grooming policies on the ground that they violated
  their free expression of religion as guaranteed under the Free Exercise Clause of the First
  Amendment. Specifically, they have argued that jail policies are unconstitutional if they do
  not allow beards. Wearing beards is an accepted means of expressing religious devotion
  for Muslims, and the Fifth Circuit dealt with the issue of prisoners wearing beards on a
  number of occasions. Most notably, in Powell v. Estelle, 959 F .2d 22 (5th Cir.1992), we

                                                                                   Page 23 of 29


                                                                                           072
                                                                           Plaintiffs' Appendix 146
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 147 of 295 PageID 470




  rejected a challenge to a prison policy forbidding long hair and beards, finding the policy to
  fall within the discretion granted to prison officials for legitimate penological reasons.
  Green v. Polunsky, 229 F.3d 486, 489 (5th Cir. 2000). We have not yet addressed the
  specific issue of short beards, raised here by Khidar, but other Circuits have done so. /d.
  Every Circuit that has considered the issue of short beards under similar circumstances has
  upheld the prison grooming policies- and the Fifth Circuit joined them, convinced by the
  logic of their opinions. /d., see, e.g., Hines v. South Carolina Oep'tofCorrections, 148 F.3d
  353, 358 (4th Cir.1998); Harris v. Chapman, 97 F.3d 499,504 (11th Cir.1996); Friedman
  v. Arizona, 912 F .2d 328, 332 (9th Cir.1990).

  L.     First Amendment - Publications and Mail

         Subject to certain reasonable and necessary limitations, inmates may read what they
  wish to read. Along these lines, a county jail's "publisher only" rule, requiring that all
  magazines and books received by inmates must be sent directly from the publisher's
  authorized distributor, does not violate a prisoner's civil rights. Wagner v. Thomas, 608 F.
  Supp. 1095 (E.D. Tex. 1985). Allowing an inmate's family or friends to provide reading
  materials is a good way for the inmate to smuggle contraband and also takes up a
  tremendous amount of time for corrections officials to search. A microdot of L.S.D. ("acid")
  can easily be hidden in a magazine or other publication.

          Additionally, it has been held that state prison officials do not act outside the scope
  of their qualified immunity from an inmate's federal civil rights action for allegedly violating
  free speech rights by suppressing distribution of a revolutionary publication within the prison
  system by failing to extricate the portions found threatening to prison security and allowing
  the remainder to be distributed. Hernandez v. Estelle, 788 F.2d 1154, rehearing denied,
  793 F.2d 1287 (5th Cir.1986).

          The First Amendment rights afforded pretrial detainees are the same as those
  afforded convicted inmates. 0/adipupo, 104 F.Supp.2d 626; See Bell, 441 U.S. at 545, 99
  S.Ct. at 1877. Before a prison may infringe on the First Amendment rights of its inmates,
  it must show that any restriction on prisoners first amendment rights is reasonably related
  to a legitimate penological interest. 0/adipupo, 104 F.Supp.2d 626; see Turner v. Safley,
  482 U.S. 78, 84, 107 S.Ct. 2254, 96 L.Ed.2d 64 (1987). To determine whether the jail's
  policy of excluding sexually explicit material "is reasonably related to legitimate penological
  interests," and therefore valid, the Courts must consider four factors: (1) whether there is
  a valid, rational connection between the policy and the legitimate governmental interest put
  forward to justify it; (2) whether there are alternative means of exercising the right; (3)
  whether the impact of accommodating the asserted constitutional right will have a significant
  negative impact on prison guards, other inmates and the allocation of prison resources
  generally; and (4) whether the policy is an "exaggerated response" to the jail's concerns.
  0/adipupo, 104 F.Supp.2d 626; see id. at 89-90,482 U.S. 78, 107 S.Ct. 2254, 96 L.Ed.2d
  64.

         Under the Fifth Circuit's law, enunciated in Guajardo, 580 F.2d at 762, before
  delivery of a publication may be refused, prison administrators must review the particular

                                                                                     Page 24 of 29


                                                                                             073
                                                                             Plaintiffs' Appendix 147
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 148 of 295 PageID 471




  issue of the publication in question and make a specific, factual determination that the
  publication is detrimental to prisoner rehabilitation because it would encourage deviate,
  criminal sexual behavior. Montana, 659 F.2d at 20-23. Censorship may not proceed
  according to the whims of the prison administrators. /d.

         1.      Censorship of Mail

          A pretrial detainee's first amendment rights may be violated when incoming or
  outgoing mail to licensed attorneys, courts, and court officials is searched or censored.
  Montana, 659 F.2d at 20-23; Guajardo, 580 F.2d at 758-59. Non-legal outgoing and
  incoming mail may be searched for contraband and censored for legitimate penological
  reasons. Incoming or outgoing legal mail may be opened and viewed in the presence of
  the inmate if the jail has specific articulate facts to believe that the legal mail is a "sham,"
  is being used to smuggle contraband, or for other specified legitimate penological purposes.

  M.     Cause Of Action For State Created Danger

         A Plaintiff seeking to recover based on a theory of "state created danger" must show
  that the State actor's increased the danger to the Plaintiff and that the State actors acted
  with deliberate indifference. Piotrowski v. City of Houston, 51 F.3d 512 (5th Cir. 1995).

          This is a theory that is in flux right now, in 2004, the Fifth Circuit clearly stated that
  this court had neither adopted nor rejected the state-created danger theory. Priester v.
  Lowndes, 354 F.3d 414, 422-23 (5th Cir. 2004); McKinney v. Irving Ind. Sch. Dist., 309
  F.3d 308 (5th Cir.2002); McClendon v. City of Columbia, 285 F.3d 1078 (5th Cir.2002).
  Under the state-created danger theory, a state actor who knowingly places a citizen in
  danger may be accountable for the foreseeable injuries that result, the Fifth Circuit
  assumed in 2004 that section 1983 liability may arise when: (1) the state actors created or
  increased the danger to the plaintiff; and (2) the state actors acted with deliberate
  indifference. Priester, 354 F.3d at 422-23; McKinney, 309 F.3d 308; see also Piotrowski,
  51 F.3d 512.

         In order for Section 1983 liability to be imposed on a theory of State created danger,
  the environment created by the State actor must be dangerous, he or she must know it is
  dangerous, and he or she must have used their authority to create an opportunity that would
  not otherwise have existed for a third party's crime to occur, ie, Defendants must have been
  at least deliberately indifferent to the plight of the Plaintiff. Johnson v. Dallas Independent
  School District, 38 F. 3d 198 (5th Cir. 1994).

  N.     Claims for Sex in Jail

         The Fifth Circuit's Opinion in Scott v. Moore, 114 F.3d 51, 54-55 (5th Cir. 1997),
  makes clear that to prove an underlying constitutional violation in an individual or episodic
  acts case, including sex with an inmate, a pre-trial detainee must establish that an official
  acted with subjective deliberate indifference. /d. Once a detainee has met this burden, he
  or she has proved a violation of her rights under the Due Process Clause. /d. To succeed

                                                                                       Page 25 of 29


                                                                                               074
                                                                               Plaintiffs' Appendix 148
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                           Page 149 of 295 PageID 472




  in holding a municipality accountable for that due process violation, however, the detainee
  must show that the municipal employee's act resulted from a municipal policy or custom
  adopted or maintained with objective deliberate indifference to the detainee's constitutional
  rights. /d.; see Farmerv. Brennan, 511 U.S. 825,841,114 S.Ct. 1970,1981,128 L.Ed.2d
  811 (1994) ("It would be hard to describe the Canton v. Harris, 489 U.S. 378, 109 S.Ct.
  1197, 103 L.Ed.2d 412 (1989) understanding of deliberate indifference, permitting liability
  to be premised on obviousness or constructive notice, as anything but objective."). In the
  case of a sexual assault or even admitted sex between a jailer and an inmate, there is never
  any doubt that the constitutional violation complained of was committed with subjective
  deliberate indifference to that detainee's constitutional rights. Scott, 114 F.3d at 54-55.
  The next determination is whether the governmental entity can be held accountable. Scott,
  114 F .3d at 54-55. Under Hare, as the Fifth Circuit has stated, this latter burden may be
  met by putting forth facts sufficient to demonstrate that the predicate episodic act or
  omission resulted from a municipal custom, rule, or policy adopted or maintained with
  objective deliberate indifference to the detainee's constitutional rights. Scott, 114 F.3d at
  54-55; see Grabowski, 79 F.3d at 479 (citing Hare, 74 F.3d at 649 n. 4). Most recently, the
  Supreme Court has reminded us that for purposes of liability under § 1983, " 'deliberate
  indifference' is a stringent standard of fault, requiring proof that a municipal actor
  disregarded a known or obvious consequence of his action." Board of County Comm'rs v.
  Brown, 520 U.S. 397, 117 S.Ct. 1382, 1391, 137 L.Ed.2d 626 (1997).

  0.      Female Guards Supervising Male Inmates

          In Oliver v. Scott, 276 F.3d 736, 746-47 (5th Cir. 2002), the Fifth Circuit noted that
  the Fifth Circuit, in an unpublished but precedential opinion, 3 and several other courts of
  appeals have reached the same conclusion regarding cross-sex surveillance, 4 i.e., that
  female guards can view male inmates in shower type situations.




           3
             Barnett v. Collins, 940 F.2d 1530 (5th Cir.1991) (table) (unpublished) (upholding use of female
   guards in guard towers giving full view of male inmates taking showers).

           4
               Johnson, 69 F.3d at 147 (Easterbrook, J.) ("If only men can monitor showers, then female guards
   are less useful to the prison; if female guards can't perform this task, the prison must have more guards on
   hand to cover for them."); Timm v. Gunter, 917 F .2d 1093, 1101-02 (8th Cir.1990) (explaining that constant
   visual surveillance by guards of both sexes is a reasonable and necessary measure to promote inmate
   security); Michenfelder v. Sumner, 860 F.2d 328, 334 (9th Cir.1988) (stating that espisodic and casual
   observation of male prisoners by female guards is justified by security concerns); Grummett v. Rushen, 779
   F.2d 491,496 (9th Cir.1985) (stating that "[t]o restrict female guards from ... occasional viewing ofthe inmates
   would necessitate a tremendous rearrangement of work schedules, and possibly produce a risk to both
   internal security needs and equal employment opportunities"). Many courts have identified protecting female
   prison guards' constitutional and statutory rights to equal employment opportunities as a legitimate penological
   objective. E.g., Johnson, 69 F.3d at 147-48; Timm, 917 F.2d at 1102; Forts v. Ward, 621 F.2d 1210, 1217
   (2d Cir.1980). We do not need to reach the issue, because we conclude that the policy furthers the jail's
   interest in promoting security.



                                                                                                   Page 26 of 29


                                                                                                            075
                                                                                          Plaintiffs' Appendix 149
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 150 of 295 PageID 473




           In Letcher v. Turner, 968 F.2d 508 (5th Cir.1992), the Fifth Circuit held that the mere
  presence of female officers during a strip search of prisoners during emergency
  circumstances did not violate the Fourth Amendment. See id. at 510 (emphasis added);
  Moore v. Carwell, 168 F.3d 234,236-37 (5th Cir. 1999). "A prisoner's rights are diminished
  by the needs and exigencies of the institution in which he is incarcerated. He thus loses
  those rights that are necessarily sacrificed to legitimate penological needs." Elliott v. Lynn,
  38 F.3d 188, 190-91 (5th Cir.1994); Moore, 168 F.3d at 236-37. However, "searches and
  seizures conducted of prisoners must be reasonable under all the facts and circumstances
  in which they are performed." United States v. Lilly, 576 F.2d 1240, 1244 (5th Cir.1978);
  Moore, 168 F.3d at 236-37. We must balance the need for the particular search against
  the invasion of the prisoner's personal rights caused by the search. See Elliott, 38 F.3d at
  191 (citing Bell, 441 U.S. at 558); Moore, 168 F.3d at 236-37. We must consider the
  "scope of the particular intrusion, the manner in which it is conducted, the justification for
  initiating it, and the place in which it is conducted." Bell, 441 U.S. at 559; Moore, 168 F.3d
  at 236-37.

  P.     Retaliation

          It is well established that prison officials may not retaliate against an inmate because
  that inmate exercised his right of access to the courts. McDonald, 132 F.3d at 230-31;
  Woods v. Smith, 60 F.3d 1161, 1164 (5th Cir.1995), cert. denied, 516 U.S. 1084, 116 S.Ct.
  800, 133 L.Ed.2d 747 (1996). To prevail on a claim of retaliation, a prisoner must establish:
  (1) a specific constitutional right; (2) the defendant's intent to retaliate against the prisoner
  for his or her exercise of that right; (3) a retaliatory adverse act; and (4) causation.
  Causation requires a showing that "but for the retaliatory motive the complained of incident
  ... would not have occurred." McDonald, 132 F.3d at 230-31; Johnson, 110 F.3d at 310
  (quoting Woods, 60 F.3d at 1166), cert. denied, 522 U.S. 995, 118 S.Ct. 559, 139 L.Ed.2d
  400 (1997).

  Q.     Trustee Status, Lack of Education/Work Opportunities

  The Constitution does not mandate educational, rehabilitative, or vocational programs.
  0/adipupo, 104 F.Supp.2d 626; see Beck v. Lynaugh, 842 F.2d 759, 762 (5th Cir.1988)
  (citing Newman v. State of Alabama, 559 F.2d 283,292 (5th Cir.1977), rev'd in part on other
  grounds sub nom., Alabama v. Pugh, 438 U.S. 781, 98 S.Ct. 3057, 57 L.Ed.2d 1114
  (1978)). Further, a plaintiff has no right to a job in the prison or to any particular job
  assignment. 0/adipupo, 104 F.Supp.2d 626; see Ingram v. Papalia, 804 F.2d 595, 596
  (10th Cir.1986); Garza v. Miller, 688 F.2d 480, 485 (7th Cir.1982); Fuller v. Rich, 925
  F.Supp. 459,462 (E.D.Tex.1995).

  R.     Arbitrary Punishments Of A Complete Cellblock

  If the punishment of everyone for the violation of one is "arbitrary or purposeless" or "not
  reasonably related to a legitimate goal," it may be unconstitutional. Montana, 659 F.2d at
  20-23.


                                                                                      Page 27 of 29


                                                                                              076
                                                                              Plaintiffs' Appendix 150
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 151 of 295 PageID 474




  S.      Radio and Television Access

          Claims relating to the usage of radio and television have all been properly dismissed
  as frivolous. These claims do not pertain to federal constitutional rights. Montana, 659 F.2d
  at 20-23; See Lovern v. Cox, 374 F.Supp. 32, 34 (W.D.Va.1974).

  T.     Telephone Access

        The Fifth Circuit and district courts in the Fifth Circuit have guarded against
  unreasonable restrictions on telephone use. Montana, 659 F.2d at 20-23; see Feeley v.
  Sampson, 570 F.2d at 374, and cases cited therein.

                                      IV.
              THERE IS NO STATE LAW COUNTERPART TO 42 U.S.C. § 1983

         There is no Texas counterpart to§ 1983, and there is no cognizable state law action
  for damages for the alleged violation of rights guaranteed under the Texas Constitution.
  Bagg v. University of Texas Medical Branch at Galveston, 726 S.W.2d 582, 584 n.1 (Tex.
  App. --Houston [1st Dist] 1987, writ ref'd n.r.e.); Gillum v. City of Kerrville, 3 F.3d 117 (5th
  Cir. 1993), cert. denied, 114 S. Ct. 881 (1994). Consequently, while some Plaintiffs may
  attempt to assert claims that sound under the Texas Constitution in Texas Courts, claims
  for damages are not actionable under the Texas Constitution, because there is no enabling
  statute under Texas law equivalent to Section 1983.


                                                  v.
                            THE PRISON LITIGATION REFORM ACT

           The Congress of the United States adopted the Prison Litigation Reform Act
  specifically to address the overwhelming number of frivolous inmate lawsuits which are
  inundating the Federal Court. The primary portion of the Act requires that inmates show
  that they are truly in forma pauperis before they will be allowed to file their pleadings at
  either the District or Appellate Court level. Under the Prison Litigation Reform Act, inmates
  filing a civil appeal inform a pauperis must file an affidavit listing all assets, as well as submit
  a certified copy of his or her prison trust fund account statement for the preceding six month
  period. Jackson v. Stinett, No. 96-20720 (December 11, 1996), 1996 W.L. 714352.
  Further, the inmate must pay a filing fee upon the filing of his appeal. /d. The Prison
  Litigation Reform Acts amended requirements for informa pauperis certification applies to
  each case as it was pending on the effective date of the PLRA. Auo v. Bathey, No.
  96-30020 (Feb. 10, 1997) 1997 W .L. 52200. If the inmate fails to comply with this
  requirement, his suit will not be accepted for filing or will be dismissed. If the inmate is not
  truly a pauper, the inmate is now required to file filing fees.



                                                                                        Page 28 of 29


                                                                                                077
                                                                                Plaintiffs' Appendix 151
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 152 of 295 PageID 475




          Absent in the definition of "physical injury" in the Prison Litigation Reform Act, which
  requires a prisoner to make a prior showing of physical injury before bringing any federal
  civil action, the Fifth Circuit will be guided by Eighth Amendment standards in determining
  whether a prisoner has sustained a necessary physical injury to support a claim for mental
  or emotional suffering. Thus, an injury must be more than diminimous, but need not be
  significant. Siglarv. Hightower, No. 96-11096 (May 8, 1997), 1997 W.L. 197320.




                                                                                     Page 29 of 29


                                                                                             078
                                                                             Plaintiffs' Appendix 152
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                  Page 153 of 295 PageID 476

                                                                                           3/10/2017




                       In-Custody Death
                               RecogniUon & Respon~& to:
                                      &cllad Dtlbturn Syn~romo ;
                                     Drug & Alcohol WilhdriWII;
                                                           lnd




                Learning Objectives
     Participants should be able to identify:
       - Requirements for reporting custodial deaths
       -Types and frequencies of custodial deaths
        -Certain High Risk Physical and Behavioral
         Characteristics commonly associated with
         custodial deaths, Including:
       "Excited Delirium· (ED) A¢tated Chsotic Events.
         Drug and Alcohol Withdrawal and Suicide.




                In-Custody Death
       The effect on law enforcement:


                    Civil Liability
                       Issues




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                                                                                           079
                                                                           Plaintiffs' Appendix 153
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                 Page 154 of 295 PageID 477

                                                                                                          3/10/2017




                In-Custody Death
       The effect on law enforcement:




         Statutory Requirements
          for In-Custody Death




               Penal Code Section 39.05
     Failure to Report Death of Prisoner:
         (a) A f>eRORtommlla enolfeme ~1M pti'IOIIII r.quitld to condlld
            an lnvestlaalklnend file 1111ponby Artk:t.-49.18, CDC!o or
            Criminll P"rocedln, ancllhO penon fii>S to I!MIII;IItlhe doalh,
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             ~rt llll:lt ~or diiCIOV..... In lhtlnvuligallon .
         (to) A POf'IDil eomm1t.1111 olftn11 Wlha per.on 11 req~lred by S.aton
              501 055. Govtrnment Code, to;
               1) g;,. notlaJ of lhe death or an Inmate ancllhll perwon faft1to
                  glvto !he nota: or
               2) conducltll'linvlatlgatlon and me a report and 1118 ptflon:
                    A. Iaiit to c:onO.K:l thlllmlnUgeUOn or lie the 111pa1t, or
                    8Jalllto inelullaln the repon laclo known loIN perwon or
                      dl1covorec1 by the per1on In the lnveotlgaUOn.
         (c) An oHensa underlhiiiiCUOn II a Clou 8 miSdemeanor




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                                                                                          Plaintiffs' Appendix 154
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                     Page 155 of 295 PageID 478

                                                                                                              3/10/2017




                  Code of Criminal Procedure
                         Article 49.18
    Death In Custody:
     • a per1011 dial.
              while In the c:u.locly rila p1111ce olflcel'
                       or                                    "In lila c:uatoclyof •
            ,::: ralult cl a ptlllce cllice~• ,., ril        pNCeomc.-
                                                             IIINII1:
                       or                                    ,...anell~•
     Willie lncan:era1oe11n ajai, or c:ar.dlcnel             .,... blllclr,
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        general no later Uw! the 30th dey ellor tho
        dole Q/1 v.11ic:l'llhe peraon In CUI!Ody or lllo
                                                             ~Of~Cif·•
                                                             ~            .
        Incarcerated per1011 died.




      Jail Commission Requirements

          All in-custody deaths must be
               reported to the Texas
                Commission on Jail
           Standards within 24 hours.




          TCJS Reporting Deaths in Custody


      • email: death@tcjs.state.tx.us


      • or by calling (512) 463-5505.

            http:/lwww"lcjlltale.tx.usllndex.php?linkiD=236
                                10131/13




                                                                                                                         3
                                                                                                              081
                                                                                              Plaintiffs' Appendix 155
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                         Page 156 of 295 PageID 479

                                                                                                  3/10/2017




                    Statistics for
           In-Custody Deaths




      729 Arrest-Related Deaths 2009
       • Officer Involved HomiCides (68.2%)
       • Drug/Alcohol Intoxication (6,9%)
       • Suicides (12.9%)
       • Accidental Injuries (4%)
       • Illness or Natural Causes(4.3"1o)
       • Others!NotPspeclfied (3.3%)




     Causes of In-Custody Jail Deaths
       • Natural Causes (49.8%)
       • Suicide (33.8%)
       • Drug and Alcohol Intoxication (1.2%)
       • Accident (3.2%)
       • Homicide (2.9%)
       • Other Causes (1.9%)

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                                                                                  Plaintiffs' Appendix 156
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 157 of 295 PageID 480

                                                                            3/10/2017




             Natural Causes



           Natural Causes




        Sudden In-Custody Death



           Excited Delirium


         SUDDEN IN-CUSTODY DEATH




            Excited Delirium

        What is "Excited
          Delirium"?
                   AKA
          Agitated Chaotic Events




                                                                                       5
                                                                            083
                                                            Plaintiffs' Appendix 157
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18      Page 158 of 295 PageID 481

                                                                               3/10/2017




                      Excited Deliri urn
         Usually related to:

         • Chronic or prolonged drug use, or

         • Mental health issues.

         I    Cardio-respiratory collapse usually
              occurs within 24 hours of the onset of
                  SYRJP.Wffi8: ~H.itt Orva*-'\1




                FOCUS OF TRAINING

         You are NOT being trained to make a
         clinical diagnosis!

         You are being trained to recognize clues
         that permit you to identify high-risk
         candidates for sudden death syndrome
         (ED) .




             Four Phases Of "Excited Delirium"
         -        -
             Phase 1:       •
     '




                                                                                          6
                                                                               084
                                                               Plaintiffs' Appendix 158
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                      Page 159 of 295 PageID 482

                                                                                               3/10/2017




                     Excited Delirium
      Characterized by :
                  • Extreme agitation
                  • lncotlerence
                  • Bizarre behavior
                  • Superhuman strength
                  • High body temperature.




              How it works (we think)




          Public Perception Problems
    These deaths usually follow physical confronlallons with law
    enforcement.

     o Paln-c:ompPance techniques don'l usually wori<.

     o Multiple oflicei'S are usually present.

    o Media, Family, Society wanls someone lo blame.

    o It is easily assumed the death J~~sulted from LE use-of·force,




                                                                                                          7
                                                                                               085
                                                                               Plaintiffs' Appendix 159
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18             Page 160 of 295 PageID 483

                                                                                      3/10/2017




                    Excited Delirium
      What to do (Generally):
      •   ldenlil'y ED symptoms
      •   Quickly summon medical personnel
      •   Have adequate LE Olllcers respond
      • Allempt to de-escalate the situation, when possible
      •   Don't rush In unless absolutely necessary




                    Excited Delirium
     What to do (Generally):

     • After restraint, get the individual out of a prone
       position (side, seated upright) ASAP.
     • Immediately transport the individual to a hospital,
     •     Continue to monitor the individual while at the
          scene and during transport.




                                                                                                 8
                                                                                      086
                                                                      Plaintiffs' Appendix 160
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                            Page 161 of 295 PageID 484

                                                                                                     3/10/2017




     Sudden In-Custody Death Scenario

      •   Family member1LI18ighbor, or citizen caNs 911 to report
          blzaiT8 behavior gy an Individual.
      •   Pollee arrive Ccoirecllonal office1111n a ja.ll ueltln9} end are
          confident tile lndlvlduat will resist their etlorts ror e sara
          apprehension.
     •    When confronted, the subleet struggles forcing the offteon~
          lo use defensive tools. whlch will InclUde; OC spray,
          batons, eledronk: control device, ne<:k ho:d, etc., or ladles
          aue.h es tile SWARM
     •    The pel'$0n ia taken to the ground for handcuffing.




     Sudden In-Custody Death Scenario

     •    Officers kneolls!t on tho person for control . unUirestralnts
          llfV  applied to the person·a wriats and in some caaes tho
          ankles_
     •    He Is placed Into the rear of a patrol car or onto a gumey
          the prone position, and taken fo the station or fall,
     •    During transport or at the Iall. the person becomes calm or
          becomes unconsdous, W11h lebored or shallow breathing,
          goes Into cardiac arraat, 1111d dits even thougl'l medlcel
          iili81V11nlion was attempted.




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                                                                                                     087
                                                                                     Plaintiffs' Appendix 161
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18    Page 162 of 295 PageID 485

                                                                             3/10/2017




                     Paradigm Shift
           Struggling and resistance can
                     indicate a
              medical emergency
                    not a criminal act.




              Excited Delirium Profile
    '

          • 91-99% male.

          • Generally, between the ages of35~.

          • Person usually Involved In a struggle.

          • Death generally follows bizarre
            behavior episode, and/or the use of
            illegal drugs.

          • Geographic residence not a factor.




                    Excited Delirium
        Physical Characteristics

                                      High body
               Dilated pupils       temperature-
                                    Hyperthennia


                 Sweating               Skin
                 profusely          discoloration




                                                                                        10
                                                                             088
                                                             Plaintiffs' Appendix 162
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                       Page 163 of 295 PageID 486

                                                                                                3/10/2017




                       Excited Delirium




                       Excited Delirium
    Behavioral Characteristics
                                        o ... nithed   nn•• o1 p.in
      Replcl el>anQII in
      ll!llollonl (cry, laugh)
                                        Hillluclnltlnl
      Ditorienlod llboul ~~
      pte~. himlhorMI
                                        Relish violentrv durin&
      "Superhuman' atrength             control1nd restraint

                                        Restns ~olent!y 1fter being
                                        ri!Sinlned




                       Excited Delirium
     Behavioral Characteristics
                Saya. "I can't btllllht"      Leek of rocus. eully
                 during Of after being        dlttiKied (unable to
                    ntllnllned {may               rollow simple
                   lndJc.te breathing          dlrlldlons or ordet'a)
                        distress)


                                 Vlllon1 of grandeur
                                  ("I'm Napolean 1"1




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                                                                                Plaintiffs' Appendix 163
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18           Page 164 of 295 PageID 487

                                                                                    3/10/2017




                 Excited Delirium
     Who should be trained in recognition?
     •Patrol Deputies         •Jail Staff
     •Constables              •EMT Staff
     •Police Officers         •Hospital Staff
     •Dispatchers             •Medical
                              Examiners




                Excited Delirium
     What to do (Generally):
     • If reslraint must be used, use oveiWhelmingforce
       > Recommended officers on the scene: 6
     • After Individuals are restrained, monltorthem at
       the scene and during transport.
     • Immediately transport the Individual to a hospital
       for treatment and/or observation




            Drug and Alcohol
               Withdrawal




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                                                                    Plaintiffs' Appendix 164
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                     Page 165 of 295 PageID 488

                                                                                              3/10/2017




               Withdrawal from Drugs or
                       Alcohol
           Withdrawal happens when the body Is deprived of
           alcohol or drugs it is accustomed to getting.

           The symptoms may Include:
                 o nausea or vomiting
                 o dlantlea
                 osweatlng
                 oshaklnees
                 oanxlety




                 85"o of    Inm~tes h~ve   some
                  Subst~nce        Involvement. ..

                     What does this mean for those
                              in corredions?


                      I



          Consequences of Drug                ~nd    Alcohol
                      Abuse
    • Throughout the years, alcohol and drug withdrawal have
      been seen frequently in the corrections setting.

    • Due to many offenders being addicted to alcohol or drugs,
      and a sudden lnlenuptlon of alcohol or drug usa occurs
      when offenders are taken Into custody.

    • Correctional health cars providers and custodial staff should
      be property trained to recognize the symptoms and respond
      prompUy.




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                                                                              Plaintiffs' Appendix 165
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                           Page 166 of 295 PageID 489

                                                                                                    3/10/2017




                  Drug and Alcohol Use
     --       ---~~--------·· -~--·-
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     • From   1 ~ 18911, n\.fl\btlr of n.w ~.... ol pqKtipUon PI Ill
       rellavoro inc:reaHd by 181%
     • Of tho 5. 7 million ut.,. o1 illicil drugo alherlhan m~.
       3.8 million wo111 uolng pain 111ieva~ l~lzert, ol~n~ulanlt,
       end Hdalivoa nonoflltdic:8Uy In 2IMI
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               Alcohol Abuse Statistics
                          • 1 In 13 Americans abuseulcoho!
                          • Economic loases from alcoholism exceed
                            S185 BYUon per year
                          • It was estlmated that In 2001 , approximately
                            75,766 dealhs were attributed to the harmful
                            effects or excenfVe elcohol use.
                            In 2008, a mora recent study was done, that
                            detennlned that In 2001·2005, approxnnetely
                            79,000 deaths occurred annually that were
                            attributed to excess[Ve alcohol use.




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                                                                                    Plaintiffs' Appendix 166
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                     Page 167 of 295 PageID 490

                                                                                                                              3/10/2017




         Drug and Alcohol Statistics
      • Prescription Drugs
        M    The Centers lor Disease Control and Prevention has
             declared that prescription d1ug abuse In the U.S. Is en
             epidemic
        - Prescription opold overdose deaths have lnaeased to
          almost 17,000(2012)
        - An estimated 493,000 persons aged 12 or older used a
             presctiptton pain reliever non-medically for the first lima
             within the past 12 months, or 1350 parsons a day.




                       N«tion«l Overdose Deaths
            \lumhernf Death' frnml're~rri >!inn Dnll"'
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Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                 Page 168 of 295 PageID 491

                                                                                                          3/10/2017




           N<~tional Overdose De<~ths
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                  National Overdose Deaths
                  Numl>erof De.1ths from Cnc.1inl'

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                  National Overdose Deaths
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Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                   Page 169 of 295 PageID 492

                                                                                                            3/10/2017




                     Alcohol Statistics
     • 16.6 Million adutts have an AlCOhol use disorder
     • Nearly 88,000 people die from Alcohol related
       causes annually-makes it the 3111 leading
       preventable cause of death In the U.S.
     • Alcohol misuse problems cost the U;S. $ 223.5
       billion annually




               The Cost of Addiction
     When you look 111 the dollara and ceniJ cosl of addiction, the
       li~~~Qs   are mind boggling.
        - Twice •• m111y people dill from ak:lllllolltm every year" !H from
          molllrvehiclt acddenlt
        - AicohollniDJiicMion '- Uloclalecl wilh 40.50% af lralfic lllalilOI. 25-
          35% of nonfalllmolarvahidelrjuri", llld 84~ of rno1.
        - Alcohol Is pteMnlln nearly 50% or homlcidu eilher in !he vld         or
          lhe perpeu.!Or
        - Aleollol in1oxlclllon II Involved In 31% offiiBI ~urieo, and 23'!1. or
          complelecltulcidea.




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                                                                                                            095
                                                                                            Plaintiffs' Appendix 169
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 170 of 295 PageID 493

                                                                                          3/10/2017




               General Withdrawal
              Symptoms from Drugs
                  and Alcohol




          •Withdrawal is a physical ormental change
          that happens when the body is deprived of
          alcohol or drugs that It Is accustomedto
          getting,

          •The symptoms can last a fewdays and
          may include:
               o nausea or vomiting
               osweating
               oshaklness
               oanxiety




                        Withdrawal
     Therv erv two Msts of withdrawal symptoms.
        - The rntllst is lha amotlonal withdrawal symptoma
          produced by at\ drugs ..
           • Inmates can exparianca them whether they have
             physic:el withdrawal symptoms or not
           • These symptoms frllquantly result in suicide
             attampls.
        - The second list t. the physical withdlliWIII symptoms
          that usually oc:cur with alcohol, opiates, and
          tranquUizers.




                                                                                                     18
                                                                                          096
                                                                          Plaintiffs' Appendix 170
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18           Page 171 of 295 PageID 494

                                                                                    3/10/2017




       Emotional Symptoms of Withdrawal

      anxiety        restlessness         irritability
                           poor
     Insomnia          concentration        headaches

        depression                social isolation




      Physical Symptoms of Withdrawal
     sweating       tremors            palpitations

    racing heart        difficulty      tightness in
                        breathing       the chest
     muscle
     tension

     nausea, vomiting or diarrhea




      Dangerous WithdrawJl Symptoms
     Alcohol and tranqulllura produc:e the most dangerous
     physical wlthdi'SWIII: . - - - - - - - .




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                                                                                    097
                                                                    Plaintiffs' Appendix 171
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                             Page 172 of 295 PageID 495

                                                                                                      311012017




       Consequences of Alcohol Abuse
     • The four most common medical consequences of alcohol
       abuse are:
         - High blood pressure
         - Llvar damage
         - Red blood cell damage
         - Depression
     • One study found that 88 'M. of homicide offenderw,37 % of
       assault offenders, 57 '9!> of men and 27 ~ of women
       Involved in marital violence were drinking at the time of their
       offenae.




                    Alcohol Withdrawal

       •Symptoms of alcohol withdrawal begin
       from 4 to 12 hours after a person cuts
       down on or stops drinking

       •As the disease of alcohol dependence
       progresses, severe symptomsof
       withdrawal (called delirium tremens, ..,.
       DTs) can occur.




                 Common Withdrawal


      - -- - - -                              -·-- - -               --   -

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                                                                                      Plaintiffs' Appendix 172
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                   Page 173 of 295 PageID 496

                                                                                            3/10/2017




     Whal are Delirium Tremens (DTs)?
     • Delirium Tremens (commonly referred to as "Tha Horrors"
       •Jazz Hands", or "The Shakes") is a psychological and
       physiological reaction to the sudden disruption of
       habitual/prolonged dally alcohol or nartatlc consumption.

     • Dallrium Tremens (aka "DTs") is also referred to as
       •Alcoholic Psychosia".
     • Previously used only to describ& alcohol withdrawal
       symptoms
     • Cummtly being used es term to describe some types of
       drug withdrawal as weD




                      Who Gets DT's




     Symptoms of Delirium Tremens

     Symptoms may occur as little as 72 hou111 after the last
     drink, or sometimas not until7-10 days after the last drink.

     Symp!QI!ls lnr;lu.ds:

         •Body tramors
         •Psychological changes Include (but not limited to);
            •Confusion
            •Delirium
            •Halluclnalions




                                                                                                       21
                                                                                            099
                                                                            Plaintiffs' Appendix 173
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                    Page 174 of 295 PageID 497

                                                                                             3/10/2017




                        Symptoms con't
     Other symptoms Include~

        •Palpitellons

        •Loss of appetite

        •Pate skin

        •Sweating

        •Chest or Stomaclt Pain

        •Fever




                     Treatment for DTs

      Delirium Tremens is a medical emergency that can
      ultimately lead to death without proper treatment
      Delirium Tremens usually requires hospital
      treatment,




                     Protocols for DTs
        The following Is a protocol Implemented by Salt Lake City,
        as well as other departments;
        • Patients Identified at booking

        •   Serial CIWA(CIInlcallnstitute \NithdrawaiAssessmenl)
            exams performed twice daily

        •   Exams quantified to show variations between
            assessments and to show trvnds

        •   Very aggressive me<tical treatment lied to CIWA score




                                                                                                        22
                                                                                              100
                                                                             Plaintiffs' Appendix 174
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 175 of 295 PageID 498

                                                                                       3/10/2017




                   CHVA for DT's




                         CIVVA




          "A'"'"'Io~.._,.,.,.-   .....-lor-olcollaloncldrvgo




                         CIWA




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                                                                                       101
                                                                       Plaintiffs' Appendix 175
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                               Page 176 of 295 PageID 499

                                                                                                        3/10/2017




                        withdrawal based oo recommendations from their
                                   medical scalf or consultlnt.

      Issues such as:
                                                      how often ocreenlncs
                           the tcreonlnl fonn
                                                        1nd documented
                                                     obiCMIIIIOnl ol lnrnttes
                                  U11di
                                                     ,,. conducted willlelft
                                                             NSIOCiy


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                                                     be devo1opecf b1sod on
                         protaco\1 lor relerrel to
                           medleol peBOnnel;           local re10urces and
                                                       Input from mediul
                                                         profeu!Oneb ,




                                    CIWA
       Copies of the CIWA and ln&l111ctlons for its usa
       may be found at:




      0   ~: : ~~.:.'   ... :. ,· ·.' .. ~ ..




          What does this mean for those in
                   corrections?


       •It Is our job to make sure nothing happens to
       offenders while In custody.

       •If an offender has a history of heavy drinking
       of alcohol and then becomes Incarcerated,
       their body will begin to withdraw from the
       lack of alcohol.




                                                                                                                   24
                                                                                                        102
                                                                                        Plaintiffs' Appendix 176
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 177 of 295 PageID 500

                                                                            3/10/2017




        Suicide Detection and
              Prevention




             One suicide,
              DEMANDS
             measures to
           prevent the next
               one ••• "




                                                                                       25
                                                                             103
                                                            Plaintiffs' Appendix 177
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 178 of 295 PageID 501

                                                                            3/10/2017




               National Statistics

      • It Is the NUMBER ONE cause of death
        in jails after natural causes


      • Bate in county jails Is 9 TIMES greater
        than general population




              A Pro Active Stance
     Written Policies & Procedures containing
                - - -        -----


              Trc:Jining          Screening

                              -         -

                                  fvln111tonng




               Why officers
               need suicide
                training ...




                                                                                       26
                                                                            104
                                                            Plaintiffs' Appendix 178
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 179 of 295 PageID 502

                                                                            3/10/2017




                                                                                       27
                                                                            105
                                                            Plaintiffs' Appendix 179
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18    Page 180 of 295 PageID 503

                                                                             3/10/2017




       Factors that have an IMPACT
         • Authoritarian        • Insensitivity
         • No control           • Trauma of arrest
         • Isolation            • High-risk
         • Shame                • Knowledge
         • Dehumanizing           insufficient
         • Fears                • Training needs




            Pre Disposing Factors
      • Recent drinkingfdrugs   • Same sex rape

      • Recent loss              • Mental illness

      • Guilt or shame           • Poor health
                                • Breaking point




                                                                                        28
                                                                             106
                                                             Plaintiffs' Appendix 180
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 181 of 295 PageID 504

                                                                            3/10/2017




              Periods of High Risk
    [ First 24 hours           !Impending Release
    (Intoxication              IHolidays
    IWithdrawal                IDarkness
    {Waiting trial             IDecreased Staff
    ( Sentencing               IBad News




      Signs & Symptoms of Suicide

         • Keytimes
         • Depression/Paranoia
         • GuiiUShame
         • Threatens
         • Alcohol
         • Previous attempts




     Signs & Symptoms of Suicide

         • Agitated/aggressive
        • Hopelessness
        • Concern what will happen
        • Behavior changes
        • Sudden calmness
        • Unrealistic




                                                                                       29
                                                                            107
                                                            Plaintiffs' Appendix 181
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 182 of 295 PageID 505

                                                                            3/10/2017




      Signs & Symptoms of Suicide

         • Can't relate
         • Preoccupied with past
         • Packsup
         • Gives away stuff
         • Hurts self
         • Delusions




     Signs & Symptoms of Depression
     • Hopelessness( helplessness
     • Sadness and crying
     • Withdrawalfsilence
     • Loss of appetite
     • Pessimistic attitude
     • Insomnia or excessive sleep
     • Moody




         The Most Important Factor in
             Suicide Prevention:


              A well-trained

        corrections officer




                                                                                       30
                                                                            108
                                                            Plaintiffs' Appendix 182
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18            Page 183 of 295 PageID 506

                                                                                     3/10/2017




       The Basic Role of the Officer

      • Be aware of symptoms
      • Be tuned into obvious & sometimes subtle signals
      • Daily contact
      • Be empathetic
      • Don't give up
      • Non-rejecting staff saves lives




        Communication Techniques

         • Show compassion
         • Redirect inmate thoughts
         • Offer alternatives
         • Let the person talk
         • Convey that suicidal thoughts are a normal part
           of severe depression
         • Help person to identify pain




                                                                                                31
                                                                                      109
                                                                     Plaintiffs' Appendix 183
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 184 of 295 PageID 507

                                                                            3/10/2017




                    NOTE:

       Only a physician or other qualified
        professional designated by state
          law can pronounce individual
        dead. Until such time, start and
           continue first aid and CPR.




                                                                                       32
                                                                            110
                                                            Plaintiffs' Appendix 184
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 185 of 295 PageID 508

                                                                            3/10/2017




                                                                                       33
                                                                            111
                                                            Plaintiffs' Appendix 185
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18          Page 186 of 295 PageID 509

                                                                                   3/12/2017




                                Employment Issues:
     Avoiding Landmlnes When Managing Une Staff

       Including Hiring, Firing and Employee Discipline




     ~--~D~is~lahn~~
                   r ----~
         This training is designed to
      provide genera/Information about
         the subject matter covered.
       Neither TAC nor the trainers are
          engaged in rendering legal
       advice. If you need legal advice,
       TAC recommends that you seek
         the services of a competent
      attorney who Is familiar with your
              specific situation.




                  Objectives
       Discuss the top employment-related claim trends 1
                                                      -'
       Review common myths and employer mistakes


       Discuss the employee disciplinary process


       Review employee overtime deslsnatlons




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                                                                                   112
                                                                   Plaintiffs' Appendix 186
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 187 of 295 PageID 510

                                                                            3/12/2017




     What Generates Employment Liability?

           Wrongful        Discrimination
          tennlnatlon

              Liability=

          Retaliation      Other employment
                             related clahns




      MYTHS AND MISTAKES




            I can ask applicants
             anything I want to
                   know.




                                                                                       2
                                                                            113
                                                            Plaintiffs' Appendix 187
Case 6:18-cv-00015-C Document
                      (       27-1 Filed 12/04/18              Page 188 of 295 PageID 511

                                                                                       3/12/2017




      Walt .•
      Interview questions must be job related. Stay clear of
      questions that reveal:




            I heard about "at-will",
                  and I can fire
               everybody with no - - •
                 consequences.




    Walt••
     You cannot fire employees for an Illegal reason:

             Pr()\Pcted '>ldtLJs
              twcler fedcJI,         eX( lliSiflg   lf'[3dl
           st3tP, or lnrdl ldi'J5         light<
               or otatutf's




                ... don't forget unemployment/




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                                                                                       114
                                                                       Plaintiffs' Appendix 188
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 189 of 295 PageID 512

                                                                             3/12/2017




        TEXAS Common Law Protections


       • Witness for another employee
       • Filing valid worker's comp claim
       • Filing a wage and hour claim
       • Filing a claim with the EEOC




          Discharge Documentation
      • Texas Wor1<force Commission requires
      facts.
      • Claim may be filed a year after
        separation.




      I love that my employees are so


                                    __...
        comfortable with each other,
        have laid back behaviors, and
             tell the best "jokes".




                                                                                       4
                                                                            115
                                                            Plaintiffs' Appendix 189
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                             Page 190 of 295 PageID 513

                                                                                                      3/12/2017




    But Wait ..
    Employees have protection from "hostile
    environments" in the workplace. The EEOC will
    be happy to come and Investigate.
                                         :~(' t 1.'ti"Y   r:f nff   cc·I~JI
      Don't ollow 111 )f)propr ,,u,   ;DI•l'S, il p.lltl"ll uf 11.11
               hvhriVIDf              do\'Jf\S or thrPCltll ~J~1S! 1 ,j
                                      ''I ,-ny prl!tl Ctl•.l·,t,llllo




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                                                                                                      116
                                                                                      Plaintiffs' Appendix 190
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 191 of 295 PageID 514

                                                                                       3/12/2017




              Keeping a Lid on Liability

     ./ Comply with federal        ./Treatemployees
          and state laws               consistently (fairly)




     ./ Develop romp/ian!          ./ Have specffic snd
     employment policies and          valid documented
           procedures                f.Uil!lli for actions
                                        and decisions




                           Questions




        "Policy, Custom or Practice"
        POLICY VS. LIABILITY




                                                                                                  6
                                                                                       117
                                                                       Plaintiffs' Appendix 191
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 192 of 295 PageID 515

                                                                                        3/12/2017




                 I like our county
               policy manual to be
               vague-- it helps me
                  with flexibility.                    ~




    Remember I'IJ!h no wntten. consJs\enlly appl1cd pol1c1es
    you 're only as WJOd as your worst superv1sor or wor~t
    ernp :oyee


    A 'Noll 1%\ten emD'oyee pol1cy manual1s an :mportan\
    defense rn employment litigation.


    Practice is pol1cy - your written pol1cy needs to refiect
    your practice




                    Liability Concerns

        Where do most 1983 suits occur?
           Jail Claims
           •Sexual Misconduct
           •Use of Force
           •Custodial Death/Suicide
           •Denial or Lack of Adequate Medical Care




                                                                                                   7
                                                                                        118
                                                                        Plaintiffs' Appendix 192
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                            Page 193 of 295 PageID 516

                                                                                                     3/12/2017




                         CRITICAL TASK
                      MODEL POLICIES

       Available at no cost to a/1254 Texas Sheriffs
                                                             Provided by;
              Texas Association of Counties- RJsk Management SII!Vice$
              PeriiiO!lld with, Legal & Uabifity Risk MMagement lnstiliJie

                                               Endor5ed by SAT & JPCA




     lnatructlons to Access Model Policies & Procedures

     Goto:   www.llrmlpolicies.com/texas/            4


     Click on "PoHcles & Procedures Login"

     Enter password: TXPollcln




      www.llrmipolicies.com/texas/




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                                                                                                     119
                                                                                     Plaintiffs' Appendix 193
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 194 of 295 PageID 517

                                                                            3/12/2017




        Password: "TXPolicies"



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                Questions




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                                                                            120
                                                            Plaintiffs' Appendix 194
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 195 of 295 PageID 518

                                                                            3/12/2017




       DISCIPLINE AND THE
       DOCUMENTATION PROCESS




       Why is Discipline Important...


            The primary goal of
           discipline is to correct
            wrong behavior, not
           punish the employee.




       Common Employee Problems ...

     •Attitude
     •Attendance
     •Anger
     •Performance Problems- expectations, skills,
     conflict
     •Performance Problems- health, family, child
     care




                                                                                       10
                                                                            121
                                                            Plaintiffs' Appendix 195
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 196 of 295 PageID 519

                                                                                         3/12/2017




       Determining Appropriate Discipline
      Sufficiency of discipline should be based on:
     •Harm caused or seriousness of the misconduct?
         "' Acddent or miS\ake vs lnlllllllonal bid behav lor?
        "' lnapproprlale joke, alur, ema1n
        .t   Hostile, angry or violent?

     •Employee's work history and disciplinary record
     •TIMING -retaliation, discrimination...
     •CONSISTENCY OF DISCIPLINARY ACTION




                    I don't keep too
                   many records on
                   employees. I am
                   concerned abo~
                      their privacy. ~




                                                                                                    11
                                                                                         122
                                                                         Plaintiffs' Appendix 196
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                            Page 197 of 295 PageID 520

                                                                                                     3/12/2017




     But Wait ..
        There Is often confusion among employers
           concerning the legal requirements for
         recordkeeping and retention of employee
       files and other employment-related records
         based on federal and state requirements.

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                                 1
                                   nnJ;, L'111P'flynu~nt I·CJ v\lorl<(>r~/
       ( umpPI1JJ:I.;.Hl ,   Tt,)o. R<'l (JrlJS, f) 1yrull . =-!\.11/\ ,
       cnlplcyccs ElPnpfJt fll'c urds




                 I don't like to write
                anything down about
                    my employees.




    Walt••
       Documentation of Issues Is Important to win
       unemployment and employment lawsuits.
       For documentation to stand you need It to be:

                    Wrctten 111 a
                      linltly                        loc.tual
                     ma 1111121




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                                                                                     Plaintiffs' Appendix 197
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18            Page 198 of 295 PageID 521

                                                                                     3/12/2017




                   Liability Control


      • Treat all employees consistently and fairly
      • Investigate the allegation of wrongdoing.
      • Have specific and valid work-related
        reasons for actions and decisions
      • Document those reasons
          Document, Document, Document!




               Types of Discipline ...




      Compelled Employee Statements

     • Most agencies have policies that require
       employees cooperate fully with internal
       investiga1ions" Do you?
     • Threat of disciplinary action is commonly given for
       an employee's failure to fully cooperate.
     • Lack of full cooperation may include refusal to
       provide answen; or known information, intentional
       errors. omissions or falsifications.




                                                                                                13
                                                                                     124
                                                                     Plaintiffs' Appendix 198
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 199 of 295 PageID 522

                                                                                       3/12/2017




         Garrity Warning to Employee

     • Garrity v. Now Jorsey does not prevent compeUlng
       cooperation or taking disciplinary action when the
       Information is compelled.

     • Garrity protects employees from having compelled
       information used against them In crfmlnal proceeding.

     • Nothing In Ganity precludes an employee from giving a
       true voluntary statement (Mi111nda Warning).




      Follow Proper Disciplinary Process

       Government Code, Ch. 614.023 (a) applies to
        deputies & jailers that have complaints filed
        against them. It contains a specific process.

         (b) Disciplinary action may not be taken
         against the officer or employee unless a copy
         of the signed complaint is given to the officer
         or employee.




                                                                                                  14
                                                                                       125
                                                                       Plaintiffs' Appendix 199
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 200 of 295 PageID 523

                                                                            3/12/2017




      FLSA, OVERTIME AND THE
      207(K) PROVISION




          The FLSA establishes:
            •minimum wage
              •overtime and
       •recordkeep/ng standards
       affecting employees In the
       private sector and Federal,
             State, and local
              governments.




                                                                                       15
                                                                            126
                                                            Plaintiffs' Appendix 200
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                      Page 201 of 295 PageID 524

                                                                                               3/12/2017




               Employee Classifications




                                 · • tim $4551i,eekly
         ! Exen~pt
         I
                                Ovef1lme provisions or lhe
                                FLSA do oot apply

    EIIICtld ol'llclals a11 not cantldend "employees" under tht Act.




                         Tour Of Duty



                   The time an employee is
                  considered to be on duty for
                    purposes of determining
                      compensable time.




             Compensable Work Hours?

       Integral pra- and                Driving county car
      post-duty activities              to and from work

     Meal or rest periods                  "On call" time

       Attending trainings, lectures and meetings




                                                                                                          16
                                                                                                127
                                                                               Plaintiffs' Appendix 201
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                    Page 202 of 295 PageID 525

                                                                                                             3/12/2017




              207(k) Maximum LE Work Periods
                              ~      CF. ft._j53 .2J_Q




    I
            Overtime for Non-Law Enforcement

        ,      • Dispatchers
     . ~ • Clel1<s/Secretaries
    • }.\- • Janilors and
             Maintenance
             Worlters
           • Civilian Food or
             Commissary
             Service Worlters
    An lljefii)'~INI 111M 511111,01o)ftl.l!llwenilmtlllnl""''bt fiempllrum Mlt*nf,




               Work Schedule Example
               I       I         I         I       I        I        '




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                                                                                                             128
                                                                                             Plaintiffs' Appendix 202
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                         Page 203 of 295 PageID 526

                                                                                                                  3/12/2017




          Compensatory Time Accruals




          Retiring Compensatory Time



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                                       tC:l GI O... UIJ'   Jl ILl'~   tnd. ill   p~1! C




                               Time Keeping
     Employers may use any timekeeping method they
     choose, but II MUST be accurate and complete for
     each non-exempt employee.

     Records must be kept at the place of employment or
     central records ofice.

     Records must be kept for at least 3 years and are
     open for DOL Inspection.


       """
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                                       '   '   ...


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                                                                                                                  129
                                                                                                  Plaintiffs' Appendix 203
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 204 of 295 PageID 527

                                                                            3/12/2017




         Not Required Per the FLSA




      EMPLOYEE ILLNESS OR INJURY




            Who needs FMLA?
          I just give employees
           time off when they
           need it... unless thev.-~.,.
              take too much.




                                                                                       19
                                                                            130
                                                            Plaintiffs' Appendix 204
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                            Page 205 of 295 PageID 528

                                                                                                                                                     3/12/2017




     But Wait••
        If your County has over 50 employees and the
        employee worked at least 1,250 hours during the
        12 months prior to starting FMLA;
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        TWCA Appli es to All Public A gen cies


                        Counties must provide
                        Workers ' Compensation
                        Coverage to all eligible
                             employees.

                                     Elected Oflldals end Volunteel"' may
        ~                                      be added to your coverage.




                                 "Course and Scope"

           Activity of any kind or character
           that has to do with and originates In
           the work, buslnns, trade or
           profession of the employer and that
           Is performed by an employee while
           engaged In or about the business
           of the employer.




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                                                                                                                                     Plaintiffs' Appendix 205
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                   Page 206 of 295 PageID 529

                                                                                                             3/12/2017




                 Salary Continuation
          TeiCH Conatltutlon, Article 3, Section 5Ze
     Applies to county law enforcement officials who are
     injured in the course oftheir official duUes. Each
     county is authorized to pay all medical expenses, al
     doctor bills and all hospital bills.
     While hospitalized or Incapacitated the county
     shall continue to pay his or her maximum salary
     until the expiration of the term of office to which
     such official was elected or appointed.




     Questions?




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                                                                                            Plaintiffs' Appendix 206
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                     Page 207 of 295 PageID 530

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                    (517)8t2.o511        .                ·- .


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            TAC RISK MANAGEMENT POOL
              Law Enforcement Consultants
        Nortb9!tt                                Soutl!!att
        ThomasKem                                Teny Pickering
        thometk@lcounty.org                      tenyp@county.org
        (512) 589-3922                            (512) 517-7197


        Southwnt                                 NorthW!!t
        DavldWhiU.                               Ga!Y Handarwon•
        davldw@county.org                        garyht)county,Orlf
        (512) 517-2547                           (512) 968-8407




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                                                                              Plaintiffs' Appendix 207
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                Page 208 of 295 PageID 531
NEWLY ELECTED Sr.cRIFF'S SESSION JAIL
ADMINISTRATION MANAGEMENT &
OPERATIONS TRAINING
March 20 - 24, 2017  Instructor Biographies


                                      Deborah Overton Bonner
                            Claims Attorney, Texas Association of Counties

Debbie joined TAC in 2012 and manages claims and litigation relating to the public officials and law
enforcement liability lines. She previously managed TAC claims with a third-party provider and has
worked in litigation management specializing in governmental claims since 1997 as well as handling
professional liability claims across the state. Debbie is licensed to practice with the State Bar of Texas,
the 5th Circuit, and the Supreme Court of the United States and is also a certified mediator. Debbie
received her JD from Texas Wesleyan University now Texas A & M University School of Law in 1995.
She received her BA from Baylor University in 1991 with a dual major in English and History. Debbie
resides in Flower Mound and can be reached at debbieb@county.org or at 972-567-9075.


                                            Maxey Cerliano
                                          Sheriff, Gregg County

Maxey Cerliano has served as sheriff of Gregg County since 2001. He started, as a Patrol Officer with
Kilgore Police Department in 1978 and rose to the rank of Assistant Chief at his departure in 2000 to
become sheriff. Maxey attended Kilgore College. Sheriff Cerliano is the recipient of numerous awards
and recognition; Outstanding Leadership Award, Supervisor of the Year, Investigator of the Year,
Outstanding Peace Officer, and Making a Difference Award for outstanding safety leadership by Texas
Association of Counties. Sheriff Cerliano is a past president of the Sheriff's Association of Texas. He
is active in local advisory boards also serving as director on many of them. He is a lifetime Longview,
Texas resident.


                                              Robert Davis
                                    Partner, Flowers Davis Law Firm

Mr. Davis received his preparatory education at Trinity University in San Antonio, Texas, where he
received a Bachelor of Science Degree in History in 1985. Mr. Davis' legal education was at Southern
Methodist University, where he graduated with a Juris Doctor Degree in 1988. Mr. Davis served as
Briefing Attorney to the Honorable Justice Sue LaGarde, 5th Judicial District Court of Appeals in Dallas,
Texas from 1988 to 1989. Thereafter, Mr. Davis was appointed as Law Clerk to United States District
Judge William M. Steger from 1989 to 1991. Mr. Davis has extensive experience in representing
governmental entities and government officials in all types of litigation. Since 1994, Mr. Davis has tried
more than 100 jury trials in state and federal court to verdict and has handled 159 appellate cases at
the United States Court of Appeals for the Fifth Circuit. Mr. Davis has spoken extensively at educational
seminars and conferences regarding issues such as liability in Texas jails and liability in law
enforcement.




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                                                                            Plaintiffs' Appendix 208
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 209 of 295 PageID 532
NEWLY ELECTED SheRIFF'S SESSION JAIL
ADMINISTRATION MANAGEMENT &
OPERATIONS TRAINING
March 20 - 24, 2017 Instructor Biographies




                                            Randy Garner
                               Professor, Sam Houston State University

         Dr. Randy Garner is a Professor of Behavioral Sciences and former Associate Dean in the
 College of Criminal Justice at Sam Houston State University. He holds a B.S., M.A., and Ph.D. in
 Psychology from the University of Houston, with specialization in the area of Social Psychology, and
 a doctoral minor in Organizational Behavior and Management. Additionally, Dr. Garner has a
 (second) Ph.D. in Theology and Religious Studies.
         Prior to moving into academia, Dr. Garner began his more than 30 years of law enforcement
 service in 1976 and has worked in all divisions and levels of command. He was appointed as the Chief
 of Police for a Houston-area agency in the mid 1980's where he was active in a variety of national,
 state, and local law enforcement organizations. Dr. Garner has taught with or is a graduate of all of the
 major police command colleges in the country, including the F.B.I. National Academy (139th), the
 Graduate Management Institute, the Leadership and Command College (LEMIT), the Institute for Law
 Enforcement Administration, and the Southern Police Institute (66th AOC; University of Louisville).
 During his police career, Dr. Garner was licensed as a Texas Polygraph Examiner, a Forensic
 Hypnotist, a Police Firearms Master Instructor, a Police Defensive Tactics Instructor, and was an FBI-
 trained Hostage Negotiator.
         Dr. Garner has been with Sam Houston State University for more than 18 years and was the
 founding Director of the Texas Regional Community Policing Institute (TRCPI) and served as the
 Executive Director of the Law Enforcement Management Institute of Texas (LEMIT) before his
 appointment as Associate Dean. Currently he serves as the Director of the Texas Police Chaplains
Association.
         Dr. Garner has received numerous academic awards and honors including the Excellence in
 Educational Instruction award in 2006, the University of Houston's 2005-2006 Distinguished Alumni
Award-the highest honor the association and the University can bestow upon an alumnus and the
Social Psychologist in Texas award in 2004.
        Dr. Garner has authored numerous books and professional publications with particular
emphasis in the areas of social influence, persuasion, and leadership. His books, Criticism
Management and Constructing Effective Criticism: How to Give, Receive, and Seek Productive and
 Constructive Criticism in Our Lives have been adopted by command colleges, leadership courses, and
communication programs across the country. Additionally, Dr. Garner is the Editor-in-Chief of Applied
Psychology in Criminal Justice, an interdisciplinary, peer-reviewed, academic journal that examines
the social and psychological aspects of human behavior as related to applied societal and criminal
justice settings.




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                                                                            Plaintiffs' Appendix 209
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 210 of 295 PageID 533
NEWLY ELECTED s.. C:RIFF'S SESSION JAIL
ADMINISTRATION MANAGEMENT &
OPERATIONS TRAINING
March 20 - 24, 2017    Instructor Biographies


                                          Shannon Herklotz
                       Assistant Director, Texas Commission on Jail Standards

Shannon Herklotz came to the Commission in January 1998 as Inspector for the South Texas region
from his position as Administrative Captain with Corrections Corporation of America's Hutto Unit in
Taylor. Prior to joining CCA, he worked at the Texas Department of Criminal Justice - Institutional
Division for six and one-half years. Mr. Herklotz began his career as a Correctional Officer at the Byrd
Unit in Huntsville, Texas, in July 1990. He rose to the rank of Lieutenant at the Stevenson Unit in
Cuero, Texas. Mr. Herklotz attended Sam Houston State University while employed with TDCJ- ID
and received a bachelor's degree in 1993. Mr. Herklotz was promoted to Assistant Director of the
Texas Commission on Jail Standards over Inspections and Jail Management on September 1, 2007.
Mr. Herklotz now has over 20 years of experience in the Criminal Justice Field.



                                       Gary Henderson
                     Law Enforcement Consultant, Texas Association of Counties

Gary joined TAC in January 2017 as a law enforcement consultant. Prior to joining TAC, Gary was a
security professional for Devon Energy. Previously, he was the Hemphill County Sheriff, serving from
2005-2011. Gary began his career in law enforcement with the Texas Department of Public Safety
and served 31 years as a Texas Ranger and Texas Ranger Sergeant. He also served as an
Investigator for the 31 51 and 223rd District Attorney's Office. Gary travelled extensively throughout the
United States on Protective Detail to then Governor, George W. Bush. Gary is Master Peace Officer,
Instructors and Firearms certified. He attended Southwest Texas State University in San Marcos,
Texas. Gary can be reached at garyh@cou nty.org or (800) 456-5974.



                                          Carmella Jones
                   Program Specialist, Correctional Management Institute of Texas

Carmella Jones joined the staff at Sam Houston State University in August 2014. Employed as a Law
Enforcement Consultant with Texas Association of Counties for 11 years, Carmella developed
numerous training programs for law enforcement and corrections personnel for a variety of topics,
focusing on liability, jail issues and wellness. Prior to joining TAC, she became the elected Sheriff of
Armstrong County and served for two terms. During her tenure as Sheriff she was appointed as a
Commissioner and acted as Vice Chair on the Texas Commission on Jail Standards. She is a lifetime
member of the Sheriff's Association and also served on the Board of Directors. Carmel Ia has been a
member of the Texas Jail Association Board of Directors as Historian since 2005. In 2008, she was
honored as a recipient of the Texas Jail Association's Hall of Fame Award and in 2009 selected to
receive the T JA President's Award. Carmella has achieved Master Peace Officer, Master Jailer
certification and is certified by the Cooper Institute as a Law Enforcement Fitness Specialist.


                                                                                            136
                                                                            Plaintiffs' Appendix 210
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 211 of 295 PageID 534
NEWLY ELECTED s.-.C:RIFF'S SESSION JAIL
ADMINISTRATION MANAGEMENT &
OPERATIONS TRAINING
March 20 - 24, 2017    Instructor Biographies


                                        Thomas Kerss
                     Law Enforcement Consultant, Texas Association of Counties

Thomas joined TAC in January 2013 as a law enforcement consultant. He began his law enforcement
career with the Tyler Police Department in 1981 and served multiple terms as the sheriff in
Nacogdoches County. Thomas is a past president of the Sheriffs' Association of Texas and holds a
Master Peace Officer's License, a Master Jailer's License and an Instructor's Certificate through the
Texas Commission on Law Enforcement (TCOLE). Thomas graduated from the FBI National Academy
 (Session 181) in Quantico, VA. and the Texas Certified Public Managers Course. He holds a B.A.A.S.
in Criminal Justice from Stephen F. Austin State University and can be reached at
thomas k@county.org or (512) 589-3922 or (800) 456-5974 ext. 3743.



                                               Chris Kirk
                                         Sheriff, Brazos County

        Chris Kirk of Bryan, Texas, has worked for the Brazos County Sheriff's Office since 1980. Kirk
began his career as a Jail Officer serving for one year, then served two years as a Patrol Deputy, 14
years as a Criminal Investigator, and elected to the Office of Sheriff in 1996. He is currently serving in
his sixth four-year term as the Brazos County Sheriff. Kirk received a bachelor's degree and a master's
degree from Stephen F. Austin State University. He is a graduate of National Sheriffs Institute, Class
of 2000. Kirk has also earned a Texas Master Peace Officer Certification .
        Sheriff Kirk has served as the Coordinator for Brazos County Crime Stoppers since November
1988. He actively participates with the Sheriff's Association of Texas; having served as their President
in 2007-2008 and is currently serving the SAT Legislative Committee. Sheriff Kirk has also served as
the President for the Western States Sheriffs' Association and is currently a member of the Board of
Directors for the Nation Sheriffs' Association . Governor Rick Perry appointed him to a 2nd six-year
term on the Texas Criminal Justice Advisory Committee on Offender with Medical or Mental
Impairment (TCOOMMI).
        In the community, Kirk has served as the President for the Sexual Assault Resource Center;
the former District Chairman of the Arrowmoon District of the Sam Houston Area Council of the Boy
Scouts of America ; and currently serves as the President of Board of Directors for Scotty's House
Children's Advocacy Center.
        Member of Bryan Noon Lions Club and was awarded the Lions Club 2007 Citizen of the Year.
2007 Public Elected Official of the Year I awarded by Texas Chapter of National Assoc. of Social
Workers. 2008 "Community Builder" Award I awarded by the Masonic Sui Ross Lodge No. 1300. 2011
"Sheriff of the Year" awarded by the Western States Sheriffs' Association . 2013, 2015 & 2016 "Elected
Official of the Year" The Bryan /College Station Eagle Newspaper, Readers' Choice Award.
        Chris Kirk has been married to Sheryl for 23 years; they have 5 children & 17 grandchildren.




                                                                                            137
                                                                            Plaintiffs' Appendix 211
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 212 of 295 PageID 535
NEWLV ELECTED S• .C:RIFF'S SESSION JAIL
ADMINISTRATION MANAGEMENT &
OPERATIONS TRAINING
March 20 - 24, 2017    Instructor Biographies



                                           Stan Lewiecki
                           Claims Attorney, Texas Association of Counties

Stan joined TAC in 2014 and manages claims and litigation relating to the public officials and law
enforcement liability lines. Before joining TAC, Stan managed claims for a third-party administrator
beginning in 2002, and was a trial lawyer for Allstate Insurance Company from 1997- 2001. Stan has
worked in litigation management since 2002, specializing in governmental claims, professional liability
claims, and claims against privately operated prisons. Stan is licensed to practice law with the State
Bar of Texas and the U.S. District Court for the Northern District of Texas. In addition, he is licensed
as a property-casualty adjuster by the Texas Department of Insurance. Stan received his JD from the
University of Texas School of Law in 1993, and his BA from the University of Texas in 1989, majoring
in Psychology with a minor in Government. Stan resides in Arlington and can be reached at
stanl@countv.org, or at 512-743-4426.



                                        Terry Pickering
                     Law Enforcement Consultant, Texas Association of Counties

       Terry joined TAC in June 2016 as a law enforcement consultant. Prior to joining TAC, Terry
was the Bastrop County Sheriff, elected in 2008 and re-elected to a second term in 2012. Prior to
becoming Bastrop County Sheriff, Terry retired from the Travis County Sheriff's Office after 28 years
of services. He is the recipient of several service awards, including a Commendation for his response
to an emergency plea from Federal ATF agents at the Mount Carmel siege in Waco, Texas in
1993. Terry is a graduate of the Leadership & Command College of the Law Enforcement
Management Institute of Texas, the FBI National Academy, the Drug Enforcement Administration's,
Drug Unit Commanders Academy, and the National Sheriff's Institute. He holds a Master Peace
Officer and Law Enforcement Instructor's license. He can be reached at terryp@county.org or (800)
456-5974, ext. 3481

                                           Dennis Wilson
                                      Sheriff, Limestone County

        Limestone County Sheriff Dennis D. Wilson began his 40th year in Law Enforcement in July
2015. His career in Law Enforcement began 1975 as a Deputy Sheriff with the Limestone County
Sheriff's Office. In November 1999, Sheriff Wilson served as a District Attorney Criminal Investigator
for the Limestone County District Attorney Office. On January 1, 2001, he began his 1st elected term
as Sheriff of Limestone County, Texas. On January 1, 2017, Sheriff Wilson began serving his 5th term
as Sheriff.
       Sheriff Wilson graduated from the Heart of Texas Council of Government Police Academy in
1976. He is a 1973 graduate of Groesbeck High School and attended Cisco Junior College and
Navarro College where he earned an associate degree in education . He obtained his Master Peace
Officer certificate in 1994. He has over 4402 hours of continued education with the Texas Commission
on Law Enforcement. Sheriff Wilson also holds an Instructors Certificate from TCOLE.
                                                                                          138
                                                                          Plaintiffs' Appendix 212
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18            Page 213 of 295 PageID 536
NEWLY ELECTED St •.:RIFF'S SESSION JAIL
ADMINISTRATION MANAGEMENT &
OPERATIONS TRAINING
March 20 - 24, 2017    Instructor Biographies
       Dennis Wilson continued

        As of July 2016, Sheriff Wilson serves as the President of the Sheriff's Association of Texas.
Sheriff Wilson serves on the Legislative Committee and Jail Advisory Committee for the S.A.T. In 2013
Sheriff Wilson was appointed by Governor Rick Perry to serve as a Commissioner on the Board for
the Texas Commission on Jail Standards representing the rural Sheriffs in our state. Sheriff Wilson
currently serves as Chairman of the Board for the Texas Council of Community Centers Board. Sheriff
Wilson also serves on the H.O.T.R.M.H.M.R. Board of Directors. Sheriff Wilson has a great passion
in helping improve mental health services all across Texas. He also proudly works with the staff at
Sam Houston State University Correctional Management Institute of Texas, working on educational
training for all Texas Law Enforcement and Correctional Officers.


                                          Brandon Wood
                      Executive Director, Texas Commission on Jail Standards

        Brandon began working with the Texas Commission on Jail Standards in 1999 as a Planner,
assisting counties in identifying jail population trends, preparing needs analyses and
developing/reviewing construction plans. Brandon served as the agency's Assistant Director from
August 2007 to October 2012 at which time he became Executive Director. Throughout his tenure
with the agency, he has assisted with administrative oversight and operations, facilitated
communications with local officials to find solutions for minimum jail standards, interacted with the
Governor's office, Legislative Budget Board, and numerous state officials regarding the functional
aspects, goals and responsibilities of the Commission and the impact on counties. Brandon is a Texas
A&M University graduate, class of 1995. Recognitions and honors include outstanding company
commander for the Navy/Marine ROTC unit and the LBJ Congressional Internship working for
Representative Bill Sarpaulis in 1993.




                                                                                         139
                                                                         Plaintiffs' Appendix 213
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 214 of 295 PageID 537




                     TAB D




                                                            Plaintiffs' Appendix 214
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                   Page 215 of 295 PageID 538


                                   IN THE UNITED STATES DISTRICT COURT
                                     FOR THE Northern DISTRICT OF TEXAS
                                             San Angelo DIVISION

 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate of Derrel• Quinton Gene Monroe
 vs.                                                                       CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws




                                                                                                                                          It
                                                              NOTICE




                                                                                                                                          I
TO: ALL PARTIES BY AND THROUGH THEIR ATTORNEY(S) OF RECORD AS PROVIDED IN THE ATTACHED
SERVICE LIST.

PLEASE TAKE NOTICE THAT ON THE 21st DAY OF September            2018       , AT THE HOUR OF
10:00 A.M., THE PRODUCTION OF DOCUMENTS AND/OR TANGIBLE THINGS BY THE CUSTODIAN OF RECORDS                                                J
                                                                                                                                          !
FOR:
Texas Association of Counties (Any & All Records)
1210 San Antonio St.
Austin, TX 78701
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will be conducted before a Notary Public, or other officer authorized to administer oaths employed by Records Deposition Service
of Texas, Inc., 2201 Main St., Ste. 1250, Dallas, TX 75201, at the deponent's address, pursuant to provisions ofFederal Rules of
Civil Procedure. A subpoena duces tecum will be issued to require the witness to produce records, books, papers, documents, and
tangible things pertaining to: see attached Exhibit "A."

This notice is given on behalf of the Plaintiff, at the instance and authorization of (his)(her)(its) counsel of record T. Dean Malone,
Esq., whose address is 900 Jackson St., Ste. 730, Dallas, TX 75202 and whose phone number is 214-670-9989. Counsel does not
propose to inteJTogate the Deponent, the proceeding being solely for the purpose of authenticating and copying the records, books,
and documents in the possession or control of the Deponent. You, of course, are we1come to appear if you so desire. If you have
any objection to the copying of the records and documents please call (214) 760-7600.

If the Deponent designated in this Notice ls an organization such as a corporation, partnership, association or government entity,
deponent-organization shall designate one or more officers, agents or other persons who can testify on behalf of the Deponent with
respect to all of the matters thereto.




Order No. 15694


                                                                                                   Plaintiffs' Appendix 215
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                             Page 216 of 295 PageID 539




      THERE WILL BE NO INTERROGATION OF THE DEPONENT BY THE UNDERSIGNED COUNSEL.


      STATE OF TEXAS )
      COUNTY OF DALLAS)

                              Lnw Offices of Dean Mnlo11e
                              T. Dean MRlone, E!q.
                              900 JaclUJon St., Ste. 730
                              Dallas, 'fX 76202


                                                                                                                                      I
                              NOTICED BYf T,     DeanMaione,-Esq.
                              24003265



                                                                                                                                      I
                                            .,gERTIFICATE OF SERVICE

         BEFORE ME, the undersigned authority, on this day personally appeared Stacy Ochoa being first duly
      sworn, on oath states that a copy of the above Notice was personally served this    09/ 10/2018          .
                                                                                                                                      I
                                                                                                                                      J


       on the above-named attorneys to whom this Notice is addressed, at the address set out in such Notice,
      the same being the last known address of such attorney, (by depositing a copy thereof, postage paid, in a
      wrapper addressed to such attorneys at such addressl or (by facsimile) or (by personal delivery of such
                                                                                                                             i
      Notice to the addressee above set for thl .                                                                            f
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      SUBSCRIBED AND SWORN before me this ,___ ,..""'·--Q.WJ0/201 8           ..


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     Ordef No. 15694

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                                                                                                  Plaintiffs' Appendix 216
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 217 of 295 PageID 540


                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE Northern DISTRICT OF TEXAS
                                         San Angelo DIVISION

 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate ofDerrek Quinton Gene Monroe
 vs.                                                        CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws


                                             LIST OF ATTORNEYS:

Jon M. Hogg, Esq.
Jackson Walker, LLP
135 W. Twohig Ave., Ste. C
San Angelo, TX 76903
325-481 -2550 Fax: 325-481-2552




Order No. 15694


                                                                           Plaintiffs' Appendix 217
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                               Page 218 of 295 PageID 541


                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE Northern DISTRICT OF TEXAS
                                           San Angelo DIVISION
 Patsy K. Cope, Individually, and Alex Isbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate of Derrel{ Quinton Gene Monroe
 vs.                                                                       CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws



                                                        EXHIBIT A

                                                      I. DEFINITIONS

    The term "records, books, papers and documents" as used herein shall include any printed, typewritten or handwritten matter
    or reproduction thereof whatever character, including without limitation, cotTespondence, memoranda, agreements, letters,
    hand or typewritten notes, tape recordings, computer nms and any codes necessary to comprehend such runs, checks, check
    stubs, bank statements, and writings of every kind and character, whether originals or reproductions.



                                           II. DOCUMENTS TO BE PRODUCED

Copies of the following for Course No. 3517, entitled "Suicide Prevention (not 3501)," taken by Mary J. Brixey on April
25, 2017 and Jessie W. Laws on April 26, 2017 through the Texas Association of Counties; syllabus, books, all course
materials, audio and video recordings, all display slides (including projector slides and PowerPoint slides), and documents
and tests completed by Mary J. Brixey and/or Jessie W. Laws.




Order No. 15694.001


                                                                                               Plaintiffs' Appendix 218
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                      Page 219 of 295 PageID 542



                                    IN THE UNITED STATES DISTRICT COURT
                                     FOR THE Northern DISTRICT OF TEXAS
                                             San Angelo DIVISION
 Patsy K. Cope, Individually, and Alex Isbell, as


                                                                                                                                       I
 Dependent Administrator of, and on Beha If of, the
 Estate of Derrel' Quinton Gene Monroe
 vs.                                                                            CIVIL ACTION NO. 6:18-CV-00015-C

 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws

STATE OF_ _ __ _ __
                                                           AFFIDAVIT                                                                   I
COUNTY OF _ _ _ _ __
                                                                                                                                       f

         BEFORE            ME,       the undersigned authority, personally appeared
(Custodian)_-=--=----:-----,---------------- who being by me duly sworn, deposed as
follows:    (Please print your name)

         1. I, the undersigned, am over twenty-one (21) years of age, of sound mind, capable of making this Affidavit, and
personally acquainted with the facts herein stated and do state that the facts in this Affidavit are true and correct

         2. I am the Custodian of Records for Texas Association of Counties and am familiar with the manner in which its
records are created and maintained by virtue of my duties and responsibilities.

          3. Attached hereto are ___ pages of records concerning Mary J. Brixey and/or Jessie W. Laws. These are the
original records or exact duplicates of the original records.

         4. It is the regular practice of Texas Association of Counties to make this type of record at or near the time of each act,
event, condition, opinion or diagnosis set forth in the record.

         5. It is the regular practice of Texas Association of Counties for this type of record to be made by, or from information
transmitted by, persons with knowledge of the matters set forth in them.

        6. It is the regular practice of Texas Association of Counties to keep this type of record in the course of regularly
conducted business activity.

         7. It is the regular practice oft he business activity to make the records.

Futther Affiant sayeth not.




                                                                           SIGNATURE OF CUSTODIAN

SUBSCRIBED AND SWORN TO before me, the undersigned authority, on this the                                                   day of




                                                                           NOTARY PUBLIC
                                                                           In and for the S_tate of _ _ _ _ _ _ _ _ __ _
                                                                           My Commission Expires: _ _ _ _ _ _ _ _ __
Order No. 15694.001




                                                                                                 Plaintiffs' Appendix 219
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                           Page 220 of 295 PageID 543



  AO 8W. (Rev, Ol/14) Subpocn~ to Produce Documents, lnformntion, or Objects nr !() Peunit lns.pccllon of ~rem!ses in a Civil ;<\elion


                                           UNITED STATES DISTRICT COURT
                                                                                             for the




                                                                                                         Civil Action No. 6:18·CV·00015.C




                           SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                             OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

  To:     Texas Assocfatlon of Counties
          1210 San Antonio Street. Austin, Texas 78701, (512) 478·8753
                                                           (Name ofperson to whom this ·~;ubpoena IS dlrrctea)

        Xl Production: YOU ARE COMMANDED to produce at the time, date, and place set fotth below the tbllowing
  aoi~UJ11le~tts,. eJ eotrl:>n!CallV
                          stored                                                            or sampling of the




   Place:
                                                                                                                                                                                       I
                                                                                                                                                                                       I

                                                                                                                                                                                       I
                                                                                                                          September 21. 2018 at 3:00 p.m.


         CJ Inspection ofPremisell'i YOU ARE COMMANDED to pe11nit entry onto the designated premises, land, or
  otl1e1· property possessed or controlled by you at the time, date, and location set fol'th below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  ·~-~~.-.-c-· _,_.-~,...._..._--~~-·-_-_··_·              . ""'
                                                              ··-=··   ~""·"'" '· ·   .• -   ~..,..._.    Date and Time;""- ··

                                                                                                                                                              .~J
                                                                                                                                                                                       I
  '~-                                                       ~~""---,~·~.........
            ·-                                                                                           '-/   ""'·' "------·

         The following provisions of Fed. R. Civ. P. 45 are atta.ched- Rule 45(c), relating to the place of coinpliance;
  Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 4S(e) and (g), relating to your duty to
  respond to tlt ';S:JTh"p:o· . 1~·:and the potential consequences of not doing so.
                                                                                                                                                       ·-·---- ··-·-r
                                                                                                                                                                                       I
                                                                                                                                                                                       I
                                                                                                                                                                                       I
  Date:    ~- . ~1 · ·~ J f5
           ....rr .. ,.-    ~


                                       CLERK OF COURT
                                                                                                                                                           ~- ·
                                                                                                                OR

                                       ~ Signature oj'Cierk or D;;;;;;t;Cierk

  The name, address, e-mail address, and telephone number of the attorney representing (name ofpr.rriJ~ . I!' ts . K•.Cj> .e                                                  ~'
               and Alex l&beD        _ .. . .           ..    . . ·==- , who issues or requests this subpoena, are::
         "''•.iji.B'Q.~Mahi'ne·, Law Offices of Dean Malone, P.C., 900 Jackson St., Suite 730, Dallas, Texas 75202
          d&'ali'®ue,DD!).UIIOn!;•Jl!m.L.~ . -~ -6.!,~:9989                                   .,_                 ··-··          ..           ... ..            .. ............... 1
                                 Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things or· th.e
  inspection of premises before tl'ial, a notice and a copy of the subpoena must be served on each party in this case before
  it is served on the person to whom it is directed, Fed. R. Civ. P. 4S(a)(4).




                                                                                                                                         Plaintiffs' Appendix 220
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                   Page 221 of 295 PageID 544



  AO 88D (Rev.      0~114)   Subpoena to Produce Docomcnts, lnf?rmali<111, or Objects (>t to   P~f~!li~-~~~ion ofl're~niscs   in a Civil ActiDn (Pose 2}

  Civil Action No. 6:18•CV.00015·C

                                                              PROOF OF SERVICE
                             (This section sltould not be filed with lite court unless required by Fed. R. Civ. P. 45.)

            I received thls subpoena for (name o.findivid!tal alld Iitle, if cmy)
                                                                                                     ·-·---~=---
  on(dme)


            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                                      on {dtrle)                                          ;   or
           ·--~-~····· ~---=::--;.......-~---·-=-=-""'::"""""'~~-~ -                                                ~-~~                  -
            IJ I returned the subpoena unexecuted because::


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            te11dered to the witt1ess the fees for one day's attendance, and the mileage allowed by law, in rhe amount of
                                                                                                                                                                          I
                                                                                                                                                                          I

            $

  My tees are$
                -            - •v-=-:-:-- -
                                                           for travel and $                                 for services, for a total of$                          0.00
                                                                                                                                                                          iI
                                                                                                                                                     ..
                                                                                                                                                      ,...-.:--~··




            I declare under penalty of perjury that tlus information is true;
                                                                                                                                                                          1

  Date:,
                                                                                                                                                                          I
                                                                                                               Server·~· ~ignalllt"e



                                                                                                             Printed 11ame and title
                                                                                                                                                                          I
                                                                      ~--~~--~.-~~·~.~----~--~
                                                                                             -- -------------~~.
                                                                                                                Server's addre.1w

  Additional information regarding attempted service, etc.:




                                                                                                                                           Plaintiffs' Appendix 221
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                                Page 222 of 295 PageID 545



  AO 888 (Rev, 02/14) Subpoena to Produce Documents, Infornmtion, or Objects or lo Permit                                        h'"pocli~~   ofl'rcrnises in a Civil Action(P_n!le 3)

                                           Federal Rule of Civil Procedure 45 (c), (d), (c), and (g) (Effective 12/1/13)
   (c) Pluce ufCompli~ncc,                                                                                              (ii) disclosing on \ll!rolltincd expert's opinion ur inforillation lhul <lues
                                                                                                                   not describe srccific occun'l:nccs in dispute und rcsulls lrom lhc UXJ!Cl1's
    (1) For a Trial, Huar/11(/, or Depos/tlou. A subpoena mny commnnd a                                            study Utot wus not requested by o p11rty,
  person to attend n trinl, hearing, or llepo~ition only as iollows;                                                  {C) ,\)~eclfj•lug Condi!inns a.~ <llf Alrerna11ve. In the elrcumstniiCU~
     (A) wllbi rt iOO mflos ofwh~n: ~1e p~l'liOn resides, is employed, or                                          dcscl"ibcd In nulc: 4S{d){3)(9), the oourl may, lnsteud of quashing or
  regularly tnms~cfs buslncsn in llerson: (ir                                                                      tnodilying a subJX>c:nn, order appearance or production under specified
     (n) within the state,, \•liilre the pcr~if-rcs!des, is employed, or ~g\llarly                                 conditions if the scrvingpnrly:
  tr:msnCIS bushrc~s in pcTs(lll, irthc pernnn                                                                           (I) shows n subs!antinl uct.>d lor the testimony or rnolcrial thot Ollnnot be
        (I) is a p~rty ot n vtuty's ofli~: vr                                                                      otherwise met without undue hnt'1i•hlp; ttnd
        (II) is conm\unllcd to attc:ud a !rinl and would not incur snbstnntint                                          (II) ensures tbnt the suhpo~ned person will be reasonably compensated.
  eKpcnse.
                                                                                                                   (~}Dulle~      In ncsponding to a Subpoena.
    (2) For Other Dl cover)'• !\ subpoena mny command:
    {A) produclion ofdocmmmls. clectnm!cnlly stored lnformulion, or                                                 (1) Prod11d11g Docmt1e11ts or E/ectmnlcal{v Suu•etf llifnrmntlon. These
  tnngible lhings ut 11 ph1ce whll!n 100 mflc.q of where thu pcrs(ln rcsid~s. is                                   procedure. npply to producing document~ or cleclrouicnlly stored
  employed. or rogul•rly trnnsncts husincss in persQn; aud                                                         inlbnnfllion;
    {U) lll~cction of premises at tlle premises to be Inspected.                                                      (,\,) Do<"II/IWnfs. A penruu responding to a sub(lounu to produce documenrs
                                                                                                                   must produ.cc them us they nro Jc.cpt \a tho ordinury cow-so ofllu~ln~ss ot·
  (d) Protecllng a Pcr.sun             Subje~t      ton SuhpocnR; Enforct:ment.                                    must orguni?.e lind Iobel them to oon·cspond to the cntcgorics in tho dunmnd.
                                                                                                                      (U) Form for Prud~tr:lng E!er:trvnimlly Stored /nforwallon Not Sptu;ljlell.
    (I}'llf:oli/1!11: 'Un({t[l! Pl.t.IYI~·tl .f{f /~'"PII/.I$j!j.~lf/IIJI/Qtl,l', "II f1 I'JS' 111:' ~1(\lnl(ly    If n subpoclla doe.~ not specif)• a ronu fot· pt"Od(lciug ctcctronically stnr(d
  -~~~~.ll 'll*:fl\. ·rs,~~ihs,_l!)~;,l~f,"IM~~!ft~lJilioli;(il~!i~(·J •i~~ r\'l~iln"nlllt\,~ict's                 infonnalion, the person rc:.vonding must produce it Inn fonn or (onml ln
   Hhcvoi\!:·IJ liii!Slrur.ll)iduu1JttrtlciJ'Or~~pcnsu. oWu.reli\011 ~ullj!.cllti \lit;                            which It is ordilmrily mnintuined or iu u rMSOnubly usnblc lbrm or fonns.
  subpn~na. '01e court flll tho distriot. \\11Cre conrpllnnce is rcq1Hred must                                        (C) !::tet:lronlca/1)1 Stored Jnformal/a/1 Pnlduced In OtJ()• One 1-iwm. ThG
  cnfnrc~   [his duty and im)lOSO nn upproprl~to sanc;lion- wllich may inclndc                                     person responding need not produce Uu~ snme electronically sron:d
  lost eumings and Nasonable at(OmC)''5 foos-<>n o party QT 8ttomey who                                            inlbm!lltion in more than one form.
  f~ils to ~;omply.                                                                                                   (J)) hrucce.~sible Electi'Onltlll/y Stnrcd lifrmntllfoll. The per~on
                                                                                                                   responding need not provide discovery ofeluctroni.:nlly stored inforlllation
    (2)   Conummtl to         i'roilucc MnUJ•/a/s         <'' l'ermillllspccllon.                                  from sources that lhc person identifies us norrcusonably ncct<;sible bccau.
      {A) tlpptmtl!tce !fot l!t!qlli~e~:. ':-          perso!1 command_cd 19 ~hldu.:e                              of undue burden or cost. On Jmltfon to COIIII\CI dlsetlWI)' or for a protcC!Ive
  au ~mncnls, clcctr!'llttll)ly,~!lorl)(lnl'for.nmb(•n. or twtgtbl.c.lhmgs, or tu                                  order, the pen:on responding 111\tlt show thol lhc fnfllnuatio•t is not
  llorntit lhe ln~l1cCtiuirul'pn.:mise.o;, nccdJIOt nppeur in (l~OII ul the placoof                                rca.~onnhly ac=siblo beCllluse of undue burden or cost. Uthol showing is
  prol~ltc!,(on or inspection      unless also comn\llnded to or>pcnf for a dcpusllion,                            mode, the court may nOJlethcless order discovery irolll suoh sources ifth~;
  hl)orui~.    or trinl.                                                                                           requesth1g 'Party shows so(>d cuuse, couside:Jing the limitations of Rule
      {B) Objef11ont. I'\ p~f!iOII oommandl;d to produce documcnls or IHugiblc                                     26(b)(l)(C). The court muy specifY conditions for tbe discovery.
  things oPin·pilrmir i~s11¢ct ion may serve on the pnrty or ottumey dn~ignatc<l
  ln lhc stlby •nn trwriUi:n,objccllon to inspecting, copying, tGsllrl8 or                                         (2) ClaimiJig PI-ll-/lege m• Protecritm,
   Sil~lp!ing anY._ or"till. oft.h c l)lRtM.als_o,r to,{nsp.::cthltt\!le (!ftrnjses-or to                           (A) lnjiwml)licm Withheld. A person withholding s11bp<.•nmM:d inlilnnation
  P'iilih c!ng cJ~t)QIIIcall)'liiC!f¢d lf\IO(lllal((nt Ill tho jhrm or rtrlm~ requested:                           undc;n cluim that iti~ privileged or subjc~tto r•·otccliun as tri~l·pl'cparutiun
  ;nnl '(1~JCCtion must·be sot\red hefb(1) the curlier ofthc time ~lli:Cl fi~tl fur                                mulcriuJ muse
  compJi'!IJ~C 01' 14 dnys-nllcr lhll S\lbpo~nu is scrved.lfan objcdiun is mnde,                                        (f) expressly mMke the claim; and
  t.IJ~"fblfli\ •itlg rule~ Ml>ly:                                                                                      (il) describe the nature of the withheld documcnt5, cotmnunications, or
          (!) At tuly lime, Oil notice to tho commanded pe~ou, the serving pnrty                                   tungible t:hlngs in a mAunel'thctt, wilhOtlt rovc~ling inllmnnlion itself
  mny movtlthe oourl (or the distrlct where compl ianco .is rtl{uired .lllran                                      privilcsed or protected, wiU cnnbte the pnrtics to li!Sess the clnim.
  t'rder compelling production or ins~1ion.                                                                          (ll) blfomlfllfM PrtJdt<Ci!d If !nfonulllion p•      ·ed in l"Cl ponse to u.
          (ill These nels may he 1\!l{llirod onl>• liS directed in the ord~:r, nnd U~e                             subpoenn is subjecr to n clnim ofprivilcsc or           ~ tcclion ns
  order must protect B person who Is neither a party nor n purty 's oflic-er from                                  triuJ-pn:par11tion materia l, the person making ttl~ ~leim mHy notizy ~uy party
  signltlcont e~pense res11llins from coutplillucc.                                                                thnl J"Cl:civ~ tbo lnlormotion of the claim nnd the bus!s fur iL After being
                                                                                                                   notified, n pnrty must prOIIIJ>tly rclum . $11qucS1cr, cr destroy the specified
    (J) Qua.flilug or Motflfjrlug n Subpoemr.                                                                      lnforrnnl!\)11 nud any copies it lnw,mustll\ll use or di.~clos" the information
     (A) When Requhd. On timely tnotion, the cmtrt fm· tho dlstdct where                                           until the cla[tn Is tcsclvcd; must toke rcosonable steps lo rctri8ve the
  compll~occ    is required must quash or modify n subpoeno lhat:                                                  inJhnnotion iflhe pnrty iiL~closed 1t b~furll being notified; and may promptly
       (I) twls to uiiOIV·a rensuouble time to OOtn]l!y;                                                           fll"CSent the in!brmnllun under se~l to the court tin the district where
       (II) require.~ n person to comply beyond 1he gcogr<~phicalllmils                                            compliuuce is required tbr a determinution of the claim. The person who
  specified lu Rule 4S(c);                                                                                          produl:(:d U1c infum1xtion must preserve tl1c inlbrmation uatil the c!llim is
       (IIi) reguil'CS disclosure Llfprivil"gcd or other protected matter, if no                                    rcsolvctl..
  r:xception or waiver ftJllllics; err
       (lv) subjects a person to undue burd~n.                                                                     (i!) ur\to_r;l"pt.                •      ~- ~d/
    (B) WIIM Pem/11/r.d To pmtcct a 11crS(lll subject to or ollllcted by a                                         'fl;c l((l~r! ·ii) t.h~d.~J,rfCJ \)'h~~ ~~t!#!~l!~c .is.t"Cti!Jirci!-ll!l~.also, after n
  S\>hpotml, dee c.:ol.lrt for Ulll district where compHance is required rnay, on                                   ni~~itirl \s.4.ru~~rr~~!. !l)c:i~~Oiljg.~nn-•1lriY lii.ll.d'in-ollr!)UtliPt n pcrsan
  motion, qun.~h or modifY the !\UbpocnK !fit requires:                                                             who. lmvmg been setVCd, fitfls without ndequnto excuse to obey the
        (I) tti~closing a !rndu secret or oUter conlidtnliol research,                                              subpoena or an order rei uted t11 it.
  development, or commercinllnlonnutiou: 11r



  ' _. . .:.·-~-='"----=""F-o=r
  L                                                              aL'r.uss tcr subpoeno mnterinls,          ~'C~ Fed. R. Civ;
                                                                                     ----------------~~--------~~==~--~---
                                                                                                                               1'; 45(n) Committee Note (20 13),




                                                                                                                                                                       Plaintiffs' Appendix 222
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                      Page 223 of 295 PageID 546


                                    IN THE UNITED STATES DISTIUCT COURT
                                      FOR THE Northern DISTRICT OF TEXAS
                                              San Angelo DIVISION
 Patsy K. Cope, lndlvidunlly, and Alex lsbell, as
 Dependent Administrator of, and on Behalf of, the
 Estate ofDerrek Quinton Gene Monroe
 vs.                                                                           CIVIL ACTION NO.       6:18~CV-OOOlS-C


 Coleman County, Texas; Leslie W. Cogdill;
 Mary Jo Brixey; and Jessie W. Laws
                                                              AFFIDAVIT
STATE OF_ T
          _,_e,_,x=a,_,s,_____ __

COUNTYOF_T~r~~~v~
                is~----

         BEFORE             ME,              the              undersigned              authority.      personally       appeared
(Custodian) Gene Terry                                                                    who being by me duly sworn, deposed as
follows:     (Please print your name)

         1. I, the undersigned, am over twenty-one (21) years of age, of sound mind, capable of making this Affidavit, and
personally acquaint-ed with the facts herein stated and do state that the facts in this Affidavit are true and correct.

         2. I am the Custodian of Records for Texas Association of Counties and am familiar with the manner in which its
records are created and maintained by virtue of my duties and responsibilities.

          3. Attached het·eto are ...1.5..2__ pages of records concerning Mary J. Brixey and/or Jessie W. Laws. These are the
original records or exact duplicates of the original records.

         4. It is the regular practice of Texas Association of Counties to make this type of record at or near the time of each act,
event, condition, opinion or diagnosis set forth in the record.

         5. It is the 1·egular practice of Texas Association of Counties for this type of record to be made by, or from information
transmitted by, persons with knowledge of the matters set forth in them.

        6. It is the regular practice of Texas Association of Counties to keep this type of record in the course of regularly
conducted business activity.

         7. It is the regular practice of the business activity to make the records.

Further Affiant sayeth not.




                                                   me, the w1dersigned authority, on this the                 ~\ &\:          day of




                                    KRISTI SHEPPERSON
                                    My Notary 10 # 3685943
                                     Expires Juty 18, 2022.

Order No. 15694.0 11



                                                                                                   Plaintiffs' Appendix 223
              Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 224 of 295 PageID 547




                   Jail Suicide Prevention

                                        Presented by the Texas
                                       Association of Counties


 ""'') ,. .

:~': TEXAS AS S 0 CIA T I 0 N 0j       C0   UNTIES
:~: RisK MANAGEMENT PooL
 (u, ""'




                                                                                         Plaintiffs' Appendix 224
    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 225 of 295 PageID 548



               _.,_ Iii

               ~ISC                a              e
   This training is designed to
provide general information about
   the subject matter covered.
 Neither TAC nor the trainers are
    engaged in rendering legal
 advice. If you need legal advice,
 TAC recommends that you seek
   the services of a competent
attorney who is familiar With your
        specific situation.
                                                                               Plaintiffs' Appendix 225
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 226 of 295 PageID 549




               Learning Objectives
                         Students will be able to:


• Define Deliberate Indifference

• List four actions that demonstrate a
  proactive stance
• List the three major aspects of intake
          •
  screen1ng

• List the most important factor in
  suicide prevention
                                                                                 Plaintiffs' Appendix 226
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 227 of 295 PageID 550




• Knew or Suspected and Failed to Act or
 Report

• Conscious or Reckless Disregard of the
 Consequences of one's Acts or
 Omissions



                                                                                 Plaintiffs' Appendix 227
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 228 of 295 PageID 551




• No screening for suicidal behavior

• No Monitoring of suicidal inmates

• No training in signs/symptoms of
 suicide


                                                                                Plaintiffs' Appendix 228
    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 229 of 295 PageID 552




Three things cannot be defended:
              -




                  Abuse
                  • physical, sexual, verbal
              --                  -                                  -


                  Lies
                  • false representation, half truth



                  • uncaring, cold


                                                                               Plaintiffs' Appendix 229
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 230 of 295 PageID 553




• It is the NUMBER ONE cause of death in
 jails after natural causes


• Rate in county jails is 9 TIMES greater
 than general population




                                                                                 Plaintiffs' Appendix 230
             Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 231 of 295 PageID 554




     Written Policies & Procedures containing




00                                                                                      Plaintiffs' Appendix 231
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 232 of 295 PageID 555




                                                            Plaintiffs' Appendix 232
                                                                                       9
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 233 of 295 PageID 556




                                                                           Plaintiffs' Appendix 233
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 234 of 295 PageID 557




                                                                           Plaintiffs' Appendix 234
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 235 of 295 PageID 558




                                                            Plaintiffs' Appendix 235
                                                                                       12
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 236 of 295 PageID 559


           - ---.•-•:--.-   --




                                                            Plaintiffs' Appendix 236
                                                                                       3
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 237 of 295 PageID 560




                                                                           Plaintiffs' Appendix 237
            Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 238 of 295 PageID 561




      • Recent                                    • Sexual Assault
       d ri n king/drugs
                                                  • Mental illness
      • Recent loss
                                                  • Poor health
      • Guilt or shame
                                                  • Breaking point


__.
(J1                                                                                    Plaintiffs' Appendix 238
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                 Page 239 of 295 PageID 562




             First 24 hours

             Intoxication

             Withdrawal

             Waiting trial

             Sentencing

             Impending Release
                                         ----=-..;....,,;;.._._




             Holidays

             Darkness

             Decreased Staff

             Bad News

                                                                                         Plaintiffs' Appendix 239
       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 240 of 295 PageID 563




      Signs & Symptoms of Suicide
• Key times

• Depression/Paranoia

• Guilt/Shame

• Threatens

• Alcohol

• Previous attempts


                                                                                  Plaintiffs' Appendix 240
               Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 241 of 295 PageID 564




              Signs & Symptoms of Suicide
         • Can't relate

         • Preoccupied with past

         • Packs up

         • Gives away stuff

         • Hurts self

         • Delusions

......
00                                                                                        Plaintiffs' Appendix 241
           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 242 of 295 PageID 565




          Signs & Symptoms of Suicide
     • Agitated/aggressive

     • Hopelessness

     • Concern what will happen

     • Behavior changes

     • Sudden calmness

     • Unrealistic

_.
co                                                                                    Plaintiffs' Appendix 242
         Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 243 of 295 PageID 566




    •   First time offender

    •   Young

    •   Status

    •   Family history

    •   New charges

    •   Copycat

    •   Harsh officers

    •   Suffering experience

N
0                                                                                   Plaintiffs' Appendix 243
           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 244 of 295 PageID 567




                       Assessing Mental
Health Conditions & Suicidal Risk




.:~~   TEXAs   Ass 0   cIA T I 0 N   J c0 u
                                     0        N   TIEs
·~·RisK
 ,._0_,., . . M.A.NAGEMF.~T   PooL


                                                                                      Plaintiffs' Appendix 244
             Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 245 of 295 PageID 568




             Aspects of Intake Screening

    Three Major Aspects

    What to observe:

     Observation of
        signs &
      symptoms




N
N                                                                                       Plaintiffs' Appendix 245
    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 246 of 295 PageID 569




    Aspects of Intake Screening

When is the intake:



   Immediately upon
        arrival
                                                                               Plaintiffs' Appendix 246
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 247 of 295 PageID 570




      Aspects of Intake Screening

Who conducts intake screening:

• Trained booking or corrections officers

• Nurses or paramedical personnel




                                                                                 Plaintiffs' Appendix 247
               Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 248 of 295 PageID 571




              Benefits on Intake Screening
      • Suicidal persons identified

      • Illnesses & diseases detected

      • Drug/alcohol abuse & withdrawal assessed

      • Acute medical illnesses effected

      • Medication use determined
                                                 I




      • Legal liability protection



N
C11                                                                                       Plaintiffs' Appendix 248
       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 249 of 295 PageID 572




• Behavior, speech actions, attitude & mind set

• Scars from previous suicide attempts

• Traumas or bruises, color and condition of skin

• Visible signs of drug or alcohol use/withdrawal




                                                                                  Plaintiffs' Appendix 249
   Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 250 of 295 PageID 573




ELEMENTS OF A SUCCESSFUL
INTAKE SCREENING INTERVIEW



                                                                              Plaintiffs' Appendix 250
               Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 251 of 295 PageID 574




     • Continually assess
     • Report assessments

     •   NOTE:
         - Behavior, speech, actions, attitudes & state of mind
         -Scars
         -   Trauma~s

         -Visible signs on drugs/alcohol use
         - Medication

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CD                                                                                        Plaintiffs' Appendix 251
            Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 252 of 295 PageID 575




     • Follow-up questions

     • Effective interviewing

     • Explain rationale

     • Ask questions in common-sense manner



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co                                                                                     Plaintiffs' Appendix 252
          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 253 of 295 PageID 576




    • Speak in normal, quiet, matter-of-fact tone

    • Using language that can be understood

    • DO NOT be pushy, abrupt or sarcastic

    • Repeat question slowly & clearly



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0                                                                                    Plaintiffs' Appendix 253
   Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 254 of 295 PageID 577




ASSESSING SUICIDAL
BEHAVIOR

                                                                              Plaintiffs' Appendix 254
         Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 255 of 295 PageID 578




• Prior suicide risk

• Gauge intensity of stress & depression

• Determine impulsiveness

• Ask direct questions

• Explore plan for degree of risk

• Assess resources available



                                                                                    Plaintiffs' Appendix 255
   Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 256 of 295 PageID 579




INTERACTING WITH POTENTIALLY
SUICIDAL INMATES


                                                                              Plaintiffs' Appendix 256
    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 257 of 295 PageID 580




The Most Important Factor in Suicide
           Prevention:


            A we 1-trained

     corrections officer


                                                                               Plaintiffs' Appendix 257
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 258 of 295 PageID 581




                                                            Plaintiffs' Appendix 258
                                                                                       5
          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 259 of 295 PageID 582




•   Be aware of symptoms

•   Be tuned into obvious & sometimes subtle signals

•   Daily contact

•   Be empathetic

•   Don't give up

•   Non-rejecting staff saves lives

•   One person cares




                                                                                     Plaintiffs' Appendix 259
       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 260 of 295 PageID 583




                  Steps for Approaching a
                      Suicidal Person
• May attempt to have others kill them

• Remain calm

• Make a plan and follow it

• Be alert
              ,

• Ask intent

• Check out the situation .

                                                                                  Plaintiffs' Appendix 260
          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 261 of 295 PageID 584




The officer should NOT:
•   Offer solutions or give advice

•   Become angry, judgmental or threatening

•   Act sarcastic or make jokes about the situation

•   Lie about promises that you can't keep

•   Challenge the inmate to follow through with threat

•   Ignore the suicidal risk or threat



                                                                                     Plaintiffs' Appendix 261
  Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 262 of 295 PageID 585




PROPER HANDLING OF AN
INMATE WHO IS FOUND
HANGING



                                                                             Plaintiffs' Appendix 262
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 263 of 295 PageID 586




                                                Spinal
  Airway
                                                 cord

                        Blood
                       vessels

                                                                           Plaintiffs' Appendix 263
        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 264 of 295 PageID 587




• One person holds body up

• Other cuts noose

• Deaths occur due to no cutting
 tool

                                                                                   Plaintiffs' Appendix 264
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 265 of 295 PageID 588




• Have someone call ambulance·


• Give basic first. aid




                                                                                 Plaintiffs' Appendix 265
       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 266 of 295 PageID 589




• Rescue breathing and CPR

• Slowly roll victim onto back

• Open airway by tilting head or modified jaw
 thrust

• Check for breathing
                                                                                              I

• If no pulse, begin CPR

                                                                                  Plaintiffs' Appendix 266
   Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 267 of 295 PageID 590




 Only physician or other qualified
professional designated by state law
can pronounce individual dead. Until
 such time, start and continue first
                         aid and CPR.



                                                                              Plaintiffs' Appendix 267
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 268 of 295 PageID 591




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81                                                                                     a




                                                                                 Plaintiffs' Appendix 268
   Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 269 of 295 PageID 592




Components


TEXAS COMMISSION ON JAIL
STANDARDS

                                                                              Plaintiffs' Appendix 269
     Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 270 of 295 PageID 593




• Training in procedures, supervision,
  documentation and handling

• Supplemental training for staff
  responsible for intake


                                                                                Plaintiffs' Appendix 270
      Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 271 of 295 PageID 594




 e i ~catio
• Procedures to identify inmates

• PrOcedures for r.eferrals to
 TXMHMR



                                                                                 Plaintiffs' Appendix 271
        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 272 of 295 PageID 595




• Communication between staff members

• Housing

• Supervision

• Intervention

• Reporting

• Follow-up/Review



                                                                                   Plaintiffs' Appendix 272
       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 273 of 295 PageID 596




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0                                                                                 Plaintiffs' Appendix 273
        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 274 of 295 PageID 597




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.....                                                                              Plaintiffs' Appendix 274
             Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 275 of 295 PageID 598




      • Contracts not to commit suicide

      • Stripping potential suicides naked

      • Using closed -circuit television

      • Rating scales

      • Suicide profiles

      • Policy of not allowing single officers in cells



c.n
N                                                                                       Plaintiffs' Appendix 275
              Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 276 of 295 PageID 599




      • Protecting the crime scene

      • No vital signs equal death

      • Don't talk with inmates

      • Using citizen volunteers for suicide watch

      • Using inmate watchers



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w                                                                                        Plaintiffs' Appendix 276
  Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 277 of 295 PageID 600




                  Policy: ,
• Never enter without backup

• DonJt cut down ·

• Protect crime scene

• DonJt talk to inmates

• Citizen volunteers


                                                                             Plaintiffs' Appendix 277
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 278 of 295 PageID 601




                                                                           Plaintiffs' Appendix 278
                            Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                               Page 279 of 295 PageID 602




                                                            TF. XAS   AssOCIATION   nf Co\:   STl ES

                                                      Law Enforcement Consultants



                                        NORTHWEST                                               NORTHEASI'
                                        Oan·ell j;H:k,.un                                       Thom~L~ KcESs




      Gary Henderson                                                                                                      Thomas Kerss
      garyh @county. org                                                                                                  thomask@cou nty. org
      cell 512-986-8407                                                                                                   cell 512-589-3922
                                          - ·--...


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                        t                            SOUTIDVEST                                        SO UTI-lEAST
                            ..                         V:u:anl                                         Te<T}' Pickering




      David Whitis                                                                                                          Terry Pickering
      davidw@county.org                                                                                                     terryp@cou nty. org
      cell 512-517-2547                                                                                                     cell 512-517-7197

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 Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18              Page 280 of 295 PageID 603



                                  ROSIER ID: 10328402
                                Suicide Prcvention (not 3501)
Courte Date             Hourt        ID
                                 Course                 Coune Description
4126/20t7               4        3517                   Jail Suigide Prevention



P   ID        Name                                                Department




355840        JESSIEW LAWS                          COLEMAN CO. SI#RIFF'S OFFICE




                                                                            Plaintiffs'Appendix   280   57
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18            Page 281 of 295 PageID 604



                               ROSTER ID: 10328445
                             Sulcide Prevention (not 3501)
Coure Date           Hours        ID
                              Course                 Course Descriptlon
4/25/2017            4        3517                   JailSuicide Prevention



P ID         Name                                             Department




24A399       MARYIBRDGY                         .COLEMAN CO. SI.IERIFF'S OFFICE




                                                                        Plaintiffs'Appendix281   111
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18             Page 282 of 295 PageID 605



                           PENIIING ROSTER ID: e901759
                              Suicide Prrvention (not 3501)
                                Jail Suicide Prcvention
Date          Hours   Course ID           Instructor
4Ds/2017      4       3517                Gary Henderson Brovin County


P   ID     Name                                  DOB             Gender Race                Citizen




                                                                         Plaintiffs' Appendix   282 112
Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 283 of 295 PageID 606




                     TAB E




                                                            Plaintiffs' Appendix 283
   Tarrant Co RightFax          10/30/2017 12:37:42 PM     PAGE     1/012     Fax Server

             Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 284 of 295 PageID 607
To: Judge Mike McAuliffe

FROM Nizam Peerwani, M.D.

RE: 1715358 Derrek G. MONROE Autopsy Report 10-03-2017

Thank you.




                                                                         Plaintiffs' Appendix 284
Tarrant Co RightFax                                        10/30/2017 12:37:42 PM                                                             PAGE                   2/012                         Fax Server

       Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                                  Page 285 of 295 PageID 608




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                                                                                           Tr~rrant             County Medical Examiner's District
                                                                                                                  Tarrant County, Tex8s
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   I Nama: DmTc:k Gene IVKlNHOE                                                                                                                 Age:                 28 Y"''-'m'>
   ~ Sex:                  fAa!~~                                                                                                               Race: VVhite
   i Data and Time of Death: Octob~;;r 2, 20"1? ai 9:40F'k'1
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                                 •.·~"'''   >~.:·!!,Jii,A\ .. ,~ .. ><Six.:.fl!t..·.:.:,)
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   j   Au~opsy
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   ,                                                                                                                                                                                                                                           I


   l1,   Nizam Peerwani, M.D., hereby certify that ! pertormed a complete autopsy on I
   i the body of DEJ\F~EK GENE MONROE at the Tarrant County Medica! Examiner's i
   j District Morgue in Fort Worth, T<;lxas on the ;ra day of OdobGr 20'! 7, beginning at I
   i 08! 5 AM, and upon investigation of the essential facts concerning the 1
   i circumstances of the death and history of the case as known to me at this time, ! 1
   j am of the opinion that the findings, cause and manner of death are as follows:
   "~~
                                                                                                                                                                                                                                   i
      ................................................., ..........................................................................................................................................................................l


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   I hND!N(~S:                                                                                                                                                                                                                                 I
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       ! I.              Investigative findings:                                                                                                                                                                                                   '
       !                 /'..
                            Decedent discovered suspended in Coleman County Jail on 10-01-
       .                    2017 at 08:20AM:
                               1. Ligature composed of telephone cord.
                               2. Transported by EMS and admitted to Coleman County Medical
                                  Center on 10-01-2017 at 09:30AM:
                                      a) Admit vita!: Obtunded with blood pressure= "108/51 mmHg
                                         and pulse "' 122/minute.
                                      b) CT-scan of neck: No cervical fractures,
                                      c) Serum chemistry: marked abnormalities.
                                      d) Serum pH"" 7.29 (Normal: 7.35- 7.45) with severe lactic
                                         acidosis (Lactic acid ""7.2 moi/L) (normal = OA -- 2,0)
                               3_ Transferred to Hedrick Medica! Center in Abilene where he was
                                  subsequently pronounced dead.
                         B. History of drug 8nd or alcohol abuse: Unknown.
                         C. Drugs and alcohol found at the scene: None.
                         D. Medical history: Seizure disorder (P<•r Coleman County Medical Center
                            records).

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Tarrant Co RightFax   10/30/2017 12:37:42 PM        PAGE     3/012     Fax Server

    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18    Page 286 of 295 PageID 609




          E. Suicide Profile:
                1. History of depression: Unknown.
                2. History of threatened or past attempted sLlicide: Not provided.
                3. Suicide Note at the scene: None.
     IL   Postmortem findings:
          A Hanging with:
                1. A slanted "V'-shaped ligature impression of the anterior neck
                   above the thyroid prominence.
                2. Healing patchy subcutaneous, strap muscle and deep para-
                   spinal muscle hemorrhage.
                3. Absence of facial plethora or cutaneous petechiae.
                4. Minimal faint bulbar and palpebral conjunctival petechiae.
                5. Al;sence of fracture of hyoid bone or thyroid cartilage.
                6. Pulmonaty vascular congestion, bilateral, severe, with edema.
                7. Leptomeningeal congestion, global, severe, with prominent
                   edema.
     m.   No evidence of defensive wound or foul play.




                                                                  Plaintiffs' Appendix 286
Tarrant Co RightFax                                   10/30/2017 12:37:42 PM                                                     PAGE                     4/012                        Fax Server

            Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                  Page 287 of 295 PageID 610


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      l................_______                                                                                                                                                                                    ,,.,__ j
            I.              CU:HH!NG AND PERSONAL EFH~c·rs: The body is presented to the
                            Morgue nude except for a hospital gown, wrapped in a white sheet and
                            secured in a white body bag.

            II.             THERAPEUTIC INTERVENTION:
            1.              Indwelling Foley with 30 mL of urine.
            2.              IV along right antecubital fossa and dorsal right hamL
            3.              Pulse oximeter around left index finger.
            4.              Five EKG pads.



            Body l€.~n9t~·:: G4" ·i /? lnch~:~:s"~.
            Bodyvveight; ·!G·l,S pound~:.

            The decedent is a normally developed, adult white male with the stated age of 28
            years. The unembalmed body is identified by an ankle bracelet. Body presents
            medium build with average nutrition, normal hydration and good preservation.
            There is moderate rigor with developed posterior fixed lividity of normal color.
            Body is cold to touch post refrigeration.

            The decedent is normocephalic without apparent trauma about the face or scalp,
            The bones of the forehead, nose, cheeks, and jaw are intact to palpation. Head is
            covered by very short, black hair with non-receding anterior hairline and without
            balding. Face is cyanotic and presents mild plethora and without petechiae. Face
            is unshaven with black mustache and goatee. Average body hair of male pattern
            distribuation is noted. Eyes are dosed with clear bulbar and palpebral
            conjunctivae, There are sparse petechiae withOut tache rmire. Scattered petechiae
            of the bulbar and palpebral conjunctivae are present Cataracts are not identitled.
            Arcus senilis are absent. Bulbar conjunctival edema is absent. Irides are brown
            with white sclerae. Pupils are equal at 4 mm Orbits appear normal. The ears are
            well-formed and symmetrical and the external auditory canals are without
            discharge. The nose is well-formed and symmetrical. The external nares are patent
            and without hemorrhage or discharge. The lips are intact The mouth contains a
            small amount of seromucous secretion without obstructing materials or lesions.
            Oral cavity presents natural teeth with good oral hygiene characterized by absence



                                                                                                                                                                           Plaintiffs' Appendix 287
Tarrant Co RightFax                              10/30/2017 12:37:42 PM                                       PAGE               5/012                  Fax Server

           Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                            Page 288 of 295 PageID 611


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 !                                                                                                                                          D~rrek Gen~~\lONROE
 I                                                                                                                                                                     '

 ;ii       of caries. Tongue is not protuberantThe buccal mut:osa is pink and shows no
 '         signs of trauma.
 j
           The neck is symmetricaL There is no palpable crepitus or hyperrnobi!ity. The
           trachea is palpably straight and in the midline. A partial slanted ligature impression
           of the anterior neck is present. The chest is symmetrical and without palpable
           crepitus or bony deformity. The male breasts are small and soft without palpable
           masses, skin retraction, or nipple disci1arge. The abdomen appears flat and soft
           without organornegaly or external trauma. Upper and lower extremities are equal
           and symmetrical presenting cyanotic nailbeds without clubbing. Edema is absent.
           There are no fractures, injuries, deformities or amputations present The soles of
           the feet are soft and without calluses. There is no lymphadenopathy including
           cervical, axillary, or inguinaL H1e posterior trunk presents a symmetrical external
           contour and the spine appears straight The anus is closed and atraumatic. The
           skin shows no irregularity, External genitalia present descended testicles with
           unremarkable penis.



           T.i-\TTOOS: Multiple including:
           1.     A large confluent tattoo of left upper extremity extending to the shoulder and
                  left upper chest with design, skulls, skeleton, swastika and spider web.
           2.     A large confluent tattoo of right upper extremity and hand with designs.
           3.     Skull with design along left and right medial and dorsal feet
           4.     Marijqana leaf along right knee.
           5.     A symbol along left anterior distal thigh.
           6.     "White Pride" along right posterior shoulder.
           7.     "rvlONROE" along lower back.



           As!anted !igatum impression of the neck is present, above the thyroid prominence,
           extending from right anterior neck to left lateral neck and measuring4 inches in
           length with a width of approxtmately 3/8 inch. The point of suspension is along the
           posterior neck.

           Layered dissection of the neck reveals an intact hyoid bone as well as thyroid and
           cricoid cartilages. Larynx is comprised of unremarkable vocal cords and folds,
           appearing widefy patent without foreign material, and is lined by hyperemic,
           congest<;;d membrane. Epiglottis is a characteristic plate-like structure without
           edema, trauma Qr pathoiogicai lesions. Patchy areas of hemorrhage of the
 L._ ..._,_._.,,, ____________________ _
                                                                                                            ----···--------·--·--------------------------------------------------,)
                                                                                                                                                                                              I
                                                                                                                                             Plaintiffs' Appendix 288
Tarrant Co RightFax                            10/30/2017 12:37:42 PM                                     PAGE                    6/012                               Fax Server

        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                          Page 289 of 295 PageID 612




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       A standard Y-shaped thoracoabdominal inciSion reveals a subcutaneous fat
       thickness of i -.2 ems at the midabdominalleveL Neck is described above.

        ....,.,,.   SERC)US             (~/,\\/~TiES


        The chest wall is intact 'Nithout rib, sternal or clavicular fractures. The mediastinum
        is in the midline. The pericardia! sac contains normal amount of serous fluid and
        presents glistening, smooth surfaces. The parietal pleural surfaces are glistening
        and smooth without adhesions. There is no pleural fluid. There are no
        pneumothoraces. The domes of the diaphragm are at the fifth rib bilaterally.
        Omental and mesenteric fat ls normal. The p~Jritoneal surfaces are glistening and
        smooth and there are no unusual fluid collections in the abdominal space. The
        organs occupy their usual positions. There is no scoliosis, kyphosis or lordosis
        present.

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        L~~~n ventdc.ukH vfa!l thickn~~ss: ·t .5 Gfns.
        Right ventrk.uh~t ~·v~:~H thh::kne~st~: 0 . 6 cnis .
        C.ircurnfert~nce nt: ~~orHt\ n1itt.:~~L pu!n1rJnCH 1l                         ~)nd    tri-cuspid       valvi~~~t             ·y. t1, ?'         ~~nd              ·12.    c~-r~~:;.


        The heart is of normal size and shape and located in its usual position in the left                                                                                                                         ,!

        chest, with its apex pointing to the left (normal). There is a normal amount of
        epic-ardial fat The epicardial surface is glistening and smooth. The atrial chambers                                                                                                                        i
        are not dilated. Both the interatrial septum and interventric-ular septum are intact                                                                                                                        1
        The atrioventricular connections are present, and the leaflets of the atrioventricular                                                                                                                      1

        valves are thin and delicat<;;, The chordae tendineae are thin and pearly gray. The                                                                                                                         i
        papillary muscles are normal and reveal no tears or scars. There is no evidence of                                                                                                                          1.




        ventricular hypertropl1)l or dilatation. The myocardillm is beefy, firm and red-brown,
        and on sectioning reveals absence of acute or healed infacts. The endocardial                                                                                                                               i
 1
        surface is smooth without thrombi or inflammation. The outflow tracts are widely                                                                                                                            I
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Tarrant Co RightFax                                   10/30/2017 12:37:42 PM                                PAGE             7/012                 Fax Server

        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                            Page 290 of 295 PageID 613


 1."''"'''''''''''''""""""'""""""""~-"-""-"'"'"'-------"'----~~~~~~~~~""""""~~~----~···~~~······~...                                   --\J\l''\                                ---·l
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 1!.:   pateot, aod the                   "'mi!unar
                                   valves each                                         contain three thin and
        pulmonary artery is of appropriate caliber and configuration; its intimal surface is
                                                                                                                                    d:,,::~~:,·~~~:                                   !.!




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 1.     glistening and intact without atheromas. The corona1y ostia are in their nortnal                                                                                              !.!




 ,
 '      anatomic location and lead into widely patent coromary arteries without significant
 !      atheromas. The coronarf arteries course over !he surface of the heart in the usual
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 i      fashion. Right dominant coronary artery circulation is noted. The ascending aorta                                                                                             !

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        is of the usuai caliber and arches normally before descending along the left side
 i      of the vertebral column. The major ;;uteri~~s arise from the aortic arch and
        descending aorta in the usual configuration and are patent. The intimal SLlrface of
        U1e aorta is smooth. The venae cavae and other major veins are patent and thin
        walled. There are no congenital anomalies identified.
        4,      PUL~AC)Ni\RY S""tSTE~A




        The lungs hyperinf!ated and reveal the usual number of lobes and fissures. Both
        the lungs appear severely congested and moderately edematous and on
        sectioning frothy edema fluid can be easily expressed. The visceral pleural
        surfaces are slightly opaque with a small amount of anthracotic pigment There are
        no emphysematous changes observed. The parenchyma is soft and pale red. Air
        spa¢es are not enlarged. There are no gross pneumonic lesions or abnormal
        masses present. The tracheobronchial. tree contains large amounts inspissated
        frothy edema fluid without aspirated gastric contents. The pulmonary' vessels are
        patent revealing no evidence of thromboembo!i.



        The esophagus courses in the usual fashion to enter the stomach and is lined by
        normal mucosa. The squamocolumnar junction is we!! demarcated without
        erosions or varices. The stomach is devoid of food partici~H>, Gastric mucosa is
        intact with tail rugal folds with pliable wall. Th.e pylorus is normally contracted.
        There is no evidence of gastritis or gastric. ulcers. The small intestine is ofthe usual
        caliber, and its walls are pliable. The cecllm is freely mobile in the right lower
        quadrant The appendix is retrocf.lcal and not inflamed. The w!on contains formed
  !     brown stool and is of generous cailber. No focal mass lesions are identified
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 i      throUghout the gastrointestinal tract
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Tarrant Co RightFax                                                                                            10/30/2017 12:37:42 PM                                                                                                                         PAGE                                      8/012                                           Fax Server

                  Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                                                                                                                                                  Page 291 of 295 PageID 614


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                  The iiver presents a sharp anterior margin with smooth glistening surface. The
                  parenchyma is red-brown and soft with the LJsual lobular pattern and mild fatty
                  changes. Intrahepatic bile ducts and vessels are patent. The gallbLadder is present
                  and contains approximately 35 mL of viscid green bile. The wall is thin and pliable
                  with reticulated intact mucosa. The common bile duct is patent and drains into the
                  duodenum. There are no calculi present

                  The pancreas is located in its usual position within the duodenal sweep. The
                  parenchyma has a firm, pink-gray with minimal fat in the taiL The pancreatic ducts
                  are of the usual caliber. There is no evidence of acute or chronic pancreatitis.




                  The k.idneys are located in their usual retroperitoneal position and have capsules
                  that strip With the usual ease to reveal smooth surfaces. The parenchyma is red-
                  brown with clearly demarcated corticomedullary junctions. The cortex has a
                  thickness of 8-9 mm. A minimal amount of per!pe!vic fat is present The collecting
                  systems are not dilated. The renal columns of Bertin extend between the well
                  demarcated pyramids and appear unremarkabiEL The medulla presents normal
                  renal pyramids with unremarkable papillae. Tile pelvis and ureters are patent and
                  not dilated. Their mucosa is smooth. The urinary bladder is lined by int£~ct mucosa
                  and contains 75 mL of clear urine.

                  External genitalia present an unremarkable penis without hypospadia, epispadias
                  or phimosis. There are no infectious lesions or tumors noted. The descended
                  testicles are of normal size encased within an intact and unremarkable scrotal sac
                  and on palpation abnormal masses or hernias are not present. The prostate is of
                  nom1al size and shape and sectioning presents normal two lateral lobes with thin
                  median lobe forming the floor of the unremarkable urethra. There are no gross
                  pathological lesions.



                  Sp~{:Jen:                                                22 ·t .5                    ~~rns.


 I                The thymic tissue is ill defined with its parenchyma largely replaced by fat The
 I                spleen presents a smooth, intact capsule and the splenic parenchyma is dark red.
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Tarrant Co RightFax                                              10/30/2017 12:37:42 PM                                                           PAGE                   9/012                      Fax Server

          Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                                   Page 292 of 295 PageID 615


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          The follicles are small, and trabeculae are delicate. There is no !ymphad~N1opathy.
          The mediastinal lymph nodes which are soft and black. Other lymp!1 nodes are
          small and gray. Rib and vertebral marrow is red, moist, and ample.



          Thyroid gland is of symmetric, red-brown and firm presenting two well-defined
          lobes with connecting isthmus. There are no goitrous changes or adenomas
          present. Adrenal glands are of norma! siz.e and shape and sectioning present no
          gross pathological lesions. Pituitary gland is encased within an intact sella turcica
          and presents no gross pathological lesions.

          10.              CENTFl.AL NEHVOUS S'{STEM



          Reflection of the scalp reveals rK) evidence of contusions of lacerations.There are
          no subgaleal hemorrhage or hematomas identified. The underlying calvarium is
          intact and normal in thickness. The dura is intact other and its inner surface smooth
          and glistening. The dural sinuses are patent. Serial cross-sectioning through the
          superior sagittal sinus reveal no MtenlOrtem thrombus.

          Both the left and right cerebral hemispheres are t~ssentiaHy equal in size and the
          pattern of gyri and sulci is within normal limits. There is no shift of the
          interhemispheric fissure, Moderate cerebral edema is noted. The piarachnoid is
          regularly transparent. On the undersurface of the brain, the unci or cerebellar
          tonsils reveal absence of pressure markings. The olfactory· bulbs are present and
          the optic nerves are well myelinated and of equal size. Botll the mamillary bodies
          and brainstem appear normal anc! the cerebellar hemispheres are of normal stze.
          The Circle of Willis is patent without atherosclerotic narrowing or thrombosis. Berry
          aneurysms are not identified.
                                                                                                                                                                                                                                                       ;

          Multiple coronal sections ()f the cerebrum show an intact cortical ribbon of
                                                                                                                                                                                                                                                      !.i

          appropriate thickness. The internal architecture shows the usual pattern without
          focal lesions or hemorrhage. The ventricular system is of appropriate configuration                                                                                                                                                         I
          and size containing clear cerebrospinal fluid with delicate and unremarkable
          choroid plexus. The fourth ventricle is unremarkable. Transverse sections of the
          brainstem show unremarkable basal ganglia, midbrain, pons, medulla, and
          cerebellar hemispheres, Well-pigmented substantia nigra and locus caeruleus are
          noted. Sections of the cerebellum show prominent inferior olivary nuclei and the
 '        hemispheres present the usual ft)iiar pattern and normal appearing dentate nuclei.                                                                                                                                                          I
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Tarrant Co RightFax                                                    10/30/2017 12:37:42 PM                                                                  PAGE                10/012                     Fax Server

            Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18                                                                                                                Page 293 of 295 PageID 616


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 I         Spinal cord is noted examined.                                                                                                                                                                                    \                                 1


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                              14 mL of aortic blood, 14 mL of fernoral bietld and 7 rill. of vitreous and
                              rnL of urine for toxicology.
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                              30 digital photos.
           4.                 Blood card.
                              Fingerprints and palmprints.
           e.
                              a
                              b.                 Pulled scalp, facial and pubic hair.

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Tarrant Co RightFax    10/30/2017 12:37:42 PM                 PAGE      11/012       Fax Server

    Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18               Page 294 of 295 PageID 617
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      Tarrant Co RightFax                 10/30/2017 12:37:42 PM      PAGE    12/012     Fax Server

                        Case 6:18-cv-00015-C Document 27-1 Filed 12/04/18   Page 295 of 295 PageID 618



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